Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 1 of 358
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 2 of 358
     Filing #96951345 E-Filed 10/08/2019 05:30:48 PM                                                Exhibit 1
                                                                IN THE CIRCUIT COURT OF THE 17711
                                                                JUDICIAL CIRCUIT IN AND FOR
                                                                BRO WARD COUNTY, FLORIDA


           FLORIDA HEALTH SCIENCES CENTER, INC.,               CASE NO: CACE I9-01882
          NORTH HROWARD HosprrAL DISTRICT,
           HALIFAX HOSPITAL MEDICAL CENTER,
          BAYFRONT HMA MEDICAL CENTER, LLC,
          CGH HOSPITAL. LTD., CITRUS HMA, LLC,
          CENTRAL FLORIDA HEALTH, CRESTVIEW
          HOSPITAL CORPORATION, DELRAY
          MEDICAL CENTER, INC., FLAGLER
                                                                                      Vt.fP(
          HOSPITAL, INC., GOOD SAMARITAN
          MEDICAL CENTER, INC., HAINES CITY HMA,
                                                                                      5r-osic(co
          LLC, HERNANDO HMA, LLC, HIALEAH
          HOSPITAL, INC., HMA SANTA ROSA
          MEDICAL CENTER, LLC, KEY WEST HMA,
                                                                                        (c7.   62
          LLC, LAKE SHORE DMA, LLC, LAKE WALES
          HOSPITAL CORPORATION, LARKIN
          COMMUNITY HOSPITAL PALM SPRINGS
                                                                                          (6‘co
          CAMPUS, LLC, LARKIN COMMUNITY
          HOSPITAL, INC., LARKIN COMMUNITY
          HOSPITAL BEHAVIORAL SERVICE, INC.,
          LEES BURG REGIONAL MEDICAL CENTER,
          INC., LIFEMARK HOSPITALS OF FLORIDA,
          INC., LIVE OAK HMA, LLC, NAPLES HMA,
          LLC, NORTH SHORE MEDICAL CENTER, INC.,
          OSCEOLASC LLC, PALM BEACH GARDENS
          COMMUNITY HOSPITAL, INC., PORT
          CHARLOTTE HMA, LLC, PUNTA GORDA
          HMA, LLC, ST. MARY'S MEDICAL CENTER,
          INC., STARKE HMA, LLC, THE VILLAGES TR1-
          COUNTY MEDICAL CENTER, INC., AND
          VENICE HMA, 1.1-C,


          Plaintiffs,



            V.



          RICHARD SACKLER; BEVERLY SACKLER;
          DAVID SACKLER; ILENE SACKLER
          LEFCOURT; JONATHAN SACKLER; KATHE
          SACKLER; MORTIMER D.A. SACKLER;
          THERESA SACKLER; JOHN STEWART; MARK
          TIMNEY; CRAIG LANDAU; RUSSELL
          GASDLk; BARBARA C. MILLER, BRIANN
          PARSON-BARNES, BECCA BECK HARVILLE,
          LINDSEY BONIFACIO, TAMMY HEYWARD,
          JAMES SPEED, DAMON STORH OFF. DIANA C.
          MULLER, DRAUPADI DALEY; AMNEAL
          PHARMACEUTICALS, LW; AMNEAL
          PHA RIVIACEUT1CALS, INC.; TEVA
                 **• FILED: BROWARD COUNTY, FL BRENDA D. FORMAN. CLERK 10/0812019 05:30:45 PM,""
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 3 of 358

           PHARMACEUTICAL INDUSTRIES, LTD.;
          TEVA PHARMACEUTICALS USA, INC.;
          CEPHALON. INC.; JOHNSON & JOHNSON;
          JANSSEN PHARMACEUTICALS, INC.; WINO-
          MCNEIL-JANSSEN PHARMACEUTICALS, INC.
          n/k/a JANSSEN PHARMACEUTICALS, INC.,
          JANSSEN PHARMACEUTICA, INC. n/Ida
          JANSSEN PHARMACEUTICALS, INC.;
          ABBOTT LABORATORIES; ABBOTT
          LABORATORIES, INC.; ASSERTIO
          THERAPEUTICS, INC.; ENDO HEALTH
          SOLUTIONS, INC.; ENDO
          PHARMACEUTICALS, NC.; PAR
          PHARMACEUTICAL, INC.; PAR
          PHARMACEUTICALS COMPANIES, INC;
          MALLINCKBODT, LLC; MALLINCKRODT
          PLC; SPECGX, LLC; ALLERGAN PLC;
          ALLERGAN FINANCE, LLC; ALLERGAN
          SALES, LLC; ALLERGAN USA, INC.; WATSON
          LABORATORIES, INC.; ACTAVIS 1.1.C;
          ACTAVIS PlIARMA, INC.; ANDA, INC.; H.D.
          SMITH, LLC fik/a H.D. SMITH WHOLESALE
          DRUG CO.; HENRY SCHEIN, INC.;
          AMERISOURCEBERGEN DRUG
          CORPORATION; CARDINAL HEALTH, INC.:
          THE KROGER CO.; KROGER LIMITED
          PARTNERSHIP II; CVS HEALTH
          CORPORATION; CVS PHARMACY, INC.; CVS
          INDIANA, LL.C.; WAL-MART INC.; WA L-
          MART STORES EAST, LP; .NORAMCO, INC.;
          WALGREEN CO., and WA LGREEN EASTERN
          CO., INC.


          Defendants.




                                                    2
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 4 of 358

                                                             SUMMONS

          THE STATE OF FLORIDA:
          To Each Sheriff of Said State:

                   YOU ARE HEREBY COMMANDED to serve this Summons and a copy of the Complaint on Defendant:

                           CVS PHARMACY, INC.
                           C/O cr CORPORATION SYSTEM
                           1200 SOUTH PINE ISLAND
                           PLANTATION, FL 33324

                  Each defendant is required to serve written defenses to the Complaint on Plaintiffs' attorney, whose name
          and address is: William R. Scherer, Conrad & Scherer, L.L.P., 633 South Federal Highway I Eighth Floor,
          Fort Lauderdale, Florida 33301 within 20 calendar days after service of this summons on that defendant,
          exclusive of the day of service, and to file the original of the defenses with the Clerk of the Court either before
          service on Plaintiffs' attorney or immediately thereafter. If a defendant fails to do so, a default will be entered
          against that defendant for the relief demanded in the complaint.

                  DATED ON            OCT 23 2019
                                                                            BRENDA D. FORMAN

                                                                            By:
                                                                                    As Deputy Clerk
                                                             SUMMONS:

                                                       PERSONAL SERVICE
                                                                                                       BRENDA D. F • RMAN
                                                            IMPORTANT
                    A lawsuit has been filed against you. You have 20 calendar days after this summons is served upon you
          to file a written response to the attached Complaint in this Court. A phone call will not protect you. Your written
          response, including the above case number and named parties, must he filed if you want the Court to hear your
          case, If you do not file your response on time, you may lose the case, and your wages, money and property may
          thereafter be taken without further warning from the Court. There are other legal requirements. You may want to
          call an attorney right away. If you do not know an attorney, you may call an attorney referral service or a legal
          aid office (listed in the phone book).

                  If you choose to file a written response yourself, at the same time you file your written response to the
          Court you must also mail or take a carbon copy or photocopy of your written response to the "Plaintiffs/Plaintiffs'
          Attorney" named above.

                                                           EMPORTANTE

                   listed ha sido demandoado legalmentc. Tiene viente (20) dias, contados a partir dcl reeibo dc csta
          notificacion, para contcstar la demanda adjunta, por cstrito, y presentarla ante este tribunal. Una Ilamada
          telefonica no lo pnategera; si usted &sea quo el cscrito, incluycndo el flamer° del caso y los nombres dc las partes
          intcrcsadas en dial° easo. Si usted no comesta la demanda a tiernpo, pudeise perder el easo y podria scr
          despojado de sus ingresos y propiedades, o privade de sus dereschos, sin previa aviso dcl tribunal. Existen otros
          requisitos legales. Si lo desea puede usted consultor a unabogado immediateamenta. Si no conocc a un abogado,
          puede Hamar a una dc las officinas de asistencia legal que apareeen en la guia telefoncia.

                   Si desea responder a la dcmanda pro su cuenta, al mismoi tiernpo en quc presenta su rcspucsta ante el
          tribunal, debera usted enviar par correo o entregar una copia du su respuesta a ia persona denominada abajo co=
          "Plaintiff/Plaintiffs' Attorney." (Demandate o Abogado dc Dernanadante).
                                                                   3
    Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 5 of 358

                                                                 IMPORTANT

                      Des poursuites judiciaries wit de arum-prism contrc vous. Vous avcz 20 jours consccutifs a partir dc la
              date de l'assig,nation de cet'tc citation pour deposser une rcsponsc ccitc a la plainte cijointc aupres de cc Tribunal.
              Un simple coup de telephonc cst insuffisant pow vous proteger; vous ctcs obligc do &poser votre reponse cciite,
              avc mention du numcro dc dossier ei-dessus Cl du nom des parties nommecs ici, si vous souhaitcz quo lc Tribunal
              entendc votrc cause. Si cons ne dcposcz pas votro reponsc ccritc dans lc rclai rcquis, vous rcsiquez do perthe b
              cause ainsi quo votrc salairc, votre argent, et vos bicns pcurcnt tore saisis par la suite, sans aucun preavis uherieur
              du Tribunal. LI a d attires obligations juridiques et vous pouvez requerir les services immcdialcs d'un avocat. Si
              vous no connaissez pas d'avocats, you pourricz telephoner a un scrvicc dc rcfcrencc d'avocats 011 a tin brucau
              d'assistancc juridique (fIgurant a l'annuaire de telephones).

                        Si vous choisissez de deposer vous-mcme uric rcponse cerite, ii vous faudra cgs lement, en memo tempos
              que cette formalite, faire parvenir Cu expedier une copie au carbone ou une photocopic de votre reponse ecrite an
              "Plaintiff/Plaintiffs' Attorney" (Plaignant ou a son avocate) nommc ci-dessous.




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  Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 6 of 358

Filing # 95754861 E-Filed 09/16/2019 01:20:19 PM


                IN THE CIRCUIT COURT OF THE SEVENTEENTH JUDICIAL CIRCUIT
                           IN AND FOR BRO WARD COUNTY, FLORIDA

         FLORIDA HEALTH SCIENCES CENTER,
         INC., NORTH BROWARD HOSPITAL
         DISTRICT, HALIFAX HOSPITAL MEDICAL Case No.
         CENTER, BAYFRONT HMA MEDICAL
         CENTER, LLC, CGH HOSPITAL, LTD.,
         CITRUS HMA, LLC, CENTRAL FLORIDA      JURY TRIAL DEMANDED
         HEALTH, CRESTVIEW HOSPITAL
         CORPORATION, DELRAY MEDICAL
         CENTER, INC., FLAGLER HOSPITAL, INC.,
         GOOD SAMARITAN MEDICAL CENTER,
         INC., HAINES CITY HMA, LLC,
         HERNANDO HMA, LLC, HIALEAH
         HOSPITAL, INC., EIMA SANTA ROSA
         MEDICAL CENTER, LLC, KEY WEST
         HMA, LLC, LAKE SHORE HMA, LLC,
         LAKE WALES HOSPITAL CORPORATION,
         LARKIN COMMUNITY HOSPITAL PALM
         SPRINGS CAMPUS, LLC, LARKIN
         COMMUNITY HOSPITAL, INC., LARKIN
         COMMUNITY HOSPITAL BEHAVIORAL
         SERVICE, INC., LEESBURG REGIONAL
         MEDICAL CENTER, INC., LIFEMARK
         HOSPITALS OF FLORIDA, INC., LIVE OAK
               LLC, NAPLES HMA, LLC, NORTH
         SHORE MEDICAL CENTER, INC.,
         OSCEOLASC LLC, PALM BEACH
         GARDENS COMMUNITY HOSPITAL, [NC.,
         PORT CHARLOTTE HMA, LLC, PUNTA
         GOFtDA HMA, LLC, ST. MARY'S MEDICAL
         CENTER, INC., STARKE HMA, LLC, THE
         VILLAGES TRI-COUNTY MEDICAL
         CENTER, INC., AND VENICE HMA, LLC,

         Plaintiffs,

           V.

         RICHARD SACKLER; BEVERLY
         SACKLER; DAVID SACKLER; ILENE
         SACKLER LEFCOURT; JONATHAN
         SACKLER; KATHE SACKLER; MORTIMER
         D.A. SACKLER; THERESA SACKLER;
         JOHN STEWART; MARK TIMNEY; CRAIG
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 7 of 358




      LANDAU; RUSSELL GASDIA; BARBARA
      C. MILLER, BRIANN PARSON-BARNES,
      BECCA BECK HARVILLE, LINDSEY
      BONIFACIO, TAMMY HEYWARD, JAMES
      SPEED, DAMON STORHOFF, DIANA C.
      MULLER, DRAUPADI DALEY; AMNEAL
      PHARMACEUTICALS, LLC; AMNEAL
      PHARMACEUTICALS, INC.; TEVA
      PHARMACEUTICAL INDUSTRIES, LTD.;
      TEVA PHARMACEUTICALS USA, INC.;
      CEPHALON, INC.; JOHNSON & JOHNSON;
      JANSSEN PHARMACEUTICALS, INC.;
      ORTHO-MCNEIL-JANSSEN
      PHARMACEUTICALS, INC. Wick JANSSEN
      PHARMACEUTICALS, INC., JANSSEN
      PHARMACEUTICA, INC. n/Ida JANSSEN
      PHARMACEUTICALS, INC.; ABBOTT
      LABORATORIES; ABBOTT
      LABORATORIES, INC.; ASSERTIO
      THERAPEUTICS, INC.; ENDO HEALTH
      SOLUTIONS, INC.; ENDO
      PHARMACEUTICALS, INC.; PAR
      PHARMACEUTICAL, INC.; PAR
      PHARMACEUTICALS COMPANIES, INC.;
      MALLINCKRODT, LLC; MALLINCKRODT
      PLC; SPECGX, LLC; ALLERGAN PLC;
      ALLERGAN FINANCE, LLC; ALLERGAN
      SALES, LLC; ALLERGAN USA, INC.;
      WATSON LABORATORIES, INC.;
      ACTAVIS LLC; ACTAVIS PHARMA, INC.;
      ANDA, INC.; H.D. SMITH, LLC filda H.D.
      SMITH WHOLESALE DRUG CO.; HENRY
      SCHEIN, INC.; AMERISOURCEBERGEN
      DRUG CORPORATION; CARDINAL
      HEALTH, INC.; THE KROGER CO.;
      KROGER LIMITED PARTNERSHIP II; CVS
      HEALTH CORPORATION; CVS
      PHARMACY, INC.; CVS INDIANA, L.L.C.;
      WAL-MART INC.; WAL-MART STORES
      EAST, LP; NORAMCO, INC.; WALGREEN
      CO., and WALGREEN EASTERN CO., INC.

      Defendants.
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 8 of 358




                                      TABLE OF CONTENTS
     I.    INTRODUCTION                                                                2
           A.The Opioid Crisis in Florida                                              2
           B.The Opioid Crisis Nationally                                              7
           C. The Impact of Opioids on Florida Hospitals                              17
           D.Financial Impact of Defendants' Activities on Plaintiffs                 22
           E. The Roles of Defendants in Causing and Perpetuating the Opioid Crisis   25
     H.    JURISDICTION AND VENUE                                                     27
     HI.   PARTIES                                                                    28
           A.Plaintiffs                                                               28
                  1.      Bay front Health                                            28
                  2.      Broward Health                                              29
                  3.      Central Florida Health                                      29
                  4.      Coral Gables Hospital                                       30
                  5.      Delray Medical Center                                       30
                  6.      Flagler Hospital                                            30
                  7.      Good Samaritan Medical Center                               30
                  8.      Halifax Hospital Medical Center                             31
                  9.      Heart of Florida Regional Medical Center                    31
                  10.     Hialeah Hospital                                            31
                  11.     Lake Wales Medical Center                                   31
                  12.     Larkin Community Hospital                                   32
                  13.     Lower Keys Medical Center                                   3/
                  14.     North Okaloosa Medical Center                               32

                  15.     North Shore Medical Center                                  33
                  16.     Palm Beach Gardens Medical Center                           33
                  17.     Palmetto General Hospital                                   33
                  18.     Physicians Regional Medical Center                          33
                  19.     Santa Rosa Medical Center                                   33
                  20.     Seven Rivers Regional Medical Center                        34
                  21.     Shands Lake Shore Regional Medical Center                   34
                  22.     Shands Live Oak Regional Medical Center                     34

                  23.     Shands Starke Regional Medical Center                       34
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 9 of 358




                  24.      St. Cloud Regional Medical Center                34
                  25.      St. Mary's Medical Center                        34
                  26.      Tampa General Hospital                          35
                  27.      Venice Regional Bayfront Health                  35
           B. Defendants                                                   36
                  1.       Marketing Defendants                            36
                           a.     Purdue                                   36
                           b.     Teva and Associated Companies            45
                           c.     Janssen and Associated Companies         48
                           d.     Endo and Associated Companies            51
                           e.     Abbott Laboratories                      52
                           f.     Amneal Pharmaceuticals, LLC              53
                           g.     Assertio Therapeutics, Inc.              54
                           Ii.    Mall inekrodt Entities                   54
                           i.     Allergan and Associated Companies        56
                 2.        Distributor Defendants                          59
                           a.     AmerisourceBergen Drug Corporation       59
                           b.     Anda, Inc.                               60
                           c.     Cardinal                                 60
                           d.     H. D. Smith, LLC                         60
                           e.     Henry Schein Entities                    61
                 3.        National Retail Pharmacies                      62
                           a.     CVS                                      62
                           b.     The Kroger Co.                           62
                           c.     Wal greens                               62
                           d.     Wal-Mart                                 63
                 4.        Defendants' Agents and Affiliated Persons       63
     IV.   FACTUAL BACKGROUND                                               64
           A.The History of Opioids                                         64
           B.The Opioid Epidemic                                           66
           C.Congressional Response to the Opioid Crisis                    69

      V.  THE MARKETING DEFENDANTS' FALSE, DECEPTIVE, AND UNFAIR
      MARKETING OF OPIOIDS                                                  70

                                                    ill
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 10 of 358




            A.The Marketing Defendants' False and Deceptive Statements About Opioids            73
                  1.     Falsehood #1: The Risk of Addiction from Chronic Opioid Therapy is
                         Low                                                                74
                         a.     Purdue and Abbott's Misrepresentations Regarding Addiction Risk
                                                                                             75
                         b.     Endo's Misrepresentations Regarding Addiction Risk              83
                         c.     Janssen's Misrepresentations Regarding Addiction Risk           85
                         d.     Cephalon's Misrepresentations Regarding Addiction Risk          86
                         e.     Mallinckrodt's Misrepresentations Regarding Addiction Risk      87
                  2.     Falsehood #2: To the Extent There is a Risk of Addiction, It Can Be
                         Easily Identified and Managed                                          89
                  3.     Falsehood #3: Signs of Addictive Behavior are "Pseudoaddiction"
                         Requiring More Opioids                                                 91
                  4.     Falsehood #4: Blaming Addicted Patients as "Untrustworthy" "Abusers"
                                                                                             95
                  5.     Falsehood #5: Opioid Withdrawal Can Be Avoided by Tapering             96
                  6.     Falsehood #6: Opioid Doses Can Be Increased Without Limit or Greater
                         Risk                                                                97
                  7.     Falsehood #7: Long-term Opioid Use Improves Functioning                99
                  8.     Falsehood #8: Alternative Forms of Pain Relief Pose Greater Risks Than
                         Opioids                                                             105
                  9.     Falsehood #9: OxyContin Provides Twelve Hours of Pain Relief          108
                  10.    Falsehood #10: New Formulations of Certain Opioids Successfully Deter
                         Abuse                                                              113
                         a.     Purdue's Deceptive Marketing of Reformulated OxyContin and
                                Hysingla ER                                               113
                         b.     Endo's Deceptive Marketing of Reformulated Opana ER            117
                         c.     Other Marketing Defendants' Misrepresentations Regarding Abuse
                                Deterrence                                                 121
           B.The Marketing Defendants Directly Targeted Hospitals                              122
           C.The Marketing Defendants Disseminated Their Misleading Messages About Opioids
                   Through Multiple Direct and Indirect Channels                         124
                  1.     The Marketing Defendants Used "Detailers" To Directly Disseminate .
                         Their Misrepresentations to Prescribers                         125
                  2.     The Marketing Defendants Deceptively Directed Front Groups to Promote
                         Opioid Usc                                                        132


                                                 iv
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 11 of 358




                         a.    American Pain Foundation                                     134
                         b.    American Academy of Pain Medicine and the American Pain
                               Society                                                      137
                         c.     FSMB                                                        140
                        d.     The Alliance for Patient Access                              143
                        e.     The U.S. Pain Foundation                                     147
                         f.    American Geriatrics Society                                  148
                        g-    American Chronic Pain Association                          150
                 3.     The Marketing Defendants Deceptively Paid KOLs to Promote Opioid
                        Use                                                              151
                        a.     Dr. Russell Portenoy                                         1 53

                        b.     Dr. Lynn Webster                                             156
                        e.     Dr. Perry Fine                                               1 57
                        d.     Dr. Scott Fishman                                            160
                 4.     The Marketing Defendants Also Spread Their Misleading Messages to
                        Reputable Organizations                                           162
                 5.     The Marketing Defendants Disseminated Their Misrepresentations
                        Through CME Programs                                                164
                 6.     The Marketing Defendants Used "Branded" Advertising to Promote Their
                        Products to Doctors and Consumers                                167
                 7.     The Marketing Defendants Used "Unbranded" Advertising to Promote
                        Opioid Use for Chronic Pain Without FDA Review                   168
                 8.     The Marketing Defendants Funded, Edited and Distributed Publications
                        That Supported Their Misrepresentations                            169
                 9.     The Marketing Defendants Used Speakers' Bureaus and Programs to
                        Spread Their Deceptive Messages.                                171
           D.The Marketing Defendants' Goal Was for More Patients to Take More Opioids at
                   Higher Doses for Longer Periods of Time                                172
                  I.    Increasing the Patient Population                                   172
                        a.     The Marketing Defendants Focused on Vulnerable Populations 172
                        b.     The Marketing Defendants Focused on Having Opioids Perceived
                               as a "First Line" of Medication for "Opioid-NaIve" Patients,
                               Rather Than as a Last Resort for Cancer Patients and the
                               Terminally 111                                               1 73

                 2.     Increasing Dosages and Increasing Them Quickly to Keep Patients on
                        Longer                                                             175
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 12 of 358




            E. The Marketing Defendants' Scheme Succeeded, Creating A Public Health Epidemic
                                                                                           176
                   1.     Dramatically Expanded Opioid Prescribing and Use                    176
                   2.     The Marketing Defendants' Deception in Expanding Their Market Created
                          and Fueled the Opioid Epidemic                                   179
            F. Each of the Marketing Defendants Made Materially Deceptive Statements and
                      Concealed Material Facts                                                180
                   I.     Purdue                                                              180
                   2.     Endo                                                                185
                   3.     Janssen                                                             187
                   4.     Assertio                                                            188
                   5.     Cephalon                                                            189
                   6.     Actavis                                                             190
                   7.     Mallincicrodt                                                       191
      VT.  DEFENDANTS THROUGHOUT THE SUPPLY CHAIN DELIBERATELY
      DISREGARDED THEIR DUTIES TO MAINTAIN EFFECTIVE CONTROLS AND TO
      IDENTIFY, REPORT, AND TAKE STEPS TO HALT SUSPICIOUS ORDERS                              191
           A.All Defendants Have, and Breached, Duties to Guard Against, and Report, Unlawful
                    Diversion and to Report and Prevent Suspicious Orders                   192
                   I.    Defendants' Use of Trade and Other Organizations                     197
                          a.       Pain Care Forum                                            197
                          b.       Healthcare Distribution Alliance (HDA)                     198
                   2.    Defendants Were Aware of and Have Acknowledged Their Obligations to
                         Prevent Diversion and to Report and Take Steps to Halt Suspicious Orders
                                                                                             203
                   3.    Defendants Kept Careful Track of Prescribing Data and Knew About
                         Suspicious Orders and Prescribers                                204
                  4.      Defendants Failed to Report Suspicious Orders or Otherwise Act to
                          Prevent Diversion                                                   214
                   5.     Defendants Delayed a Response to the Opioid Crisis by Pretending to
                          Cooperate with Law Enforcement                                      216
           B.The Marketing Defendants' Unlawful Failure to Prevent Diversion and Monitor,
                   Report, And Prevent Suspicious Orders                                      220
           C.The Distributor Defendants' Unlawful Distribution of Opioids                     225
            D.The Distributor Defendants Breached Their Duties                                226
                   1.     Inadequate Compliance Staffing and Training                         232


                                                     vi
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 13 of 358




                     2.     Inadequate Scrutiny of Customers                                    233
                     3.     Failure to Detect, Block and Report Suspicious Orders               234
                     4.     Distributor Defendants Failed to Suspend Suspicious Customers       236
                     5.     Distributor Defendants Failed to Adequately Maintain Accessible Data
                            Concerning Customers and Prescribers                                 236
                     6.     The Distributor Defendants Failed to Report Violations to Government
                            Authorities                                                          237
                     7.     Each of the Distributor Defendants Engaged in Wrongful Conduct      238
                            a.      Cardinal                                                    238
                            b.      AmerisourceBergen                                           248
                     8.     The Distributor Defendants Have Sought to Avoid and Have
                            Misrepresented Their Compliance with Their Legal Duties             253
              E. The National Retail Pharmacies Were on Notice of and Contributed to Illegal
                       Diversion of Prescription Opioids                                        259
                     I.     The National Retail Pharmacies Have a Duty to Prevent Diversion     260
                     2.     Multiple Enforcement Actions Against the National Retail Pharmacies
                            Confirms their Compliance Failures                                  264
                            a.     CVS                                                          264
                            b.     Walgreens                                                    267
      VII. DEFENDANTS' UNLAWFUL CONDUCT AND BREACHES OF LEGAL DUTIES
      CAUSED THE HARM AND SUBSTANTIAL DAMAGE ALLEGED HEREIN         271
      VIII.   CONSPIRACY ALLEGATIONS                                                            276
              A.Conspiracy Among the Purdue Defendants                                          276
              B.Conspiracy Among the Marketing Defendants                                       177
              C. Conspiracy Among the Marketing Defendants and the Supply Chain Defendants      280
      IX.     ADDITIONAL FACTS PERTAINING TO PUNITIVE DAMAGES                                   282
              A.The Marketing Defendants Persisted in Their Fraudulent Scheme Despite Repeated
                      Admonitions, Warnings, and Even Prosecutions                             283
                     1.     FDA Warnings to Janssen Failed to Deter Janssen's Misleading Promotion
                            of Duragesic                                                      283
                     2.     Governmental Action, Including Large Monetary Fines, Failed to Stop
                            Cephalon From Falsely Marketing Actiq For Off-label Uses            284
                     3.     FDA Warnings Did Not Prevent Cephalon from Continuing False and Off-
                            Label Marketing of Fentora                                      285
                     4.     A Guilty Plea and a Large Fine did not Deter Purdue from Continuing its
                            Fraudulent Marketing of OxyContin                                    286

                                                     vii
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 14 of 358




                   5.      Endo Continued to Aggressively Promote Opana After Becoming Aware
                           of Its Widespread Abuse                                        288
            B.Repeated Admonishments and Fines Did Not Stop the Distributor Defendants from
                     Ignoring Their Obligations to Control the Supply Chain and Prevent Diversion
                                                                                               288
      X.    JOINT ENTERPRISE ALLEGATIONS                                                        190
      XI.   FACTS PERTAINING TO CLAIMS UNDERRICO STATUTES                                       290
            A.The False Narrative Enterprise                                                    290
                   I.      The Common Purpose and Scheme of the False Narrative Enterprise      290
                   2.      The Conduct of the False Narrative Enterprise                        291
                          a.      Conduct in the Marketing of Opioids                           291
                          b.      Conduct in the Distribution of Opioids                        300
                   3.      Pattern of Unlawful Activity                                         306
            B. The Sackler Pharmaceutical Enterprise                                            310
                   1.      The Common Purpose and Scheme of the Sackler Pharmaceutical
                           Enterprise                                                           310
                   2.     The Conduct of the Sackler Pharmaceutical Enterprise                  310
                   3.     Pattern of Unlawful Activity                                          314
      XII. TOLLING AND FRAUDULENT CONCEALMENT                                                   317
      XIII. WAIVER OF CERTAIN CLAIMS FOR RELIEF                                                 320
      XIV. CLAIMS FOR RELIEF                                                                    320
      FIRST CLAIM FOR RELIEF                                                                    320
      SECOND CLAIM FOR RELIEF                                                                   324
      THIRD CLALM FOR RELIEF                                                                    328
      FOURTH CLAIM FOR RELIEF                                                                   331
      FIFTH CLAIM FOR RELIEF                                                                    332
      A.    The Defendants Owed a Duty of Care                                                  332
      B.    Defendants Breached Their Duty of Care                                              333
            1. Defendants' Conduct, in Violation of Applicable Statutes, Constitutes Negligence Per
                     Se                                                                          333
      C.    Defendants Breached Their Duty of Reasonable Care                                   334
            1.Negligent Marketing                                                               334
            2. Negligent Distribution                                                           335
      D.    The Marketing and Supply Chain Defendants' Breaches of Care Were Intentional,
            Willful, Wanton and/or Reckless                                                     336

                                                   viii
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 15 of 358




      E.     Causation and Damages                                         337
      SIXTH CLAIM FOR RELIEF                                               338
      SEVENTH CLAIM FOR RELIEF                                             340
      XV.    PRAYER FOR RELIEF                                             341
      XVI.   JURY DEMAND                                                   341




                                                           .




                                          ix
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 16 of 358




       The decade of the 1990s was the era of the blockbuster drug, the billion-dollar pill, and a
       pharmaceutical sales force arms race was part of the excess of the time ... A pharmaceutical
      Wild West emerged. Salespeople stampeded into offices. They made claims that helped sell the
      drugs to besieged doctors. Those claims also lead years later to blockbuster lawsuits and criminal
     - cases against their companies.'

                                               COMPLAINT

             1.      Florida Health Sciences Center, Inc., North Broward Hospital District, Halifax

      Hospital Medical Center, Bayfront HMA Medical Center, LLC, CGH Hospital, Ltd., Central

      Florida Health, Citrus HMA, LLC, Crestview Hospital Corporation, Delray Medical Center, Inc.,

      Flagler Hospital, Inc., Good Samaritan Medical Center, Inc., Haines City HMA, LLC, Hernando

      HMA, LLC, Hialeah Hospital, Inc., HMA Santa Rosa Medical Center, LLC, Key West HMA,

      LLC, Lake Shore HMA, LLC, Lake Wales Hospital Corporation, Larkin Community Hospital

      Palm Springs Campus, LLC, Leesburg Regional Medical Center, Inc., Lifemark Hospitals of

      Florida, Inc., Live Oak HMA, LLC, Naples HMA, LLC, North Shore Medical Center, Inc.,

      Osceolasc LLC, Palm Beach Gardens Community Hospital, Inc., Port Charlotte HMA, LLC,

      Punta Gorda HMA, LLC, St. Mary's Medical Center, Inc., Starke HMA, LLC, The Villages Tr-

      County Medical Center, Inc., Venice HMA, LLC, Larkin Community Hospital, Inc., Larkin

      Community Hospital Behavioral Health Services, Inc. (collectively, "Plaintiffs") bring this

      Complaint against Defendants Richard Sackler; Beverly Sackler; David Sackler; Ilene Sackler

      Lefcourt; Jonathan Sackler; Kathe Sackler; Mortimer D.A. Sackler; Theresa Sackler; John

      Stewart; Mark Timney; Craig Landau; Russell Gasdia; Barbara C. Miller; Briann Parson-Barnes;

      Becca Beck Harville; Lindsey Bonifacio; Tammy Heyward; James Speed; Damon Storhoff;

      Diana C. Muller; Draupadi Daley; Amneal Pharmaceuticals, LLC; Amneal Pharmaceuticals,




       Sam Quinones, Dreamland: The True Tale of America's Opiate Epidemic at 133 (Bloomsbury Press
      2015) (hereinafter referred to as "Dreamland").

                                                      1
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 17 of 358




      Inc.; Teya Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.;

      Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc.

      n/k/a Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica, Inc. n/k/a Janssen Pharmaceuticals,

      Inc.; Abbott Laboratories; Abbott Laboratories, Inc.; Assertio Therapeutics, Inc.; Endo Health

      Solutions, Inc.; Endo Pharmaceuticals, Inc.; Par Pharmaceutical, Inc.; Par Pharmaceuticals

      Companies, Inc.; Mallinckrodt, LLC; Mallinckrodt Plc; SpecGx, LLC; Allergan Plc; Allergan

      Finance, LLC; Allergan Sales, LLC; Allergan USA, Inc.; Watson Laboratories, Inc.; Actavis

      LLC; Actavis Pharma, Inc.; Anda, Inc.; H.D. Smith, LLC filch H.D. Smith Wholesale Drug Co.;

      Henry Schein, Inc.; AmerisourceBergen Drug Corporation; Cardinal Health, Inc.; The Kroger

      Co.; Kroger Limited Partnership II; CVS Health Corporation; CVS Pharmacy, Inc.; CVS

      Indiana, L.L.C.; Wal-Mart Inc.; Wal-Mart Stores East, LP; Noramco, Inc.; Walgreen Co.; and

      Walgreen Eastern Co., Inc. (collectively "Defendants") under the Florida RICO (Racketeer

      Influenced and Corrupt Organization) Act, Fla. Stat. Ann. § 895.01, et seq.; Florida's Civil

      Remedies for Criminal Practices Act, Fla. Stat. Ann. § 772.101 et seq.; Florida Deceptive and

      Unfair Trade Practices Act, Fla. Stat. Ann. § 501.201, et seq.; Fraudulent Practices —Misleading

      Advertising, Fla. Stat. Ann. § 817.41; Negligence; Nuisance; and Unjust Enrichment seeking

      judgment against Defendants and in favor of Plaintiffs; compensatory damages; treble damages;

      pre-judgment and post-judgment interest; cost of suit; and equitable relief, including injunctive

      relief and allege as follows:

                                          I.     INTRODUCTION

      A.     The Opioid Crisis in Florida

                     Plaintiffs operate hospitals located throughout Florida, among other states that

      have been bit hard by the opioid crisis.

             3.      The opioid epidemic poses an ongoing crisis in Florida. Opioid use has had tragic

                                                       2
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 18 of 358




      consequences for communities across Florida. Thousands of Floridians have died from opioid

      overdoses, and many thousands more suffer from opioid use disorders and related health

      conditions.

                4.      Drug overdose death rates in Florida have skyrocketed over the past two deeades.2

      In 2016, 5,725 opioid-related deaths were reported in Florida, which represents a 35% increase

      from 2015, including, a 28% increase in oxycodone-related deaths.3 Florida also experienced a

      resurgence in heroin and Fentany14 use leading to a significant increase in heroin-related deaths

      (30% increase) and fentanyl-related deaths (97% increase). Drug overdose deaths in Palm Beach

      County and Broward County have continued to rise in recent years.5

                5.      In Florida, the greatest increase in opioid deaths was seen in cases involving

      synthetic opioids (mainly fentanyl): a rise from 162 deaths in 2012 to 2,126 in 2017. Deaths

      involving heroin also increased in the same 5-year period: from 101 to 707 deaths. There were

      1,272 deaths involving prescription opioids in 2017, an increase from 889 in 2014.6

                6.      Delray Beach (in Palm Beach County) is at the center of the South Florida




      2 Centers for Disease Control and Prevention, National Center for Health Statistics. Underlying Cause of
      Death 1999-2015 on CDC WONDER Online Database, released December, 2016. Data are from Multiple
      Cause of Death Files, 1999-2015, as compiled from data provided by the 57 vital statistics jurisdictions
      through the Vital Statistics Cooperative Program. Available at http://wonder.cdc,goviucd-icd10.htm1 (last
      accessed Apr. 17, 2017).

      3   in.

          Fentanyl is manufactured by Manufacturer Defendant Janssen.

      5   Id.

      6 National Institute on Drug Abuse, Florida Opioid Suminary-Opioid-Related Overdose Deaths, revised
      May 2019, available at httos://www.drugabuse.gov/drugs-abuse/o_oioids/opioid-summaries-bv-
      state/florida-ooioid-summary




                                                          3
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 19 of 358




      overdose epidemic—estimated to have claimed more than 900 lives in 2016.7 The sheer number

      of opioid overdoses in South Florida is overwhelming police, firefighters, hospitals and

      morgues.8

                7.     In 2017, the Palm Beach County Medical Examiner estimated that he sometimes

      dealt with ten overdoses a day. In Manatee County, the medical examiner reported in 2017 that

      the morgue ran out of space for the bodies of opioid overdose victims. In northern Florida,

      Jacksonville's Chief Medical Examiner stated in 2016 that she is unable to take a day off because

      the morgue is so busy with overdose victims; that year, the Jacksonville Fire and Rescue

      Department responded to 3,411 opioid overdoses.

                8.    Children have been especially vulnerable to the opioid epidemic. The State has

      seen a substantial increase in opiate use, a significant increase in the number of babies born with

      neonatal abstinence syndrome (NAS), and an increase in blood-borne diseases from intravenous

      drug use, including hepatitis C and human immunodeficiency (HIV). Florida reported 2,320

      cases of NAS in 2016 among Medicaid recipients. This was a more than 54 percent increase

      since 2012 when there were 1,506 cases of NAS reported.9 Infants born with NAS usually spend

      weeks in neonatal intensive care units while they painfully withdraw from the drugs—a process

      so painful that it traps many adults on opioids. Children are also injured by the removal from




      7 Peter Haden, The Number of Daily Opioid Overdose in South Florida is Overwhelming Police, PRI
      (April 20, 2017), https://www.ori .org/stories/2017-04-20/number-dai ly-ornoi d-overdoses-south-fl ori da-
      overwhelming:police.

          Id.

      9 National Institute on Drug Abuse, Florida Opioid Summary-Opioid-Related Overdose Deaths, revised
      May 2019, available at https://www.drup,abuse.govidrugs-abuse/oDioids/opioid-summaries-bv-
      state/florida-ornoid-summary




                                                           4
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 20 of 358




       their homes due to opioid abuse and addiction.

               9.    Former Governor Rick Scott declared a state of emergency in Florida on May 3,

      2017, as a result of the opioid epidemic.") Effective July 1, 2018, a new law signed by Former

      Governor Scott bolsters Florida's prescription drug monitoring program ("PDMP") by placing a

      limitation of three days on most opioid medical prescriptions for acute pain, prohibiting pain

      clinics from advertising that they sell pain pills and from naming the pills, and requiring that the

      clinics must open their doors for inspections." Florida now has implemented one Of the

      country's strictest limits on opioid prescribing.

               10.   According to a Child Welfare League of America 2017 report, during the year

      2015, health care costs related to opioid abuse in Florida reached S1,246,526,068) 2 Florida

      health care costs associated with opioid abuse were the fourth highest among all states, as shown

      below.




      10 Fla. Exec. Order No. 17-146 (May 3.2017), available at https://www.flaav.corn/wp-
      content/uploads/2017/05/17146.ndf.

      11Robert Nolin, 32 new Florida laws take effect today, PALM BEACH POST (April 1,2012).
      httos://wwwma1mbeachpost.com/news/critne —law/ncw-florida-laws-take-effeci-
      today/cEndEcEtfRXM2vd2t4ZPN/.

      12 Florida's Children at a Glance, Child Welfare League of America, lutp://www.cw1a.orgAvp-

      content/uploads/2017/03/FLORIDA-1.pdf, (last accessed on April 26, 2018).

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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 21 of 358




                        TOP 10 STATES: TOTAL HEALTH CARE COSTS FROM OPIOID ABU




                 II.    Until 2009, Florida had no prescription-monitoring system. Until then, any

      pharmacist would till a prescription. As a result, Florida became a popular destination for out-of-

      state opioid addicts to get opioids. Many opioid addicts relocated to South Florida to be near

      their supply. Addicts from the OxyContin-wracked regions of Ohio, Kentucky, and West

      Virginia headed weekly to Florida for doctor visits. "By 2009, of the top oxycodone-prescribing

      counties in America, nine were in Florida. . . Broward County had four pain clinics in 2007 and

      115 two years later."13 In 2009, 25% of nationwide shipments of oxycodone were sent to the

      state of Florida. By 2010, 98 of the 100 doctors in the country who dispensed the highest

      quantities of oxycodone from their offices were located in Florida.I4




      13   Dreamland, at 243-45. Oxycodone is the generic version of OxyContin.

      L4 William N. Evans, et al., How the Reformulation of OxyContin Ignited the Heroin Epidemic, National
      Bureau of Economic Research, NBER Working Paper No. 24475, (Issued April 2018), doi:
      10.3386/w24475, hno://wWw.nber.org/papers/w24475.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 22 of 358




                 12.    By 2002, the human toll taken by the abuse and misuse of prescription narcotics

      such as OxyContin had become "increasingly alarming."15 That year, the South Florida Sun-

      Sentinel reported that its review of medical examined data had found that nearly four hundred

      people had died from prescription drug overdoses in the area around the cities of Miami, Fort

      Lauderdale, and Palm Beach, the area served by Plaintiffs. "The vast majority of those deaths

      involved narcotic painkillers, containing oxycodone or hydrocodone, and many of those who had

      died had been able to obtain large quantities of painkillers from doctors despite documented

      histories of drug abuse, the paper reported.'

                 13.   Across the state, Florida families and communities face heartbreaking tragedies

      that cannot be adequately conveyed by statistics, and they have faced them all too often. Many

      grieving families have been financially tapped out by the costs of repeated cycles of addiction

      treatment programs; other have lost hope and given up. The increasing number of cases takes

      both a physical and mental toll on investigators, first-responders, and hospitals such as Plaintiffs.

      B.         The °plaid Crisis Nationally

                 14.   The United States is in the midst of an opioid epidemic caused by Defendants'

      unlawful marketing, sale, and distribution of prescription opioids that has resulted in addiction,

      criminal activity, serious health issues, and the loss of life.17 According to the Centers for

      Disease Control and Prevention ("CDC"), from 1999 to 2014, the sales of prescription opioids in



      15 Barry Meier, Pain Killer: A "Wonder" Drug's Trail Of Addiction And Death, 94 (Rodale 2003) (herein
      after "Pain Killer").

      16   Id.

      1.7 As used herein, the term "opioid" refers to the entire family of opiate drugs including natural,
      synthetic, and semi-synthetic opiates.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 23 of 358




       the U.S. nearly quadrupled, but there was no overall change in the amount of pain that

      Americans reported."

              15.     The United States constitutes 4.6% of the world's population, but consumed 80%

      of the world's opioid supply in 2011.19 According to the Centers for Disease Control and

      Prevention ("CDC"), from 1999 to 2014, the sales of prescription opioids in the U.S. nearly

      quadrupled, but there was no overall change in the amount of pain that Americans rcported.2°

              16.     It is undisputed that opioids are both addictive and deadly. Between 1999 and

      2014, more than 165,000 Americans died of opioid overdose.21 Deaths related to opioids are

      accelerating. In 2011, the CDC declared that prescription opioid deaths had reached "epidemic

      levels."22 That year, 11,693 people died of prescription opioid overdoses.23 Since then,

      prescription opioid deaths have more than quadrupled, reaching 47,600 Americans in 20 E 7-



      13Centers for Disease Control and Prevention, Prescribing Data, available at
      huns://www.cdc.gov/drugoverdose/data/Drescribine.html, (last accessed August I. 2018).

      19 Donald Teater, Nat'l Safety Council, The Psychological and Physical Side Effects of Pain Medications,
      huns://www.colorado.gov/pacific/sites/default/files/Psvcholigical%20and%20Physical%20Sicle%20Effec
      ts%20Teater%2ONSC.ocif (citing Daneshvari R. Solanki et al., Monitoring Opioid Adherence in Chronic
      Pain Patients: Assessment of Risk of Substance Abuse. PAIN PHYSICIAN JOURNAL, 14:E119-E13 I, (2011),
      available at,
      hups://www,painphysicia njoum a 1.com/current/od Partic le=-MTOONOV030%3D&journa 1=60.

      20 Centers for Disease Control and Prevention,                    Prescribing Data, available           at
      https://www.cdc.gov/drugoverdose/data/preseribing.html, (last accessed Aug. 1, 2018).

       Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain — United States. 2016,
      21
      65(1) Morbidity and Mortality Weekly Report (Mar. 2016), at 2, available at
      huns://www.cde.gov/mmwr/volumes/65/rtipdfstrr650 I el.pdf (hereinafter "Dowell, CDC Guideline").

      22Press Release, Centers for Disease Control and Prevention: Prescription Painkiller Overdoses at Epidemic
      Levels (Nov. I, 2011), https://www.cdc.gov/media/releases/2011/p1101 flupain killer overdose.html
      (hereinafter "Prescription Painkiller Overdoses at Epidemic Levels").

       Li Hui Chen et at., Drug-poisoning Deaths Involving Opioid Analgesics: United States, 1999-2011, 166
      23
      NCHS Data Brief (Sept. 2014), httos://www.cdc.govinchs/data/databriefs/db166.pdf.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 24 of 358




      more than ten times the number of Americans who have died in the entire Iraq War.24

               17.   According to the CDC, opioid overdoses killed more than 45,000 people, over a

      I2-month timeframe that ended in September 2017. It is already the deadliest drug epidemic in

      American history.25 If current trends continue, lost lives from opioid overdoses will soon

      represent the vast majority of all drug overdose deaths in the United States.

               18.   Between the start of the century and the year 2014, opioid-related death rates have

      increased by 200%, with 14% of that increase occurring between 2013 and 2014.26

               19.   The opioid epidemic is killing scores of individuals each and every day and is

      having a similarly drastic impact on the total cost of medical care.




      24U.S. Dep't of Health and Human Services, What is the U.S. Opioid Epidemic? (Jan. 2019),
      https://www.hhs.gov/opioids/about-the-epidemic/index.html; German Lopez, 2017 was the worst year ever
      for drug overdose deaths in America, V0x, Aug. 16, 2018, https://www.vox,comiscime-and-
      health/2018/8/16/17698204/ooloid-epidemicoverdose-deaths-2017.

      25The Editorial Board, An Opioid Crisis Foretold, THE NEW YORK TIMES, Apr. 21, 2018,
      https://www.nytimes.com/2018/04/2 1/opinion/an-oDioid-crisis-foretold.html.
      26 Id.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 25 of 358




               Lost Lives
               Deaths in the U.S. per 100,000 people
                                ......
                                                                                                    All drug
                                                                                                    overdoses


               15

                                                                                                    arricad
                                                                                                    overdoses-

               10




                                                                                                    hli.V.


               1987     1990           .1'295          200        '2.005       2010          2013




      Note: Drug overdose data available since I 999. Source: Centers for Disease Control and
      Prevention I By THE NEW YORK TIMES.27

              20.     A particular tragedy of the opioid epidemic is that it has caused law-abiding

      citizens who experience routine injuries to become dependent on opioids, and in many cases, has

      resulted in the total derogation of their lives.

              21.     The opioid epidemic is "directly related to the increasingly widespread misuse of

      powerful opioid pain medications."28 In many cases, heroin abuse starts with prescription opioid

      addiction. An inflated volume of opioids invariably leads to increased diversion and abuse.

      Indeed, there is a "parallel relationship between the availability of prescription opioid analgesics



     " Id.

      n See  Robert M. Cal iff et al., A Proactive Response to Prescription Opioid Abuse, 374 N. End. J. Med.
      1480 (Apr. 14, 2016), doi: 10.1056/NEMsr1601307,
      https://www.neim.org/doi/fill1/10.1056/NEJMsr l 601 307 (hereinafter "Califf et al.").




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 26 of 358




      through legitimate pharmacy channels and the diversion and abuse of these drugs and associated

      adverse outcomes."29 For most people who misuse opioids, the source of their drugs can

      typically be found in the excess supply of drugs in the community, beyond what is needed for

      legitimate medical purposes. Filling an opioid prescription is a significant risk factor for

      overdose.30

               22.      According to the CDC, the United States is currently seeing the highest overdose

      death rate ever recorded.31 Aside from overdose, long-term opioid use is associated with a

      significant increase in mortality from other causes.32 As opioid-related deaths increase, the life

      expectancy in the United States deereases.33

               23.      On October 28, 2017, the President of the United States declared the opioid crisis

      a public health emergency.34

               24.      This suit takes aim at the primary cause of the opioid crisis: A False Narrative




      29 Dan, Richard C. et al., Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng.
      J.       Med.       241        (2015),       001:       10.1056/NEJMsa1406143,           available       at
      httus://www.nejm.org/doi/ful1/10.1056/nejmsa1406143.

      3° Dowell,   CDC Guideline, supra n. 21, at 22-24.

               Glenza, Opioid crisis.- overdoses increased by a third across US in 14 months, says CDC, THE
      31 Jessica
      GUARDIAN   (March 6, 2018), https://www.theguardian.com/us-news/2018/mar/06/opioid-cri sis-overdoses-
      increased-by-a-third-across-us-in-14-months-says-cdc.

      32Wayne A. Ray et al., Prescription of Long-Acting Opioids and Mortality in Patients With Chronic
      Noncancer Pain, 315(22):2415-2423, JAMA (Jun. 2016), doi:10.1001/j ama.2016.7789, available at
      hups://jarrianetwork.com/ioumals/iarna/fullarticle/2528212.

      33 Nat'l Ctr. for Health Statistics, Life Expectancy, https://www.cdc.govinchs/fastats/life-exnectancv.htm.
      (last accessed Aug. 1, 2018); Centers for Disease Control and Prevention, U.S. drug overdose deaths
      continue       to   rise;    increase      fueled   by     synthetic  opioids,    (March      18,    2018),
      https://www.cdc.Rov/media/releases/2018/p0329-drug-overdose-deaths.html.

      34 Julie Hirschfeld Davis, Trump Declares Opioid Crisis a 'Health Emergency' but Requests No Funds,
      THE NEW YORK TIMES, Oct. 26, 2017, hups://www.nytimes.com/2017/10/26/u,s/politics/trump-opioid-
      crisis.html.
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 27 of 358




      marketing scheme, in which the distributors joined and conspired, involving the false and

      deceptive marketing of prescription opioids, which was designed to dramatically increase

      demand for and sale of opioids and opioid prescriptions.

               25.     On the demand side, the Defendants who manufacture, sell and market

      prescription opioid pain killers (the "Marketing Defendants") precipitated the crisis. These

      opioids have various brand names and generic names, and include OxyContin, fentanyl,

      hydrocodone, oxycodone, and others mentioned in this Complaint. Through a massive marketing

      campaign premised on false and incomplete information, the Marketing Defendants engineered a

      dramatic shift in how and when opioids are prescribed by the medical community and used by

      patients.

               26.     The Marketing Defendants relentlessly and methodically—but untruthfully—

     asserted that the risk of addiction was low when opioids were used to treat chronic pain and

     overstated the benefits and trivialized the risk of the long-term use of opioids. Contrary to these

     assertions, opioids are extremely addictive. Studies have found diagnosed opioid dependence

      rates in primary care settings as high as 26%.35 Among opioid users who received four

      prescriptions in a year, 41.3% meet diagnostic criteria for a lifetime opioid-use disorder.36

     Because opioids cause tolerance and dependence, patients who take the drugs for even a short



     35   Dowell, CDC Guideline, supra n. 21.

     36Joseph A. Boscarino et al., Op/aid-Use Disorder Among Patients on Long-Term Opioid Therapy: Impact
     of Final DSM-5 Diagnostic Criteria on Prevalence and Correlates, 6:83-91, Substance Abuse and
     Rehabilitation (Aug. 2015), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4548725/; see
     also Joseph A. Boscarino et al.. Prevalence of Prescription Opioid-Use Disorder Among Chronic Pain
     Patients: Comparison of the DSM-5 vs. DSM-4 Diagnostic Criteria, 30(3):185-94, Journal of Addictive
     Diseases (Sept. 2011), available at httos://www.ncbi.nlm.nih.gov/pubmed/21745041 (showing a 34.9%
      lifetime opioid use disorder).




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 28 of 358




      time become a physiologically captured market. According to the U.S. Department of Health and

      Human Services, more than two million Americans are opioid-dependent." The difficulty in

      stopping use is particularly true for patients first prescribed an extended release opioid. Patients

      who initiated treatment on an extended release opioid— such as OxyContin— have a 27.3%

      likelihood to be using opioids one year later, and a 20.5% likelihood of using opioids three years

      latcr.38 Whether in the end a patient meets the clinical definition of addiction or is simply

      dependent and unable to stop using opioids, once opioids are prescribed for even a short period

      of time, patients are hooked.

                27.     Opioids pose high risks for children and adolescents. Most of the use in this '

      population is off-label as opioids are not approved for children. Use of prescription opioid pain

      medication before high school graduation is associated with a 33% increase in the risk of later

      opioid misuse. The misuse of opioids in adolescents strongly predicts the later onset of heroin

      use.39 Nonetheless, the 2016 CDC guidelines found that there have been significant increases in

      opioid prescribing for children and adolescents, for conditions such as headaches and sports

      injuries.

                28.    The Marketing Defendants' goal was simple: dramatically increase sales by

      convincing doctors to prescribe opioids not only for the kind of severe pain associated with

      cancer or short-term post-operative pain, but also for common chronic pain, such as back pain

      and arthritis. They did this even though they knew that opioids were addictive and subject to


      37U.S. Dept. of Health and Human Services, What is the U.S. Opioid Epidemic? (Jan. 2019), available at
      https://www. hhs.gov/opio ids/about- the-ep id ern ic/i ndex. html.

      38Anuj Shah et at., Characteristics of Initial Prescription Episodes and Likelihood of Long-Term °plaid
      Use — United Stales, 2006-2015, 66(10):265-269, Morbidity and Mortality Weekly Report (Mar. 2017),
      available at httos://www.edczovInunwrIvolumes/66/wrinun6610a1.htm.

           Dowell, CDC Guideline, supra n. 21.

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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 29 of 358




      abuse, and that their claims regarding the risks, benefits, and superiority of opioids for long-term

      use were untrue and unfounded.

              29.     The Supply Chain Defendants—including the Distributor Defendants and

      National Retail Pharmacies Defendants—saw the profit potential in opioid sales, participated in

      the conspiracy by ignoring their legal responsibilities, and flooded affected areas with opioids

      while knowing they were contributing to, and profiting from, widespread addiction and human

      misery. The Supply Chain Defendants, through their willingness to uncritically supply whatever

      quantities of opioids pharrnacies ordered, normalized overprescribing and caused widespread

      proliferation and availability of these dangerous drugs throughout communities in Florida.

              30.     Defendants succeeded. Opioid abuse has quickly become one of the nation's most

      pressing health management issues, not only because of its toll on patients, but increasingly

      because of the financial impact on hospitals and the rest of the healthcare system."

              31.    The Marketing Defendants and Supply Chain Defendants extract billions of

      dollars of revenue from the addicted American public while hospitals sustain tens of millions of

      dollars in losses caused as a result of the reasonably foreseeable consequences of the prescription

      opioid addiction epidemic. In fact, Defendants depend on hospitals to mitigate the health

      consequences of their illegal activities — at no cost to Defendants — thereby permitting

      Defendants to perpetuate their wrongful scheme. Defendants knew that but for the hospitals

      providing at least some aspect of a safety net, the number of overdose deaths and other related

      health consequences arising from opioid addictions would have been far greater than actually

      occurred, and the public outcry and political backlash threatening their profitmaking activities



      40 Jennifer Bresniek, Hospitals Face Higher Costs. More ED Visits from Opioid Abuse, HealthIT Analytics
      (Dec. 2 1 20 1 6), https://healthitanalytics.corn/news/hospitals-facc-higher-costs-morc-ed-visits-from-
      opioid-abuse.


                                                        14
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 30 of 358




      would have been swifter and far more certain.

              32.     The Marketing Defendants and Supply Chain Defendants have continued their

      wrongful, intentional, and unlawful conduct, despite their knowledge that such conduct has

      caused and/or is continuing to cause a national, state, and local opioid epidemic.

              33.     The deceptive marketing campaign of the Marketing Defendants substantially

      contributed to an explosion in the use of opioids across the country. Approximately 20% of the

      population between the ages of 30 and 44, and nearly 30% of the population over 45 have used

      opioids. Opioids are the most common treatment for chronic pain, and 20% of office visits now

      include a prescription of an opioid.

              34.     The sharp increase in opioid use resulting from Defendants' conduct has led

      directly to a dramatic increase in opioid abuse, addiction, overdose, and death throughout the

      United States, including Florida. Representing the NIH's National Institute of Drug Abuse in

      hearings before the Senate Caucus on International Narcotics Control in May 2014, Dr. Nora

      Volkow explained that "aggressive marketing by pharmaceutical companies" is "likely to have

      contributed to the severity of the current prescription drug abuse problem."41

              35.     In August 2016, then U.S. Surgeon General Vivek Murthy published an open

      letter to physicians nationwide, enlisting their help in combating this "urgent health crisis" and

      linking that crisis to deceptive marketing. He wrote that the push to aggressively treat pain, and

      the "devastating" results that followed, had "coincided with heavy marketing to doctors [m]any



      41America's Addiction to Opioids: Heroin and Prescription Drug Abuse, U.S. Senate, Caucus on
      International Narcotics Control, 113th Cong., at 3 (May 14, 2014) (statement); Testimony of Dr. Nora D.
      Volkow, Director, National Institute on Drug Abuse, available at https://www.druRabuse.gov/about-
      nidatlegislative-activities/testimony-to-congress/2014/americas-addietion-to-ooioids-heroin-preseription-
      drug:abuse.




                                                         15
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 31 of 358




       of [whom] were even taught—incorrectly—that opioids are not addictive when prescribed for

       legitimate pain."42

               36.    In a 2016 report, the CDC explained that "[o]pioid prescribing has quadrupled

      since 1999 and has increased in parallel with [opioid] overdoses."43 Patients receiving opioid

       prescriptions for chronic pain account for the majority of overdoses. For these reasons, the CDC

      concluded that efforts to rein in the prescribing of opioids for chronic pain are critical "to reverse

      the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.'

               37.    Defendants' practice of continually filling opioid prescriptions, including from

      suspicious prescribers, and failing to report suspicious orders of opioids has enabled an

      oversupply of opioids to communities, including in the regions that Plaintiffs serve. The

      Distributor Defendants had financial incentives to distribute higher volumes of opioids and not

      report suspicious orders or guard against diversion. Wholesale drug distributors acquire

      pharmaceuticals, including opioids, from manufacturers at an established wholesale acquisition

      cost. Discounts and rebates from this cost may be offered by manufacturers based on market

      share and volume. As a result, higher volumes may decrease the cost per pill to distributors.

      Decreased cost per pill in turn, allows wholesale distributors to offer more competitive prices, or

      alternatively, pocket the difference as additional profit.

               38.    Further, either explicitly or implicitly, all Defendants in this action worked



      '12Letter from Vivek H. Murthy, M.D., U.S. Surgeon General, available at http://www.tumtheriderx.org/
      (last accessed July 23, 2018).

      43Rose A. Rudd et al, Centers for Disease Control and Prevention, Increases in Drug and Opioid Overdose
      Deaths— United States, 2000-2014. 64(50); 1378-82, Morbidity and Mortality Weekly Report (Jan. 2016),
      available at https://www.ede.gov/mrnwr/preview/mmwrhtml/mm6450a3.htm (hereinafter "2000-2014
      Increases in Drug and Opioid Overdose Deaths").

      14 Id.

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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 32 of 358




      together to stifle the reporting of suspicious orders. This is because even one defection and

      reporting to the DEA could have reduced the overall quantity of opioids allowed to be dispensed

      within the United States. Therefore, to ensure that profits remained artificially high, the

      Defendants worked together to ensure oversupply of the market.

              39.      The widespread use of opioids and corresponding increases in addiction and

      abuse have led to increased emergency room visits, emergency responses to overdoses, and

      emergency medical technicians' administration of naloxone—the antidote to opioid overdose.

              40.      As communities work to restore their lives, the opioid epidemic continues to

      outpace their efforts.

      C.      The Impact of Opioids on Florida Hospitals

              41.      Hospitals—legally and morally—are compelled to act and treat patients with

      opioid-related conditions45 and, as a result, are directly and monetarily damaged by the opioid

      epidemic. In addition to the cost of the opioid drugs themselves, hospitals have incurred and

      continue to incur millions of dollars in damages for the costs of uncompensated care as a result

      of the unlawful marketing, distribution, and sale of opioids. Arguably, more than any other

      institution, hospitals directly and monetarily bear the brunt of the opioid crisis.

              42.     Because of Defendants' conduct, the opioid epidemic is placing an increasing

      strain on the overburdened health care system in Florida.




      45"Opioid-related conditions" include but are not limited to opioid addiction and overdose; psychiatric and
      mental health treatment; NAS or other opioid-rclated conditions of newborns; illnesses associated with
      opioid use, such as endocarditis, hepatitis-C, and HIV; surgical procedures that are more complex and
      expensive due to opioid addiction; illnesses or conditions claimed by a person with opioid addiction in
      order to obtain an opioid prescription; and any other condition identified in Plaintiffs' records as related to
      opioid use and abuse.




                                                            17
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 33 of 358




                43.   Plaintiffs are struggling from the relentless and crushing financial burdens caused

      by the epidemic of opioid addiction.

                44.   The effects of the opioid epidemic on hospitals may soon become even worse.

      The coverage rules under the Affordable Care Act ("ACA") are in transition, thus creating the

      possibility of increased costs for hospitals for treatment of opioid-addicted patients admitted

      under the Emergency Medical Treatment and Labor Act ("EMTALA"), 42 U.S.C. § 1395dd.46

      Florida has its own EMTALA like requirement, Fla. Stat. Ann. § 395.1041 - Access to

      emergency services and care.

                45.   Florida's "Baker Act," further requires hospitals to provide treatment for persons

      who present with symptoms of mental illness. "A person shall not be denied treatment for mental

      illness and services shall not be delayed at a receiving or treatment facility because of inability to

      pay." Fla. Stat. Ann. § 394.459 (2)(a). Further, the law requires that "the least restrictive

      appropriate available treatment be utilized based on the individual needs and best interests of the

      patient and consistent with optimum improvement of the patient's condition." Fla. Stat. Ann. §

      394.459 (2)(b). "Each person who remains at a receiving or treatment facility for more than 12

      hours shall be given a physical examination by a health practitioner authorized by law to give

      such examinations, within 24 hours after arrival at such facility." Ha. Stat. Ann. § 394.459

      (2)(c).

                46.   As a result of these statutes, hospitals in Florida must admit opioid addicts, who

      present themselves in need of intensive care or who display symptoms of mental illness. In

      addition. if an opioid addict is pregnant, and presents herself for treatment, hospitals also have to



      46American Hospital Association, AHA Priorities to Address the Opioid Crisis,
      https://www.aha.org/guidereports/2018-03-02-aha-priorities-address-onioid-crisis, (last accessed August
      1,2018).

                                                        18
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 34 of 358




      provide care for both the opioid-addicted mother and her oploid-addicted baby. As a result of the

      opioid addiction epidemic, including in the area which Plaintiffs serve, opioid-addicted patients

      routinely occupy beds in hospitals, including hospitals operated by Plaintiffs. Opioid-addicted

      mothers and babies routinely present themselves for admission at ERs and occupy beds in the

      NICUs, including those operated by Plaintiffs. Many of those patients have no insurance and do

      not pay for their care. "Virtually every hospital I have talked to has been touched by this," said

      Bruce Rueben, president of the Florida Hospital Association, a Tallahassee industry group.47

                  47.   Plaintiffs encounter patients with opioid addiction on a daily basis. They must try

      and help patients who have serious medical conditions that require extra care and expense

      because the patient is addicted to opioids.

                  48.   The statistics are startling. Adult hospitalizations due substantially to opioid-

      related medical conditions doubled from 2000 to 2012. From 2005 to 2014, emergency

      department visits exhibited a 99.4% cumulative increase.48

                  49.   Between 2005 and 2014, there was a dramatic increase nationally in

      hospitalizations involving opioids: the rate of opioid-related inpatient stays increased 64%, and

      the rate of opioid-related emergency department ("ED") visits nearly doubled.49

                  50.   The average health care costs for those diagnosed with an opioid use disorder


      47 PatBeall & Mike Stucka, Cost of Heroin Epidemic Tops $1 billion a year in Florida, PALMBEACHPOST
      (Dec. 17, 2016), https://www.mypalmbeachpost.cominews/cost-heroin-epidemie-tops-billion-year-
      florida/WYamI7pzw1HMkFkf3ruzY8H/.

      48    Id.
      -19
       Audrey J. Weiss, et al, Patient Characteristics of Opioid-Related Inpatient Stays and Emergency
      Department Visits Nationally and by State, 2014 (June 2017), httus://www.heun-
      us. ahrg.govire_ports/sta tbriefs/sb224-Pa tient-Cha racteri stics-Opi o id-Hos Di ta 1-Stays-ED-V is its-bv-
      State.pdf.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 35 of 358




      were eight times higher than those without an opioid use disorder.5°

                 51.     The cost to hospitalize those with opioid addiction has more than tripled in a

      decade, up to nearly $15 billion in 2012. Similarly, the number of patients hospitalized due to the

      effects of these drugs surged by more than 72% in 2012, although overall hospitalizations during

      that time stayed relatively flat.51

                 52.     Private insurance covers only a portion of those costs. The burden is carried by

      hospitals, patients, and government programs.52 In 2012, hospitals provided almost $15 billion

      for opioid-related inpatient care, more than double of what they billed in 2002.53 A substantial

      portion of these costs were under-insured or unreimbursed.

                 53.     In 2012, an average hospital stay for a patient with an opioid-related condition

      cost about $28,000 and only about 20% of the hospital stays related to those incidents were

      covered by private insurance. The number increased to $107,000 if there was an associated

      infection, with merely 14% covered by insurance.54

                 54.     Patients with complex opioid addiction-related histories (medically and

      psychosocially) often cannot get treatment at skilled nursing facilities if they are discharged by

      hospitals. In Florida, there is nowhere for these patients to go other than hospitals due to the




      5° AlenG. White, PhD, et al., Direct Costs of Opioid Abuse in an Insured Population in the United States,
      published in Journal of Managed Care Pharmacy, Vol. 11, No. 6 July/August 2005, at 469.

      51   Marty Stempnialc, Opioids Add to a Sharp Rise in Hospitalizations, Costs, (May 5, 2016).
      https://www.hhnmag.com/articles/723 I -onioids-contribute- to-a -sharp-rise- in -hospitalizations- health- eare-
      costs (last accessed on July 11, 2018).

      52   Id.

      53Shefali Luthra, Opioid Epidemic Fueling Hospitalizations, Hospital Costs, KAISER HEALTH NEWS
      (May 2, 2016), huns://khn.orOnews/onioid- enidemie- fueling- hosnitatizations-hosnital-costs/.

      54   1d.


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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 36 of 358




      behavioral and security issues that are often associated with those who are addicted to opioids.

      As a result, they wind up staying in hospitals longer, resulting in the cost of care going up.

                  55.   The cost of treating opioid overdose victims in hospital intensive care units

      jumped 58% in a seven-year span. Between 2009 and 2015, the average cost of care per opioid

      overdose admission increased from $58,000 to $92,400. This was during a period where the

      overall medical cost escalation was about 19%. This cost increase also highlights a troubling

      trend: overdose patients are arriving in worse shape, requiring longer stays and a higher level of

      treatment.55

                  56.   Pregnant women and their children have been significantly impacted by the

      opioid epidemic. There are negative consequences of drug use for pregnant women including

      increased risks of assault and abuse, miscarriage, and contracting hepatitis or HIV. Each year,

      thousands of infants are exposed to opioids while in the womb. Infants who are chronically

      exposed to opioids and other drugs will often experience a constellation of withdrawal signs after

      birth, collectively referred to as NAS.

                  57.   The rates of opioid abuse during pregnancy have increased nationally and in

      Florida. There has been an almost four-fold increase in admissions to N1CUs for NAS over the

      past decade: from seven cases per 1,000 NICU admissions in 2004, to 27 cases per 1,000 NICU

      admissions in 2012. Costs have been increasing rapidly. In Palm Beach County in 2009, it took

      18 months of treatment of sick babies to run up a $3.4 million hospital bill. By late 2015, costs

      accelerated to the point that it took just three months to run up the same bill.56




      55Casey Ross, The Cost of Treating Opioid Overdose Victims is Skyrocketing, STAT NEWS (Aug. 11,
      2017), Imps://www. statnews.com/2017/08/11/oDio id-overdose-costs/.

      5   b Id.


                                                        21
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 37 of 358




              58.    The misrepresentations of Marketing Defendants, Distributor Defendants and

      others prompted Florida health care providers to prescribe, patients to take, and payors to cover

      opioids for the treatment of chronic pain. Through their marketing, the Marketing Defendants

      and Distributor Defendants overcame barriers to widespread prescribing of opioids for chronic

      pain with deceptive messages about the risks, benefits, and sustainability of long-term opioid

      use. These harms were compounded by supplying opioids beyond what the market could bear,

      funneling so many opioids into Florida communities that the only logical conclusion was that the

      product was being diverted and used illicitly. The massive quantities of opioids that flooded into

      Florida as a result of Defendants' wrongful conduct has devastated communities across this

      State, including the communities served by Plaintiffs.

      D.     Financial Impact of Defendants' Activities on Plaintiffs

             59.     Plaintiffs have treated, and continue to treat, numerous patients for opioid-related

      conditions, including: (1) opioid overdose; (2) opioid addiction; (3) hepatitis C, HIV and other

      infections occurring as a result of intravenous drug use; (4) neonatal treatment in its NICU for

      babies born opioid-dependent, for which treatment is specialized, intensive, complex, lengthy

      and highly expensive; and (5) psychiatric and related treatment for patients with opioid addiction

      who present in need of mental health treatment programs.

             60.     Plaintiffs have incurred and continue to incur substantial unreimbursed costs for

      their treatment of patients with opioid-related conditions. These patients with opioid-related

      conditions seek treatment from Plaintiffs as a proximate result of the opioid epidemic created and

      engineered by Defendants. As a result, Plaintiffs' monetary losses with respect to treatment of

      these patients were and are foreseeable to Defendants and were and are the proximate result of

      Defendants' acts and omissions specified herein.

             61.     Plaintiffs also have incurred and continue to incur operational costs in the form of

                                                      22
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 38 of 358




      surgical procedures and other care that have been and are more complex and expensive than

      would otherwise be the case if the patients were not opioid affected. Surgical procedures on

      opioid affected patients have been and are complicated and costly and require special protective

      measures and related prescription drugs.

             62.     Additionally, individuals with opioid addiction have presented and continue to

      present themselves to Plaintiffs claiming to have illnesses and medical problems in an effort to

      obtain opioids. Plaintiffs have incurred and continue to incur operational costs related to the time

      and expenses in diagnosing, testing, and otherwise attempting to treat these individuals.

             63.     The costs incurred by Plaintiffs are the direct and proximate result of the False

      Narrative campaign described below and the opioid epidemic created and engineered by

      Defendants.

             64.     Because opioids are very dangerous and highly addictive drugs, it was foreseeable

      to Defendants that the increase in the use of opioids would result in a corresponding epidemic of

      patients with opioid-related conditions going to hospitals for treatment, including to Plaintiffs. It

      was foreseeable to Defendants that Plaintiffs would stiffer substantial monetary losses because of

      the opioid epidemic, because hospitals are on the front line of treatment for these patients and

      must bear the additional costs of treatment.

             65.     Plaintiffs have purchased and continue to purchase and administer opioids

      marketed and sold by Defendants. Defendants have marketed and continue to market their opioid

      products directly to Plaintiffs, their pharmacy representatives, and their doctors. Defendants

      directly marketed their opioid products through the False Narrative campaign. Plaintiffs arc

      direct customers and victims of Defendants false, deceptive, and unfair marketing of opioids

      described hereafter.



                                                       23
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 39 of 358




              66.     Plaintiffs have purchased opioids from Defendants, have used them as falsely and

      deceptively marketed by Defendants, and have suffered damages as a direct and proximate result

      of Defendants' acts and omissions as described in this Complaint.

              67.     Plaintiffs would not have purchased the quantity of opioids they had from

      Defendants had they known the truth about Defendants' false marketing scheme, i.e. that

      Defendants' claims regarding the risks, benefits, and superiority of opioids for long-term use

      were untrue and unfounded, as described herein.

              68.     Plaintiffs bring this civil action to recover monetary losses that they have incurred

      as a direct and proximate result of Defendants' false, deceptive, and unfair marketing of

      prescription opioids. Such economic damages were foreseeable to Defendants and were

      sustained because of Defendants' unlawful actions and omissions.

              69.     Plaintiffs bring this suit against the manufacturers of prescription opioids. The

      manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

      doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

      companies aggressively advertised to and persuaded hospitals and their doctors to purchase and

      prescribe highly addictive, dangerous, opioids and turned patients into drug addicts for their own

      corporate profit. Such actions were unlawful.

             70.     Plaintiffs also bring this suit against the Supply Chain Defendants of these highly

      addictive drugs. In addition to participating in the False Narrative campaign, the Supply Chain

      Defendants (along with the Manufacturers) unlawfully breached their legal duties under Florida

      law to monitor, dete ,investigate, report, and refuse to fill suspicious orders of prescription

      opiates, which enabled the manufacturers' deceptive advertising to increase sales, profits and

      distribution of their products to hospitals, including Plaintiffs.



                                                        24
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 40 of 358




      E.      The Roles of Defendants in Causing and Perpetuating the Opioid Crisis

              71.    The Marketing Defendants' push to increase opioid sales worked. Through

      publications and websites, endless streams of sales representatives, "education" programs, and

      other means, the Marketing Defendants dramatically increased their sales of prescription opioids

      and reaped billions of dollars of profit as a result. Since 1999, the amount of prescription opioids

      sold in the U.S. has nearly quadrupled. In 2016, 289 million prescriptions for opioids were filled

      in the U.S.—enough to medicate every adult in America around the clock for a month.

             72.     On the supply side, the crisis was fueled and sustained by those involved in the

      supply chain of opioids, including manufacturers and distributors, who failed to maintain

      effective controls over the distribution of prescription opioids, and who instead have actively

      sought to evade such controls. Defendants have contributed substantially to the opioid crisis by

      selling and distributing far greater quantities of prescription opioids than they know should be

      necessary for legitimate medical uses, while failing to report, and take steps to halt, suspicious

      orders v'hen they were identified, thereby exacerbating the oversupply of such drugs and fueling

      an illegal secondary market.

             73.     From the day they made the pills to the day those pills were consumed in each

      community, the Marketing Defendants had control over the information regarding addiction they

      chose to spread and emphasize as part of their massive marketing campaign. By providing

      misleading information to doctors about addiction being rare and opioids being safe even in high

      doses, then pressuring those doctors into prescribing their products by arguing, among other

      things, that no one should be in pain, especially chronic pain, the Marketing Defendants created a

      population of addicted patients who sought opioids at never-before-seen rates. The scheme

      worked, although perversely, and through it the Marketing Defendants caused their profits to

      soar as more and more people became dependent on opioids.

                                                       25
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 41 of 358




              74.    Defendants systematically and repeatedly disregarded the health and safety of the

      public. Charged by law to monitor and report dangerous behavior, they failed to do so in favor of

      maximizing corporate profits and increasing their market share.

             75.      Corporate greed and callous indifference to the known, serious potential for

      human suffering and death have caused this public health crisis. Defendants unleashed a

      healthcare crisis that has had far-reaching financial and social consequences in this country,

      including opioid addiction and death.

             76.     The Marketing Defendants falsely and misleadingly, and contrary to the language

      of their drugs' labels: (1) downplayed the serious risk of addiction; (2) promoted the concept of

      "pseudo addiction" and thus advocated that the signs of addiction should be treated with more

      opioids; (3) exaggerated the effectiveness of screening tools in preventing addiction; (4) claimed

      that opioid dependence and withdrawal are easily managed; (5) denied the risks of higher opioid

      dosages; (6) promoted the falsehood that long-term opioid use improves functioning; (7)

      misrepresented the effectiveness of time-released dosing, and, in particular, the effectiveness of a

      version of OxyContin that purportedly provided twelve hours of pain relief; and (8) exaggerated

      the effectiveness of "abuse-deterrent" opioid formulations to prevent abuse, addiction and death.

             77.     The Marketing Defendants disseminated these common messages to reverse the

      popular and medical understanding of opioids. They disseminated these messages directly,

      through their sales representatives, and in speaker groups led by physicians who were recruited

      by and paid by the Marketing Defendants for their support of the Marketing Defendants'

      marketing messages.

             78.,    The Marketing Defendants also worked through third parties they controlled by:

      (a) funding, assisting, encouraging, and directing doctors, known as "key opinion leaders"



                                                      26
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 42 of 358




      ("KOLs") and (b) creating, funding, assisting, directing, and/or encouraging seemingly neutral

      and credible professional societies and patient advocacy groups (referred to hereinafter as "Front

      Groups"). The Marketing Defendants then worked together with those KOLs and Front Groups

      to profoundly influence, and at times control, the sources that doctors and patients relied on for

      ostensibly "neutral" guidance, such as treatment guidelines, continuing medical education

      ("CME") programs, medical conferences and seminars, and scientific articles. Thus, working

      individually and collectively, and through these Front Groups and KOLs, the Marketing

      Defendants persuaded doctors and patients that what they had long known — that opioids are

      addictive drugs, unsafe in most circumstances for long-term use — was untrue, and quite the

      opposite, that the compassionate treatment of pain required opioids.

                 79.    Each Marketing Defendant knew that its misrepresentations of the risks and

      benefits of opioids were not supported by or were directly contrary to the scientific evidence.

      Indeed, the falsity of each Defendant's misrepresentations has been confirmed by the U.S. Food

      and Drug Administration ("FDA") and the CDC, including by CDC's Guideline. for Prescribing

      Opioids for Chronic Pain, issued in 2016 and approved by the FDA."

                                      II.     JURISDICTION AND VENUE

                80.     This Court has subject matter jurisdiction over this action pursuant to Fla. Stat.

      Ann. § 26.012.

                81.     The Court has personal jurisdiction over Defendants pursuant to Fla. Stat. Ann. §

      48.193 because at all relevant times Defendants engaged in substantial business activities in




      57   See Centers for Disease Control and Prevention, Guideline for Prescribing Opioids For Chronic Pain,
      https://www.cdc.gov/drugoverdose/pdf/auidelines factsheet-a.ndf (last accessed August I, 2018); Pat
      Anson, FDA Endorses CDC Opioid Guidelines, PAN NEWS NETWORK (Feb. 4, 2016),
      https://www.painnewsnetwork.orestories/2016/2/4 /fda-endorses-cdc-onioid-guidelines.


                                                          27
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 43 of 358




      Florida and purposefully directed their actions toward these States, consensually submitted to the

      jurisdiction of these States when obtaining a manufacturer or distributor license, and have the

      requisite minimum contacts with Florida necessary to constitutionally permit the Court to

      exercise jurisdiction.

             82.     Venue is proper in Palm Beach County pursuant to Fla. Stat. Ann. §§ 47.011,

      47.041, and 47.051 because a substantial part of the events or omissions giving rise to Plaintiffs'

      cause of action occurred in Palm Beach County, and because Defendants' unfair and deceptive

      practice took place, in part, in Palm Beach County.

             83.     This action is non-removable because there is incomplete diversity of residents

      and no substantial federal question is presented.

                                              III. PARTIES

      A.     Plaintiffs

             1.      Bayfront Health

             84.     Bayfront HMA Medical Center, LLC is a Florida limited liability company with

      its principal place of business located in St. Petersburg, Florida. Bayfront HMA Medical Center,

      LLC operates a hospital under the fictitious name Bayfront Health St. Petersburg in St.

      Petersburg, Florida.

             85.     Hernando HMA, LLC is a Florida limited liability company with its principal

      place of business located in Brooksville, Florida. Hernando HMA, LLC operates hospitals (1)

      under the fictitious name Bayfront Health Brooksville in Brooksville, Florida, and (2) under the

      fictitious name Bayfront Health Spring Hill in Spring Hill, Florida.

             86.     Port Charlotte HMA, LLC is a Florida limited liability company with its principal

      place of business located in Port Charlotte, Florida. Port Charlotte HMA, LLC operates a

      hospital under the fictitious name Bayfront Health Port Charlotte in Port Charlotte, Florida.

                                                      28
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 44 of 358




                 87.   Punta Gorda HMA, LLC is a Florida limited liability company with its principal

      place of business located in Punta Gorda, Florida. Punta Gorda HMA, LLC operates a hospital

      under the fictitious name Bayfront Health Punta Gorda in Punta Gorda, Florida.

                 2.    Broward Health

                 88.   North Broward Hospital District is a Florida special tax district with its principal

      place of business located in Ft. Lauderdale, Florida. North Broward Hospital District operates a

      hospital under the fictitious name Broward Health in Fort Lauderdale, Florida.

              3.       Central Florida Health

              89.      Central Florida Health (CFR) is a locally owned and governed not-for-profit

      healthcare system and the largest, most comprehensive provider of healthcare services in the

      region it serves. CFH provides services to Lake, Sumter, and Marion counties through inpatient

      acute hospital services at Leesburg Regional Medical Center (LRMC) and The Villages Regional

      Hospital (TVRH), as well as inpatient rehabilitation services at TVRH Rehabilitation Hospital.

             90.       As a premier healthcare provider, CFH has served the surrounding communities

      for more than 55 years. It has provided progressive, innovative technology, along with building

      strong relationships with patients, families, physicians and residents of the communities it serves

      in Florida.

             91.       Leesburg Regional Medical Center, Inc. is a Florida not for profit corporation

      with its principal place of business located in Leesburg, Florida. Leesburg Regional Medical

      Center, Inc. operates a hospital under the name Leesburg Regional Medical Center in Leesburg,

      Florida.

             92.       The Villages Tr-County Medical Center, Inc. is a Florida not for profit

      corporation with its principal place of business located in The Villages, Florida. The Villages

      Tr-County Medical Center, Inc. operates a hospital under the fictitious name The Villages

                                                        29
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 45 of 358




      Regional Hospital in The Villages, Florida

             4.      Coral Gables Hospital

             93.     CGH Hospital, Ltd. is a Florida limited partnership with its principal place of

      business located in Coral Gables, Florida. CGH Hospital, Ltd. operates a hospital under the

      fictitious name Coral Gables Hospital in Coral Gables, Florida.

             5.      Delray Medical Center

             94.     Delray Medical Center, Inc. is a Florida profit corporation with its principal place

      of business located in Delray Beach, Florida. Delray Medical Center, Inc. operates a hospital

      under the fictitious name Delray Medical Center in Delray Beach, Florida.

             6.      Flagler Hospital

             95.     Flagler Hospital, Inc. is a Florida not for profit corporation with its principal place

      of business located in St. Augustine, Florida. Flagler Hospital, Inc. operates a hospital under that

      name in St. Augustine, Florida.

             96.     The 335-bed hospital has been named among America's 100 Best hospitals out of

      nearly 4,500 nationwide. With nearly 125 years of history in St. Johns County, Flagler Hospital

      is committed to providing the best patient experience with the best staff. As part of this, Flagler

      Hospital offers the highest degree of technology to improve care and provide the best treatment.

      These include fully-digital operating rooms, digital mammography machines, advanced robotic

      pharmacy technology, a state-of-the art neonatal intensive care unit and - in partnership with

      Florida Radiation Oncology Group - one of the world's most advanced Adaptive Radiation

      Therapy delivery systems available for the treatment of cancer.

             7.      Good Samaritan Medical Center

             97.     Good Samaritan Medical Center, Inc. is a Florida profit corporation with its

      principal place of business located in West Palm Beach, Florida. Good Samaritan Medical

                                                       30
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 46 of 358




      Center, Inc. operates a hospital under the fictitious name Good Samaritan Medical Center in

      West Palm Beach, Florida.

              8.      Halifax Hospital Medical Center

              98.     Halifax Hospital Medical Center is a special tax district established by the Florida

      Legislature for the purpose of developing and operating medical facilities with its principal place

      of business located in Daytona Beach, Florida. Halifax Hospital Medical Center operates a 678-

      bed hospital in Daytona Beach, Florida, as well as an 80-bed hospital in Port Orange, Florida.

      Halifax Hospital Medical Center is the largest healthcare provider in the Daytona Beach area,

      with more than 500 physicians on its medical staff representing 46 medical specialties. Halifax

      Hospital Medical Center provides a continuum of healthcare services through a network of

      organizations including a tertiary hospital, a community hospital, psychiatric services, four

      cancer treatment centers, the area's largest hospice organization, and a preferred provider

      organization. Its 24-hours emergency department includes the area's only Level 11 Trauma

      Center and the only pediatric emergency department.

             9.      Heart of Florida Regional Medical Center

             99.     Haines City HMA, LLC is a Florida limited liability company with its principal

      place of business located in Davenport, Florida. Haines City HMA, LLC operates a hospital

      under the fictitious name Heart of Florida Regional Medical Center in Davenport, Florida.

             10.     Hialeah Hospital

             100.    Hialeah Hospital, Inc. is a Florida profit corporation with its principal place of

      business located in 1-lialeah, Florida. Hialeah Hospital, Inc. operates a hospital under the

      fictitious name Hialeah Hospital in Hialeah, Florida.

              11.    Lake Wales Medical Center

              101. Lake Wales Hospital Corporation is a Florida profit corporation with its principal

                                                       31
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 47 of 358




      place of business located in Lake Wales, Florida. Lake Wales Hospital Corporation operates a

      hospital under the fictitious name Lake Wales Medical Center in Lake Wales, Florida.

              12.     Larkin Community Hospital

              102.    Larkin Community Hospital, Inc. is a Florida corporation with its principal place

      of business located in South Miami, Florida. Larkin Community Hospital, Inc. operates a

      hospital under the name Larkin Community Hospital and has been serving the health care needs

      of South Miami and the surrounding communities for more than 35 years. In addition to

      providing emergency medical services and in patient medical and surgical treatment, Larkin

      Community Hospital provides inpatient behavioral health services. Larkin Community Hospital

      Behavioral Health Services, Inc. is a Florida corporation with its principal place of business

      located in Hollywood, Florida. Larkin Community Hospital Behavioral Health Services, Inc.

      operates a hospital under the name Larkin Community Hospital Behavioral Health Services in

      Hollywood, Florida. Larkin Community Hospital Behavioral Health Services, Inc. is a Baker

      Act receiving facility.

             103.    Larkin Community Hospital Palm Springs Campus, LLC is a Florida limited

      liability company with its principal place of business located in Hialeah, Florida. Larkin

      Community Hospital Palm Springs Campus, LLC operates a hospital under the name Larkin

      Community Hospital Palm Springs Campus in Hialeah, Florida.

             13.     Lower Keys Medical Center

             104. Key West HMA, LLC is a Florida limited liability company with its principal

      place of business located in Key West, Florida. Key West HMA, LLC operates a hospital under

      the fictitious name Lower Keys Medical Center in Key West, Florida.

              14.    North Okaloosa Medical Center

             105. Crestview Hospital Corporation is a Florida profit corporation with its principal

                                                      32
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 48 of 358




      place of business located in Crestview, Florida. Crestview Hospital Corporation operates a

      hospital under the fictitious name North Okaloosa Medical Center in Crestview, Florida.

              15.    North Shore Medical Center

             106. North Shore Medical Center, Inc. is a Florida profit corporation with its principal

      place of business located in Miami, Florida. North Shore Medical Center, Inc. operates (a) a

      hospital under the fictitious name North Shore Medical Center in Miami, Florida, and (b) a

      hospital under the fictitious name Florida Medical Center in Lauderdale Lakes, Florida.

             16.     Palm Beach Gardens Medical Center

             107. Palm Beach Gardens Community Hospital, Inc. is a Florida profit corporation

      with its principal place of business located in Palm Beach Gardens, Florida. Palm Beach Gardens

      Community Hospital, Inc. operates a hospital under the fictitious name Palm Beach Gardens

      Medical Center in Palm Beach Gardens, Florida.

             17.     Palmetto General Hospital

             108.    Lifemark Hospitals of Florida, Inc. is a Florida profit corporation with its

      principal place of business located in Hialeah, Florida. Lifemark Hospitals of Florida, Inc.

      operates a hospital under the fictitious name Palmetto General Hospital in Hialeah, Florida.

             18.     Physicians Regional Medical Center

             109. Naples HMA, LLC is a Florida limited liability company with its principal place

      of business located in Naples, Florida. Naples HMA, LLC operates hospitals (1) under the

      fictitious name Physicians Regional Medical Center - Collier Boulevard in Naples, Florida, (2)

      under the fictitious name Physicians Regional Medical Center — Pine Ridge in Naples, Florida.

             19.     Santa Rosa Medical Center

             110. HMA Santa Rosa Medical Center, LLC is a Florida limited liability company

      with its principal place of business located in Milton, Florida. I-1MA Santa Rosa Medical Center,

                                                      33
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 49 of 358




      LLC operates a hospital under the fictitious name Santa Rosa Medical Center in Milton, Florida.

              20.    Seven Rivers Regional Medical Center

              ill. Citrus HMA, LLC is a Florida limited liability company with its principal place of

      business located in Crystal River, Florida. Citrus HMA, LLC operates a hospital under the

      fictitious name Seven Rivers Regional Medical Center in Crystal River, Florida.

             21.     Shands Lake Shore Regional Medical Center

              112. Lake Shore HMA, LLC is a Florida limited liability company with its principal

      place of business located in Lake City, Florida. Lake Shore HMA, LLC operates a hospital under

      the fictitious name Shands Lake Shore Regional Medical Center in Lake City, Florida.

             22.     Shands Live Oak Regional Medical Center

             113. Live Oak HMA, LLC is a Florida limited liability company with its principal

      place of business located in Live Oak, Florida. Live Oak HMA, LLC operates a hospital under

      the fictitious name Shands Live Oak Regional Medical Center in Live Oak, Florida.

             23.     Shands Starke Regional Medical Center

             114.    Starke HMA, LLC is a Florida limited liability company with its principal place

      of business located in Starke, Florida. Starke HMA, LLC operates a hospital under the fictitious

      name Shands Starke Regional Medical Center in Starke, Florida.

             24.     St. Cloud Regional Medical Center

             115.    Osceolase LLC is a Florida limited liability company with its principal place of

      business located in St. Cloud, Florida. Osceolasc LLC operates a hospital under the fictitious

      name St. Cloud Regional Medical Center in St. Cloud, Florida.

             25.     St. Nlary's Medical Center

             116.    St. Mary's Medical Center, Inc. is a Florida profit corporation with its principal

      place of business located in West Palm Beach, Florida. St. Mary's Medical Center, Inc. operates

                                                      34
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 50 of 358




      a hospital under the fictitious name Si. Mary's Medical Center in West Palm Beach, Florida.

              26.         Tampa General Hospital

                 I I 7.   Florida Health Sciences Center, Inc. is a Florida not for profit corporation with its

      principal place of business located in Tampa, Florida. Florida Health Sciences Center, Inc.

      operates a hospital under the fictitious name Tampa General Hospital ("TGH") in Tampa,

      Florida.

              118.        TGH is one of the most comprehensive medical facilities in West Central Florida

      serving a dozen counties with a population in excess of 4 million. As one of the largest hospitals

      in Florida, TGH is licensed for 1,007 beds, and with more than 8,000 employees, is one of the

      region's largest employers. TGH has been affiliated with the USF Health Morsani College of

      Medicine since the school was created in the early 1970s. TGH is the primary teaching

      hospital of the USF Health Morsani College of Medicine and over 300 residents and 100 fellows

      are assigned to TTGH for specialty training in areas ranging from general internal medicine to

      neurosurgery.

              119.        TGH is a nationally-designated comprehensive stroke center, and its 32-bed

      Neuroscience Intensive Care Unit is the largest on the west coast of Florida. Other outstanding

      centers include internal medicine, cardiovascular, orthopedics, high risk and

      normal obstetrics, urology. ENT, endocrinology, and the Children's Medical Center, which

      features a nine-bed pediatric intensive care unit and one of just three outpatient pediatric dialysis

      units in the state.

              27.         Venice Regional Bayfront Health

              120. Venice HMA, LLC is a Florida limited liability company with its principal place

      of business located in Venice, Florida. Venice HMA, LLC operates a hospital under the fictitious

      name Venice Regional Bayfront Health in Venice, Florida.

                                                           35
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 51 of 358




      B.      Defendants

              1.        Marketing Defendants

                        a.      Purdue

              121.      Non-Party Purdue Pharrna L.P. is a limited partnership organized under the laws

      of Delaware with its principal place of business in Stamford, Connecticut.

              122.      Non-Party Purdue Pharrna Inc. is a New York corporation with its principal place

      of business in Stamford, Connecticut, and is the general partner of Purdue Pharrna, L.P.

              123.     Non-Party The Purdue Frederick Company is a New York corporation with its

      principal place of business in Stamford, Connecticut. Non-Parties Purdue Pharina, L.P., Purdue

      Pharma, Inc., and The Purdue Frederick Company are collectively referred to as "Purdue."

             124.      The following Defendants, all members of the Sackler family that beneficially

      owns Purdue, have served on the Board of Purdue during the relevant times indicated in

      parenthesis:

                   a. Richard Sackler (at all pertinent times until 201858), a resident of Florida;

                   b. Beverly Sackler (all pertinent times until 2017), a resident of Connecticut;

                   c. David Sackler (2012-18), a resident of New York;

                   d. Ilene Sackler Lefcourt (all pertinent times), a resident of New York;

                   e. Jonathan Sackler (all pertinent times), a resident of Connecticut;

                   f. Kathe Sackler (all pertinent times), a resident of Connecticut;




      $8Defendant Beverly Sackler left the Board in 2017. Defendants Richard, David and Theresa Sackler left
      the Board in 2018. Defendants Jonathan Snider, Ilene Sackler Lefcourt„ Kathe Sackler, and Mortimer D.A.
      Sackler remain on the Board.




                                                         36
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 52 of 358




                 g. Mortimer D.A. Sackler (all pertinent times), a resident of New York59; and

                 h. Theresa Sackler (all pertinent times until 2018), a resident of the United Kingdom.

              125.    The foregoing Defendants (collectively, the "Sackler Defendants") controlled

      Purdue's misconduct. Each of them took a seat on the Board of Directors of Purdue Pharma Inc.

      Together, the Sackler Defendants, at all pertinent times, constituted a majority of Board, which

      gave them full power over Purdue. They directed and otherwise participated in Purdue's

      deceptive sales and marketing practices, sending hundreds of orders to executives and other

      employees.

              126.    While the Sackler Defendants relinquished their officer titles in or around 2003 to

      try to shield themselves from future criminal and civil liability, they remained Purdue's owners,

      in control of its Board of Directors, and thus in firm control.

              127.    At all pertinent times, at least through the end of 2018, the Sackler Defendants

      controlled Purdue's deceptive sales campaign. They directed the company to hire hundreds

      more sales representatives to visit doctors thousands more times. They insisted that sales

      representatives repeatedly visit the most prolific prescribers. They directed representatives to

      encourage doctors to prescribe more of the highest doses of opioids. They studied unlawful

      tactics to keep patients on opioids longer and then ordered Purdue staff to implement these

      unlawful tactics. They asked for detailed reports about doctors suspected of misconduct, how

      much money Purdue made from them, and how few of them Purdue had reported to the

      authorities. They sometimes demanded more detail than anyone else in the entire company, so

      staff had to create special reports just for them. Richard Sackler even went into the field to



      59 References to "Mortimer D.A. Sackler" in this Complaint are to Mortimer David Alfons Sackler.
      Mortimer Sackler's father, the late Mortimer D. Sackler, was also involved in Purdue Pharma during his
      lifetime

                                                        37
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 53 of 358




      promote opioids to doctors and supervise representatives face to face. In connection with a

      single meeting in 2011, for example, sales and marketing staff scrambled to prepare responses to

      questions from the Sackler Defendants, Defendant Mortimer D.A. Sackler asked about launching

      a generic version of OxyContin to "capture more cost sensitive patients," Defendant Kathe

      Sackler recommended looking at the characteristics of patients who had switched to OxyContin

      to see if Purdue could identify more patients to convert, and Defendant Jonathan Sackler wanted

      to study changes in market share for opioids, focusing on dose strength.

             128.    The Sackler Defendants' micromanagement was so intrusive that staff begged for

      relief Defendant Gasdia wrote to the CEO: "Anything you can do to reduce the direct contact of

      Richard into the organization is appreciated." To convince the Sackler Defendants to make him

      CEO. Defendant Landau wrote a plan that he titled: "SACKLER PHARMA ENTERPRISE." He

      started by admitting that the Sackler Defendants in fact controlled the company like chief

      executive officers. The family ran "the global Sackler pharmaceutical enterprise ... with the

      Board of Directors serving as the 'de-facto' CEO."

             129.    The Sackler Defendants concealed their extensive involvement at all costs. In

      2000, the Sackler Defendants were warned that a reporter was "sniffing about the OxyContin

      abuse story." The Sackler Defendants put the threat on the agenda for the next Board meeting

      and began covering their tracks. They planned a response that "deflects attention away from the

      company owners." More recently, in November 2016, staff prepared statements to the press

      denying the Sackler Defendants' involvement in Purdue. Their draft claimed: "Sackler family

      members hold no leadership roles in the companies owned by the family trust." A staff member

      reviewing the draft knew what was up and commented with apparent sarcasm: "Love the ...

      statement." Staff eventually told the press: "Sackler family members hold no management



                                                      38
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 54 of 358




      positions." Some employees worried about the deception. When journalists asked follow-up

      questions about the Sackler Defendants, communications staff deliberated about whether to

      repeat the "no management positions" claim. They double-checked that Purdue's top lawyers

      had ordered the statement. Then they arranged for one of the Sackler Defendants' foreign

      companies to issue it, so U.S. employees would not be blamed: "The statement will come out of

      Singapore."

              130. Most of all, the Sackler Defendants cared about money. Millions of dollars were

      not enough. They wanted billions. They cared more about money than about patients, or their

      employees, or the truth. In 1999, when employee Michael Friedman reported to Defendant

      Richard Sackler that Purdue was making more than $20,000,000 per week, Richard replied

      immediately, at midnight, that the sales were "not so great." "After all, if we are to do 900M

      this year, we should be running at 75M/month. So it looks like this month could be 80 or 90M.

      Blatt, humbug. Yawn. Where was IT' Missives of this nature from Richard to Purdue's

      ostensible management were a routine, if not daily, occurrence. There was no such thing as

      enough.

             13 I. From the money that Purdue collected as a result of its wrongful conduct, they

      paid themselves and their family billions of dollars. From the 2007 convictions (of certain

      Purdue officers) until 2018, the Sackler Defendants voted dozens of times to pay out Purdue's

      opioid profits to their family - in total more than four billion dollars.




                                                       39
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 55 of 358




                    The Sacklers Paid Themselves Billions of Dollars


         $350,000,000

         $300,000,000

         $250.000,000

         S200.000.000

         $150.000,000

         $100.000,000 •

          $50.000,000

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             132.    When the Sackler Defendants directed Purdue to pay their family, they knew

      and intended that they were paying themselves from opioid sales in Florida. Purdue and the

      Sackler Defendants tracked revenue from Florida.

             133.    In order to enhance their own and Purdue's social standing and prestige, the

      Sackler Defendants endowed many cultural, educational and scientific institutions, many of

      which bear their family name, including many academic programs at Harvard University

      and Tufts University in Massachusetts, the New York Academy of Sciences, Columbia

      University, Dia Art Foundation, the Metropolitan Museum of Art and the Guggenheim art

      museum, all in New York, London's Victoria and Albert Museum, and the Louvre in Paris.

      There is a Sackler gallery at the Princeton University Art Museum and Sackler museums at

      Harvard University and Peking University in Beijing. The Sackler Defendants and their

      relatives include many prominent New York and international socialites.

                                                    40
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 56 of 358




               134.   Defendants John Stewart (CEO from 2007 to 2013), Mark Timney (2014 to

      2017), a resident of Connecticut, and Craig Landau (2017 to the present), a resident of

      Connecticut, each directed Purdue's deception as CEO of Purdue Pharma Inc. and Purdue

      Pharma L.P. Defendant Russell Gasdia, a resident of Massachusetts, carried out the misconduct

      as Vice President of Sales and Marketing at all pertinent times until June 2014. The Defendants

      named in this paragraph are collectively referred to as the "Purdue Officer Defendants."

               135.   Defendant Barbara C. Miller is a resident of West Palm Beach, Florida who was

      employed in pharmaceutical marketing with Purdue from June 1999 to June 2018 with a territory

      centered in West Palm Beach, Florida. Ms. Miller touts herself as "having a continuous record

      of exceeding [sales] goals and expectations in a diverse market," and "a leader in new to market

      & first-in-class product launches with consistent top 10% in nation [sales] results."

               136.   Defendant Briann Parson-Barnes is a resident of Orlando, Florida who has been

      employed in pharmaceutical marketing with Purdue since March 1998 currently as a District

      Business Manager based in Orlando, Florida. Ms. Parson-Barnes has coached and mentored

      sales representatives in Purdue and was a leader in Purdue's "Butrans Launch Fast Start Program

      2015."

               137.   Defendant Becca Beck Harville is a resident of Tallahassee, Florida who was

      employed in pharmaceutical marketing with Purdue from September 2015 to February 2018 with

      a territory centered in Tallahassee, Florida. Ms. Harville was "responsible for moving market

      share of OxyContin, Hysingla ER, and Butrans to Pain Specialist, Neurologist, Internal Medicine

      and Family Practice physician."

               138.   Defendant Lindsey Bonifacio is a resident of Naples, Florida who was employed

      in pharmaceutical marketing with Purdue from July 2014 to May 2018 with a territory centered



                                                      41
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 57 of 358




      in Fort Myers, Florida. Ms. Bonifacio was a pain sales specialist with Purdue who was

      responsible for "calling on Pain Management, Anesthesiologists, Neurologists, [and] Oncologists

      Specialty Pharmacy."

              139.    Defendant Tammy Heyward is a resident of Saint Petersburg, Florida who was

      employed in pharmaceutical marketing with Purdue from June 1996 to June 2018 with a territory

      centered around Tampa and Saint Petersburg, Florida. Ms. Heyward was a sales specialist with

      Purdue who was responsible for "forming relationships in Anesthesiology, Orthopedic Surgery,

      Hematology/Oncology, Rheumatology, Physical Medicine & Rehabilitation, Neurology and

      Internal Medicine." Her sales experience included "office-based sales, Hospital based sales as

      well as [sales tol LTC facilities."

             140.    Defendant James Speed is a resident of Jacksonville, Florida who has been

      employed in pharmaceutical marketing with Purdue since1984 with a territory centered around

      Northeast Florida and South Georgia. Mr. Speed has been a senior medical marketing

      representative at Purdue since 1995 and touts himself as being on the "top 20%" of Purdue's

      senior sales and pharmaceutical marketing representatives. He has "sold a diverse portfolio of

      products and marketed them to a very wide range of medical specialties." His experience

      included sales to "clinic, hospital, medical center, pharmacy and physician office."

             141.    Defendant Damon Storhoff is a resident of Bradenton, Florida who was employed

      in pharmaceutical marketing with Purdue from September 2000 to July 2018 with a territory

      centered in Bradenton, Florida. Mr. Storhoff was a territory business manager at Purdue and has

      marketed and sold opioids to "pain management, neurology, psychiatry, and primary care

      physicians."

              142.   Defendant Diana C. Muller is a resident of Miami, Florida who was employed in



                                                      42
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 58 of 358




      pharmaceutical marketing with Purdue from 2008 to February 2018 with territories covering

      Miami, Fort Lauderdale, Delray Beach, and West Palm Beach in Florida. Ms. Muller was a

      territory business manager at Purdue and "managed territory sales of Pain Portfolio and OIC

      product to specialists and the University of Miami - Miller School of Medicine." She touts

      herself as being on the "top 13%" in Purdue's President's club in 2017.

              143. Defendant Draupadi Daley is a resident of Hollywood, Florida who was employed

      in pharmaceutical marketing with Purdue from July 2008 to April 2018. Ms. Daley was an

      account territory business manager at Purdue and was the winner of Purdue's President's Club in

      2015 and 2017.

             14-4. The Sackler Defendants, the Purdue Officer Defendants and the Purdue Sales

      Representative Defendants arc collectively referred to as the "Purdue Individual Defendants."

      Non-Party Purdue and the Purdue Individual Defendants are collectively referred to as the

      "Purdue Defendants."

             145.    The Purdue Individual Defendants all actively participated in the common law

      torts and statutory violations of Purdue and benefited therefrom. The tortious conduct of the

      Purdue Individual Defendants was not, and could not have been through the exercise of due

      diligence, known to the public until their conduct was detailed in recent court filings by the

      Attorney General of Massachusetts.

             146.    Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

      MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States,

      including to Plaintiffs. OxyContin is Purdue's best-selling opioid. Since 2009. Purdue's annual

      nationwide sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-

      fold from its 2006 sales of $800 million. OxyContin constitutes roughly 30% of the entire market



                                                      43
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 59 of 358




      for analgesic drugs (painkillers).

               147. In 2007, Purdue settled criminal and civil charges against it for misbranding

       OxyContin and agreed to pay the United States $635 million — one of the largest settlements

       with a drug company for marketing misconduct. In the same year, Purdue settled with 27 states

       for its Consumer Protection Act violations regarding the Purdue's extensive off-label marketing

       of OxyContin and Purdue's failure to adequately disclose abuse and diversion risks associated

       with the drug. None of this stopped Purdue. In fact, Purdue continued to create the false

       perception that opioids were safe and effective for long-term use, even after being caught using

       unbranded marketing methods to circumvent the system. In short, Purdue paid the fine when

       caught and then continued business as usual, deceptively marketing and selling billions of

       dollars of opioids each year. Substantially all of the Sackler Defendants (all of those except

       David Sackler) were heavily involved in the conduct that led to the fines and criminal

       convictions in 2007. The misconduct of Richard, Beverly, Ilene, Jonathan, Kathe, Mortimer, and

       Theresa Sackler was particularly unfair, deceptive, unreasonable, and unlawful because they

       already had been given a second chance. From the 1990s until 2007, they directed a decade of

       misconduct, which led to criminal convictions, a judgment of this Court, and commitments that

       Purdue would not deceive doctors and patients again. That background confirms that their

       misconduct since 2007 was knowing, purposeful, reckless, and intentional.

             148.    Each of the Purdue Individual Defendants acted directly and through agents to

      transact business and cause injury in Florida.

             149.    Purdue employed scores of sales representatives in Florida to promote Purdue's

      opioids in Florida and sold hundreds of millions of dollars of opioids in Florida.

             150.    The Sackler Defendants and Purdue Officer Defendants voted for ancVor directed



                                                       44
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 60 of 358




      sales representatives to go door-to-door, making thousands of visits to doctors in Florida.

      Although they did not knock on the doors to clinics and family practices themselves, these

      individuals voted for and/or ordered sales representatives to deceptively promote Purdue's

      dangerous drugs in person, as a central facet of their deceptive marketing scheme that killed

      hundreds of people in Florida.

                 151.   The Sackler Defendants and Purdue Officer Defendants voted for and/or directed

      payments to Florida doctors to promote Purdue's drugs.

                 152.   The Sackler Defendants and Purdue Officer Defendants all directed the

      dissemination of tens of thousands of copies of unfair or deceptive marketing materials to

      doctors and other health care providers throughout Florida for the purpose of getting more and

      more prescribers to put their patients on Purdue's drugs for longer and longer periods of time at

      higher and higher doses. These individuals voted for and/or managed a chain-of-command

      causing these mailings in Florida because they meant increased sales and profits for the Sackler

      Defendants and their executives.

             153.       This misconduct caused tortious injury in Florida by killing hundreds of people

      and injuring many more.

                        b.     Teva and Associated Companies

             154.       Defendant Teva Pharmaceutical Industries, Ltd. ("Teva Ltd.") is an Israeli

      corporation with its principal place of business in Petah Tikva, Israel. Teva Ltd. Is traded on the

      New York Stock Exchange (NYSE: TEVA). In its most recent Form 10-K filed with the

      Securities and Exchange Commission, Teva Ltd. stated that it is the leading generic drug

      company in the United States. Teva Ltd. operates globally, with significant business transactions

      in the United States. In 2018, its gross profit from North American operations was $4.979

      million.

                                                        45
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 61 of 358




                 155.    Defendant Cephalon, Inc. is a Delaware corporation with its principal place of

      business in Frazer, Pennsylvania. Teva Ltd. acquired Cephalon in October 2011, and Cephalon

      Inc. became a wholly owned subsidiary of Defendant Teva Ltd.

                 156.    Teva Pharmaceuticals USA, Inc. ("Teva USA") is a Delaware corporation with its

      principal place of business in North Wales, Pennsylvania, and is a wholly owned subsidiary of

      Teva Ltd.

                 157.   Teva USA and Cephalon work together closely to market and sell Cephalon

      products in the United States. Since its acquisition of Cephalon in October 2011, Teva USA has

      conducted all sales and marketing activities for Cephalon in the United States, through its

      "specialty medicines" division. Teva USA and Cephalon, Inc. worked together to manufacture,

      promote, sell, and distribute opioids such as Actiq and Fentora in the United States. Teva USA

      holds out Actiq and Fentora as Teva products to the public. The FDA-approved prescribing

      information and medication guide, which is distributed with Cephalon opioids, discloses that the

      guide was submitted by Teva USA, and directs physicians to contact Teva USA to report adverse

      events. All of Cephalon's promotional websites, including those for Actiq and Fentora, display

      Teva Ltd.'s logo.° Teva USA's parent company, Teva Pharmaceuticals Industries, Ltd. lists

      Cephalon and Teva USA's sales as its own on its financial reports, and its year-end report for

      2012 — the year immediately following the Cephalon acquisition — attributed a 22% increase in

      its specialty medicine sales to "the inclusion of a full year of Cephaton's specialty sales,"




      60   E.g., ACTIQ„ http://www.actio.com/ (displaying logo at bottom-left) (last accessed April 12August 1,
      201 8).




                                                           46
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 62 of 358




      including inter alia sales of Fentora.61 Actiq has been approved by the FDA only for the

      "management of breakthrough cancer pain in patients 16 years and older with malignancies who

      are already receiving and who are tolerant to around-the-clock opioid therapy for the underlying

      persistent cancer pain."62 Fentora has been approved by the FDA only for the "management of

      breakthrough pain in cancer patients 18 years of age and older who are already receiving and

      who are tolerant to around-the-clock opioid therapy for their underlying persistent cancer

      pain."63 In 2008, Cephalon pled guilty to a criminal violation of the Federal Food, Drug and

      Cosmetic Act for its misleading promotion of Actiq and two other drugs, and agreed to pay a

      $425 million fine.64

                 158.   Teva USA also sells generic opioids in the United States, including generic

      opioids previously sold by Allergan plc, whose generics business Teva Ltd., Teva USA's parent

      company based in Israel, acquired in August 2016.

                 159.   Teva Ltd., Teva USA, and Cephalon are referred to herein as "Teva."

                 160.   From 2000 forward, Cephalon has made thousands of payments to physicians

      nationwide, including in Florida, ostensibly for activities including participating on speakers'




      61     Teva     Ltd.,    Annual    Report    (Form     20-F),  at   62  (Feb.    12,                   2013),
      http://annualreports.corn/HostedData/AnnualReportArchive/t/NASDAO TEVA 2012.0df.

      62   Highlights of Prescribing information, ACTIO® (fentanyl citrate) oral transmucosal lozenge, CII
      (2009), ACM PI/Med Guide,
      hups://www.accessdata.fda.gov/drugsatfda docs/labe1/2009/020747s0301b1 .odf (last accessed August 1,
      2018).

      63   Highlights of Prescribing Information, FENTORA® (rnntanyl citrate) buccal tablet. CH (2011),
      hUns://www.accessdata.fda.gov/drugsatfda_d_ocs/label/2012/921947s0151bl.odf (last accessed August 1,
      2018).

      64Press Release, U.S. Dep't of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million 8,z
      Enter Plea to Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
      https://www,justice.gov/archive/opa/pr/2008/Scptember/08-civ-860.html.


                                                           47
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 63 of 358




      bureaus, providing consulting services, assisting in post-marketing safety surveillance and other

      services, many of whom were not oncologists and did not treat cancer pain, but in fact these

      activities were used by Cephalon to deceptively promote and maximize the use of opioids.

              16!. Defendant Watson Laboratories, Inc. ("Watson") is a Nevada corporation with its

      principal place of business in Corona, California.

              162.   Defendant Actavis Pharma, Inc. (f/k/a Watson Phanna Inc.) ("Actavis Pharma")

      is a Delaware corporation with its principal place of business in New Jersey.

             163.    Defendant Actavis LLC (f/k/a Actavis Inc.) ("Actavis LLC") is a Delaware

      limited liability company with its principal place of business in Parsippany, New Jersey.

      Watson, Actavis Pharma and Actavis LLC are collectively referred to as "Actavis."

             164.    Defendant Teva Ltd. acquired ownership of Actavis in 2016. Prior to that

      transaction, Actavis was owned by Defendant Allergan plc.

             165.    Actavis manufactures, promotes, sells, and distributes opioids, including the

      branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic

      and Opana in the United States. Actavis acquired the rights to Kadian from King

      Pharmaceuticals, Inc. on December 30, 2008, and began marketing Kadian in 2009.

             166.    Actavis made thousands of payments to physicians nationwide including in

      Florida, ostensibly for activities including participating on speakers' bureaus, providing

      consulting services, assisting in post-marketing safety surveillance and other services, but in fact

      these activities were used by Actavis to deceptively promote and maximize the use of ()plaids.

                     c.      Janssen and Associated Companies

             167.    Defendant Johnson & Johnson ("J&J") is a New Jersey corporation with its

      principal place of business in New Brunswick, New Jersey.

             168.    Defendant Janssen Pharmaceuticals, Inc. is a Pennsylvania corporation with its

                                                       48
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 64 of 358




      principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of J&J.

              169.   Janssen Pharmaceuticals, Inc. was formerly known as Ortho-McNeil-Janssen

      Pharmaceuticals, Inc., which was formerly known as Janssen Pharmaceutica, Inc.

              170.   Defendant Noramco, Inc. is a Delaware company headquartered in Wilmington,

      Delaware and was a wholly owned subsidiary of J&J until July 2016. Noramco, Inc. is or had

      been part ofJ&J's opium processing. It makes active pharmaceutical ingredients ("APIs") for

      opioid painkillers.

              171.   Johnson & Johnson is the only company that owns over 10% of Janssen

      Pharmaceuticals stock. J&J controls the sale and development of Janssen Pharmaceuticals drugs

      and Janssen Pharmaceuticals profits inure to J&J's benefit.

             172.    J&J, Janssen Pharmaceuticals, Inc., Noramco, Inc.. Ortho-McNeil-Janssen

      Pharmaceuticals, Inc., and Janssen Pharmaceutica, Inc. (collectively, "Janssen") are or have been

      in the business of manufacturing, selling, promoting, and/or distributing both brand name and

      generic opioids throughout the United States.

             173.    Janssen manufactures, promotes, sells, and distributes drugs in the United States,

      including the opioid Duragesic (fentanyl). Before 2009, Duragesie accounted for at least $1

      billion in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids

      Nucynta (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172

      million in sales in 2014.

             174.    Janssen made thousands of payments to physicians nationwide, including in

      Florida, ostensibly for activities including participating on speakers' bureaus, providing

      consulting services, assisting in post-marketing safety surveillance and other services, but in fact

      these activities were used by Janssen to deceptively promote and maximize the use of opioids.



                                                       49
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 65 of 358




                 175.   Janssen, like many other companies, has a corporate code of conduct, which sets

      forth the organization's mission, values and principles. Janssen's employees are required to read,

      understand and follow its Code of Conduct for Health Care Compliance. Johnson & Johnson

      imposes this code of conduct on Janssen as a pharmaceutical subsidiary ofJ&J.65 Documents

      posted on J&J's and Janssen's vvebsites confirm Ars control of the development and marketing

      of opioids by Janssen. Janssen's website "Ethical Code for the Conduct of Research and

      Development," names only J&J and does not mention Janssen anywhere within the document.

      The "Ethical Code for the Conduct of Research and Development" posted on the Janssen website

      is J&J's company-wide Ethical Code, which it requires all of its subsidiaries to follow.

                176.    The "Evety Day Health Care Compliance Code of Conduct" posted on Janssen's

      website is a J&J company-wide document that describes Janssen as one of the "Pharmaceutical

      Companies of Johnson & Johnson" and as one of the "Johnson & Johnson Pharmaceutical

      Affiliates." It governs how 141 employees of Johnson & Johnson Pharmaceutical Affiliates,"

      including those of Janssen, "market, sell, promote, research, develop, inform and advertise

      Johnson & Johnson Pharmaceutical Affiliates' products.- All Janssen officers, directors,

      employees, sales associates must certify that they have "read, understood and will abide by" the

      code. The code governs all of the forms of marketing at issue in this case. J&J made payments to

      thousands of physicians nationwide, including in Florida, ostensibly for activities including

      participating on speakers' bureaus, providing consulting services, assisting in post-marketing

      safety surveillance and other services, but in fact these activities were used by J&J to deceptively

      promote and maximize the use of opioids.




      65   Depomed, Inc. acquired the rights to Nucynta and Nucynta ER from Janssen in 2015.

                                                          50
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 66 of 358




                      d.     Endo and Associated Companies

              177.    Defendant Endo Health Solutions Inc. is a Delaware corporation with its principal

      place of business in Malvern, Pennsylvania.

              178.    Defendant Endo Pharmaceuticals Inc. is a wholly owned subsidiary of Endo

      Health Solutions Inc. and is a Delaware corporation with its principal place of business in

      Malvern, Pennsylvania.

              179.    Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

      place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is wholly

      owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc.

             180.    Defendant Par Pharmaceuticals Companies, Inc. is a Delaware corporation with

      its principal place of business located in Chestnut Ridge, New York (Par Pharmaceutical, Inc.

      and Par Pharmaceutical Companies, Inc. collectively, "Par Pharmaceutical"). Par Pharmaceutical

      was acquired by Endo International plc in September 2015 and is an operating company of Endo

      International plc.

             181.    Endo Health Solutions Inc. and Endo Pharmaceuticals Inc. (collectively, "Endo")

      are or have been in the business of manufacturing, selling, promoting, and/or distributing both

      brand name and generic opioids throughout the United States.

             182.    Endo develops, markets, and sells prescription drugs, including the opioids

      Opana/Opana ER, Percodan, Percocet, generic versions of oxycodone, oxymotphone,

      hydromorphone and hydrocodone in the United States. Opioids made up roughly $403 million of

      Endo's overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion in revenue from

      2010 and 2013, and it accounted for 10% of Endo's total revenue in 2012. On June 8, 2017, the

      FDA requested that Endo remove Opana ER from the market because of a "serious outbreak" of

      HIV and hepatitis C due to abuse of the drug after the reformulation of Opana from a nasal spray

                                                      51
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 67 of 358




       to an injectable.66 In response to the FDA's request, Endo removed Opana ER from the market in

      July 2017, the first time the agency had ever moved to pull an opioid medication from sale.°

      Endo also manufactures and sells generic opioids such as oxycodone, oxyrnorphone,

      hydromorphone, and hydrocodone products in the United States, by itself and through its

      subsidiary, Qualitest Pharmaceuticals, Inc.

                  183. Endo made thousands of payments to physicians nationwide, including in Florida,

      ostensibly for activities including participating on speakers' bureaus, providing consulting

      services, assisting in post-marketing safety surveillance and other services, but in fact these

      activities were used by Endo to deceptively promote and maximize the use of °plaids.

                          e.      Abbott Laboratories

                  1 84.   Defendant Abbott Laboratories is an Illinois corporation with its principal place

      of business in Abbott Park, Illinois. Defendant Abbott Laboratories, Inc. is a subsidiary of

      Abbott Laboratories, whose principal place of business is also in Abbott Park, Illinois.

      Defendants Abbott Laboratories and Abbott Laboratories, Inc. are referred to collectively as

      "Abbott."

                  185. Abbott was primarily engaged in the promotion and distribution of opioids

      nationally due to the co-promotional agreement with Purdue. Pursuant to that agreement,

      between 1996,and 2006, Abbott actively promoted, marketed, and distributed Purdue's opioid

      products as set forth above.


      6 6 Press Release, U.S. Food & Drug Administration, FDA Requests Removal of Opana ER for Risks
      Related to Abuse (June 8, 2017),
      littps://www.fda.gov/NewsEventsiNewsroom/PressAnnouneernents/ucrn562401.htm. (hereinafter "FDA
      Requests Removal of Opana ER").

      5' 7   Press Release, Endo International PLC, Endo Provides update on Opana ER (July 6, 2017),
      hup://investor.cndo.cominews-releases/news-release-details/cndo-nrovides-update-opanar-er (hereinafter
      "Endo Provides Update on Opana ER").

                                                            52
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 68 of 358




              186.   Abbott, as part of the co-promotional agreement, helped turn OxyContin into the

      largest selling opioid in the nation. Under the co-promotional agreement with Purdue, the more

      Abbott generated in sales, the higher the reward. Specifically, Abbott received 25% to 30% of all

      net sales for prescriptions written by doctors its sales force called on. This agreement was in

      operation from 1996-2002, following which Abbott continued to receive a residual payment of

      6% of net sales up through at least 2006.

             187.    With Abbott's help, sales of OxyContin went from a mere $49 million in its first

      full year on the market to $1.2 billion in 2002. Over the life of the co-promotional agreement,

      Purdue paid Abbott nearly half a billion dollars.

             188.    Abbott and Purdue's conspiring with Pharmacy Benefit Managers (PBMs) to

      drive opioid use is well established. As described in an October 28, 2016, article from

      Psychology Today entitled America's Opioid Epidemic:

             Abbott and Purdue actively misled prescribers about the strength and safety of the
             painkiller [OxyContin]. To undermine the policy of requiring prior authorization,
             they offered lucrative rebates to middlemen such as Merck Medco [now Express
             Scripts] and other pharmacy benefits managers on condition that they eased
             availability of the drug and lowered co-pays. The records were part of a case
             brought by the state of West Virginia against both drug makers alleging
             inappropriate and illegal marketing of the drug as a cause of widespread
             addiction.... One reason the documents are so troubling is that, in public at least,
             the drug maker was carefully assuring authorities that it was working with state
             authorities to curb abuse of OxyContin. Behind the scene, however, as one Purdue
             official openly acknowledged, the drug maker was "working with Medco (PBM)
             [now Express Scripts] to try and make parameters [for prescribing] less stringent.""

                     f.     Amneal Pharmaceuticals, LLC

             189.    Defendant Amneal Pharmaceuticals, LLC ("Amneal LLC") is a Delaware limited




      " American Society of Addiction Medicine, America's Opioid Epidemic— Court released documents show
      drug makers blocked efforts to curb prescribing, PSYCHOLOGY TODAY                (Oct. 28, 2016),
      https://www,psychologytoday.com/blog/side-effects/201610/america-s-opioid-epidemic.


                                                      53
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 69 of 358




      liability company with its principal place of in New Jersey.

                 190. Defendant Amneal Pharmaceuticals, Inc. ("API") is a Delaware corporation with

      its principal place of business in New Jersey. API is the managing member of Amneal LLC, and

      conducts and exercises full control over all activities of Amneal LLC.69

                 19 l. API and Amneal LLC are referred to herein as "Amneal."

                 192. At all relevant times, Amneal has sold prescription drugs including opioids in

      Florida and across the United States.

                        g.     Assertio Therapeutics, Inc.

                 193. Defendant Assertio Therapeutics, Inc. f/k/a Depomed, Inc. ("Assertio" or

      "Depomed") is a Delaware corporation with its principal place of business in Lake Forest,

      Illinois. Assertio describes itself as a specialty pharmaceutical company focused on pain and

      other central nervous system conditions. Assertio develops, markets, and sells prescriptions

      drugs in Florida and across the United States. Assertio acquired the rights to Nucynta and

      Nucynta ER for $1.05 billion from Janssen pursuant to a January 15, 2015, Asset Purchase

      Agreement. This agreement closed on April 2, 2015.

                       h.      Mallinckrodt Entities

                 194. Defendant Mallinckrodt plc is an Irish public limited company with its

      headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was

      incorporated in January 2013 for the purpose of holding the pharmaceuticals business of

      Covidien plc, which was fully transferred to Mallinckrodt plc in June of that year. Mallinckrodt

      plc also operates under the registered business name Mallinckrodt Pharmaceuticals, with its U.S.

      headquarters in Hazelwood, Missouri.



      69   Id.


                                                       54
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 70 of 358




              195.    Defendant Mallinckrodt LLC (together with Mallinckrodt plc and SpecGx LLC,

      "Mallinckrodt") is a Delaware corporation with its headquarters in Hazelwood, Missouri.

      Defendant SpecGx LLC is a Delaware limited liability company with its headquarters in

      Clayton, Missouri and is a wholly-owned subsidiary of Mallinckrodt plc. Mallinckrodt

      manufactures, markets, sells and distributes pharmaceutical drugs throughout the United States,

      and to Plaintiffs. Mallinckrodt is the largest U.S. supplier of opioid pain medications and among

      the top ten generic pharmaceutical manufacturers in the United States, based on prescriptions.

              196.    Mallinckrodt manufactures and markets two branded opioids: Exalgo, which is

      extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and

      Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths. In 2009, Mallinckrodt

      Inc., a subsidiary of Covidien plc, acquired the U.S. rights to Exalgo. The FDA approved Exalgo

      for treatment of chronic pain in 2012. Mallinckrodt further expanded its branded opioid portfolio

      in 2012 by purchasing Roxicodone from Xanodyne Pharmaceuticals. In addition, Mallinckrodt

      developed Xartemis XR, an extended-release combination of oxycodone and acetaminophen,

      which the FDA approved in March 2014, and which Mallinckrodt has since discontinued.

      Mallinckrodt promoted its branded opioid products with its own direct sales force.

              197.    While it has sought to develop its branded opioid products, Mallinckrodt has long

      been a leading manufacturer of generic opioids. Mallinckrodt estimated that in 2015 it received

      approximately 25% of the DEA's entire annual quota for controlled substances that it

      manufactures. Mallinckrodt also estimated, based on 1MS Health" data for the same period, that •




      7° "IMS Health was a [provider of] information, services and technology for the healthcare industry,
      including U.S. physician prescribing data." It has changed its corporate form and is now known as "IQVIA."




                                                         55
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 71 of 358




      its generics claimed an approximately 23% market share of DEA Schedules LI and III opioid and

      oral solid dose medications.7I

              198.   Mallinekrodt operates a vertically integrated business in the United States: (1)

      importing raw opioid materials, (2) manufacturing generic opioid products, primarily at its

      facility in Hobart, New York, and (3) marketing and selling its products to drug distributors,

      specialty pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers

      that have mail-order pharmacies, and hospital buying groups.

             199.    Among the drugs IVIallinckrodt manufactures or has manufactured are the

      following: Schedule II: Exalgo (Hydromorphone hydrochloride, extended release), Roxicodone

      (Oxycodone hydrochloride), Xartemis XR (Oxycodone hydrochloride and acetaminophen),

      Methadose (Methadone hydrochloride), generic morphine sulfate extended release, morphine

      sulfate oral solution, fentanyl transdenrial system, oral transmucosal fentanyl citrate, oxycodone

      and acetaminophen, hydrocodone bitartrate and acetaminophen, hydromorphone hydrochloride,

      hydromorphone hydrochloride, extended release, oxymorphone hydrochloride Schedule III:

      buprenorphine and naloxone. Unscheduled: naltrexone hydrochloride.

             200.    Mallinckrodt made thousands of payments to physicians nationwide, including in

      Florida, ostensibly for activities including participating on speakers' bureaus, providing

      consulting services, assisting in post-marketing safety surveillance and other services, but in fact

      Mallinekrodt used these activities to deceptively promote and maximize the use of opioids.

                     I.      Allergan and Associated Companies

             201.    Defendant Allergan plc ("Allergan") is a public limited company incorporated in




      71Mallinckrodt plc, 2016 Annual Report (Form 10-K), available at
      hap://www.mallinekrodt.condinvestors/annual-reports/ .


                                                       56
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 72 of 358




      Ireland with its principal place of business in Dublin, Ireland. Shares of Allergan are traded on

      the New York Stock Exchange (NYSE: AGN). In its most recent Form 10-K filed with the SEC,

      Allergan plc stated that it does business in the United States through its U.S. Specialized

      Therapeutics and U.S. General Medicine segments, which generated nearly 80% of the

      company's $15.8 billion in net revenue during the year ended December 31, 2018.

             202.        Before (the entities defined above as Actavis was sold to Teva Ltd. in August

      2016), Actavis was part of the same corporate family as Allergan and sold and marketed opioids

      as part of a coordinated strategy to sell and market the branded and generic opioids of Allergan

      and Actavis. In October 2012, the Actavis Group was acquired by Watson Pharmaceuticals, Inc.,

      and the combined company changed its name to Actavis, Inc. as of January 2013, and then to

      Actavis plc in October 2013. In October 2013, Actavis plc (n/k-Ja Allergan plc.) acquired Warner

      Chileott plc pursuant to a transaction agreement dated May 19, 2013. Actavis plc (n/kJa Allergan

      plc) was established to facilitate the business combination between Actavis, Inc. (n/k/a Allergan

      Finance, LLC) and Warner Chilcott plc. Following the consummation of the October I, 2013

      acquisition, Actavis, Inc. (n/Ida Allergan Finance, LLC Inc.) and Warner Chilcott plc became

      wholly-owned subsidiaries of Actavis plc (n/Ida Allergan plc). Pursuant to the transaction, each

      of Actavis, Inc.'s common shares was converted into one Actavis plc share. Further, Actavis plc

      (n/k/a Allergan plc) was the "successor issuer" to Actavis, Inc. and Warner Chilcott. Actavis plc

      acquired Allergan, Inc. in March 2015, and the combined company thereafter changed its name '

      to Allergan plc.

             203.    Defendant Allergan Finance, LLC (f/k/a Actavis, Inc., f/k/a Watson

      Pharmaceuticals, Inc.) is a limited liability company incorporated in Nevada and headquartered

      in Madison, New Jersey. Aliergan Finance, LLC is a wholly-owned subsidiary of defendant



                                                        57
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 73 of 358




      Allergan plc. In 2008, Actavis, Inc. (n/k/a Allergan Finance, LLC), acquired the opioid Kadian

      through its subsidiary, Actavis Elizabeth LLC, which had been the contract manufacturer of

      Kadian since 2005. Since 2008, Kadian's label has identified the following entities as the

      manufacturer or distributor of Kadian: Actavis Elizabeth LLC, Actavis Kadian LLC, Actavis

      Pharrna, Inc., and Allergan USA, Inc. Currently, Allergan USA, Inc. is contracted with UPS

      SCS, inc. to distribute Kadian on its behalf.

              204.    Defendant Allergan Sales, LLC is incorporated in Delaware and headquartered in

      Irvine, California. Allergan Sales, LLC is the current New Drug Application ("NDA") holder for

      Kadian, and in 2016, Allergan Sales, LLC held the Abbreviated New Drug Applications

      ("ANDAs") for Norco. Allergan Sales, LLC is the wholly-owned subsidiary of Allergan plc.

      The Norco ANDAs are currently held by Allergan Pharmaceuticals International Limited, which

      is incorporated in Ireland.

              205.    Defendant Allergan USA, Inc. is incorporated in Delaware and headquartered in

      Madison, New Jersey. Allergan USA, Inc. is currently responsible for Norco and Kadian sales.

      Allergan USA, Inc. is a wholly-owned subsidiary of Allergan plc.

              206.   Defendant Allergan plc has, at all times, exercised control over these marketing

      and sales efforts and profits from the sale of its subsidiaries' products ultimately inure to its

      benefit, including those sales by Actavis during the period of its ownership and control by

      Allergan. Allergan is or has been in the business of manufacturing, selling, promoting, and/or

      distributing both brand name and generic opioids throughout the United States, including to

      Plaintiffs.

              207.   Collectively, the Purdue Defendants, Actavis, Amneal, Teva, Janssen, Assertio,

      Endo, Abbott, Allergan and Mallinckrodt are referred to as "Marketing Defendants."



                                                        58
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 74 of 358




              2.     Distributor Defendants

             208.    The Distributor Defendants are defined below. At all relevant times, the

      Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

      prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

      detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

      Defendants, who are "Wholesale distributors" as defined under Florida law, Fla. Stat. Ann. §

      499.033(49), universally failed to comply with Florida law regulating that activity. Plaintiffs

      allege the unlawful conduct by the Distributor Defendants is a substantial cause for the volume

      of prescription opioids plaguing Plaintiffs' communities.

                     a.      AmerisourceBergen Drug Corporation

             209.    Defendant AmerisourceBergen Drug Corporation ("AmerisourceBergen") is a

      Delaware corporation with its principal place of business in Chesterbrook, Pennsylvania.

      AmerisourceBergen is a wholesaler of pharmaceutical drugs that distributes opioids throughout

      the country, including in Florida. AmerisourceBergen is a Delaware corporation with its

      principal place of business in Chesterbrook, Pennsylvania.

             210.    AmerisourceBergen is the eleventh largest company by revenue in the United

      States, with annual revenue of $147 billion in 2016.

             211.    According to its 2016 Annual Report, AmerisourceBergen is "one of the largest

      global pharmaceutical sourcing and distribution services companies, helping both healthcare

      providers and pharmaceutical and biotech manufacturers improve patient access to products and

      enhance patient care.""




         Amcrisourcetiergen, 2016 Summary Annual Report, htto://investor.amerisourcebergen.cornistatic-
      files/37darl ed-4d41-4547-bb87-86d501087dbb (last accessed August 1, 2018).


                                                       59
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 75 of 358




                        b.      Anda, Inc.

                 212. Defendant Anda, Inc., ("Anda") through its various DEA registrant subsidiaries

      and affiliated entities, including but not limited to, Anda Pharmaceuticals, Inc., is the fourth

      Largest distributor of generic pharmaceuticals in the United States. Anda is a Florida corporation

      with its principal place of business in Weston, Florida. In October 2016, Defendant Teva Ltd.

      acquired Anda from Allergan plc (i.e. Defendant Actavis), for $500 million in cash. At all times

      relevant to this Complaint. Anda distributed prescription opioids throughout the United States,

      including in Florida and within the communities served by Plaintiffs.

                        c.     Cardinal

                 213.   Defendant Cardinal Health, Inc. ("Cardinal") is an Ohio Corporation with its

      principal place of business in Dublin, Ohio. In 2016, Cardinal generated revenues of S121.5

      billion.

                 214.   Cardinal is a global distributor of pharmaceutical drugs and medical products. It is

      one of the largest distributors of opioids in the United States. It has annual resources of over

      $120 billion. Additionally, in December 2013, Cardinal formed a ten-year agreement with CVS

      Caremark to form the largest generic drug sourcing operation in the United States. Cardinal has,

      at all relevant times, had distribution centers throughout the United States, including Florida, and

      has distributed opioids nationwide.

                        d.     H. D. Smith, LLC

                 215. Defendant H. D. Smith, LLC f/k/a H. D. Smith Wholesale Drug Co. ("H. D.

      Smith") through its various DEA registered subsidiaries and affiliated entities, is a wholesaler of

      pharmaceutical drugs that distributes opioids throughout the United States, including Florida and

      the communities served by Plaintiffs. H. D. Smith is a privately held independent

      pharmaceuticals distributor of wholesale brand, generic and specialty pharmaceuticals and is a

                                                         60
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 76 of 358




      Delaware corporation with its principal place of business in Illinois. H. D. Smith Wholesale

      Drug Co. has been restructured and is currently doing business as H. D. Smith, LLC. H.D.

      Smith, LLC's sole member is H. D. Smith Holdings, LLC, and its sole member is H. D. Smith

      Holding Company, a Delaware corporation with its principal place of business in Illinois. H. D.

      Smith is the largest independent wholesaler in the United States. In January 2018, Defendant

      AmerisourceBergen acquired H. D. Smith. At all relevant times, H. D. Smith distributed

      prescription opioids throughout the United States including in Florida.

                      e.     Henry Schein Entities

              216.    Defendant Henry Schein, Inc. (Henry Schein) describes its business as providing

      a products and services to integrated health systems, designed specifically for and focused

      exclusively on, the non-acute care space. Henry Schein Inc. is incorporated in Delaware, with its

      principal place of business located in Melville, New York.

              217.    Henry Schein Inc. distributes, among other things, branded and generic

      pharmaceuticals to customers that include dental practitioners, dental laboratories, animal health

      practices and clinics, and office-based medical practitioners, ambulatory surgery centers, and

      other institutions.

              218.    At all relevant times, Henry Schein was in the business of distributing, and

      redistributing, pharmaceutical products to consumers within the state of Florida.

              219.    In 2015, Henry Schein reported that its sales reached a record $30.4 billion and

      that it had grown at a compound annual rate of approximately 16 percent since becoming a

      public company in 1995. Overall, it is the world's largest provider of health care products and

      services to office-based dental, animal health, and medical practitioners.

              720. Cardinal, Anda, H. D. Smith, Henry Schein:and AmerisourceBergen are

      collectively referred to as the "Distributor Defendants."
                                                      61
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 77 of 358




              3.     National Retail Pharmacies

                     a.      CVS

              221.   Defendant CVS Health Corporation is a Delaware corporation with its principal

      place of business in Rhode Island.

             222.    Defendant CVS Pharmacy, Inc. is a Rhode Island corporation with its principal

      place of business in Rhode Island.

             223.    Defendant CVS Indiana, L.L.C. is an Indiana limited liability company with its

      principal place of business in Rhode Island.

             224.     CVS Health, CVS Pharmacy and CVS Indiana arc collectively referred to as

      "CVS." CVS distributed prescription opioids throughout the United States, including in Florida

      and Palm Beach County.

                     b.      The Kroger Co.

             225.    Defendant The Kroger Co. is an Ohio corporation with headquarters in

      Cincinnati, Ohio.

             226.    Defendant, Kroger Limited Partnership II is an Ohio limited partnership with its

      principal place of business located in Columbus, Ohio

             227.    The Kroger Co. and Kroger Limited Partnership II are collectively referred to as

      "Kroger." Kroger operates 2,268 pharmacies in the United States, including in Florida. At all

      times relevant to this Complaint, Kroger distributed prescription opioids throughout the United

      States, including in Florida and Palm Beach County.

                     c.      Walgreens

             228. Defendant Walgreen Co. ("Walgreen Co.") is an Illinois corporation with its

      principal place of business in Deerfield, Illinois. Defendant Walgreen Eastern Co., Inc. (AVEC")

      is a New York corporation with its Principal place of business in Deerfield, Illinois.

                                                      62
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 78 of 358




              229.    Walgreens Co. and WEC are collectively referred to herein as "Walgreens." At

      all times relevant to this Complaint, Walgreens distributed prescription opioids throughout the

      United States, including in Florida.

                     d.      Wal-Mart

              230.   Defendant Wal-Mart Inc., formerly known as Wal-Mart Stores, Inc., is a

      Delaware corporation with its principal place of business in Arkansas.

              231.   Defendant Wal-Mart Stores East, LP is a Delaware limited partnership with its

      principal place of business in Arkansas.

             232.    Wal-Mart, Inc. and Wal-Mart Stores East, LP are collectively referred to as "Wal-

      Mart." At all times relevant to this Complaint, Wal-Mart distributed prescription opioids

      throughout the United States, including in Florida and Palm Beach County.

             233.    Collectively, Defendants CVS, Kroger, Walgreens, and Wal-Mart are referred to

      as "National Retail Pharmacies."

             234.    Defendants include the above referenced entities as well as their predecessors,

      successors, affiliates, subsidiaries, partnerships and divisions to the extent that they are engaged

      in the manufacture, promotion, distribution, sale and/or dispensing of opioids.

             235.    The Distributor Defendants and the National Retail Pharmacies are collectively

      referred to as the "Supply Chain Defendants."

             4.      Defendants' Agents and Affiliated Persons

             236.    All of the actions described in this Complaint are part of, and in furtherance of,

      the unlawful conduct alleged herein, and were authorized, ordered, and/or done by Defendants'

      officers, agents, employees, or other representatives while actively engaged in the management

      of Defendants' affairs within the course and scope of their duties and employment, and/or with

      Defendants' actual, apparent, and/or ostensible authority.

                                                       63
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 79 of 358




                 237. The true names and capacities, whether individual, corporate, associate, or

      otherwise of certain vendors, distributors and/or their alter egos, sued herein as DOES I through

      100 inclusive, are presently unknown to Plaintiffs, who therefore sue these Defendants by

      fictitious names. Plaintiffs will seek leave of this Court to amend this Complaint to show their

      true names and capacities when they become ascertained. Each of the Doe Defendants has taken

      part in and participated with, and/or aided and abetted, some or all of the other Defendants in

      some or all of the matters referred to herein, and therefore are liable for the same.

                                       IV.     FACTUAL BACKGROUND

      A.        The History of ()plaids

                 126.   The synthetic opioids manufactured and distributed by Defendants are related to

      the opium poppy, which has been used to relieve pain for centuries.

                127.    The opium poppy was a well-known symbol of the Roman Civilization, which

      signified both sleep and death. The Romans used opium not only as a medicine but also as a

      poison.73

                128.    During the Civil War, opioids, then known as "tinctures of laudanum," gained

      popularity among doctors and pharmacists for their ability to reduce anxiety and relieve pain on

      the battlefield. They were also used in a wide variety of commercial products ranging from pain

      elixirs to cough suppressants to beverages.

                129.    Florida law imposes a hierarchy of restrictions on prescribing and dispensing

      drugs based on their medicinal value, likelihood of addiction or abuse, and safety. Opioids

      generally have been categorized as Schedule 11 or Schedule III drugs. Schedule II drugs have a

      high potential for abuse, have a cuiTently accepted medical use, and may lead to severe



      73   Martin Booth, Opium: A History, at 20 (Simon & Schuster Ltd. 1996).

                                                          64
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 80 of 358




      psychological or physical dependence; Schedule III drugs are deemed to have a lower potential

      for abuse, but their abuse may lead to moderate or low physical dependence or high

      psychological dependence. Fla. Stat. Ann. § 893.03.

              130.   The effects of opioids vary by duration. Long-acting opioids, such as Purdue's

      OxyContin and MS Contin, Janssen's Nucynta ER and Duragesic, En do's Opana ER, and

      Actavis's Kadian, are designed to be taken once or twice daily and are purported to provide

      continuous opioid therapy for, in general, 12 hours. Short-acting opioids, such as Cephalon's

      Actiq and Fentora, are designed to be taken in addition to long-acting opioids to address

      "episodic pain" (also referred to as "breakthrough pain") and provide fast-acting, supplemental

      opioid therapy lasting approximately 4 to 6 hours. Still other short-term opioids, such as Subsys,

      (a product of nonparty, and co-conspirator, Insys Therapeutics, Inc. ("Insys") , are designed to be

      taken in addition to long-acting opioids to specifically address breakthrough cancer pain,

      excruciating pain suffered by some patients with end-stage cancer. The Marketing Defendants

      promoted the idea that non cancer related pain should be treated by taking long-acting opioids

      continuously and supplementing them by also taking short-acting, rapid-onset °plaids for

      episodic or "breakthrough" pain.

             131.    Patients develop tolerance to the analgesic effect of opioids relatively quickly. As

      tolerance increases, a patient typically requires progressively higher doses in order to obtain the

      same perceived level of pain reduction. The same is true of the euphoric effects of opioids—the

      "high." However, opioids depress respiration, and at very high doses can and often do arrest

      respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term

      opioid use can also cause hyperalgesia, a heightened sensitivity to pain.

              132.   Discontinuing opioids after more than just a few weeks of therapy will cause most



                                                       65
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 81 of 358




      patients to experience withdrawal symptoms. These withdrawal symptoms include: severe

      anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium,

      pain, and other serious symptoms, which may persist for months after a complete withdrawal

      from opioids, depending on how long the opioids were used.

              133.   Opioids provide effective treatment for short-term, post-surgical and trauma-

      related pain, and for palliative end-of-life care. They are approved by the FDA for use in the

      management of moderate to severe pain where use of an opioid analgesic is appropriate for more

      than a few days. Defendants, however, have manufactured, promoted, marketed, and distributed

      opioids for the management of chronic pain by misleading consumers and medical providers,

      such as hospitals, through misrepresentations or omissions regarding the appropriate uses, risks,

      and safety of opioids.

              134.   As one doctor put it, the widespread, long-term use of opioids "was an experiment

      on the population of the United States. It wasn't randomized, it wasn't controlled, and no data

      was collected until they started gathering death statistics."

      B.     The Opioid Epidemic

              135.   Prescription opioids have become widely prescribed. In 2010, enough prescription

      opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

      hydrocodone every 4 hours for 1 month.74

             136.    Despite the enormous number of prescriptions, recent studies have concluded that

      treatment with opioids is not superior to treatment with non-opioid medications for improving



      74 Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription

      Opioid Use and Abuse in the United States, 104 Am. J. Pub. Health e52-e59 (2014),
      https://www.nebi.nim.nih.gov/pme/articles/PMC3935688/.




                                                       66
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 82 of 358




      pain-related function.75 Even for patients presenting to the emergency room with acute extremity

      pain, there is no significant or clinically important difference in pain reduction at 2 hours among

      single-dose treatment with ibuprofen and acetaminophen or with three different opioid and

      acetaminophen combination analgesics.Th

                 137. In 2011, the CDC declared prescription painkiller overdoses at epidemic levels.

      The News Release noted:

                     a. The death toll from overdoses of prescription painkillers has more than tripled in
                        the past decade.

                     b. More than 40 people die every day from overdoses involving narcotic pain relievers
                        like hydrocodone (Vicodin), methadone, oxycodone (OxyContin), and
                        oxymorphone (Opana).

                    c. Overdoses involving prescription painkillers are at epidemic levels and now kill
                       more Americans than heroin and cocaine combined.

                     d. The increased use of prescription painkillers for nonmedical reasons, along with
                        growing sales, has contributed to a large number of overdoses and deaths. In 2010,
                        1 in every 20 people in the United States age 12 and older—a total of 12 million
                        people—reported using prescription painkillers non-medically according to the
                        National Survey on Drug Use and Health. Based on the data from the Drug
                        Enforcement Administration, sales of these drugs to pharmacies and health care
                        providers have increased by more than 300 percent since 1999.

                    e. Prescription drug abuse is a silent epidemic that is stealing thousands of lives and
                       tearing apart communities and families across America.

                    f. Almost 5,500 people start to misuse prescription painkillers every day.7/

      75Erin E. Krebs, M.D., et al.. Effect of Opioid vs Nonopioid Medications on Pain-Related Function in
      Patients with Chronic Back Pain or flip or Knee Osteoarthritis Pain, 319 JAMA 872-882 (2018), doi:
      10.1001/jama.2018.0899, https://jannanetwork.com/journals/jamahrtiele-ab_stract/2673971?redireet=true.

      76 Andrew K. Chang, M.D., et al., Effect of a Single Dose of Oral Opioid and Nonopioid Analgesics on
      Acute Extremity Pain in the Emergency Department, 318 JAMA 166 l -1667 (2017), doi:
      10.1001/jama.2017.16190, https://jamanetwork.com/jouma1shama/article-
      abstract/2661581?widget7personalizedcontent&previousarticic=2673971&redirect=true.

      77   See Prescription Painkiller Overdoses at Epidemic Levels, supra n. 22.




                                                            67
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 83 of 358




                 138.   The CDC has also identified addiction to prescription pain medication as the

      strongest risk factor for heroin addiction. People who are addicted to prescription opioid

      painkillers — which, at the molecular level and in their effect, closely resemble heroin — are forty

      times more likely to be addicted to heroin." According to a recent study, among young urban

      heroin users, 86% used opioid pain relievers prior to using heroin."

                 139.   The synthetic opioid fentanyl has been a driving force behind the nation's opioid

      epidemic, killing tens of thousands of Americans in overdoses. The drug is so powerful that it is

      now being used to execute prisoners on death row.80

                 140.   In a November 2016 report, the DEA declared opioid prescription drugs, heroin,

      and fentanyl as the most significant drug-related threats to the United States.8I

                 141.   The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

      during 1999-2014. Among the 47,055 drug overdose deaths that occurred in 2014 in the United

      States, 28,647 (60.9%) involved an opioid.82

                 142.   The rate of death from opioid overdose has quadrupled during the past 15 years in



      78See Centers for Disease Control and Prevention, Today's Heroin Epidemic,
      httns://www.cde.gov/vitaLsigns/heroin/index.html (last accessed August 1, 2018).

      79 Nat'l Inst. on Drug Abuse, Prescription Opioids and Heroin (Jan. 2018),
      https://d14rrngtrwzr5a cloud frontnet/sites/default/fil es/I 9774-preseription-opioids-and-hcroin,pdf.

      Rn Mitch Smith, Fentanyl Used to Execute Nebraska Inmate. in Firstfir U.S., THE NEW YORK TIMES (Aug.
      14, 2018), https://www.nytimes.com/2018/08/14/us/carev-dean-moore-nebraska-execution-fentanvl.html.

      81Rudd et al., Centers for Disease Control and Prevention, Increases in Drug and Opioid-Involved
      Overdose Deaths—United States. 2010-2015 (Dec. 30, 2016), Morbidity & Mortality Wkly. Rep.Weekly.
      Report. 2016; 65; 1445-1452, doi: http://dx.doi.org/10.15585/mmwr.rnm65505 I e 1 , available at
      blips ://www.cde.gov/mmwr/volumes/65/wr/mm655051el.htm.

      82   Id.




                                                           68
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 84 of 358




       the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

      department have increased by a factor of six in the past 15 years."

                143.   The National Institute on Drug Abuse identifies misuse and addiction to opioids

      as "a serious national crisis that affects public health as well as social and economic welfare."84

      The economic burden of prescription opioid misuse alone is 578.5 billion a year, including the

      costs of healthcare, lost productivity, addiction treatment, and criminal justice expenditures.85

                144.   In 2016, the President of the United States officially declared an opioid and heroin

      epidemic.86

      C.        Congressional Response to the Opioid Crisis

                145.   Congressional interest in the opioid crisis has been intense. Multiple committees

      in both the House and Senate have conducted dozens of hearings exploring the issue from almost

      every angle, including effects on the health care system, people and their communities, law

      enforcement, workplaces, schools, and the Native American community. Congressional efforts

      culminated in the passage of the "Substance Use-Disorder Prevention that Promotes Opioid

      Recovery and Treatment for Patients and Communities Act," or the "SUPPORT for Patients and

      Communities Act." This Bill passed the House by a vote of 396-14 on June 22, 2018, passed the



      83See Nora D. Volkow, M.D. & A. Thomas McLellan, M.D., Opioid Abuse in Chronic Pain —
      Misconceptions and Mitigation Strategies, 374 N Engl J Med 1253-1263 (2016), doi:
      10.1056/NEIMra1507771, http://www.neim.org/doi/ful1/10.1056/NEIMra1507771, (hereinafter "Volkow
      & McLellan").

      8-1 Id.


      85Id. (citing at note 2, Florence CS, et al., The Economic Burden of Prescription Opioid Overdose, Abuse,
      and Dependence in the United States, 2013 (Oct. 2016), 54 Med. Care 901-906 (2016), doi:
      10.1097N1LR.0000000000000625, available at https://www.ncbi.nlm.nih.govipubmed/27623005.

      " See Proclamation No. 9499, 81 Fed. Reg. 65173 (Sept. 16, 2016) (proclaiming "Prescription Opioid
      and Heroin Epidemic Awareness Week"), available at https://www.gpo.gov/fdsys/pkg/FR-20 I 6-09-
      22/pd U2016-22960.pdf.


                                                         69
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 85 of 358




      Senate by a vote of 99-1 on September 17, 2018, and was signed into law by the President on

      October 24, 2018. Among other provisions, the Bill made it easier to intercept drugs being

      shipped into the country, authorized new funding for more comprehensive treatment, sped up

      research on non-addictive painkillers, and provided for broader coverage for substance abuse

      under Medicare and Medicaid regulations that have occasionally stood in the way of treatment.

      Congressional interest in the issue is ongoing.

          V.      THE MARKETING DEFENDANTS' FALSE. DECEPTIVE, AND UNFAIR
                               MARKETING OF OPIOIDS

               146.   The opioid epidemic did not happen by accident.

               147.   Before the 1990s, generally accepted standards of medical practice dictated that

      opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

      for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

      patients' ability to overcome pain and function, coupled with evidence of greater pain complaints

      as patients developed tolerance to opioids over time and the serious risk of addiction and other

      side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result,

      doctors generally did not prescribe opioids for chronic pain.

               148.   Each Marketing Defendant has conducted, and continues to conduct, a marketing

      scheme designed to persuade doctors and patients that opioids can and should be used for

      chronic pain, resulting in opioid treatment for a far broader group of patients who are much more

      likely to become addicted and suffer other adverse effects from the long-term use of opioids. In

      connection with this scheme, each Marketing Defendant spent, and continues to spend, millions

      of dollars on promotional activities and materials that falsely deny, trivialize, or materially

      understate the risks of opioids while overstating the benefits of using them for chronic pain.

               149.   The Marketing Defendants have disseminated these common messages to reverse


                                                        70
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 86 of 358




      the generally accepted medical understanding of opioids and risks of opioid use. They

      disseminated these messages directly, through their sales representatives, in speaker groups led

      by physicians that the Marketing Defendants recruited for their support of their marketing

      messages, and through unbranded marketing and industry-funded Front Groups.

                 150. The Marketing Defendants' efforts have been wildly successful. Opioids are now

      the most prescribed class of drugs. Globally, opioid sales generated Sll billion in revenue for

      drug companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue

      annually since 2009." In an open letter to the nation's physicians in August 2016, the then U.S.

      Surgeon General expressly connected this "urgent health crisis" to "heavy marketing of opioids

      to doctors ... [m]any of [whom] were even taught incorrectly — that opioids are not addictive

      when prescribed for legitimate pain."" This epidemic has resulted in a flood of prescription

      opioids available for illicit use or sale (the supply), and a population of patients physically and

      psychologically dependent on them (the demand). And when those patients can no longer afford

      or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription

      opioids or even non-prescription opioids, like heroin.

                 I 51.   The Marketing Defendants intentionally continued their conduct, as alleged

      herein, with knowledge that such conduct was creating the opioid nuisance and causing the

      harms and damages alleged herein.

                152. As alleged throughout this Complaint, Defendants' conduct created a public

      health crisis and a public nuisance. The harm and endangerment to the public health, safety, and



      87   See Katherine Eban, Oxycontin: Purdue Pharnia's Painful Medicine, FORTUNE (Nov. 9, 2011),
      http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-nainful-medicine/; David Crow, Drugmakers
      !looked on SlOhn Opioid Habit, FINANCIAL TIMES (Aug. 10, 2016).

      "    Letter from Vivek H. Murthy, M.D., U.S. Surgeon General, supra n. 42.

                                                          71
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 87 of 358




      the environment created by this public nuisance is ongoing and has not been abated.

              153.    The public nuisance—i.e., the opioid epidemic—created, perpetuated, and

      maintained by Defendants can be abated and further recurrence of such harm can be abated by,

      inter alia, (a) educating prescribers (especially primary care physicians and the most prolific

      prescribers of opioids) and patients regarding the true risks and benefits of opioids, including the

      risk of addiction, in order to prevent the next cycle of addiction; (b) providing addiction

      treatment to patients who are already addicted to opioids; and (c) making naloxone widely

      available so that overdoses are less frequently fatal.

              154.   Defendants have the ability to act to abate the public nuisance, and the law

      recognizes that they must do so. It is the manufacturer of a drug that has primary responsibility to

      ensure the safety, efficacy, and appropriateness of a drug's labeling, marketing, and promotion.

      All companies in the supply chain of a controlled substance are primarily responsible for

      ensuring that such drugs are only distributed and dispensed to appropriate patients and not

      diverted. These responsibilities, to ensure that their products and practices meet state controlled

      substances and consumer protection laws and regulations, exist independent of any FDA or DEA

      regulation. As registered manufacturers and distributors of controlled substances, Defendants are

      placed in a position of special trust and responsibility, and are uniquely positioned, based on

      their knowledge of prescribers and orders, to act as a first line of defense.

             155.    The Marketing Defendants spread their false and deceptive statements by

      marketing their branded opioids directly to doctors and patients throughout the United States.

      The Marketing Defendants also deployed seemingly unbiased and independent third parties that

      they controlled to spread their false and deceptive statements about the risks and benefits of

      opioids for the treatment of chronic pain throughout Florida.



                                                       72
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 88 of 358




              156.      Across the pharmaceutical industry, "core message" development is funded and

      overseen on a national basis by the drug manufacturers' corporate headquarters. This

      comprehensive approach ensures that the Marketing Defendants' messages are accurately and

      consistently delivered across marketing channels — including detailing visits, speaker events, and

      advertising — and in each sales territory. The Marketing Defendants consider this high level of

      coordination and uniformity crucial to successfully marketing their drugs.

              157.      The Marketing Defendants ensure marketing consistency nationwide through

      national and regional sales representative training; national training of local medical liaisons (the

      company employees who respond to physician inquiries); centralized speaker training; single

      sets of visual aids, speaker slide decks, and sales training materials; and nationally coordinated

      advertising. The Marketing Defendants' sales representatives and physician speakers were

      required to stick to prescribed talking points, sales messages, and slide decks, and supervisors

      rode along with them periodically to both check on their performance and compliance.

      A.     The Marketing Defendants False and Deceptive Statements About Opioids.

             158.      The Marketing Defendants' misrepresentations fall into the following ten

      categories:

                    a. The risk of addiction from chronic opioid therapy is low;

                    b. To the extent there is a risk of addiction, it can be easily identified and
                       managed;

                    c. Signs of addictive behavior are "pseudoaddiction," requiring more opioids;

                    d. Blaming addicts as "abusers" of opioids;

                    e. Opioid withdrawal can be avoided by tapering;

                    f. °plaid doses can be increased without limit or greater risks;

                    g. Long-term opioid use improves functioning;

                                                          73
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 89 of 358




                  h. Alternative forms of pain relief pose greater risks than opioids;

                  i. A version of OxyContin marketed by Purdue was effective in providing 12-hour
                     pain relief; and

                  j.   New formulations of certain opioids successfully deter abuse.

              159.     Each of these propositions was false. The Marketing Defendants knew this, but

      they nonetheless set out to convince physicians, patients, and the public at large of the truth of

      each of these propositions in order to expand the market for their opioids.

              160.     The categories of misrepresentations are offered to organize the numerous

      statements the Marketing Defendants made and to explain their role in the overall marketing

      effort, not as a checklist for assessing each Marketing Defendant's liability. While each

      Marketing Defendant deceptively promoted their opioids specifically, and, together with other

      Marketing Defendants, opioids generally, not every Marketing Defendant propagated (or needed

      to propagate) each misrepresentation. Each Marketing Defendant's conduct, and each

      misrepresentation, contributed to an overall narrative that aimed to—and did—mislead doctors,

      patients, and payors about the risks and benefits of opioids. While this Complaint endeavors to

      document examples of each Marketing Defendant's misrepresentations and the manner in which

      they were disseminated, they are just that—examples. The Complaint is not, especially prior to

      discovery, an exhaustive catalog of the nature and manner of each deceptive statement by each

      Marketing Defendant.

             1.        Falsehood #1: The Risk of Addiction from Chronic Opioid Therapy is Low

             161.      Central to the Marketing Defendants' promotional scheme was the

      misrepresentation that opioids are rarely addictive when taken for chronic pain. Through their

      marketing efforts, the Marketing Defendants advanced the idea that the risk of addiction is low

      when opioids are taken as prescribed by "legitimate" pain patients. That, in turn, directly led to

                                                       74
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 90 of 358




      the expected and intended result that doctors prescribed more opioids to more patients—thereby

      enriching the Marketing Defendants and substantially contributing to the opioid epidemic.

                  162.   Each of the Marketing Defendants claimed that the potential for addiction from its

      opioids was relatively small or non-existent, even though there was no scientific evidence to

      support those claims. None of them have acknowledged, retracted, or corrected their false

      statements.

                  163.   In fact, studies have shown that a substantial percentage of long-term users of

      opioids experience addiction. Addiction can result from the use of any opioid, "even at

      recommended dose,"89 and the risk substantially increases with more than three months of use. 9°

      As the CDC Guideline states, "[olpioid pain medication use presents serious risks, including

      overdose and opioid use disorder" (a diagnostic term for addiction). 9'

                         a.     Purdue and Abbott's Misrepresentations Regarding Addiction Risk

                  164.   When it launched OxyContin, Purdue knew it would need data to overcome

      decades of wariness regarding opioid use. It needed some sort of research to back up its

      messaging. But Purdue had not conducted any studies about abuse potential or addiction risk as




      89FDA announces safety labeling changes and post market study requirements for extended- release and
      long-acting opioid analgesics, FDA (Sept. 10, 2013), available at https://www.fda.gov/drugs/information-
      drug-class/new-safety-measures-announced-extended-release-and-long-acting-opioids; see also FDA
      announces enhanced warnings for immediate-release opioid pain medications related to risks of misuse,
      abuse, addiction, overdose and death, FDA (Mar. 22, 2016), available al
      https://www.fda.gov/drugs/information-drug-classinew-safety-measures-announced-immediate-release-ir-
      opioids.

       ° Centers for Disease Control and Prevention, CDC Guideline.* Prescribing Opioids for Chronic Pain,
      at 2 I (March 15, 2016), https://www.cdc.gov/mmwrivolumes/65/rrirr650 1 el.htm, (hereinafter "2016
      CDC Guideline").                   •

      91   Id. at 2.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 91 of 358




      part of its application for FDA approval for OxyContin. Purdue (and, later, the other Defendants)

      found this "research" in the form of a one-paragraph letter to the editor published in the New

      England Journal of Medicine ("NEJM") in 1980.

                 165. This letter, by Dr. Hershel Jick and Jane Porter, declared the incidence of

      addiction "rare" for patients treated with opioids.92 They had analyzed a database of hospitalized

      patients who were given opioids in a controlled setting to ease suffering from acute pain. Porter

      and Jick considered a patient not addicted if there was no sign of addiction noted in patients'

      records.

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                 166.    As Dr. Jick explained to a journalist years later, he submitted the statistics to

      NEJM as a letter because the data were not robust enough to be published as a study.93


      q2Jane Porter and Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2) N Engl
      J Med. 123 (Jan. 10, 1980), http://www.nejm.org/doi/ocif/10.1056/NEJM198001103020221 (hereinafter
      "Porter and Jick Letter").

      93   Pain Killer, supra n. 15.




                                                                              76
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 92 of 358




                 167.    Purdue nonetheless began repeatedly citing this letter in promotional and

      educational materials as evidence of the low risk of addiction, while failing to disclose that its

      source was a letter to the editor, not a peer-reviewed paper.94 Citation of the letter, which was

      largely ignored for more than a decade, significantly increased after the introduction of

      OxyContin. While first Purdue and then other Marketing Defendants used it to assert that their

      opioids were not addictive, "that's not in any shape or form what we suggested in our letter,"

      according to Dr. Jick.

                 168.    Purdue specifically used the Porter and Jick letter in its 1998 promotional video "I

      got my life back," in which Dr. Alan Spanos states "In fact, the rate of addiction amongst pain

      patients who are treated by doctors is much less than f%795 Purdue trained its sales

      representatives to tell prescribers that less than 1% of patients who took OxyContin became

      addicted. (In 1999, a Purdue-funded study of patients who used OxyContin for headaches found

      that the addiction rate was I3%.)96

                 169.    Other Defendants relied on and disseminated the same false and deceptive

      messaging. The enormous impact of Defendants' misleading amplification of this letter was well

      documented in another letter published in the NEJM on June 1,2017, describing the way the

      one-paragraph 1980 letter had been irresponsibly cited and, in some cases, "grossly

      misrepresented." In particular, the authors of this letter explained:


      94   "Porter and Jick Letter," supra n. 92.

      95Our Amazing World, Purdue Pharma OxyContin Commercial,
      https://www.youtube.corniwatetOv=Er78Di5hvei, (last accessed August 1, 2018) (emphasis added).

      96Patrick R. Keefe, The Family that Built an Empire of Pain, The New Yorker (Oct. 30, 2017),
      htlps://www.newvorker.com/magazine/2017/10/30/the-fami ly-that-huilt-an-emp ire-of-pain (hereinafter
      "Empire of Pain").




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 93 of 358




                [W]e found that a five-sentence letter published in the Journal in 1980 was
                heavily and uncritically cited as evidence that addiction was rare with long-term
                opioid therapy. We believe that this citation pattern contributed to the North
                American opioid crisis by helping to shape a narrative that allayed prescribers'
                concerns about the risk of addiction associated with long-term opioid therapy.97

                 170.   "It's difficult to overstate the role of this letter," said Dr. David Juurlink of the

      University of Toronto, who led the analysis. "It was the key bit of literature that helped the

      opiate manufacturers convince front-line doctors that addiction is not a concem."98

                171.    Alongside its use of the Porter and Jick letter, Purdue also crafted its own

      materials and spread its deceptive message through numerous additional channels. In its 1996

      press release announcing the release of OxyContin, for example, Purdue declared, "The fear of

      addiction is exaggerated."99

                172.    Abbott sales staff were instructed about the euphoria patients were receiving on

      the shorter-acting painkiller Vicodin, they should tell the physician that "OxyContin has fewer

      such effects." Abbott's "King of Pain" taught his staff of "Royal Crusaders" that OxyContin

      would "minimize[e] the risk of dependence" and "lowerfl euphoria," when, in fact, he had little

      knowledge of pharmacology and no basis for these statements.

                173.    At a hearing before the House of Representatives' Subcommittee on Oversight

      and Investigations of the Committee on Energy and Commerce in August 2001, Purdue



      97 Pamela T.M. Leung, et at., A 1980 Letter on the Risk of Opioid Addiction, 376 N Engl. J Med 2194-95
      (June 1, 2017), http://www.nejm.org/doi/full/I 0.1056/NEJMe1700150#t=article.

      98   Marilynn Marchione, Painful words: How a 1980 letter fueled the opioid epidemic, STAT
      NEWs (May 31, 2017), hrms://www.statnews.com/20 7/05/31/opioid-enidemic-nejm-letter/.

      99Press Release, OxyContin, New Hope for Millions of Americans Suffering from Persistent Pain: Long-
      Acting OxyContin Tablets Now Available to Relieve Pain (May 31, 1996),
      http://clocuments. latimes.com/oxycontinTress-release- 1996/.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 94 of 358




      emphasized "legitimate" treatment, dismissing cases of overdose and death as something that

      would not befall "legitimate" patients: "Virtually all of these reports involve people who are

      abusing the medication, not patients with legitimate medical needs under the treatment of a

      healthcare professional."100

                 174.     Purdue spun this baseless "legitimate use" distinction out even further in a patient

      brochure about OxyContin, called A Guide to Your New Pain Medicine and How to Become a

      Partner Against Pain. In response to the question "Aren't opioid pain medications like

      OxyContin Tablets 'addicting'?" Purdue claimed that there was no need to worry about addiction

      if taking opioids for legitimate, "medical" purposes: "Drug addiction means using a drug to get

      "high" rather than to relieve pain. You are taking opioid pain medication for medical purposes.

      The medical purposes are clear and the effects are beneficial, not harmful."

                 175.    Sales representatives marketed OxyContin as a product "to start with and to stay

      with."' Sales representatives also received training in overcoming doctors' concerns about

      addiction with talking points they knew to be untrue about the drug's abuse potential. One of

      Purdue's early training memos compared doctor visits to "firing at a target," declaring that

      lais you prepare to fire your 'message,' you need to know where to aim and what you want to

      hit!"1°2 According to the memo, the target is physician resistance based on concern about

      addiction: "The physician wants pain relief for these patients without addicting them to an


      EJ Oxycontin: Its Use and Abuse: Hearing Before the House Subcommittee. on Oversight and
      Investigations of the Comm. on Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001) (statement of
      Michael Friedman, Executive Vice President, Chief Operating Officer, Purdue Pharma, L.P.),
      https://www.gpe.gov/fdsvs/nk2/CHRG-107hhrg75754/html/CHRG-107hhrg75754.htm (herein after
      aryconiiii: Its Use and Abuse").

            Keefe, Empire of Pain, supra n. 96.

      'O2   Pain Killer, supra n. 15, at 102.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 95 of 358




       opioid."I°3

                    176.   Purdue, through its unbranded website Partners Against Pain,'04 stated the

       following: "Current Myth: Opioid addiction (psychological dependence) is an important clinical

      problem in patients with moderate to severe pain treated with opioids. Fact: Fears about

      psychological dependence are exaggerated when treating appropriate pain patients with opioids."

                    177.   Former sales representative Steven May, who worked for Purdue from 1999 to

      2005, explained to a journalist bow he and his coworkers were trained to overcome doctors'

      objections to prescribing opioids. The most common objection he heard about prescribing

      OxyContin was that "it's just too addietive."105 May and his coworkers were trained to "refocus"

      doctors on "legitimate" pain patients, and to represent that "legitimate" patients would not

      become addicted. In addition, they were trained to say that the 12-hour dosing made the

      extended-release opioids less "habit-forming" than painkillers that need to be taken every four

      hours.

                    178.   According to interviews with prescribers and former Purdue sales representatives.

      Purdue has continued to distort or omit the risk of addiction while failing to correct its earlier

      misrepresentations, leaving many doctors with the false impression that pain patients will only




      1 113   Id.

      104 Partners Against Pain consists of both a website, styled as an "advocacy community" for better pain
      care, and a set of medical education resources distributed to prescribers by sales representatives. It has
      existed since at least the early 2000s and has been a vehicle for Purdue to downplay the risks of
      addiction from long-term opioid use. One early pamphlet, for example, answered concerns about
      OxyContin's addictiveness by claiming: "Drug addiction means using a drug to get 'high' rather than to
      relieve pain. You are taking opioid pain medication for medical purposes. The medical purposes are
      clear and the effects are beneficial, not harmful."

      1°5 David Remnick, How OxyContin Was Sold to the Masses (Steven May interview with Patrick
      Radden Keefe), The New Yorker (Oct. 27, 2017), https://vvww.newyorker.com/podcastithe-new-
      yorker-radio-hourthow-oxvcontin- was-sold-to-the-masses.


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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 96 of 358




      rarely become addicted to opioids.

              179.   With regard to addiction, Purdue's label for OxyContin has not sufficiently

      disclosed the true risks to, and experience of, its patients. Until 2014, the OxyContin label stated

      in a black-box warning that opioids have "abuse potential" and that the "risk of abuse is

      increased in patients with a personal or family history of substance abuse."

              180.   However, the FDA made clear to Purdue as early as 2001 that the disclosures in

      its OxyContin label were insufficient. In 2001, Purdue revised the indication and warnings for

      OxyContin.

             181.    In the end, Purdue narrowed the recommended use of OxyContin to situations

      when "a continuous, around-the-clock analgesic is needed for an extended period of time" and

      added a warning that "[flaking broken, chewed, or crushed OxyContin tablets" could lead to a

      "potentially fatal dose." However, Purdue did not, until 2014, change the label to indicate that

      OxyContin should not be the first therapy, or even the first opioid, used, and did not disclose the

      incidence or risk of overdose and death even when OxyContin was not abused. Purdue

      announced the label changes in a letter to health care providers.

             182.    The Purdue Defendants' awareness of the addictive properties of their opioid

      products is best exemplified by their cynical attempts to profit from addiction treatment In 2007,

      Defendant Richard Sackler filed an application for a patent for a purported treatment for opioid

      addiction. In September 2014, Defendant Kathe Sadder dialed in to a confidential call about

      Project Tango -- a secret plan for Purdue to expand into the business of selling drugs to treat

      opioid addiction. In their internal documents, Ms. Sackler and staff wrote down what Purdue

      publicly denied for decades: that addictive opioids and opioid addiction are "naturally linked."

      They determined that Purdue should expand across "the pain and addiction spectrum," to become



                                                       81
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 97 of 358




      "an end-to-end pain provider." Purdue illustrated the end-to-end business model with a picture

      of a dark hole labeled "Pain treatment" that a patient could fall into — and "Opioid addiction

      treatment" waiting at the bottom. Ms. Sackler and the Project Tango team reviewed their findings

      that the "market" of people addicted to opioids, measured coldly in billions of dollars, had

      doubled from 2009 to 2014:


                               US market overview, substance abuse'
                                                                ID Non-
                                                                    opioid
                               Gross sales
                               $ billion                            Oploid
                               2.4                                   2.3     23
                               2.2
                                                                             0.4
                               2.0                           1.9
                               1.8                    1.7
                                                             0.4
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                               1.4     1.3
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                               1_0     0.6
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                               0.4     0.8
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                              Purdue's measure of the opioid addiction "market"

             183. Defendant Kathe Sackler and the staff found that the catastrophe provided an

      excellent compound annual growth rate ("CAGR"): "Opioid addiction (other than heroin) has

      grown by —20% CAGR from 2000 to 2010." Kathe and the staff revealed in their internal

      documents that Purdue's tactic of blaming addiction on untrustworthy patients was a lie. Instead,

      the truth is that opioid addiction can happen to anyone who is prescribed opioids:


                                                      82
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 98 of 358




                           • "This can happen to any-one — from a 50 year
                             old woman with chronic lower back pain to a 18
                             year old boy with a sports injury, from the very
                             wealthy to the very poor"
                              Purdue's "Project Tango" patient and clinical rationale


      Kathe and the staff concluded that millions of people who became addicted to opioids were the

      Sadder Defendants' next business opportunity. Staff wrote: "It is an attractive market. Large unmet

      need for vulnerable, underserved and stigmatized patient population suffering from substance

      abuse, dependence and addiction." The team identified eight ways that Purdue's experience

      getting patients on opioids could now be used to sell treatment for opioid addiction.

                180. In June 2017, the Sackler Defendants met to discuss a revised version of Project

       Tango - another try at profiting from the opioid crisis. This time, they considered a scheme to sell

       the overdose antidote NARCAN. The need for NARCAN to reverse overdoses was rising so fast

       that the Sacklers calculated it could provide a growing source of revenue, tripling from 2016 to

       2018.

                      b.      Endo's Misrepresentations Regarding Addiction Risk

               182.   Endo also falsely represented that addiction is rare in patients who are prescribed

                      opioids.

               183.   Until April 2012, Endo's website for Opana, www.opana.com, stated that "[m]ost

      healthcare providers who treat patients with pain agree that patients treated with prolonged

      opioid medicines usually do not become addicted."

               184.   In consideration of a reasonable opportunity for further investigation and

      discovery, Plaintiffs allege that Endo improperly instructed its sales representatives to diminish

      and distort the risk of addiction associated with Opana ER. One of the Front Groups with which

      Endo worked most closely was the American Pain Foundation ("APF"), described more fully

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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 99 of 358




      below.

               185.    APF conveyed through its National Initiative on Pain Control ("NIPC") arid its

      website www.Painknowledge.corn, which claimed that "[p]eople who take opioids as prescribed

      usually do not become addicted."

               186.   Another Endo website, www.PainAction.corn, stated: "Did you know? Most

      chronic pain patients do not become addicted to the opioid medications that are prescribed for

      them."

               187.   A brochure available on www.Painknowledge.corn titled "Pain: Opioid Facts," an

      Endo- sponsored N1PC, stated that "people who have no history of drug abuse, including

      tobacco, and use their opioid medication as directed will probably not become addicted." In

      numerous patient education pamphlets, Endo repeated this deceptive message.

               In a patient education pamphlet titled "Understanding Your Pain: Taking Oral
               Opioid Analgesics," Endo answers the hypothetical patient question— "What
               should I know about opioids and addiction?" —by focusing on explaining what
               addiction is ("a chronic brain disease") and is not ("Taking opioids for pain
               relief"). It goes on to explain that "[a]ddicts take opioids for other reasons, such
               as unbearable emotional problems. Taking opioids as prescribed for pain relief is
               not addiction." This publication is still available online and was edited by KOL
               Dr. Russell Portenoy.m6

               188.   In addition, a 2009 patient education publication, Pain: Opioid Therapy, funded

      by Endo and posted on www.Painknowledge.com, omitted addiction from the "common risks"

      of opioids, as shown below:




      106
         Margo McCaffery, RN MS, FAAN 8.: Chris Pasero, RN, MS FAAN, Understanding Your Pain, Taking
      Oral                  Opioid                   Analgesics,                 available             at
      http://www.thblack.corn/links/rsd/understan_d_pain opioid analgesics.pdf (last accessed October 26,
      2018).

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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 100 of
                                     358




       As with any medication, there are some side effects that are associated with
       opictid therapy. The most common side effects that occur with opioid use
       include the following:
           to Constipation
           ip Drowsiness
           • Confusion
           ir Nausea
           6 Itching
           • Dizziness
           t Shortness of breath
      Your healthcare provider can help to address and, in some cases, orevent side
      effects that may occur as a result of oproid treatment. Less severe side effects,
      including nausea. itchino. or drowsiness, typically go away within a few days with-
      out the need for furthei treatment. lf you experience any Side effects, you should
      let your healthcare provider know immediately.


                     c.     Janssen's Misrepresentations Regarding Addiction Risk

              189.   Janssen likewise misrepresented the addiction risk of opioids on its websites and

     print materials. One website, Let's Talk Pain, states, among other things, that "the stigma of drug

     addiction and abuse" associated with the use of opioids stemmed from a "lack of understanding

     addiction."

              190.   The Let's Talk Pain website also perpetuated the concept of pseudoaddiction,

     associating patient behaviors such as "drug seeking," "clock watching," and "even illicit drug

     use or deception" with undertreated pain which can be resolved with "effective pain

     management."

              191.   A Janssen unbranded website, www.PrescribeResponsibly.com, states that

     concerns about opioid addiction are "overestimated" and that "true addiction occurs only in a

     small percentage of patients."107

              192.   Janssen reviewed, edited, approved, and distributed a patient education guide

     entitled Finding Relief: Pain Management for Older Adults, which, as seen below, described as


     107Keith Candiotti, M.D., Use of °plaid Analgesics in Pain Management, Prescribe Responsibly,
     http://www.prescribereuonsibly.eom/articles/opioid-pain-management (last modified July 2,2015).


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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 101 of
                                     358




     "myth" that opioids are addictive, and asserted as fact that Imjany studies show that opioids are

     rarely addictive when used properly for the management of chronic pain" (emphasis in original).

     Until recently, this guide was still available online.




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             193.   Janssen's website for Duragesic included a section addressing "Your Right to

     Pain Relief' and a hypothetical patient's fear that "I'm afraid I'll become a drug addict." The

     website's response: "Addiction is relatively rare when patients take opioids appropriately."
                                                     •
                    d.     Cephalon's Misrepresentations Regarding Addiction Risk

             194.   Cephalon sponsored and facilitated the development of a guidebook, Opioid

     Medications and REMS: A Patient's Guide, which included claims that "patients without a

     history of abuse or a family history of abuse do riot commonly become addicted to opioids."

               Cephalon sponsored APF's Treatment Options: A Guide for People Living with Pain

     (2007), which taught that addiction is rare and limited to extreme cases of unauthorized dose

     escalations, obtaining opioids from multiple sources, or theft.

            195.    For example, a 2003 Cephalon-sponsored CME presentation titled Pharmacologic

     Management of Breakthrough or Incident Pain, posted on Medscape in February 2003, teaches:

            [C]hronic pain is often undertreated, particularly in the non-cancer patient.
            population. ... The continued stigmatization of opioids and their prescription,

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                                                       86
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 102 of
                                     358




            coupled with often unfounded and self-imposed physician fear of dealing with
            the highly regulated distribution system for opioid analgesics, remains a barrier
            to effective pain management and must be addressed. Clinicians intimately
            involved with the treatment of patients with chronic pain recognize that the
            majority of suffering patients lack interest in substance abuse. In fact, patient
            fears of developing substance abuse behaviors such as addiction often lead to
            under treatment of pain. The concern about patients with chronic pain becoming
            addicted to opioids during long-term opioid therapy may stem from confusion
            between physical dependence (tolerance) and psychological dependence
            (addiction) that manifests as drug abuse.lu

                     e.     Mallinckrodt's Misrepresentations Regarding Addiction Risk

            196.     As described below, Mallinckrodt promoted its branded opioids Exalgo and

     Xartemis XR, and opioids generally, in a campaign that consistently mischaracterized the risk of

     addiction. Mallinckrodt did so through its website and sales force, as well as through unbranded

     communications distributed through the "C.A.R.E.S. Alliance" it created and led.

     Mallinckrodt in 2010 created the C.A.R.E.S. (Collaborating and Acting Responsibly to Ensure

     Safety) Alliance, which it describes as "a coalition of national patient safety, provider and drug

     diversion organizations that are focused on reducing opioid pain medication abuse and increasing

     responsible prescribing habits." The "C.A.R.E.S. Alliance" itself is a service mark of

     Mallinckrodt LLC (and was previously a service mark of Mallinckrodt, Inc.) copyrighted and

     registered as a trademark by Covidien, its former parent company. Materials distributed by the

     C.A.R.E.S. Alliance, however, include unbranded publications that do not disclose a link to

     Mallinckrodt.

            197.     By 2012, Mallinckrodt, through the C.A.R.E.S. Alliance, was promoting a book




     '8 Michael J. Brennan, et al., Pharmacolouic Management of Breakthrough or Incident Pain, Medscape.
     http://www.medscape.orgiviewarticle/449803, (last accessed July 27, 2017).




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 103 of
                                     358




     titled Defeat Chronic Pain Now! This book is still available online." The false claims and

     misrepresentations in this book include the following statements:

                   a. "Only rarely does opioid medication cause a true addiction when prescribed
                      appropriately to a chronic pain patient who does not have a prior history of
                      addiction."

                   b. "It is currently recommended that every chronic pain patient suffering from
                      moderate to severe pain be viewed as a potential candidate for opioid therapy."

                   c. "When chronic pain patients take opioids to treat their pain, they rarely develop a
                      true addiction and drug craving."

                   d. "Only a minority of chronic pain patients who are taking long-term opioids develop
                      tolerance."

                   e. "The bottom line: Only rarely does opioid medication cause a true addiction when
                      prescribed appropriately to a chronic pain patient who does not have a prior history
                      of addiction."

                   f "Here are the facts. It is very uncommon for a person with chronic pain to become
                       'addicted' to narcotics IF (I) he doesn't have a prior history of any addiction and
                       (2) he only takes the medication to treat pain."

                   g. "Studies have shown that many chronic pain patients can experience significant
                          pain relief with tolerable side effects from opioid narcotic medication when taken
                          daily and no addiction."

               198. In a 2013 Mallinckrodt Pharmaceuticals Policy Statement Regarding the

     Treatment of Pain and Control of Opioid Abuse, which is still available online, Mallinckrodt

     stated that, "[s]adly, even today, pain frequently remains undiagnosed and either untreated or

     undertreated" and cites to a report that concludes that "the majority of people with pain use their

     prescription drugs properly, are not a source of misuse, and should not be stigmatized or denied




     09   Available at,
     https://books.google.com/books?id=VcSQGYKXWdYC&printsec=frontcover&source=gbs_ViewAPIgv
     =snippet&q=only%2Orarely%20does%20opioid%20medication&f=ralse




                                                          88
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 104 of
                                     358




     access because of the misdeeds or carelessness of others."

             199.   Marketing Defendants' suggestion that the opioid epidemic is the result of bad

     patients who manipulate doctors to obtain opioids illicitly helped further their marketing scheme

     is at odds with the facts. While there are certainly patients who unlawfully obtain opioids, they

     are a small minority. For example, patients who "doctor-shop"—i.e., visit multiple prescribers to

     obtain opioid prescriptions—are responsible for roughly 2% of opioid prescriptions. The

     epidemic of opioid addiction and abuse is overwhelmingly a problem of false marketing (and

     unconstrained distribution) of the drugs, not problem patients.

            2.      Falsehood #2: To the Extent There is a Risk of Addiction, It Can Be Easily
                    Identified and Managed

            200.    While continuing to maintain that most patients can safely take opioids long-term

     for chronic pain without becoming addicted, the Marketing Defendants assert that to the extent

     that some patients are at risk of opioid addiction, doctors can effectively identify and manage that

     risk by using screening tools or questionnaires. In materials they produced, sponsored, or

     controlled, Defendants instructed patients and prescribers that screening tools can identify

     patients predisposed to addiction, thus making doctors feel more comfortable prescribing opioids

     to their patients and patients more comfortable starting opioid therapy for chronic pain. These

     tools, they say, identify those with higher addiction risks (stemming from personal or family

     histories of substance use, mental illness, trauma, or abuse) so that doctors can then more closely

     monitor those patients. Purdue shared its Partners Against Pain "Pain Management Kit," which

     contains several screening tools and catalogues of Purdue materials.

            201.    Janssen, on its website www.PrescribeResponsibly.com, states that the risk of

     opioid addiction "can usually be managed" through tools such as opioid agreements between




                                                     89
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 105 of
                                     358




     patients and doctors."' The website, which directly provides screening tools to prescribers for

     risk assessments)" includes a "[flour question screener" to purportedly help physicians identify

     and address possible opioid misuse) 12

               202.   Purdue and Cephalon sponsored the APF's Treatment Options: A Guide for

     People Living with Pain (2007), which also falsely reassured patients that opioid agreements

     between doctors and patients can "ensure that you take the opioid as prescribed" and counseled

     patients that opioids "give [pain patients] a quality of life we deserve."

               203.   Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster, entitled Managing

     Patient's Opioid Use: Balancing the Need and Risk. This publication misleadingly taught

     prescribers that screening tools, urine tests, and patient agreements have the effect of preventing

     "overuse of prescriptions" and "overdose deaths."

               904. Purdue sponsored a 2011 CME program titled Managing Patient's Opioid Use:

     Balancing the Need and Risk. This presentation deceptively instructed prescribers that screening

     tools, patient agreements, and urine tests prevented "overuse of prescriptions" and "overdose

     deaths."

               205. Purdue also funded a 2012 CME program called Chronic Pain Management and

     Opioid Use: Easing Fears, Managing Risks, and Improving Outcomes. The presentation

     deceptively instructed doctors that, through the:use of screening tools, more frequent refills, and


     II° Howard A. Heir, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FR.CPC, FASAM, What
     a Prescriber Should Know Before Writing the First Prescription. Prescribe Responsibly,
     hun://www.prescriberesponsibly.com/articles/before-nrescribing-opioids4nseudoaddiction, (last
     modified July 2, 2015) (hereinafter "What a Prescriber Should Know Before Writing the First
     PrescriptionPrescribing Opioids.").

     111 Risk Assessment Resources, PRESCRIBE RESPONSIBLY, http://www.prescriberesponsibly.com/risk-
     assessment-resources (last accessed August 1, 2018).

     " 2 Id,

                                                      90
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 106 of
                                     358




     other techniques, even high-risk patients showing signs of addiction could be treated with

     opioids.

             206.    Endo paid for a 2007 supplement available for continuing education credit in the

     Journal of Family Practice written by a doctor who became a member of Endo's speaker's

     bureau in 2010. This publication, entitled Pain Management Dilemmas in Priinary Care: Use of

     Opioids, (1) recommended screening patients using tools like (a) the Opioid Risk Tool (ORT)

     created by Dr. Webster and linked to Janssen or (b) the Screener and Opioid Assessment for

     Patients with Pain, and (ii) taught that patients at high risk of addiction could safely receive

     chronic opioid therapy using a "maximally structured approach" involving toxicology screens

     and pill counts. The ORT was linked to Endo-supported websites, as well.

            207.    There are three fundamental flaws in the Marketing Defendants' representations

     that doctors can consistently identify and manage the risk of addiction. First, there is no reliable

     scientific evidence that doctors can depend on the screening tools currently available to

     materially limit the risk of addiction. Second, there is no reliable scientific evidence that high-

     risk patients identified through screening can take opioids long-term without triggering

     addiction, even with enhanced monitoring. Third, there is no reliable scientific evidence that

     patients who are not identified through such screening can take opioids long-term without

     significant danger of addiction.

            3.      Falsehood #3: Signs of Addictive Behavior are "Pseudoaddiction" Requiring
                    More Opioids

            208.    The Marketing Defendants instructed patients and prescribers that signs of

     addiction are actually indications of untreated pain, such that the appropriate response is to

     prescribe even more opioids. Dr. David Haddox, who later became a Senior Medical Director for

     Purdue, published a study in 1989 coining the term "pseudoaddiction," which he characterized as


                                                       91
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 107 of
                                     358




     "the iatrogenic syndrome of abnormal behavior developing as a direct consequence of inadequate

     pain management."3 In other words, people on prescription opioids who exhibited classic signs

     of addiction—for example, asking for more and higher doses of opioids, self-escalating their

     doses, or claiming to have lost prescriptions in order to get more opioids—were not addicted, but

     rather simply suffering from under-treatment of their pain.

            209.    in the materials and outreach they produced, sponsored, or controlled, the

     Marketing Defendants made each of these misrepresentations and omissions, and have never

     acknowledged, retracted, or corrected them.

            210.    Cephalon, Endo, and Purdue sponsored the Federation of State Medical Boards'

     ("FSMB") Responsible Opioid Prescribing (2007) written by Dr. Scott Fishman and discussed in

     more detail below, which taught that behaviors such as "requesting drugs by name," "demanding

     or manipulative behavior," seeing more than one doctor to obtain opioids, and hoarding, which

     are signs of genuine addiction, are all really signs of "pseudoaddietion."

            211.    Purdue posted an unbranded pamphlet entitled Clinical Issues in Opioid

     Prescribing on its unbranded website, www.PartnersAgainstPain.com, in 2005, and circulated

     this pamphlet through at least 2007 and on its website through at least 2013. The pamphlet listed

     conduct including "illicit drug use and deception" that it claimed was not evidence of true

     addiction but "pseudoaddiction" caused by untreated pain:

                     "A term which has been used to describe patient behaviors that
                     may occur when pain is undertreated. Patients with unrelieved
                     pain may become focused on obtaining medications, may 'clock
                     watch," and may otherwise seem inappropriately "drug-seeking.'
                     Even such behaviors as illicit drug use and deception can occur in
                     the patient's efforts to obtain relief. Pseudoaddiction can be

      13 David E. Weissman & J. David Haddox, Opioid pseudoaddiedon—an irdrogenic syndrome, 36(3)
     Pain 363-66 (Mar. 1989), https://wmv.ncbi.nlm.nih.gov/pubmed/2710565. ("Iatrogenic" describes a
     condition induced by medical treatment.)

                                                     92
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 108 of
                                     358




                     distinguished from true addiction in that the behaviors resolve
                     when the pain is effectively treated.

     Purdue again urged doctors to prescribe higher doses, stating that opioids "are frequently

     underdosed - or even withheld due to a widespread lack of information ... about their use among

     healthcare professionals."

            212. According to documents provided by a former Purdue detailer, sales

     representatives were trained and tested on the meaning of pseudoaddiction, from which it can be

     inferred that sales representatives were directed to, and did, describe pseudoaddiction to

     prescribers. Purdue's Pain Management Kit is another example of publication used by Purdue's

     sales force that endorses pseudoaddiction by claiming that "pain-relief seeking behavior can be

     mistaken for drug-seeking behavior." In consideration of a reasonable opportunity for further

     investigation and discovery, Plaintiffs allege that the kit was in use from roughly 2011 through at

     least June 2016. A Purdue presentation for doctors titled Medication Therapy Management

     recited what had been the consensus view for decades: "Many medical students are taught that if

     opioids are prescribed in high doses or for a prolonged time, the patient will become an addict."

     Purdue then assured doctors that this traditional concern about addiction was wrong — that

     patients instead suffer from "pseudoaddiction" because "opioids are frequently prescribed in

     doses that are inadequate." Doctors on Purdue's payroll admitted in writing that pseudoaddiction

     was used to describe "behaviors that are clearly characterized as drug abuse" and put Purdue at

     risk of "ignoring" addiction and "sanctioning abuse." But Purdue nevertheless urged doctors to

     respond to signs of addiction by prescribing higher doses of Purdue's drugs. Purdue publications

     touting the concept of "pseudoaddiction" were regularly provided to the Purdue Individual

     Defendants by Purdue staff. Staff also regularly reported on the distribution of such materials to

     the Purdue Individual Defendants.


                                                     93
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 109 of
                                     358




             213.    Endo also sponsored a NIPC CME program in 2009 titled Chronic Opioid

     Therapy: Understanding Risk While Maximizing Analgesia, which promoted pseudoaddiction

     and listed "[d]ifferentiation among states of physical dependence, tolerance, pseudoaddiction,

     and addiction" as an element to be considered in awarding grants to CME providers.

             214.    Endo itself has repudiated the concept of pseudoaddiction. In finding that "[t]he

     pseudoaddiction concept has never been empirically validated and in fact has been abandoned by

     some of its proponents," the New York Attorney General, in a 2016 settlement with Endo,

     reported that "Endo's Vice President for Pharmacovigilance and Risk Management testified to

     [the NY AG] that he was not aware of any research validating the `pseudoaddiction' concept"

     and acknowledged the difficulty in distinguishing "between addiction and 'pseudoaddiction. '""n

     Endo thereafter agreed not to "use the term 'pseudoaddiction' in any training or marketing" in

     New York. The FAQs section of www.paiii-topics.org, a now-defunct website to which

     Mallinclu-odt provided funding, also contained misleading information about pseudoaddiction.

     Specifically, the website advised providers to "keep in mind" that signs of potential drug

     diversion, rather than signaling "actual" addiction, "may represent pseudoaddiction," which the

     website described as behavior that occurs in patients when pain is "undertreated" and includes

     patients becoming "very focused on obtaining opioid medications and may be erroneously

     perceived as 'drug seeking."

            215.     Janssen sponsored, funded, and edited a website called Let's Talk Pain, which in

     2009 stated "pseudoaddiction . refers to patient behaviors that may occur when pain is

     undertreated . Pseudoaddiction is different from true addiction because such behaviors can be



     114 Attorney General of the State of New York, In the Matter of Endo Health Solutions Inc. & Endo
     Pharmaceuticals Inc., Assurance No.:I5-228, Assurance of Discontinuance Under Executive Law
     Section 63. Subdivision 15 at 7.

                                                       94
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 110 of
                                     358




     resolved with effective pain management." This website was accessible online until at least May

     2012. Janssen also currently runs a Nvebsite, www.Prescriberesponsiblv.com, which claims that

     concerns about opioid addiction are "overestimated," and describes pseudoaddietion as "a

     syndrome that causes patients to seek additional medications due to inadequate pharmacotherapy

     being prescribed. Typically, when the pain is treated appropriately the inappropriate behavior

     ceases."15

            216. The CDC Guidelines nowhere recommend attempting to provide more opioids to

     patients exhibiting symptoms of addiction. Dr. Lynn Webster, a KOL discussed below, admitted

     that pseudoaddiction "is already something we are debunking as a concept" and became "too

     much of an excuse to give patients more medication. It led us down a path that caused harm."

            4.      Falsehood #4: Blaming Addicted Patients as "Untrustworthy" "Abusers"

            /17. A recurring strategy employed by the Purdue Individual Defendants, over a period

     of decades, was to blame any negative consequences from opioid use on moral failings of a

     minority of users, who would be labeled as "abusers" or "untrustworthy" people. In 2001,

     Defendant Richard Sackler wrote down his solution to the overwhelming evidence of overdose

     and death: blame and stigmatize people who become addicted to opioids. Sackler wrote in a

     confidential email: "we have to hammer on the abusers in every way possible. They are the

     culprits and the problem. They are reckless criminals." The Sackler Defendants chose to

     stigmatize people who were hurt by opioids, calling them "junkies" and "criminals." In

     December 2011, Defendant John Stewart gave a speech titled Providing Relief Preventing Abuse

     in Connecticut, which deceptively blamed the addiction, overdose, and death on "abuse." A




     115 What a Prescriber Should Know Before Writing the First PrescriptionPrescribing Opioids, supra n.
     1 10.


                                                       95
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 111 of
                                     358




     Purdue pamphlet entitled "Responsible Opioid Prescribing" told doctors that only "a small

     minority of people seeking treatment may not be reliable or trustworthy" and not suitable for

     addictive opioid drugs. Purdue managers praised sales representatives for pitching doctors on the

     idea that prescribing to "trustworthy" patients was safe. A sales rep reported that one doctor: "let

     me know that she will Rx OxyContin when the pts [patients] has chronic pain and are

     trustworthy." The rep added that he would "Follow up with Dr and ask what pts does she

     consider 'trust worthy?' A Purdue district manager responded: "Great follow up question on

     what patients does he consider trustworthy." Purdue managers praised sales reps for pitching

     doctors on the idea that prescribing to "trustworthy" patients was safe. Defendant Richard

     Sackler, in a 2007 patent application he filed for a purported treatment for opioid addiction,

     referred to addicts as "junkies." In the application, he asks for a monopoly on the treatment of

     addicts. He received the patent in January 2018.

            5.      Falsehood #5: Opioid Withdrawal Can Be Avoided by Tapering

            218.    In an effort to underplay the risk and impact of addiction, the Marketing

     Defendants falsely claimed that, while patients become physically dependent on opioids,

     physical dependence is not the same as addiction and can be easily addressed, if and when pain

     relief is no longer desired, by gradually tapering a patient's dose to avoid the adverse effects of

     withdrawal. Defendants failed to disclose the extremely difficult and painful effects that patients

     can experience when they are removed from opioids—adverse effects that also make it less

     likely that patients will be able to stop using the drugs. Defendants also failed to disclose how

     difficult it is for patients to stop using opioids after they have used them for a prolonged period.

            219.    A non-credit educational program sponsored by Endo, Persistent Pain in the

     Older Adult, claimed that withdrawal symptoms, which make it difficult for patients to stop

     using opioids, could be avoided by simply tapering a patient's opioid dose over ten days.

                                                      96
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 112 of
                                     358



             220.    However, this claim is at odds with the experience of patients addicted to opioids.

     Most patients who have been taking opioids regularly will, upon stopping treatment, experience

     withdrawal, characterized by intense physical and psychological effects, including anxiety,

     nausea, headaches, and delirium, among others. This painful and arduous struggle to terminate

     use can leave many patients unwilling or unable to give up opioids and heightens the risk of

     addiction.

             221.   Purdue sponsored APF's A Policymaker's Guide to Understanding Pain & Its

     Management, which taught that "Symptoms of physical dependence can often be ameliorated by

     gradually decreasing the dose of medication during discontinuation," but the guide did not

     disclose the significant hardships that often accompany cessation of use.

            222.    To this day, the Marketing Defendants have not corrected or retracted their

     misrepresentations regarding tapering as a solution to opioid withdrawal.

            6.      Falsehood #6: Opioid Doses Can Be Increased Without Limit or Greater
                    Risk

            223.    In materials they produced, sponsored, or controlled, Marketing Defendants

     instructed prescribers that they could safely increase a patient's dose to achieve pain relief. Each

     of the Marketing Defendants' claims was deceptive in that they omitted warnings of increased

     adverse effects that occur at higher doses that were confirmed by scientific evidence.

            224.    These misrepresentations were integral to the Marketing Defendants' promotion

     of prescription opioids. As discussed above, patients develop a tolerance to opioids' analgesic

     effects, so that achieving long-term pain relief requires constantly increasing the dose. Patients

     who take larger doses, and who escalate to larger doses faster, are much more likely to remain on

     opioids for a longer period of time, resulting in increased revenue.

            225.    In addition, sales representatives aggressively pushed doctors to prescribe


                                                      97
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 113 of
                                     358




     stronger doses of opioids. For example, one Purdue sales representative wrote about how his

     regional manager would drill the sales team on their upselling tactics:

             It went something like this. "Doctor, what is the highest dose of OxyContin you
             have ever prescribed?" "20mg Q12h." "Doctor, if the patient tells you their pain
             score is still high you can increase the dose 100% to 40mg Ql2h, will you do that?"
             "Okay." "Doctor, what if that patient then came back and said their pain score was
             still high, did you know that you could increase the OxyContin dose to 80mg Ql2h,
             would you do that?" "I don't know, maybe." "Doctor, but you do agree that you
             would at least Rx the 40nng dose, right?" "Yes."

     The next week the representative would see that same doctor and go through the same discussion

     with the goal of selling higher and higher doses of OxyContin. Stronger doses were more

     expensive and increased the likelihood of addiction.

             226.    These misrepresentations were particularly dangerous. Opioid doses at or above

     50 MME (morphine milligram equivalents)/day double the risk of overdose compared to 20

     MME/day, and 50 MME is equal to just 33 mg of oxycodone. The recommendation of 320 mg

     every twelve hours is ten times that.

            227.     In its 2010 Risk Evaluation and Mitigation Strategy ("REMS") for OxyContin,

     however, Purdue does not address the increased risk of respiratory depression and death from

     increasing dose, and instead advises prescribers that "dose adjustments may be made every 1-2

     days"; "it is most appropriate to increase the ql2h dose"; the "total daily dose can usually be

     increased by 25% to 50%"; and if "significant adverse reactions occur, treat them aggressively

     until they are under control, then resume upward titration."6 Purdue, for years, used a

     marketing theme dubbed "Individualize ihe Dose," which was a euphemism for "Increase the

     Dose," as a means of propounding the false notion that increasing doses of painkillers was in


     I I ' Purdue Pharma, L.P., OxyContin Risk Evaluation and Mitigation Strategy, Purdue Pharma L.P.,
     https://web.archive.org/web/2/https://www.fda,gov/downioads/Dru_as/DrugSafet%20v/PostmarketDrusSa
     fetyInformationforPatientsandProviders/UCM220990.pdf, (last modified Nov. 2010).


                                                       98
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 114 of
                                     358




     patients' best interests. Staff regularly reported to the Sackler Defendants that Purdue's sales

     representatives were continuing the Individualize the Dose campaign.

             228.    Endo sponsored a website, ww-w.Painkriowledge.coni, which claimed that opioids

     may be increased until "you are on the right dose of medication for your pain," at which point

     further dose increases would not be required.

             229.    Endo also published on its website a patient education pamphlet entitled

     Understanding Your Pain.. Taking Oral Opioid Analgesics. In Q&A format, it asked, "If I take

     the opioid now, will it work later when I really need it?" The response is, "The dose can be

     increased . . You won't 'run out' of pain relief."

            230.    Marketing Defendants were aware of the greater dangers high dose opioids posed.

     In 2013, the FDA acknowledged "that the available data do suggest a relationship between

     increasing opioid dose and risk of certain adverse events" and that studies "appear to credibly

     suggest a positive association between high-dose opioid use and the risk of overdose and/or

     overdose mortality." A study of the Veterans Health Administration from 2004 to 2008 found the

     rate of overdose deaths is directly related to maximum daily dose.

            7.      Falsehood #7: Long-term Opioid Use Improves Functioning

            231.     Despite the lack of evidence of improved function and the existence of evidence
                                                                                                  •
     to the contrary, the Marketing Defendants consistently promoted opioids for patients' function

     and quality of life because they viewed these claims as a critical part of their marketing

     strategies. In recalibrating the risk-benefit analysis for opioids, increasing the perceived benefits

     of treatment was necessary to overcome its risks.

            232.    Janssen, for example, promoted Duragesic as improving patients' functioning and

     work productivity through an ad campaign that included the following statements: "[w]ork,

     uninterrupted," "[Elite, uninterrupted," "[g]ame, uninterrupted," Icihronic pain relief that

                                                      99
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 115 of
                                     358




     supports functionality," and lijmprove[s] . . . physical and social functioning."

              233.    Purdue noted the need to compete with this messaging, despite the lack of data

     supporting improvement in quality of life with OxyContin treatment:

             Janssen has been stressing decreased side effects, especially constipation, as well
             as patient quality of life, as supported by patient rating compared to sustained
             release morphine. .. We do not have such data to support OxyContin promotion.
             . . In addition, Janssen has been using the "life uninterrupted" message in
             promotion of Duragesic for non-cancer pain, stressing that Duragesic "helps
             patients think less about their pain." This is a competitive advantage based on our
             inability to make any quality of life claims.'"

             234.     Despite its acknowledgment that "[w]e do not have such data to support

     OxyContin promotion," Purdue ran a full-page ad for OxyContin in the Journal of the American

     Medical Association, proclaiming, "There Can Be Life With Relief," and showing a man happily

     fly-fishing alongside his grandson, implying that OxyContin would help users' function. This ad

     earned a warning letter from the FDA, which admonished, "It is particularly disturbing that your

     November ad would tout 'Life With Relief' yet fail to warn that patients can die from taking

     OxyContin."118

             235.     Purdue sponsored APF's A Policymaker:s Guide to Understanding Pain & Its

     Management, which claimed that "multiple clinical studies" have shown that opioids are

     effective in improving daily function, psychological health, and health-related quality of life for

     chronic pain patients. But the article cited as support for this in fact stated the contrary, noting

     the absence of long-term studies and concluding, "[for functional outcomes, the other analgesics

     were significantly more effective than were opioids."




     117 Pain Killer, supra n. 15, at 281.
     us Chris Adams, FDA Orders Purdue Pharma To Pull Its axyContin Ads, WALL STREET JOURNAL
     (Jan. 23, 2003), https://www.wsj.corn/articles/SB1043259665976915824.

                                                       100
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 116 of
                                     358




             236.    A series of medical journal advertisements for OxyContin in 2012 presented

     "Pain Vignettes"—case studies featuring patients with pain conditions persisting over several

     months—that implied functional improvement. For example, one advertisement described a

     "writer with osteoarthritis of the hands" and implied that OxyContin would help him work more

     effectively.

             237.   Similarly, since at least May of 2011, Endo has distributed and made available on

     its website, www.opana.conz, a pamphlet promoting Opana ER with photographs depicting

     patients with physically demanding jobs like those of a construction worker or chef, misleadingly

     implying that the drug would provide long-term pain relief and functional improvement.

            238.    As noted above, Janssen sponsored and edited a patient education guide entitled

     Finding Rend': Pain Management for Older Adults (2009), which states as "a fact" that "opioids

     may make it easier for people to live normally." This guide features a man playing golf on the

     cover and lists examples of expected functional improvement from opioids, like sleeping through

     the night, returning to work, recreation, sex, walking, and climbing stairs. It assures patients that,

     "[used properly, opioid medications can make it possible for people with chronic pain to 'return

     to normal.' Similarly, Responsible Opioid Prescribing (2007), sponsored and distributed by

     Teva, Endo, and Purdue, taught that relief of pain by opioids, by itself, improved patients'

     function. The book remains for sale online.

            239.    In addition, Janssen's Let's Talk Pain website featured a video interview, which

     was edited by Janssen personnel, claiming that opioids were what allowed a patient to "continue

     to function," falsely implying that her experience would be representative.

            240.    Endo's NIPC website, w-ww.Poinknowledge.com, claimed that with opioids, "your

     level of function should improve; you may find you are now able to participate in activities of



                                                      101
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 117 of
                                     358




     daily living, such as work and hobbies, that you were not able to enjoy when your pain was

     worse." In addition to "improved function," the website touted improved quality of life as a

     benefit of opioid therapy. The grant request that Endo approved for this project specifically

     indicated NIPC's intent to make claims of functional improvement.

             241.   Endo was the sole sponsor, through NIPC, of a series of CiskEs titled Persistent

     Pain in the Older Patient, which claimed that chronic opioid therapy has been "shown to reduce

     pain and improve depressive symptoms and cognitive functioning." The CME was disseminated

     via webcast.

            242.    Mallinekrodt's website, in a section on responsible use of opioids, claims that

     "[the effective pain management offered by our medicines helps enable patients to stay in the

     workplace, enjoy interactions with family and friends, and remain an active member of

     society.""

            243.    The Marketing Defendants' claims that long-term use of opioids improves patient

     function and quality of life are unsupported by clinical evidence. There are no controlled studies

     of the use of opioids beyond 16 weeks, and there is no evidence that opioids improve patients'

     pain and function long term. The FDA, for years, has made clear through warning letters to

     manufacturers the lack of evidence for claims that the use of opioids for chronic pain improves

     patients' function and quality of life.120 Based upon a review of the existing scientific evidence,



     "9 Mall inckrodt Pharmaceuticals, Responsible Use, http://www.mallinckrodt.comicorporate-
     responsibilitv/responsible-use, (last accessed July 16, 2018).

     '2° The FDA has warned other drug makers that claims of improved function and quality of life were
     misleading. See Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Advcr., & Commens,
     to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010), (rejecting claims that Actavis' opioid,
     Kadian, had an "overall positive impact on a patient's work, physical and mental functioning, daily
     activities, or enjoyment of life."); Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg.;



                                                      102
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 118 of
                                     358




     the CDC Guideline concluded that "there is no good evidence that opioids improve pain or

     function with long-term use."121

                244.    Consistent with the CDC's findings, substantial evidence exists demonstrating

     that opioid drugs are ineffective for the treatment of chronic pain and worsen patients' health.

     For example, a 2006 study-of-studies found that opioids as a class did not demonstrate

     improvement in functional outcomes over other non-addicting treatments. The few longer-term

     studies of opioid use had "consistently poor results." and "several studies have showed that

     Opioids for chronic pain may actually worsen pain and functioning. . ."122 along with general

     health, mental health, and social function. Over time, even high doses of potent opioids often fail

     to control pain, and patients exposed to such doses are unable to function normally.

                245.    On the contrary, the available evidence indicates opioids may worsen patients'

     health and pain. Increased duration of opioid use is strongly associated with increased prevalence

     of mental health disorders (depression, anxiety, post-traumatic stress disorder, and substance

     abuse), increased psychological distress, and greater health care utilization. The CDC Guideline

     concluded that "[w]hile benefits for pain relief, function and quality of life with long-term opioid

     use for chronic pain are uncertain, risks associated with long-term opioid use are clearer and




     Adver., & Commc'ns, to Brian A. Markison, Chairman, President and Chief Executive Officer, King
     Pharmaceuticals, Inc. (March 24, 2008), (finding the claim that "patients who are treated with [Avinza
     (morphine sulfate ER)] experience an improvement in their overall function, social function, and ability
     to perform daily activities . .. has not been demonstrated by substantial evidence or substantial clinical
     experience."). The FDA's warning letters were available to Defendants on the FDA website.

     121   2016 CDC Guideline, supra n. 90, at 20.

       Thomas Frieden & Debra Houry, Reducing the Risks of Relief— The CDC Opioid-Prescribing
     122

     Guideline, at i 503, 374New Eng. J. Med., 4/21 /16, at 1503. (Apr. 21, 2016) (hereinafter "Reducing the
     Risks of Relief).




                                                         103
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 119 of
                                     358




     significant."123 According to the CDC, "for the vast majority of patients, the known, serious, and

     too-often-fatal risks far outweigh the unproven and transient benefits [of opioids for chronic

     pain].

                246. As one pain specialist observed, "opioids may work acceptably well for a while,

     but over the long term, function generally declines, as does general health, mental health, and

     social functioning. Over time, even high doses of potent opioids often fail to control pain, and

     these patients are unable to function norrnally."I25 In fact, research such as a 2008 study in the

     journal Spine has shown that pain sufferers prescribed opioids long-term suffered addiction that

     made them more likely to be disabled and unable to work.126 Another study demonstrated that

     injured workers who received a prescription opioid for more than seven days during the first six

     weeks after the injury were 2.2 times more likely to remain on work disability a year later than

     workers with similar injuries who received no opioids at al1.127 Yet, Marketing Defendants have

     not acknowledged, retracted, or corrected their false statements.




     L23   2016 CDC Guideline, supra n. 90, at 2, 18.

     124   Reducing the Risks of Relief, supra n. 122.

     125 Andrea Rubinstein, Are We Making Pain Patients Worse?, Sonoma Med. (Fall 2009), available at
     http://www.nbcrns.org/en-us/about-us/sonorna-county-medical-association/magazineisonorna-medicine-
     are-we-making-pain-patients-worse.aspx?pageid=144&tabid=747.

     126 Jeffrey Dersh, et al., Prescription opioid dependence is associated with poorer outcomes in disabling
     spinal disorders, 33(20) Spine 2219-27 (Sept. 15, 2008), available at
     https://www.nchi.nlm.nih.gov/pubmed/18725868.

      27 Franklin, GM, et al., Early opioid prescription and subsequent disability among %vorkers with back
     injuries: the Disability Risk Identification Study Cohort, 33 Spine 199, 201-202 (Jan. 15, 2008) doi:
     10.1097/8RS.0b013e318160455c, httos://www.nebi.nimmih.gov/pubmed/ l 8197107.




                                                         104
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 120 of
                                     358




             8.      Falsehood #8: Alternative Forms of Pain Relief Pose Greater Risks Than
                     Opioids

             247.    In materials they produced, sponsored, or controlled, the Marketing Defendants

     omitted known risks of chronic opioid therapy and emphasized or exaggerated risks of

     competing products so that prescribers and patients would favor °plaids over other therapies

     such as over-the-counter acetaminophen or over-the-counter or prescription non-steroidal anti-

     inflammatory drugs ("NSAIDs").

             248.    For example, in addition to failing to disclose the risks of addiction, overdose, and

     death in promotional materials, the Marketing Defendants routinely ignored the risks of

     hyperalgesia, a "known serious risk associated with chronic opioid analgesic therapy in which

     the patient becomes more sensitive to certain painful stimuli over time,"128 hormonal

     dysfunction,I29 decline in immune function; mental clouding, confusion, and dizziness, increased

     falls and fractures in the elderly,'" NAS (when an infant exposed to opioids prenatally suffers

     withdrawal after birth), and potentially fatal interactions with alcohol or with benzodiazepines,

     which are used to treat anxiety and may be co-prescribed with opioids, particularly to veterans




        Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny, M.D.,
     Pres. Physicians fir Responsible Opioid Prescribing. Re Docket No. FDA-2012-P-0818 (Sept. 10,
     2013).

     129 KW. Daniell, Hypogonadism in men consuming sustained-action oral opioids, 3(5) J. Pain 377-

     84 (2001), htips://www.ncbi.nlm.nih.gov/pubmed/14622741.

     130 See Bernhard M. Kuschcl, et al., The risk offal! injury in relation to commonly prescribed medications
     among older people — a Swedish case-control study, 25 Eur. J. Pub. H. 527-32 (July 31, 2014), doi:
     10.1093/eurpubicku120, https://www.ncbi.nlm.nin.gov/pubmed/25085470.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 121 of
                                     358




     suffering from pain.'31

             249.    The APF's Treatment Options: A Guide fbr People Living with Pain, sponsored

     by Purdue and Cephalon, warned that risks of NSAIDs increase if "taken for more than a period

     of months," with no corresponding warning about opioids. The publication falsely attributed

     10,000 to 20,000 deaths annually to NSAID overdose, when the figure is actually closer to

     3,200.'32

             250.    Janssen sponsored Finding Relief Pain Management for Older Adults (2009) that

     listed dose limitations as "disadvantages" of other pain medicines but omitted any discussion of

     risks from increased doses of opioids. Finding Relief described the advantages and disadvantages

     of NSAIDs on one page, and the "myths/facts" of opioids on the facing page. The disadvantages

     of NSAIDs are described as involving "stomach upset or bleeding," "kidney or liver damage if

     taken at high doses or for a long time," "adverse reactions in people with asthma," and "can

     increase the risk of heart attack and stroke." The only adverse effects of opioids listed are "upset

     stomach or sleepiness," which the brochure claims will go away, and constipation.

            251.     Endo's NIPC website, www.Painknowledge.org, contained a flyer called "Pain:

     Opioid Therapy." This publication listed opioids' adverse effects but with significant omissions,

     including hyperalgesia, immune and hormone dysfunction, cognitive impairment, tolerance,

     dependence, addiction, and death.



       Karen H. Seal, et al., Association of Mental Health Disorders With Prescription Opioids and High-
     131
     Risk Opioids in US Veterans of Iraq and Afghanistan, 307(9) J. Am. Med. Ass'n 940-47, (March 7.2012)
     doi:10.1001/jama.2012.234, haps://jamanetwork.com/iournals/jarna1fullarticle/1105046.

       Robert E. Tarone, et al., Nonselective Nonaspirin Nonsteroidal Ali-inflammatory Drugs and
     132
     Gastrointestinal Bleeding: Relative and Absolute Risk Estimates from Recent Epidemiologic Studies, I 1
     Am. J. of Therapeutics 17-25 (2004), httuslAvww.ncbi.nlm.nih.govinubmed/14704592.




                                                       106
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 122 of
                                     358




              252.    In April 2007, Endo sponsored an article aimed at prescribers, published in Pain

     Medicine News, titled "Case Challenges in Pain Management: Opioid Therapy for Chronic

     Pain."133 The article asserted:

              Opioids represent a highly effective but controversial and often misunderstood
              class of analgesic medications for controlling both chronic and acute pain. The
              phenomenon of tolerance to opioids— the gradual waning of relief at a given dose
              — and fears of abuse, diversion, and misuse of these medications by patients have
              led many clinicians to be wary of prescribing these drugs, and/or to restrict
              dosages to levels that may be insufficient to provide meaningful relief:134

              253.   To help allay these concerns. Endo emphasized the risks of NSAIDs as an

     alternative to opioids. The article included a case study that focused on the danger of extended

     use of NSAIDs, including that the subject was hospitalized with a massive upper gastrointestinal

     bleed believed to have resulted from his protracted NSAID use. In contrast, the article did not

     provide the same detail concerning the serious side effects associated with opioids.

              254.   Additionally, Purdue, acting with Endo, sponsored Overview ofManagement

     Options, a CME issued by the AMA in 2003, 2007, 2010, and 2013. The 2013 version remains

     available for CME credit. The CME taught that NSAIDs and other drugs, but not opioids, are

     unsafe at high doses.

              255.   As a result of the Marketing Defendants' deceptive promotion of opioids over

     safer and more effective drugs, opioid prescriptions increased even as the percentage of patients

     visiting a doctor for pain remained constant. A study of 7.8 million doctor visits between 2000




     133Charles E. Argoff; Case Challenges in Pain Management: Opioid Therapy fin. Chronic Pain, Pain
     Med. News, http://www.painmedicinenews.com/download/ BtoB_Opana_WM.pdf, (link no longer
     available).
     134 id




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 123 of
                                     358




     and 2010 found that opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and

     acetaminophen prescriptions fell from 38% to 29%, driven primarily by the decline in NSAID

     prescribing.135

             9.        Falsehood #9: OxyContin Provides Twelve Hours of Pain Relief

             256.      Purdue also dangerously misled doctors and patients about OxyContin's duration

     and onset of action, making the knowingly false claim that OxyContin would provide 12 hours of

     pain relief for most patients. As laid out below, Purdue made this claim for two reasons. First, it

     provided the basis for both Purdue's patent and its market niche, allowing it to both protect and

     differentiate itself from competitors. Second, it allowed Purdue to imply or state outright that

     OxyContin had a more even, stable release mechanism that avoided peaks and valleys and

     therefore the rush that fostered addiction and attracted abusers.

             257.      Purdue promotes OxyContin as an extended-release opioid, but the oxycodone

     does not enter the body on a linear rate. OxyContin works by releasing a greater proportion of

     oxycodone into the body upon administration, and the release gradually tapers, as illustrated in

     the following chart, which was apparently adapted from Purdue's own sales materials.




     135M. Daubresse, et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United
     States, 2000-2010, 51(10) Med. Care, 870-878 (2013). For back pain alone, the percentage of patients
     prescribed opioids increased from 19% to 29% between 1999 and 2010, even as the use of NSAlDs or
     acetaminophen declined from 39.9% to 24.5% of these visits; and referrals to physical therapy remained
     steady." See also, J. Mali, et al., Worsening Trends in the Management and Treatment of Back Pain,
     173(17) J. of the Am Med. Ass'n Internal Med. 1573, 1573 (2013).

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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 124 of
                                     358




                OxyContin PI Figure, Linear y-axis




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             258.       The reduced release of the drug over time means that the OxyContin no longer

     provides the same level of pain relief; as a result, in many patients, OxyContin does not last for

     the twelve hours for which Purdue promotes it—a fact that Purdue has known at all times

     relevant to this action.

             259.       OxyContin tablets provide an initial absorption of approximately 40% of the

     active medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful

     opioid triggers a powerful psychological response. OxyContin thus behaves more like an

     immediate release opioid, which Purdue itself once claimed was more addicting in its original

     1995 FDA-approved drug label. Second, the initial burst of oxycodone means that there is less of

     the drug at the end of the dosing period, which results in the drug not lasting for a full twelve

     hours and precipitates withdrawal symptoms in patients, a phenomenon known as "end of dose"

     failure. (The FDA found in 2008 that a "substantial number" of chronic pain patients will

     experience end-of-dose failure with OxyContin.)

             260.       End-of-dose failure renders OxyContin even more dangerous because patients

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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 125 of
                                     358




     begin to experience withdrawal symptoms, followed by a euphoric rush with their next dose—a

     cycle that fuels a craving for OxyContin. For this reason, Dr. Theodore Cicero, a

     neuropharmacologist at the Washington University School of Medicine in St. Louis, has called

     OxyContin's 12-hour dosing "the perfect recipe for addiction."' Many patients will exacerbate

     this cycle by taking their next dose ahead of schedule or resorting to a rescue dose of another

     opioid, increasing the overall quantity of opioids they are taking.

            261.    It was Purdue's decision to submit OxyContin for approval with 12-hour dosing.

     While the OxyContin label indicates that "[t]here are no well-controlled clinical studies

     evaluating the safety and efficacy with dosing more frequently than every 12 hours," that is

     because Purdue has conducted no such studies.

            262.    Purdue nevertheless has falsely promoted OxyContin as if it were effective for a

     full twelve hours. Its advertising in 2000 included claims that OxyContin provides -Consistent

     Plasma Levels Over 12 Hours." That claim was accompanied by a chart, mirroring the chart on

     the previous page. However, this version of the chart deceptively minimized the rate of end-of-

     dose failure by depicting 10 mg in a way that it appeared to be half of 100 mg in the table's y-

     axis. That chart, shown below, depicts the same information as the chart above, but does so in a

     way that makes the absorption rate appear more consistent:




       Harriet Ryan, et al., You Want a Description of Hell?' acyContin's /2-Hour Problem, Los ANGELES
     136
     TIMES (May   5, 2016), http://www.latirnes.corn/projects/oxvcontinzprt1/ (hereinafter You Want a
     Description of Hell?").


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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 126 of
                                     358




                   For rnodoralo to severe pain when a continuous, around-the-dock
                   analgesic is needed for an exteouded period of time


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            263.      Purdue's 12-hour messaging was key to its competitive advantage over short-

     acting ()plaids that required patients to wake in the middle of the night to take their pills. Purdue

     advertisements also emphasized "Q12h" dosing. These include an advertisement in the February

     2005 Journal of Pain and 2006 Clinical Journal of Pain featuring an OxyContin logo with two

     pill cups, reinforcing the twice-a-day message. A Purdue memo to the OxyContin launch team

     stated that "OxyContin 's positioning statement is 'all of the analgesic efficacy of immediate-

     release oxycodone, with convenient ql 2h dosing,' and further that "[title convenience of ql2h

     dosing was emphasized as the most important benefit."137

            264.     Purdue executives therefore maintained the messaging of twelve-hour dosing

     even when many reports surfaced that OxyContin did not last twelve hours. Instead of

     acknowledging a need for more frequent dosing, Purdue instructed its representatives to push




     137Purdue Meeting Memo, OxyContin launch, LOS ANGELES TIMES (May 5, 2016). available at
     http://docurnentslatimes.com/oxycontin-launch-1995/.


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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 127 of
                                     358




     higher-strength pills, even though higher dosing carries its own risks, as noted above. Higher

     dosing also means that patients will experience higher highs and lower lows, increasing their

     craving for their next pill. Nationwide, based on an analysis by the LOS ANGELES TIMES, more

     than 52% of patients taking OxyContin longer than three months are on doses greater than 60

     milligrams per day—which converts to the 90 MED (morphine equivalent dose) that the CDC

     Guideline urges prescribers to "avoid" or "carefully justify."138

                265.    The information that OxyContin did not provide pain relief for a full twelve hours

     was known to Purdue, and Purdue's competitors, but was not disclosed to prescribers. Purdue's

     knowledge of some pain specialists' tendency to prescribe OxyContin three times per day instead

     of two is apparent from MED WATCH Adverse Event reports for OxyContin.

                266.    Even Purdue's competitor, Endo, was aware of the problem; Endo attempted to

     position its Opana ER drug as offering "durable" pain relief, which Endo understood to suggest a

     contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of

     12-hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER

     referring to "real" 12-hour dosing.

                267.   For example, in a 1996 sales strategy memo from a Purdue regional manager, the

     manager emphasized that representatives should "convinc[e] the physician that there is no need"

     for prescribing OxyContin in shorter intervals than the recommended 12-hour interval, and

     instead the solution is prescribing higher doses."139 0ne sales manager instructed her team that

     anything shorter than 12-hour dosing "needs to be nipped in the bud. NOW!!"140


     13)   2016 CDC Guideline, supra n. 90 at 16.

     '39 Southern Region Memo to Mr. B. Gergely, Sales manager on 12-hour dosing, LOS ANGELES TIMES
     (May 5, 2016), htto://docoments.latimes,com/sales-manager-on12-hour-dosing-1996/

     140   You Want a Description of Hell?, supra n. 136.


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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 128 of
                                     358




             268.   Purdue's failure to disclose the prevalence of end-of-dose failure meant that

     prescribers were misinformed about the advantages of OxyContin in a manner that preserved

     Purdue's competitive advantage and profits, at the expense of patients, who were placed at

     greater risk of overdose, addiction, and other adverse effects.

             10.    Falsehood #10: New Formulations of Certain Opioids Successfully Deter
                    Abuse

            269.    Rather than take the widespread abuse of and addiction to opioids as reason to

     cease their untruthful marketing efforts, Marketing Defendants Purdue and Endo seized them as

     an opportunity to compete. These companies developed and oversold "abuse-deterrent

     formulations" ("ADF") opioids as a solution to opioid abuse and as a reason that doctors could

     continue to safely prescribe their opioids, as well as an advantage of these expensive branded

     drugs over other opioids. These Defendants' false and misleading marketing of the benefits of

     their ADF opioids preserved and expanded their sales and falsely reassured prescribers thereby

     prolonging the opioid epidemic. Other Marketing Defendants, including Actavis and

     Mallinckrodt, also promoted their branded opioids as formulated to be less addictive or less

     subject to abuse than other opioids.

            270.    The CDC Guideline confirms that Inlo studies" support the notion that "abuse-

     deterrent technologies [are] a risk mitigation strategy for deterring or preventing abuse," noting

     that the technologies "do not prevent opioid abuse through oral intake, the most common route of

     opioid abuse, and can still be abused by non-oral routes." Tom Frieden, the former Director of

     the CDC, reported that his staff could not find "any evidence showing the updated opioids [ADF

     opioids] actually reduce rates of addiction, overdoses, or death."

                    a.      Purdue's Deceptive Marketing of Reformulated OxyContin and
                            Hysingla ER

            271.    Reformulated'ADF OxyContin was approved by the FDA in April 2010. It was

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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 129 of
                                     358




     not until 2013 that the FDA, in response to a citizen petition filed by Purdue, permitted reference

     to the abuse-deterrent properties in its label. When Hysingla ER (extended-release hydrocodone)

     launched in 2014, the product included similar abuse-deterrent properties and limitations. But in

     the beginning, the FDA made clear the limited claims that could be made about ADF, noting that

     no evidence supported claims that ADF prevented tampering, oral abuse, or overall rates of

     abuse.

               272.   Purdue introduced reformulated ADF OxyContin shortly before generic versions

     of OxyContin were to become available. By so doing, Purdue anticipated and countered a threat
                           •
     to its market share and the price it could charge for OxyContin. Purdue nonetheless touted its

     introduction of AIDE opioids as evidence of its good corporate citizenship and commitment to

     address the opioid crisis. Internal documents reveal that the Purdue Defendants knew, and in fact

     discussed, the fact that the "crush-proof" A.DF reformulation would not prevent the vast majority

     of opioid abuse, which comes from swallowing pills, and that they introduced the product solely

     for purposes of extending their patent. In 2008, Purdue's then CEO, wrote to Richard Sackler

     that reformulating OxyContin "will not stop patients from the simple act of taking too many

     pills."

               273.   Despite its self-proclaimed good intention, Purdue merely continued its generally

     deceptive tactics with respect to ADF. Purdue sales representatives regularly overstated and

     misstated the evidence for and impact of the abuse-deterrent features of these opioids.

     Specifically, Purdue sales representatives:


                  a. claimed that Purdue's ADF opioids prevent tampering and that its ADFs could not
                     be crushed or snorted;

                  b. claimed that Purdue's ADF opioids reduce opioid abuse and diversion;



                                                     114
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 130 of
                                     358




                 c. asserted or suggested that its ADF opioids are non-addictive or less addictive;

                 d. asserted or suggested that Purdue's ADF opioids are safer than other opioids, could
                    not be abused or tampered with, and were not sought out for diversion; and

                 e. failed to disclose that Purdue's ADF opioids do not impact oral abuse or misuse.

              274.   If pressed, Purdue acknowledged that perhaps some "extreme" patients might still

     abuse the drug but claimed the ADF features protect the majority of patients. These

     misrepresentations and omissions are misleading and contrary to Purdue's ADF labels, Purdue's

     own information, and publicly available data.

              275.   Purdue knew or should have known that reformulated OxyContin is not more

     tamper-resistant than the original OxyContin and is still regularly tampered with.

              276.   In 2009, the FDA noted in permitting ADF labeling that "the tamper-resistant

     properties will have no effect on abuse by the oral route (the most common mode of abuse)." In

     the 2012 medical office review of Purdue's application to include an abuse-deterrence claim in

     its label for OxyContin, the FDA noted that the overwhelming majority of deaths linked to

     OxyContin were associated with oral consumption, and that only 2% of deaths were associated

     with recent injection and only 0.2% with snorting the drug.

              277.   The FDA's Director of the Division of Epidemiology stated in September 2015

     that no data that she had seen suggested the reformulation of OxyContin "actually made a

     reduction in abuse," between continued oral abuse, shifts to injection of other drugs (including

     heroin), and defeat of the ADF mechanism. Even Purdue's own funded research shows that half

     of OxyContin abusers continued to do so orally after the reformulation rather than shift to other

     drugs.

              278.   A 2013 article presented by Purdue employees, based on review of data from

     poison control centers, concluded that ADF OxyContin can reduce abuse, but ignored important


                                                     115
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 131 of
                                     358




     negative findings. The article revealed that abuse merely shifted to other drugs and that, when

     the actual incidence of harmful exposures was calculated, there were more harmful exposures to

     opioids after the reformulation of OxyContin. In short, the article deceptively emphasized the

     advantages and ignored the disadvantages of ADF OxyContin.

             279.   Websites and message boards used by drug abusers, such as www.bluelight.org

     and www.reddit.com, report a variety of ways to tamper with OxyContin and Hysingla ER,

     including through grinding, microwaving then freezing, or drinking soda or fruit juice in which a

     tablet is dissolved. Purdue has been aware of these methods of abuse for more than a decade.

            280.    One-third of the patients in a 2015 study defeated the ADF mechanism and were

     able to continue inhaling or injecting the drug. To the extent that the abuse of Purdue's ADF

     opioids was reduced, there was no meaningful reduction in opioid abuse overall, as many users

     simply shifted to other opioids such as heroin.

            281.    In 2015, claiming a need to further assess its data, Purdue abruptly withdrew a

     supplemental new drug application related to reformulated OxyContin one day before FDA staff

     was to release its assessment of the application. The staff review preceded an FDA advisory

     committee meeting related to new studies by Purdue "evaluating the misuse and/or abuse of

     reformulated OxyContin" and whether those studies "have demonstrated that the reformulated

     product has a meaningful impact on abuse." 41 In consideration of a reasonable opportunity for

     further investigation and discovery, Plaintiffs allege that Purdue never presented the data to the

     FDA because the data would not have supported claims that OxyContin's ADF properties

     reduced abuse or misuse.



     141Meeting Notice, Joint Meeting of the Drug Safety and Risk Management Advisory Committee and
     the Anesthetic and Analgesic Drug Products Advisory Committee; Notice of Meeting, May 25, 2015, 80
     FR 30686.

                                                       116
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 132 of
                                     358




                282.   Despite its own evidence of abuse, and the lack of evidence regarding the benefit

     of Purdue's ADF opioids in reducing abuse, Dr. J. David Haddox, the Vice President of Health

     Policy for Purdue, falsely claimed in 2016 that the evidence does not show that Purdue's ADF

     opioids are being abused in large numbers. Purdue's recent advertisements in national

     newspapers also continues to claim its ADF opioids as evidence of its efforts to reduce opioid

     abuse, continuing to mislead prescribers, patients, payors, and the public about the efficacy of its,

     actions.

                       b.     Endo's Deceptive Marketing of Reformulated Opana ER

            283.       Opana ER was particularly likely to be tampered with and abused. That is because

     Opana ER has lower "bioavailability" than other opioids, meaning that the active pharmaceutical

     ingredient (the "API" or opioid) does not absorb into the bloodstream as rapidly as other opioids

     when taken orally. Additionally, when swallowed whole, the extended-release mechanism

     remain's intact, so that only 10% of Opana ER's API is released into the patient's bloodstream

     relative to injection; when it is taken intranasally, that rate increases to 43%. The larger gap

     between bioavailability when consumed orally versus snorting or injection, the greater the

     incentive for users to manipulate the drug's means of administration.

            284.       In December 2011, Endo obtained approval for a new formulation of Opana ER

     that added a hard coating that the company claimed made it crush-resistant.

            285.       Even prior to its approval, the FDA advised Endo that it could not market the new

     Opana ER as abuse-deterrent.

            286.       Nonetheless, in August of 2012, Endo submitted a citizen petition asking the FDA

     for permission to change its label to indicate that Opana ER was abuse-resistant, both in that it

     was less able to be crushed and snorted and that it was resistant to injection by syringe.

     Borrowing a page from Purdue's playbook, Endo announced it would withdraw original Opana

                                                      117
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 133 of
                                     358




     ER from the market and sought a determination that its decision was made for safety reasons (its

     lack of abuse-deterrence), which would prevent generic copies of original Opana ER.

                 287.    Endo then sued the FDA, seeking to force expedited consideration of its citizen

     petition. The court filings confirmed Endo's true motives: in a declaration submitted with its

     lawsuit, Endo's chief operating officer indicated that a generic version of Opana ER would

     decrease the company's revenue by up to $135 million per year. Endo also claimed that if the

     FDA did not block generic competition, $125 million, the amount Endo spent on developing the

     reformulated drug to "promote the public welfare", would be lost.'42 The FDA responded that:

     "Endo's true interest in expedited FDA consideration stems from business concerns rather than

     protection of the public health."143

                 288.    Despite Endo's purported concern with public safety, not only did Endo continue

     to distribute original, admittedly unsafe Opana ER for nine months after the reformulated version

     became available, it declined to recall original Opana ER despite its dangers. In fact, Endo

     claimed in September 2012 to be "proud" that "almost all remaining inventory" of the original

     Opana ER had "been utilized."44

                 289.    In its citizen petition, Endo asserted that redesigned Opana ER had "safety

     advantages." Endo even relied on its rejected assertion that Opana was less crushable to argue



     142 Pl.'s
               pp to Defs.' and Intervenor's Mots. to Dismiss and Pl.'s Reply in Supp. of Mot. for Prelim.
                 O   .


     Inj. ("Endo Br."), Endo Pharmaceuticals Inc. v. U.S. Food and Drug Administration, et al., No. 1: 2-cv-
     01936, Doc. 23 at 20 (D.D.C. Dec.14, 2012).

     43 Defs.' Resp. to the Court's November 30, 2012 Order, Endo Pharmaceuticals Inc. U.S. Food and
     Drug Administration, et al., No. 1:12-cv-01936, Doc. 9 at 6 (D.D.C. Dec. 3,2012).

       Id.: Endo News Release, Sept. 6, 2012 (Ex. L to Rurka Decl.), Endo Pharmaceuticals. Inc. v. U.S. Food
     144

     and Drug Administration, et al., No. 1:12-cv-01936, Doc. 18-4 (D.D.C. Dec. 9, 2012).




                                                         118
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 134 of
                                     358




     that it developed Opana ER for patient safety reasons and that the new formulation would help,

     for example, "where children unintentionally chew the tablets prior to an accidental

     ingestion."145

             290.     However, in a 2013 decision rejecting the petition, the FDA found that "study

     data show that the reformulated version's extended-release features can be compromised when

     subjected to.. . cutting, grinding, or chewing." The FDA also determined that "reformulated

     Opana ER" could also be "readily prepared for injections and more easily injected[1" In fact, the

     FDA warned that preliminary data—including in Endo's own studies—suggested that a higher

     percentage of reformulated Opana ER abuse is via injection than was the case with the original

     formulation.

            291.      In 2009, only 3% of Opana ER abuse was by intravenous means. Since the

     reformulation, injection of Opana ER has increased by more than 500%. Endo's own data,

     presented in 2014, found that between October 2012 and March 2014, 64% of abusers of Opana

     ER did so by injection, compared with 36% for the old formulation.'" The transition into

     injection of Opana ER made the drug even less safe than the original formulation. Injection

     carries risks of HIV, hepatitis C, and, in reformulated Opana ER's specific case, the blood-

     clotting disorder thrombotic thrombocytopenic purpura (TTP), which can cause kidney failure.

            292.      Publicly, Endo sought to minimize the problem. On a 2013 call with investors,

     when asked about an outbreak of TTP in Ohio from injecting Opana ER, Endo sought to limit its

     import by assigning it to "a very, very distinct area of the country."



     "5 Citizens Petition, FDA Docket 2012-8-0895, at 2.

     14" Theresa Cassidy, et al., The Changing Abuse Ecology: Implications Pr Evaluating the Abuse Pattern
     of Extended-Release Oxymorphone and Abuse-Deterrent Opioid Formulations, Intlexxion (Sept. 7,
     2014)), https://www.inflexxion.cornichanging-abuse-ecology-extended-release-oxymorphone/.

                                                      119
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 135 of
                                     358




             293.   Despite its knowledge that Opana ER was widely abused and injected, Endo

     marketed the drug as tamper-resistant and abuse-deterrent. In consideration of a reasonable

     opportunity for further investigation and discovery. Plaintiffs allege that based on the company's

     detailing elsewhere, Endo sales representatives informed doctors that Opana ER was abuse-

     deterrent, could not be tampered with, and was safe. In addition, sales representatives did not

     disclose evidence that Opana was easier to abuse intravenously and, if pressed by prescribers,

     claimed that while outlier patients might find a way to abuse the drug, most would be protected.

            294.    A review of national surveys of prescribers regarding their "take-aways" from

     pharmaceutical detailing confirms that prescribers remember being told Opana ER was tamper-

     resistant. Endo also tracked messages that doctors took from its in-person marketing. Among the

     advantages of Opana ER, according to participating doctors, was its "low abuse potential." For

     example, a June 14, 2012 Endo press release announced, "the completion of the company's

     transition of its Opana ER franchise to the new formulation designed to be crush resistant."

            295.    The press release further stated that: "We firmly believe that the new formulation

     of Opana ER, coupled with our long-term commitment to awareness and education around

     appropriate use of opioids will benefit patients, physicians and payers." The press release

     described the old formulation of Opana as subject to abuse and misuse, but failed to disclose the

     absence of evidence that reformulated Opana was any better. In September 2012, another Endo

     press release stressed that reformulated Opana ER employed "INTAC Technology" and

     continued to describe the drug as "designed to be crush-resistant."

            296.    Similarly, journal advertisements that appeared in April 2013 stated Opana ER

     was "designed to be crush resistant." A January 2013 article in Pain Medicine News, based in

     part on an Endo press release, described Opana ER as "crush-resistant." This article was posted



                                                    120
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 136 of
                                     358




     on the Pain Medicine News website, which was accessible to patients and prescribers.

                297.   In 2015, the Indiana Department of Public Health determined that an HIV

     outbreak in Southeastern Indiana was linked to injection of Opana, the first documented HIV

     outbreak in the United States associated with injection of a prescription painkiller.

                298.   In March 2017, because Opana ER could be "readily prepared for injection" and

     was linked to outbreaks of HIV and TTP, an FDA advisory committee recommended that Opana

     be withdrawn from the market. The FDA adopted this recommendation on June 8, 2017)47 Endo

     announced on July 6, 2017 that it would agree to stop marketing and selling Opana ER.148

     However, by this point, the damage had been done. Even then, Endo continued to insist, falsely,

     that it "has taken significant steps over the years to combat misuse and abuse."

                       c.      Other Marketing Defendants' Misrepresentations Regarding Abuse
                               Deterrence

               299.    Mallinelcrodt promoted both Exalgo (extended-release hydromorphone) and

     Xartemis XR (oxycodone and acetaminophen) as specifically formulated to reduce abuse. For

     example, Mallinckrodt's promotional materials stated that "the physical properties of EXALGO

     may make it difficult to extract the active ingredient using common forms of physical and

     chemical tampering, including chewing, crushing and dissolving." 49 One member of the FDA's

     Controlled Substance Staff, however, noted in 2010 that hythomorphone has "a high abuse




     147   Id. FDA Requests Removal of OpanaE.‘R, supra n. 66.

     148 Endo Provides Update on Opana ER. supra n. 67.

     149 Mallinckrodt Press Release, Medtronic, FDA Approves Adallinckrodt 's EXALGO® (hydromorphone
     .1-1CI) Extended-Release Tablets 32 ing (CI!) for Opioid- Tolerant Patients with Moderate-to-Severe
      Chronic Pain (Aug. 27, 2012), available at
      http://newsroom.medtronic.corn/phoenix.zhtml?c=25 I 324&D=irol-newsArticle&ID=2004159.




                                                        121
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 137 of
                                     358




     potential comparable to oxycodone" and further stated that "we predict that Exalgo will have

     high levels of abuse and diversion."

                300.    With respect to Xartemis XR, Mailinckrodt's promotional materials stated that

     "XARTEMIS XR has technology that requires abusers to exert additional effort to extract the

     active ingredient from the large quantity of inactive and deterrent ingredients."15° In anticipation

     of Xartemis XR's approval, Mallinckrodt added 150-200 sales representatives to promote it, and

     CEO Mark Trudeau said the drug could generate "hundreds of millions in revenue."151

                301.    While Marketing Defendants promote patented technology as the solution to opioid

     abuse and addiction, none of their "technology" addresses the most common form of abuse—oral

     ingestion—and their statements regarding abuse-deterrent formulations give the misleading

     impression that these reformulated opioids can be prescribed safely.

                302.    In sum, each of the nine categories of misrepresentations discussed above

     regarding the use of opioids to treat chronic pain was either not supported by or was contrary to

     the scientific evidence. In addition, the Defendants' misrepresentations and omissions as set in

     this Complaint are misleading and contrary to the Marketing Defendants' products' labels.

     B.         The Marketing Defendants Directly Targeted Hospitals

                303.    From the beginning, hospitals were directly targeted by the Marketing

     Defendants. Internal documents from the 1995 "OxyContin Launch" orchestrated by Purdue and

     Abbott (1) identified "hospital pharmacists" as among their "audience," (2) identified "hospitals"

     among their "institutional targets," (3) identified an objective of Itiormulary acceptance in 75%




     15°   Mallinekrodt, Responsible Use of Opioid Pain Mediewions (Mar. 7, 2 0 1 4).

       Samantha Liss, Mallinckrodi banks on new painkillers for sales, ST. LOUIS BUSINESS JOURNAL (Dec.
     151

     30, 2013), http://argentcapital.corn/mallinckrodt-banks-on-new-painkillers-for-sales/


                                                          122
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 138 of
                                     358




     of hospitals for first twelve months," and (4) identified an objective of developing a "successful

     distribution program" to "hospitals." In 1996, Purdue made a deal with Defendant Abbott under

     which Abbott's sales force would promote Purdue's lead opioid, OxyContin, in hospitals.

     Abbott's co-promotion of OxyContin was, in the words of Abbott's counsel, by terms of its

     contract, dedicated to "hospitals, surgical centers and hospital-based surgeons." Promoting the

     use of OxyContin for "postoperative pain" and "support[ing] the Abbott agreement" were

     paramount objectives identified in Purdue's internal documents. "Abbott and Purdue consciously

     targeted hospitals. [Purdue] representatives will work with their Abbott counterparts to make

     calls on all Pharmacy and Therapeutic (P&T) communities." "[S]ales force will provide the

     appropriate clinical data necessary to continue to add OxyContin Tablets to hospital

     formularies." 52 Initial plans called for marketing to "[a]ll 1,200 cancer centers," lain 1,200

     major teaching institutions," and "[a]ll 2,500 community hospitals with >= 100 beds." The

     hospital marketing plan further entailed the following actions:

                 a. The Purdue Frederick sales force should call on all hospital P&T committees to
                    gain hospital formulary acceptance during the first three months of launch. This
                    effort would entail contacting directors of pharmacies in an effort to gain
                    formulary acceptance of OxyContin.

                 b. Educate MO's/RN's/RPH's regarding the advantages of OxyContin over other
                    Step 2 opioids for cancer patients. The promotional effort should focus on the
                    ease of use and the reduced administration time. If available, clinical outcomes
                    studies, showing improved quality of life and cost effectiveness, should be used to
                    convince the house staff to use OxyContin as their opioid of choice.

                 c. Educational lectures should be held through the Speakers' Bureau program during
                    grand rounds, tumor boards, etc. The Purdue Frederick Speakers' Bureau should
                    educate the house staff about the benefits of OxyContin, while presenting clinical
                    study data.




       2002 Purdue Budget Plan, https://Ichn.org/news/purdue-and-the-oxycontin-files/ (last visited Aug. 20,
     152
     2018) (emphasis added).

                                                       123
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 139 of
                                     358




                 d. Educational symposia should be conducted through the use of satellite
                    teleconferencing to various cancer centers and major teaching institutions across
                    the country, offering CME credits to MD's/FtN's/RPH's and focus on the
                    implementation of the AHCPR Clinical Practice Guideline for the Management of
                    Cancer Pain and the results of clinical trials with OxyContin.

                 e. Target the top 100 MS CONTIN/Duragcsic hospitals and offer them a special
                    pain management day where our OxyContin clinical investigators will train the
                    staff on the use of OxyContin.

     Defendant Abbott, in a 1997 document, indicated that prescriptions written by "Abbott MD's"

     comprised 25% of all OxyContin prescriptions. In addition, Purdue's budget records reveal

     details of the payments to Abbott for its OxyContin work, which were termed "commissions."

     From 1996 through 2002, Abbott was paid $374 million in commissions, according to those

     documents. Total sales of the drug during that time were nearly $5 billion. From 2003 to 2006,

     OxyContin sales were nearly $6 billion. From 1996 to 2005, inclusive, Abbott's "commissions"

     exceeded $500 million. The importance of targeting hospital emergency rooms was illustrated by

     a study that demonstrated that patients who receive an opiate prescription within 7 days of

     surgery are 44% more likely to still be using the medication one year after surgery than patients

     who do not receive an opioid prescription.""

     C.      The Marketing Defendants Disseminated Their Misleading Messages About Opioids
             Through Multiple Direct and Indirect Channels

            304. The Marketing Defendants utilized various channels to carry out their marketing

     scheme of targeting the medical community and patients with deceptive information about

     opioids: (1) direct, targeted communications with prescribers by sales representatives or

     "detailers;" (2) "Front Groups" with the appearance of independence from the Marketing




     153 Cheryl Genord, et al., °plaid exit plan: A pharmacist's role in managing acute postoperative pain,
     Journal of the American Pharmacists Association (Jan. 2017), at 593, available at
     https://www.japha.org/artiele/S1544-3191(17)30016-X/fulltext (hereinafter "Opioid Exit Plan").

                                                        124
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 140 of
                                     358




     Defendants; (3) so-called KOLs, that is, doctors who were paid by the Marketing Defendants to

     promote their pro-opioid message; (4) disseminating their misleading messages through

     reputable organizations; (5) CME programs controlled and/or funded by the Marketing

     Defendants; (6) branded advertising; (7) unbranded advertising; (8) publications; and (9)

     speakers bureaus and programs.

             1.     The Marketing Defendants Used "Detailers" To Directly Disseminate Their
                    Misrepresentations to Prescribers

             305.   The Marketing Defendants' sales representatives executed carefully crafted

     marketing tactics, developed at the highest rungs of their corporate ladders, to reach targeted

     doctors and hospitals with centrally orchestrated messages. The Marketing Defendants' sales

     representatives also distributed third-party marketing material to their target audience that was

     deceptive. The Marketing Defendants' direct contact with prescribers was, by far, their most

     important means of disseminating the False Narrative and increasing opioid prescriptions, and,

     accordingly, their sales.

            306.    Each Marketing Defendant promoted opioids through sales representatives (also

     called "detailers") and, in consideration of a reasonable opportunity for further investigation and

     discovery. Plaintiffs allege that small group speaker programs were designed to reach out to

     individual prescribers. By establishing close relationships with doctors, the Marketing

     Defendants were able to disseminate their misrepresentations in targeted, one-on-one settings

     that allowed them to promote their opioids and to allay individual prescribers' concerns about

     prescribing opioids for chronic pain.

            307.    In accordance with common industry practice, the Marketing Defendants

     purchased and closely analyzed prescription sales data from IMS Health (now 1QVIA), a

     healthcare data collection, management, and analytics corporation. This data allowed them to


                                                     125
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 141 of
                                     358




     precisely track the rates of initial and renewal prescribing by individual doctors, which allowed

     them to target and tailor their appeals. Sales representatives visited hundreds of thousands of

     doctors and disseminated the misinformation and materials described above.

           308.         Marketing Defendants devoted and continue to devote massive resources to

     direct sales contacts with doctors. In 2014 alone, Marketing Defendants spent $166 million on

     detailing branded opioids to doctors. This amount is twice as much as Marketing Defendants

     spent on detailing in 2000. The amount includes $108 million spent by Purdue, $34 million by

     Janssen, $13 million by Teva, and $10 million by Endo.

            309. Cephalon's quarterly spending steadily climbed from below $1 million in 2000

     to more than $3 million in 2014 (and more than $13 million for the year), with a peak,

     coinciding with the launch of Fentora, of more than $27 million in 2007, as shown below:




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            310. For its opioid, Actiq, Cephalon also engaged in direct marketing in direct

     contravention of the FDA's strict instructions that Actiq be prescribed only to terminal cancer

     patients and by oncologists and pain management doctors experienced in treating cancer pain.

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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 142 of
                                     358




     Endo's quarterly spending went from the S2 million to S4 million range in 2000- 2004 to more

     than $10 minion following the launch of Opana ER in mid-2006 (and more than $38 million for

     the year in 2007) and more than $8 million coinciding with the launch of a reformulated

     version in 2012 (and nearly $34 million for the year), as shown below:




            311. Janssen's quarterly spending dramatically rose from less than $5 million in 2000

     to more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly

     spending at $142 million for 2011), as shown below:



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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 143 of
                                     358




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            312. Abbott, which was tasked with marketing Purdue's products to hospitals,

     heavily incentivized its staff to push OxyContin, offering $20,000 cash prizes and luxury

     vacations to top performers. Abbott's almost religious zeal to sell the drug is evident in the

     wide use of terminology from the Middle Ages Crusades: Sales reps were called "royal

     crusaders" and "knights" in internal documents, and they were supervised by the "Royal Court

     of OxyContin" — executives referred to in memos as the "Wizard of OxyContin," "Supreme

     Sovereign of Pain Management," and the "Empress of Analgesia." The head of pain care sales,

     Jerry Eichhorn, was the "King of Pain," and signed memos simply as "King."




                                                                                 128
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 144 of
                                     358




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            313.    At Purdue, aggressive and frequent visits to prescribers was always its most

     important marketing technique. The Sackler Defendants set targets for each representative to

     visit over 7 prescribers per day, and closely monitored actual data. Some doctors were visited

     multiple times per week. The pressure on sales representatives, and on prescribers, was

     relentless, and was dictated by the Sackler Defendants.

            314.    Each of these in-person sales visits cost Purdue money— on average more than

     $200 per visit. But Purdue made that money back many times over, because it convinced

     doctors to prescribe its addictive drugs. When Purdue identified a doctor as a profitable target.

     Purdue visited the doctor frequently: often weekly, sometimes almost every day. Purdue

     salespeople, including the Purdue Sales Representative Defendants, asked doctors to list

     specific patients they were scheduled to see and pressed the doctors to commit to put the

     patients on Purdue opioids. By the time a patient walked into a clinic, the doctor, in Purdue's

     v‘rorcls, had already -guaranteed" that he would prescribe Purdue's drugs.

                                                    129
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 145 of
                                     358




             315.   Purdue judged its sales representatives by how many opioids they got doctors to

     prescribe. Sales representatives who generated the most prescriptions won bonuses and prizes.

     These incentives included a "Toppers Club sales contest" for sales representatives to win

     bonuses, based on how much a representative increased OxyContin use in her territory and how

     much the representative increased the broader prescribing of opioids — the same "availability

     of product" and "prescribing practices" factors that worsen the risk of diversion and abuse.

            316.    Purdue continued to incentivize its representatives to sell opioids even after

     some competitors had ended that practice. Representatives who failed to get enough patients on

     opioids were placed on probation, put on performance improvement plans, and they would be

     threatened with loss of their jobs if they did not generate more opioid sales. Those unable to

     generate more sales were fired. In 2015 alone, Purdue replaced 14% of its sales representatives

     and 20% of its District Managers for failing to create enough opioid sales.

            317.    Sales representatives focused on prolific (and potentially prolific) prescribers,

     described internally at Purdue as "core," "super core," and "high potential" prescribers at times,

     even though the Marketing Defendants were all well aware of the heightened risk of improper

     prescriptions and diversion through these prescribers. Defendant Richard Sackler once

     chastised his senior marketing officer Defendant Gasdia for Purdue's managers permitting sales

     representatives to target "non-high potential prescribers," asking "[Wow can our managers have

     allowed this to happen?" Defendant Richard Sackler personally insisted that sales

     representatives push the doctors who prescribed the most drugs.

            318.    To make sure doctors prescribed more opioids, Purdue tracked doctors'

     prescriptions, visited their offices, bought them meals, and asked them to put specific patients

     on Purdue drugs. Purdue selected doctors for target lists based on its estimates of which doctors



                                                     130
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 146 of
                                     358




     could be influenced to increase opioid prescriptions the most. Purdue managers told

     representatives to visit most often the doctors who were most likely to change their prescribing

     to benefit Purdue. Purdue Sales representatives, including the Purdue Sales Representative

     Defendants, visited Purdue's targets, including top targets in Florida, an average of more than

     200 times per year each. Those visits cost Purdue more than $40,000 for each doctor. Purdue

     did not spend $40,000 per doctor so sales representatives could watch doctors write

     prescriptions that they were already going to write anyway. Instead, Purdue paid to lobby these

     doctors because Purdue knew its representatives would convince them to put more patients on

     ()plaids, at higher doses, for longer periods. Those extra prescriptions paid back Purdue's

     investment many times over.

            319.    Compared to Florida doctors and nurses who prescribed Purdue opioids without

     lobbying from sales reps, Purdue's top targets wrote far more dangerous prescriptions.

     Purdue's top targets prescribed Purdue opioids to more of their patients, at higher doses, and

     for longer periods of time. Compared to doctors and nurses who prescribed Purdue opioids

     without seeing reps, Purdue's top targets were at least ten times more likely to prescribe Purdue

     opioids to patients who overdosed and died. As of the fourth quarter of 2013, Purdue employed

     632 sales representatives and, during that quarter they visited prescribers 176,227 times — an

     annualized rate of over 700,000 visits. These statistics were regularly reported to the Sackler

     Defendants and Purdue Officer Defendants. Purdue's budget for Sales and Promotion for 2013

     was S312,563,000. In 2013, Purdue spent over $9 million on meals alone for its prescribers.

            320.    The sales visits of its staff were so important to the Sackler Defendants that

     Defendant Richard Sackler himself went into the field in 2013 to promote opioids to doctors

     alongside a sales representative. Defendant Gasdia and Purdue's Chief Compliance Officer



                                                     131
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 147 of
                                     358




     were well aware that this was "a potential compliance risk." To make sure the Sackler

     Defendants' involvement in marketing stayed secret, staff instructed: "Richard needs to be

     mum and be anonymous." When he returned, Richard Sackler argued to the Vice President of

     Sales that a legally required warning about Purdue's opioids wasn't needed. He asserted that

     the warning "implies a danger of untoward reactions and hazards that simply aren't there."

     Richard Sackler insisted there should be "less threatening" ways to describe Purdue opioids.

            321     Purdue intensified its marketing efforts in subsequent years, in an effort to

     counteract decreasing sales (sales of OxyContin peaked in 2010, and decreased somewhat in

     subsequent years). For 2018, the Sacklers approved a target for sales representatives to visit

     prescribers 1,050,000 times — which would include thousands of visits to Florida prescribers —

     almost double the number of sales visits they had ordered during the peak of OxyContin sales

     in 2010.

            2.      The Marketing Defendants Deceptively Directed Front Groups to Promote
                    °plaid Use

            322. Patient advocacy groups and professional associations also became vehicles to

     reach prescribers, patients, and policymakers. Marketing Defendants exerted influence and

     effective control over the messaging by these groups by providing major funding directly to

     them, as well as through KOLs who served on their boards. These "Front Groups" put out patient

     education materials, treatment guidelines and CMEs that supported the use of opioids for chronic

     pain, overstated the benefits of opioids, and understated their risks.' 54 Defendants funded these

     Front Groups in order to ensure supportive messages from these seemingly neutral and credible



     '54 U.S. Senate Homeland Sec. & Governmental Affairs Comm., Ranking Members' Office, Fueling an
     Epidemic, Report Two: Exposing the Financial Ties Between Opioid Manufacturers and Third Party
     Advocacy Groups, at p. 3 (Feb. 12, 2018), Intps://www.hsd1.orgflabstract&did=80817 I (hereinafter
     "Fueling an Epidemic").

                                                     132
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 148 of
                                     358




     third parties, and their funding did, in fact, ensure such supportive messages—often at the

     expense of the Front Groups own constituencies.

                 323.       "Patient advocacy organizations and professional societies like the Front Groups

     'play a significant role in shaping health policy debates, setting national guidelines for patient

     treatment, raising disease awareness, and educating the public.'"155 "Even small organizations—

     with 'their large numbers and credibility with policymakers and the public'—have 'extensive

     influence in specific disease areas.' Larger organizations with extensive funding and outreach

     capabilities 'likely have a substantial effect on policies relevant to their industry sponsors.'"156

     Indeed, the U.S. Senate's report, Fueling an Epidemic: Exposing the Financial Ties Between

     Opioid Manufacturers and Third Party Advocacy Groups,157 which arose out of a 2017 Senate

     investigation and, drawing on disclosures from Purdue, Janssen, Insys, and other opioid

     manufacturers, "provides the first comprehensive snapshot of the financial connections between

     opioid manufacturers and advocacy groups and professional societies operating in the area of

     Office opioids policy,"158 found that the Marketing Defendants made millions of dollars' worth

     of contributions to various Front Groups.159

                 324.       The Marketing Defendants also "made substantial payments to individual group

     executives, staff members, board members, and advisory board members" affiliated with the




     '55   1d. at p. 2.
     '56 Id

     157   Id. at p.   1.

     1"    Id

     '59   1d. at p. 3.




                                                           133
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 149 of
                                     358




     Front Groups subject to the Senate Committee's shidy.160

                  325.      As the Senate's Fueling an Epidemic Report found, the Front Groups "amplified

     or issued messages that reinforce industry efforts to promote opioid prescription and use,

     including guidelines and policies minimizing the risk of addiction and promoting opioids for

     chronic pain."I61 They also "lobbied to change laws directed at curbing opioid use, strongly

     criticized landmark CDC guidelines on opioid prescribing, and challenged legal efforts to hold

     physicians and industry executives responsible for over prescription and misbranding."I 62

                 326.       The Marketing Defendants took an active role in guiding, reviewing, and

     approving many of the false and misleading statements issued by the Front Groups, ensuring that

     Defendants were consistently in control of their content. By funding, directing, editing,

     approving, and distributing these materials, Defendants exercised control over and adopted their

     false and deceptive messages and acted in concert with the Front Groups and through the Front

     groups, with each working with the other to deceptively promote the use of opioids for the

     treatment of chronic pain.

                            a.     American Pain Foundation

                 327.       The most prominent of the Front Groups was APF. While the APF held itself out

     as an independent patient advocacy organization, in reality it received 90% of its funding in 2010

     from the drug and medical-device industry, including from Purdue, Endo, Janssen and Cephalon.

     APF received more than $10 million in funding from opioid manufacturers from 2007 until it

     closed its doors in May 2012. By 2011, APF was entirely dependent on incoming grants from



     '60    1d. at p. 10.

     thl    Id. at 12-15.

     I 62   Id. at 12.

                                                           134
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 150 of
                                     358




     Purdue, Cephalon, Endo, and others to avoid using its line of credit. Endo was APF's largest

     donor and provided more than half of its S10 million in funding from 2007 to 2012.

             328.    For example, APF published a guide sponsored by Cephalon and Purdue titled

     Treatment Options: A Guide for People Living with Pain and distributed 17,200 copies of this

     guide in one year alone, according to its 2007 annual report. This guide contains multiple

     misrepresentations regarding opioid use which are discussed supra.

             329.    APF also developed the NIPC, which ran a facially unaffiliated website,

     www.painknowledge.org, NIPC promoted itself as an education initiative led by its expert

     leadership team, including purported experts in the pain management field. NIPC published

     unaccredited prescriber education programs (accredited programs are reviewed by a third party

     and must meet certain requirements of independence from pharmaceutical companies), including

     a series of "dinner dialogues." But it was Endo that substantially controlled NIPC, by funding

     NIPC projects, developing, specifying, and reviewing its content, and distributing NIPC

     materials. Endo's control of NIPC was such that Endo listed it as one of its "professional

     education initiative[sr in a plan Endo submitted to the FDA. Yet, Endo's involvement in NIPC

     was nowhere disclosed on the website pages describing NIPC or on www.painknowledge.org.

     Endo estimated it would reach 60,000 prescribers through NIPC.

            330.    APF was often called upon to provide "patient representatives" for the Marketing

     Defendants' promotional activities, including for Purdue's "Partners Against Pain" and

     Janssen's "Let's Talk Pain." Although APF presented itself as a patient advocacy organization, it

     functioned largely as an advocate for the interests of the Marketing Defendants, not patients. As

     Purdue told ARF in 2001, the basis of a grant to the organization was Purdue's desire to

     strategically align its investments in nonprofit organizations that shared its business interests.



                                                      135
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 151 of
                                     358




            331.    In practice, APF operated in close collaboration with Defendants, submitting

     grant proposals seeking to fund activities and publications suggested by Defendants and assisting

     in marketing projects for Defendants.

            332.    This alignment of interests was expressed most forcefully in the fact that Purdue

     hired APF to provide consulting services on its marketing initiatives. Purdue and APF entered

     into a "Master Consulting Services" Agreement on September 14, 201 1. That agreement gave

     Purdue substantial rights to control APF's work related to a specific promotional project.

     Moreover, based on the assignment of particular Purdue "contacts" for each project and APF's

     periodic reporting on their progress, the agreement enabled Purdue to be regularly aware of the

     misrepresentations APF was disseminating regarding the use of opioids to treat chronic pain in

     connection with that project. The agreement gave Purdue—but not APF—the right to end the

     project (and, thus, APF's funding) for any reason.

            333.    APF's Board of Directors was largely comprised of doctors who were on the

     Marketing Defendants' payrolls, either as consultants or as speakers for medical events. The

     close relationship between APF and the Marketing Defendants demonstrates APF's lack of

     independence in its finances, management, and mission, and APF's willingness to allow

     Marketing Defendants to control its activities and messages supports an inference that each

     Defendant that worked with it was able to exercise editorial control over its publications—even

     when Defendants' messages contradicted APF's internal conclusions.

            334.    In May 2012, the U.S. Senate Finance Committee began looking into APF to

     determine the links, financial and otherwise, between the organization and the manufacturers of

     opioid painkillers. Within days of being targeted by the Senate investigation, APF's board voted

     to dissolve the organization "due to irreparable economic circumstances." APF then "cease[d] to



                                                    136
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 152 of
                                     358




     exist, effective immediately." Without support from Marketing Defendants, to whom APF could

     no longer be helpful, APF was no longer financially viable.

                        b.      American Academy of Pain Medicine and the American Pain Society

                335.    The American Academy of Pain Medicine ("AAPM") and the American Pain

     Society ("APS") are professional medical societies, each of which received substantial funding

     from Defendants from 2009 to 2013. In 1997, AAPM issued a "consensus" statement that

     endorsed opioids to treat chronic pain and claimed that the risk that patients would become

     addicted to opioids was low. I63 The Chair of the committee that issued the statement, Dr. J.

     David Haddox, was at the time a paid speaker for Purdue. The sole consultant to the committee

     was Dr. Russell Portenoy, who was also a spokesperson for Purdue. The consensus statement,

     which also formed the foundation of the 1998 Guidelines, was published on the AAPM's

     website.

                336.    AAPM's corporate council includes Purdue, Assertio, Teva and other

     pharmaceutical companies. AAPM's past presidents include Haddox'(1998), Dr. Scott Fishman

     ("Fishman") (2005), Dr. Perry G. Fine ("Fine") (2011) and Dr. Lynn R. Webster ("Webster")

     (2013), all of whose connections to the opioid manufacturers are well-documented as set forth

     below.

                337.   Fishman, who also served as a KOL for Marketing Defendants, stated that he

     would place the organization "at the forefront" of teaching that "the risks of addiction are ...




     163   The Use of Opioids for the Treatment of Chronic Pain,   APS & AAPM (1997), available at
     httn:/Avww.stReorgeutah.corn/wp-
     content/uploads/20 I 6/05/0P101DES.DOLORCRONICO.pdfhtto://www.stesoraeutah.corn/wp-
     content/up loads/2016/05/OPIOIDES.DOLORCRONICO.ndf (last accessed August 1, 2018).




                                                         137
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 153 of
                                     358




     small and can be managed.""64

                 338.   AAPM has received over $2.2 million in funding since 2009 from opioid

     manufacturers. AAPM maintained a corporate relations council, whose members paid $25,000

     per year (on top of other funding) to participate. The benefits included allowing members to

     present educational programs at off-site dinner symposia in connection with AAPM's marquee

     event — its annual meeting held in Palm Springs, California, or other resort locations.

                 339.   More specifically, Purdue paid $725.584.95 from 2012-2017 to AAPM.165

     Janssen paid $83,975 from 2012-2017 to AAPM.166 Insys paid $57,750 from 2012-2017 to

     AAPM.167 Endo funded AAPM CMEs. Teva is on AAPM's corporate relations council.

                 340.   As to APS, Purdue paid $542,259.52 from 2012-2017.168 Janssen paid $88,500

     from 2012-2017.169 Insys paid S22,965 from 2012-2017.17°

                 341.   AAPM describes its annual meeting as an "exclusive venue" for offering CME

     programs to doctors. Membership in the corporate relations council also allows drug company

     executives and marketing staff to meet with AAPM executive committee members in small

     settings. Defendants Endo, Purdue, and Cephalon were members of the council and presented

     deceptive programs to doctors who attended this annual event. The conferences sponsored by


     '64 Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain
     Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005), available at
     http://www.medscape.orgiviewarticle/500829http://www.medscape.orgiviewarticle/500829.

           Id.
     166
           Fueling an Epidemic, supra n. 154.

     167   Id.
     k68


     169 Id.



     17° Id.


                                                      138
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 154 of
                                     358




     AAPM heavily emphasized CME sessions on opioids — 37 out of roughly 40 at one conference

     alone.

              342.   AAPM's staff understood that they and their industry fundcrs were engaged in a

     common task. Defendants were able to influence AAPM through both their significant and

     regular funding and the leadership of pro-opioid KOLs within the organization.

              343.   In 1996, AAPM and APS jointly issued a consensus statement, "The Use of

     Opioids for the Treatment of Chronic Pain," which endorsed opioids to treat chronic pain and

     claimed that the risk of a patients' addiction to opioids was low. Dr. David Haddox, who co-

     authored the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy

     was the sole consultant. The consensus statement remained on AAPM's website until 2011.

              344.   AAPM and APS issued their own guidelines in 2009 ("2009 Guidelines").

     AAPM, with the assistance, prompting, involvement, and funding of Defendants, issued the

     treatment guidelines discussed herein, and continued to recommend the use of opioids to treat

     chronic pain. Fourteen of the 21 panel members who drafted the 2009 Guidelines, including

     KOL Dr. Fine, received support from Janssen, Cephalon, Endo, and Purdue. Of these

     individuals, six received support from Purdue, eight from Teva, nine from Janssen, and nine

     from Endo.

              345.   Dr. Gilbert Fanciullo, now retired as a professor at Dartmouth College's Geisel

     School of Medicine, who served on the AAPM/APS Guidelines panel, has since described them

     as "skewed" by drug companies and "biased in many important respects," including the high

     presumptive maximum dose, lack of suggested mandatory urine toxicology testing, and claims of

     a low risk of addiction.

              346.   The 2009 Guidelines have been a particularly effective channel of deception.



                                                    139
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 155 of
                                     358




     They have influenced not only treating physicians, but also the scientific literature on opioids;

     they were reprinted in the Journal of Pain, have been cited hundreds of times in academic

     literature, were disseminated during the relevant time period, and were and are available online.

     Treatment guidelines are especially influential with primary care physicians and family doctors

     to whom Marketing Defendants promoted opioids and whose lack of specialized training in pain

     management and opioids makes them more reliant on, and less able to evaluate, these guidelines.

               347.    For that reason, the CDC has recognized that treatment guidelines can "change

     prescribing practices."171

               348.    The 2009 Guidelines are relied upon by doctors, especially general practitioners

     and family doctors who have no specific training in treating chronic pain.

               349.    The Marketing Defendants widely cited and promoted the 2009 Guidelines

     without disclosing the lack of evidence to support their conclusions, their involvement in the

     development of the Guidelines, or their financial backing of the authors of these Guidelines. For

     example, a speaker presentation prepared by Endo in 2009 titled The Role of Opana ER in the

     Managetnent of Moderate to Severe Chronic Pain relies on the AAPM/APS 2009 Guidelines

     while omitting their disclaimer regarding the lack of evidence for recommending the use of

     opioids for chronic pain.

                       e.     FSMB

               350.    The Federation of State Medical Boards ("FSMB") is a trade organization

     representing the various state medical boards in the United States. The state boards that comprise

     the FSMB membership have the power to license doctors, investigate complaints, and discipline

     physicians.



     171   2016 CDC Guideline, supra n. 90.


                                                      140
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 156 of
                                     358




             351.   The FSMB finances opioid- and pain-specific programs through grants from

     Defendants.

            352.    Since 1998, the FSMB has been developing treatment guidelines for the use of

     opioids for the treatment of pain. The 1998 version, Model Guidelines for the Use of Controlled

     Substances for the Treatment of Pain ("1998 Guidelines") was produced "in collaboration with

     pharmaceutical companies." The 1998 Guidelines—that the pharmaceutical companies helped

     author—taught not that opioids could be appropriate in only limited cases after other treatments

     had failed, but that opioids were "essential" for treatment of chronic pain, including as a first

     prescription option.

            353.    A 2004 iteration of the 1998 Guidelines and the 2007 book, Responsible Opioid

     Prescribing, also made the same claims as the 1998 Guidelines. These guidelines were posted

     online and were available to and intended to reach physicians nationwide, including in Perry

     County.

            354.    FSMB's 2007 publication Responsible Opioid Prescribing was backed largely by

     drug manufacturers, including Purdue, Endo and Cephalon. Purdue paid $100,000 for the

     printing and distribution of FSMB's Guidelines.172

            355.    The publication also received support from the American Pain Foundation (APF)

     and the American Academy of Pain Medicine (AAPM). The publication was written by Dr.

     Fishman, and Dr. Fine served on the Board of Advisors. In all, 163,131 copies of Responsible




     "2 John Fauber, Follow the Money: Pain, Policy, and Profit, MILWAUKEE. JOURNAL SENTINEUMEDPAGE
     TODAY (Feb. 19, 2012),
     Entos://www.medpagetoday.comineurdogv/painmanagement/31256htlos://www.medpagetodav.com/neur
     ologv/gainmanagernent/31256.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 157 of
                                     358




     °plaid Prescribing were distributed by state medical boards.' 73 The FSMB website describes the

     book as "the leading continuing medical education (CME) activity for prescribers of opioid

     medications." This publication asserted that opioid therapy to relieve pain and improve function

     is a legitimate medical practice for acute and chronic pain of both cancer and non-cancer origins;

     that pain is under-treated, and that patients should not be denied opioid medications except in

     light of clear evidence that such medications are harmful to the patient. 174

               356.    The Marketing Defendants relied on the 1998 Guidelines to convey the alarming

     message that "under-treatment of pain" would result in official discipline, but no discipline

     would result if opioids were prescribed as part of an ongoing patient relationship and prescription

     decisions were documented. FSMB turned doctors' fear of discipline on its head: doctors, who

     used to believe that they would be disciplined if their patients became addicted to opioids, were

     taught instead that they would be punished if they failed to prescribe opioids to their patients

     with chronic pain.

               357.    Dr. Fishman said that he did not receive any payments from FSMB or any

     royalties from the publisher because he wanted to avoid the perception of a potential conflict of

     interest in his authorship of the book or for the ongoing efforts of FSMB. This is because prior to

     2011, he had been scrutinized for his involvement with the front groups/manufacturers and




     In   Email from Dr. Scott Fishman to Charles Ornstein, ProPublica (Dec. 15, 2011),
     https://assets.documenteloud.or4/docurnents/279033/fishman-resnonses-to-
     propublica.pdfhttos://asscts.documenteloud.org/documents/279033/fishman-responses-to-propublica.pdf

     174 Scott M. Fishman, Responsible Opioid Prescribing: A Physician's Guide 8-9 (Waterford Life
     Sciences 2007).




                                                        142
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 158 of
                                     358




     accepting payments.175

                 358.   The Manufacturing Defendants made additional contributions to the FSMB to

     further their misleading advertising. For example, Purdue paid FSMB $822,400.06 over 8

     years.176 Cephalon paid FSMB $180,000 over a 3-year period, 2007-2008 and 2011.177 Endo

     paid FSMB $371,620 over a 5-year period.178 Mallincicrodt paid FSMB S100,000 in 2011 :179

                        d.     The Alliance for Patient Access

                 359.   Founded in 2006, the Alliance for Patient Access ("APA") is a self-described

     patient advocacy and health professional organization that styles itself as "a national network of

     physicians dedicated to ensuring patient access to approved therapies and appropriate clinical

     care."180 It is run by Woodberry Associates LLC, a lobbying firm that was also established in

     2006.181 As of June 2017, the APA listed 30 "Associate Members and Financial Supporters."




     175 F.mail from Dr. Scott Fishman to Charles Ornstein, ProPublica (Dec. 15, 2011),
     hups://assets.documentcloud.org/documents/279033/fishman-responses-uo-pro.publica.pdf.

     176 Letter from Humayun J. Chaudhry, President and CEO, FSMB, to the Hon. Max Baucus and Hon.
     Charles Grassley, U.S. Senate (June 8, 2012). https://www.documenteloud.org/documents/3109089-
     FSMB-Response-Lettcr-to-US-Senate.htmlhttos://www.documentcloud.org/documents/3109089-FSMB-
     Response-Letter-to-US-Senate.html.

     '"Id.

           Id.

     ' 79 Id.

     ISO The Alliance for Patient Access, About AJPA, http://allianceforpatientaceess.org/about-
     afpalltmembershiphttp://alliancefornatientacecss.org/about-a fpa/timembershi (last accessed August 1,
     2018). References herein to APA include two affiliated groups: the Global Alliance for Patient Access
     and the Institute for Patient Access.

       Mary Chris Jaklevic, Non-profit Alliance for Patient Access uses journalists and politicians to push
     181
     Big Pharina's agenda, Health News Review (Oct. 2, 2017),
     haps://www.healthnewsreview.org/2017/10/non-orofit-alliance-Datient-access-uses-iournallsts-
     potiticians-nush-big-Dharrnas-agenda/2, 2017), https://www.heaithnewsreview.orgi2017/1 0/non-profit-



                                                       143
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 159 of
                                     358




     The list includes J&J, Endo, Mallincicrodt, Purdue, and Cephalon.

             360.    APA's board members have also directly received substantial funding from

     pharmaceutical companies. I'2 For instance, board vice president Dr. Srinivas NaIamachu

     ("Nalamachu"), who practices in Kansas, received more than $800,000 from 2013 through 2015

     from pharmaceutical companies—nearly all of it from manufacturers of opioids or drugs that

     treat opioids' side effects, including from defendants Endo, Purdue and Cephalon, and nonparty

     Insys. Nalamachu's clinic was raided by FBI agents in connection with an investigation of Insys

     and its payment of kickbacks to physicians who prescribed Subsys.1" Other hoard members

     include Dr. Robert A. Yapundich from North Carolina, who received $215,000 from 2013

     through 2015 from pharmaceutical companies, including payments by defendants Cephalon and

     Mallinckrodt; Dr. Jack D. Sehim from California, who received more than $240,000 between

     2013 and 2015 from pharmaceutical companies, including defendants Endo, Mallinekrodt and

     Cephalon; Dr. Howard Hoffberg from Maryland, who received $153,000 between 2013 and

     2015 from pharmaceutical companies, including defendants Endo, Purdue, Mallinckrodt,

     Cephalon and nonparty Insys; and Dr. Robin K. Dore from California, who received $700,000

     between 2013 and 2015 from pharmaceutical companies.

             361.    Among its activities, APA issued a "white paper" titled "Prescription Pain




     alliance-patient-access-uses-iournalists-politicians-push-big-pharmas-agenda/ ("Jaklevic, Non-profit
     Alliance for Patient Access").

     1S2 All information concerning pharmaceutical company payments to doctors in this paragraph is from
     ProPublica's Dollars for Docs database, available at https://projects.propublica.org/docdollars/.

     183Andy Marso, FBI seizes records of Overland Park pain doctor tied to Insys, KANSAS C[TY STARjJuly
     19, 2017). htto://www.kansascity.cominewsibusiness/health-carefarticle1G2569383.html.




                                                        144
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 160 of
                                     358




     Medication: Preserving Patient Access While Curbing Abuse."'" Among other things, the white

     paper criticizes prescription monitoring programs, purporting to express colleen] that they are

     burdensome, not user friendly, and of questionable efficacy:

                        Prescription monitoring programs that are difficult to use and
                        cumbersome can place substantial burdens on physicians and their
                        staff, ultimately leading many to stop prescribing pain medications
                        altogether. This forces patients to seek pain relief medications
                        elsewhere, which may be much less convenient and familiar and may
                        even be dangerous or illegal.

                                           ***



                         In some states, physicians who fail to consult prescription monitoring
                         databases before prescribing pain medications for their patients are
                         subject to fines; those who repeatedly fail to consult the databases
                         face loss of their professional licensure. Such penalties seem
                         excessive and may inadvertently target older physicians in rural areas
                         who may not be facile with computers and may not have the requisite
                         office staff. Moreover, threatening and fining physicians in an attempt
                         to induce compliance with prescription monitoring programs
                         represents a system based on punishment as opposed to incentives. . .

                         We cannot merely assume that these programs will reduce
                         prescription pain medication use and abuse. Ig5


               362. The white paper also purports to express concern about policies that have been

     enacted in response to the prevalence of pill mills:

                         Although well intentioned, many of the policies designed to address
                         this problem have made it difficult for legitimate pain management
                         centers to operate. For instance, in some states, [pain management
                         centers] must be owned by physicians or professional corporations,


       Institute for Patient Access, Prescription Pain Medication: Preserving Patient Access While Curbing
     1S4
     Abuse, (Oct. 2013), httn://lyh2lu3cintv3xjderldco9mx5s.wpengine.netdna-cdn.com/wn-
     content/unloads/2013/01/PT Whitc-pgper Finala_pdf.

     1" Id.   at 4-5 (footnote omitted).




                                                        145
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 161 of
                                     358




                           must have a Board certified medical director, may need to pay for
                           annual inspections, and are subject to increased record keeping and
                           reporting requirements. . [ljt is not even certain that the regulations
                           are helping prevent abuses.186

                   363.   In addition, in an echo of earlier industry efforts to push back against what they

     termed "opiophobia," the white paper laments the stigma associated with prescribing and taking

     pain medication:

                          Both pain patients and physicians can face negative perceptions and outright
                          stigma. When patients with chronic pain can't get their prescriptions for
                          pain medication filled at a pharmacy, they may feel like they are doing
                          something wrong — or even criminal.. . . Physicians can face similar stigma
                          from peers. Physicians in non-pain specialty areas often look down on those
                          who specialize in pain management — a situation fueled by the numerous
                          regulations and fines that surround prescription pain medications. I87

                   364.   In conclusion, the white paper states that "[p]rescription pain medications, and

     sped i fically opioids, can provide substantial relief for people who are recovering from surgery,

     afflicted by chronic painful diseases, or experiencing pain associated with other conditions that

     does not adequately respond to over-the-counter drugs."'"

                   365.   The APA also issues "Patient Access Champion" financial awards to members of

     Congress, including 50 such awards in 2015. The awards were funded by a $7.8 million donation

     from unnamed donors. While the awards are ostensibly given for protecting patients' access to

     Medicare and are thus touted by their recipients as demonstrating a commitment to protecting the

     rights of senior citizens and the middle class, they were generally given to members of Congress




     186 Id. at 5-6.

     187   1d. a16.
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         " Id.   at 7.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 162 of
                                     358




     who supported the APA's agenda.I89

                366.     The APA also lobbies Congress directly. In 2015, the APA signed onto a letter

     supporting legislation proposed to limit the ability of the DEA to police pill mills by enforcing

     the "suspicious orders" provision of the Comprehensive Drug Abuse Prevention and Control Act

     of 1970,21 U.S.C. § 801 et seq. ("CSA" or "Controlled Substances Act").19° The AAPM is also

     a signatory to this letter. An internal DOJ memo stated that the proposed bill "could actually

     result in increased diversion, abuse, and public health and safety consequences'"191 and,

     according to DEA chief administrative law judge John J. Mulrooney ("Mulrooney"), the law

     would make it -all but logically impossible" to prosecute manufacturers and distributors, like

     Defendants here, in the courts.I92 The law passed both Houses of Congress and was signed into

     law in 2016.

                        e.       The U.S. Pain Foundation

                367.    The U.S. Pain Foundation ("USPF") was another Front Group with systematic

     connections and interpersonal relationships with the Marketing Defendants. The USPF was one

     of the largest recipients of contributions from the Marketing Defendants, collecting nearly $3




     159   Jaklevic. Non-profit ,41liance for Patient Access, supra n. 181.

     I " Letter from Alliance for Patient Access, et al., to Congressmen Torn Marino, Marsha Blackburn, Peter
    'Welch, and Judy Chu (Jan. 26, 2015).

     191 Bill Whitaker, Ex-DEA Agent: Opioid Crisis Fueled by Drug Industry and Congress, CBS NEWS (last
     updated Oct. 17, 2017) https://www.cbsnews.e_ominews/ex-dea-agent-opioid-crisis-fueled-by-drus-
     industry-a nd-congress/.
     L92
       John J. Mulrooney, If & Katherine E. Legel, Current Navigation Points in Drug Diversion Law:
     Hidden Rocks in Shallow, Murky, Drug-Igfested Waters, 101 Marquette L. Rev. (forthcoming Feb.
     2018), httos://www.doeumenteloud.org/documents/4108121-Marquette-Law-Review-Mulroonev-
     Legel.htinl.




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 163 of
                                     358




     million in payments between 2012 and 2015 alone.193 The USPF was also a critical component

     of the Marketing Defendants' lobbying efforts to reduce the limits on over-prescription. The U.S.

     Pain Foundation advertised its ties to the Marketing Defendants, listing opioid manufacturers

     like Pfizer, Teva, Assertio, Endo, Purdue, McNeil (i.e., Janssen), and Mallinckrodt as

     "Platinum," "Gold," and "Basic" corporate members.I94 Industry Front Groups like the American

     Academy of Pain Management, the American Academy of Pain Medicine, the American Pain

     Society, and PhRMA are also members of varying levels in the USPF.

                 368.   More specifically, Purdue paid $359,300 from 2012-2017;'95 Janssen paid

     $41,500 from 2012-2017;196 and Insys paid $2,500,000 from 2012-2017 to the USPF.I97

                        f.      American Geriatrics Society

                 369.   The AGS was another Front Group with systematic connections and interpersonal

     relationships with the Marketing Defendants. The AGS was a large recipient of contributions

     from the Marketing Defendants, including Endo, Purdue and Janssen. AGS contracted with

     Purdue, Endo, and Janssen to disseminate guidelines regarding the use of opioids for chronic

     pain in 2002 (The Management of Persistent Pain in Older Persons, hereinafter "2002 AGS




     193   Fueling an Epidemic, supra n. 154, at p. 4.

     194 Id. at 12: U.S. Pain Foundation, Transparency, https://uspainfoundation.org/transparency/. (last
     accessed on August I, 2018).

     I" Id.

     196   1d.

     197   Id.




                                                         148
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 164 of
                                     358




     Guidelines") and 2009 (Pharmacological Management of Persistent Pain in Older Persons,'"

     hereinafter "2009 AGS Guidelines"). According to news reports. AGS has received at least

     $344,000 in funding from opioid manufacturers since 2009.1" AGS's complicity in the common

     purpose with the Marketing Defendants is evidenced by the fact that AGS internal discussions in

     August 2009 reveal that it did not want to receive up front funding from drug companies, which

     would suggest drug company influence, but would instead accept commercial support to

     disseminate pro-opioid publications.

                370.   More specifically, Purdue paid $11,785 from 2012-2017200 and provided $40,000

     in "corporate roundtable dues" to AGS's Health in Aging Foundation, a 501(c)(3) organization

     affiliated with the group between 2012 and 2015.201

                371.   The 2009 AGS Guidelines recommended that la]ll patients with moderate to

     severe pain . .. should be considered for opioid therapy." The panel made "strong

     recommendations" in this regard despite "low quality of evidence" and concluded that the risk of

     addiction is manageable for patients, even with a prior history of drug abuse.202 These Guidelines

     further recommended that "the risks [of addiction] are exceedingly low in older patients with no

     current or past history of substance abuse." These recommendations are not supported by any



     `" Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc'y 1331
     (2009), hrtps://www.nchi.nlm.nih.gov/oubmed/19573219 (last accessed on August 1,2018) (hereinafter
     "2009 AGS Guidelines").

     199 John Fauber & Ellen Gabler. Narcotic Painkiller Use Booming Among Elderly, M1LWAUKEEJ.
     SENTINEL (May 30, 2012), https://www.medpagetoday.com/geriatrics/painmanagement/32967
     (hereinafter "Narcotic Painkiller Use Booming Among Elderly").

     N° Fueling an Epidemic, supra n. 154.

     201 Letter
            from Nancy E. Lundebjerg, Chief Executive Office, American Geriatrics Society, to Sen. Claire
     McCaskill (Oct. 11, 2017).

     202   2009 AGS Guidelines, supra n. 198, at 1342.

                                                         149
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 165 of
                                     358




     study or other reliable scientific evidence. Nevertheless, they have been cited over 500 times in

     Google Scholar (which allows users to search scholarly publications that would be have been

     relied on by researchers and prescribers) since their 2009 publication and as recently as this year.

                372.   One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

     State University and founder of the Michigan Headache 8,L Neurological Institute, resigned from

     the panel because of his concerns that the Guidelines were influenced by contributions that drug

     companies, including Purdue, Endo, Janssen, and Teva, made to the sponsoring organizations

     and committee members.

               373.    Dr. Bruce Farrell was an AGS task force chairman for the 2009 Guidelines, but

     was also a paid speaker for Endo, and he helped conduct a CME for treating osteoarthritis pain,

     which was funded by Purdue.203

               374.    Representatives of the Marketing Defendants, often at informal meetings at

     conferences, suggested activities, lobbying efforts and publications for AGS to pursue. AGS

     then submitted grant proposals seeking to fund these activities and publications, knowing that

     drug companies would support projects conceived as a result of these communications.

               375.    Members of AGS Board of Directors were doctors who were on the Marketing

     Defendants' payrolls, either as consultants or as speakers for medical events. As described

     below, many of the KOLs also served in leadership positions within the AGS.

                       g.      American Chronic Pain Association

               376.    The Manufacturer Defendants also made substantial payments to the American

     Chronic Pain Association ("ACPA"). Founded in 1980, the ACPA offers support and education

     for people suffering with chronic pain.


     203
           Narcotic Painkiller Use Booming Among Elderly, supra n. 199.

                                                        150
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 166 of
                                     358




                377.    Contributions to the ACPA from the Manufacturing Defendants include $312,470

     from Purdue and $50,000 from Janssen from 2012-2017.2°4 Between 2013 and 2016, 10

     members of ACPA's Advisory Board received more than $140,000 from opioid manufacturers,

     including Endo.

                3.      The Marketing Defendants Deceptively Paid KOLs to Promote Opioid Use

                378.    To falsely promote their opioids, the Marketing Defendants paid and cultivated a

     select circle of doctors who were chosen and sponsored by the Marketing Defendants for their

     supportive messages. As set forth below, pro-opioid doctors have been at the hub of the

     Marketing Defendants' well-funded, pervasive marketing scheme since its inception and were

     used to create the grave misperception that science and legitimate medical professionals favored

     the wider and broader use of opioids. These doctors include Dr. Russell Portenoy, Dr. Lynn

     Webster, Dr. Perry Fine, and Dr. Scott Fishman.

                379.   Although these KOLs were funded by the Marketing Defendants, the KOLs were

     used extensively to present the appearance that unbiased and reliable medical research

     supporting the broad use of opioid therapy for chronic pain had been conducted and was being

     reported on by independent medical professionals.

                380.    As the Marketing Defendants' false marketing scheme picked up steam, these

     pro-opioid KOLs wrote, consulted on, edited, and lent their names to books and articles, and

     gave speeches and CMEs supportive of opioid therapy for chronic pain. They served on

     committees that developed treatment guidelines that strongly encouraged the use of opioids to

     treat chronic pain and they were placed on boards of pro-opioid advocacy groups and

     professional societies that developed, selected, and presented CMEs.



     204   Fueling an Epidemic, supra n. 154.


                                                       151
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 167 of
                                     358




             381.   Through use of their KOLs and strategic placement of these KOLs throughout

     every critical distribution channel of information within the medical community, the Marketing

     Defendants were able to exert control of each of these modalities through which doctors receive

     their information.

            382.    In return for their pro-opioid advocacy, the Marketing Defendants' KOLs

     received money, prestige, recognition, research funding, and avenues to publish. For example,

     Dr. Webster has received funding from Endo, Purdue, and Cephalon. Dr. Fine has received

     funding from Janssen, Cephalon, Endo, and Purdue.

            383.    The Marketing Defendants carefully vetted their KOLs to ensure that they were

     likely to remain on-message and supportive of the Marketing Defendants' agenda. The

     Marketing Defendants also kept close tabs on the content of the materials published by these

     KOLs. Of course, the Marketing Defendants also kept these KOLs well-funded, enabling them

     to push the Marketing Defendants' deceptive message out to the medical community.

            384.    Once the Marketing Defendants identified and funded KOLs and those KOLs

     began to publish "scientific" papers supporting the Marketing Defendants' false position that

     opioids were safe and effective for treatment of chronic pain, the Marketing Defendants poured

     significant funds and resources into a marketing machine that widely cited and promoted their

     KOLs and studies or articles by their KOLs to drive prescriptions of °plaids for chronic pain.

     The Marketing Defendants cited to, distributed, and marketed these studies and articles by their

     KOLs as if they were independent medical literature so that it would be well-received by the

     medical community. By contrast, the Marketing Defendants did not support, acknowledge, or

     disseminate the truly independent publications of doctors critical of the use of chronic opioid

     therapy.



                                                     152
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 168 of
                                     358




             385.    In their promotion of the use of opioids to treat chronic pain, the Marketing

     Defendants' KOLs knew that their statements were false and misleading, or they recklessly

     disregarded the truth in doing so, but they continued to publish their misstatements to benefit

     themselves and the Marketing Defendants.

                    a.      Dr. Russell Portenoy

            386.    In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

     Pain Medicine and Palliative Care at Beth Israel Medical Center in New York while at the same

     time serving as a top spokesperson for drug companies, published an article reporting that "[flew

     substantial gains in employment or social function could be attributed to the institution of opioid

     therapy."205

            387.    Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the

     dangers of long-term use of opioids:

            The traditional approach to chronic non-malignant pain does not accept the long-
            term administration of opioid drugs. This perspective has been justified by the
            perceived likelihood of tolerance, which would attenuate any beneficial effects
            over time, and the potential for side effects, worsening disability, and addiction.
            According to conventional thinking, the initial response to an opioid drug may
            appear favorable, with partial analgesia and salutary mood changes, but adverse
            effects inevitably occur thereafter. It is assumed that the motivation to improve
            function will cease as mental clouding occurs and the belief takes hold that the
            drug can, by itself, return the patient to a normal life. Serious management
            problems are anticipated, including difficulty in discontinuing a problematic
            therapy and the development of drug seeking behavior induced by the desire to
            maintain analgesic effects, avoid withdrawal, and perpetuate reinforcing psychic
            effects. There is an implicit assumption that little separates these outcomes from
            the highly aberrant behaviors associated with addiction.2°6


     205 Russell Portenoy & Kathy Foley, Chronic Use of °plaid Analgesics in Non-Malignant Pain: Report of
     38 eases, 25(2) Pain I 71 (1986), https ://www.ncbi .n I m .n i h.gov/pubmecU2873550.

       Russell Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status. I Progress in Pain
     206
     Res. & Mgmt., 247-287 (H.L. Fields and 1.C. Liebeskind eds., 1994) (emphasis added).




                                                     153
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 169 of
                                     358




     (emphasis added). According to Dr. Portenoy, the foregoing problems could constitute

     "compelling reasons to reject long-term opioid administration as a therapeutic strategy in all but

     the most desperate cases of chronic nonmalignant pain."207

                388.     Despite having taken this position on long-term opioid treatment, Dr. Portenoy

     ended up becoming a spokesperson for Purdue and other Marketing Defendants, promoting the

     use of prescription opioids and minimizing their risks. A respected leader in the field of pain

     treatment, Dr. Portenoy was highly influential. Dr. Andrew Kolodny, cofounder of Physicians

     for Responsible Opioid Prescribing, described him "lecturing around the country as a religious-

     like figure. The megaphone for Portenoy is Purdue, which flies in people to resorts to hear him

     speak. It was a compelling message: 'Does have been letting patients suffer; nobody really gets

     addicted; it's been studied.'"2"

                389.     As one organizer of CME seminars who worked with Portenoy and Purdue

     pointed out, "had Portenoy not had Purdue's money behind him, he would have published some

     papers, made some speeches, and his influence would have been minor. With Purdue's millions

     behind him, his message, which dovetailed with their marketing plans, was hugely magnified."209

                390.     Dr. Portenoy was also a critical component of the Marketing Defendants' control

     over their Front Groups. Specifically, Dr. Portenoy sat as a Director on the board of the APF. He

     was also the President of the APS.

                391.     In recent years, some of the Marketing Defendants' KOLs have conceded that



     207 id.



     2"    Dreamland, supra n. 1 at 314.

     209   Id. at 136.




                                                        154
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 170 of
                                     358




     many of their past claims in support of opioid use lacked evidence or support in the scientific

     literature.210 Dr. Portenoy has now admitted that he minimized the risks of opioids,21 ' and that he

     "gave innumerable lectures in the late 1980s and '90s about addiction that weren't true.19212 He

     mused, "Did I teach about pain management, specifically about opioid therapy, in a way that

     reflects misinformation? Well, against the standards of 2012, I guess I did.

                  392.   In a 2011 interview released by Physicians for Responsible Opioid Prescribing,

     Portenoy stated that his earlier work purposefully relied on evidence that was not "real" and left

     real evidence behind:

                  I gave so many lectures to primary care audiences in which the Porter and Jick
                  article was just one piece of data that I would then cite, and I would cite six, seven,
                  maybe ten different avenues of thought or avenues of evidence, none of which
                  represented real evidence, and yet what I was trying to do was to create a
                  narrative so that the primary care audience would look at this information in
                  [total] and feel more comfortable about opioids in a way they hadn't before. In
                  essence this was education to destigmatize lOpioids], and because the primary
                  goal was to destigmatize, we often left evidence behind.2"
                  393. Several years earlier, when interviewed by journalist Barry Meier for his 2003



     210See, e.g., John Fauber, Painkiller boom fueled by networking, Journal Sentinel (Feb. 18, 2012),
     hitp://archive.jsonline.com/watchdon/watchdoureports/painkiller-boom-fueled-by-networking-dp3n2m-
     139609053.html/ (reporting that a key Endo KOL acknowledged that opioid marketing went too far).

     211Celine Gounder, Who Is Responsible for the Pain-Pill Epidemic?, THE NEW YORKER (Nov. 8, 2013),
     https://www.newvorker.com/husiness/currenc_y/who-is-responsible-for-the-pain-nill-epidemic (hereinafter
     "Gounder, Who Is Responsible").

     '212   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, THE WALL STREET
     JOURNAL (Dec. 17, 2012),
     httns://www.wsj.com/articles/SB10001424127887324478304578173342657044604.

     213    Id.

     2"Harrison Jacobs, This one-paragraph letter may have launched the opioid epidemic, BUSINESS
     INSIDER (May 26, 2016), http://www.businessinsider.com/niorter-and-iick-letter-launched-the-opioid-
     cpidemic-2016-5; Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare, YouTube (Oct.
     30, 2011), httns://www.youtube.com/watch?v=DavuBWN9D4w&feature=voutu.be.




                                                          155
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 171 of
                                     358




     book, Pain Killer, Dr. Portenoy was more direct: "It was pseudoscience. I guess I'm going to

     have always to live with that one."215

                        b.      Dr. Lynn Webster

                394.    Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

     of the Lifetree Clinical Research & Pain Clinic in Salt Lake City, Utah. Dr. Webster was

     President in 2013 and is a current board member of AAPM, a Front Group that ardently supports

     chronic opioid therapy. He is a Senior Editor of Pain Medicine, the same journal that published

     Endo's special advertising supplements touting Opana ER. Dr. Webster was the author of

     numerous CMEs sponsored by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was

     receiving significant funding from Defendants (including nearly $2 million from Cephalon).

               395.     Dr. Webster created and promoted the Opioid Risk Tool, a five question, one-

     minute screening tool relying on patient self-reports that purportedly allows doctors to manage

     the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-

     sort patients likely to become addicted is an important tool in giving doctors confidence to

     prescribe opioids long-term, and for this reason, references to screening appear in various

     industry-supported guidelines. Versions of Dr. Webster's Opioid Risk Tool ("ORT") appear on,

     or are linked to, websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via

     wehinar, a program sponsored by Purdue titled, Managing Patient's Opioid Use: Balancing the

     Need and the Risk. Dr. Webster recommended use of risk screening tools, urine testing, and

     patient agreements to prevent "overuse of prescriptions" and "overdose deaths." This webinar

     was available to and was intended to reach doctors at hospitals such as Plaintiffs.

               396.     Dr. Webster was himself tied to numerous overdose deaths. He and the Lifetree



     2"   Pain Killer, supra n. 15, at 277.


                                                       156
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 172 of
                                     358




     Clinic were investigated by the DEA for overprescribing opioids after twenty patients died from

     overdoses. In keeping with the Marketing Defendants' promotional messages, Dr. Webster

     apparently believed the solution to patients' tolerance or addictive behaviors was more opioids:

     he prescribed staggering quantities of pills.

            397.    At an AAPM annual meeting held February 22 through 25, 2006, Cephalon

     sponsored a presentation by Webster and others titled, "Open-label study of fentanyl effervescent

     buccal tablets in patients with chronic pain and breakthrough pain: Interim safety results." The

     presentation's agenda description states: "Most patients with chronic pain experience episodes of

     breakthrough pain, yet no currently available pharmacologic agent is ideal for its treatment." The

     presentation purports to cover a study analyzing the safety of a new form of fentanyl buccal

     tablets in the chronic pain setting and promises to show the "[i]nterim results of this study

     suggest that [fentanyl buccal] is safe and well-tolerated in patients with chronic pain and

     [breakthrough pain]." This CME effectively amounted to off-label promotion of Cephalon's

     opioids, even though they were approved only for cancer pain.

            398.    Cephalon sponsored a CME written by Dr. Webster, Optinzizing Opioid

     Treatment Or Breakthrough Pain, offered by Medscape, LLC from September 28, 2007, through

     December 15, 2008. The CME taught that non-opioid analgesics and combination opioids

     containing non-opioids such as aspirin and acetaminophen are less effective at treating

     breakthrough pain because of dose limitations on the non-opioid component.

                    c.      Dr. Perry Fine

            399.    Dr. Perry Fine's ties to the Marketing Defendants have been well documented. He •

     has authored articles and testified in court cases and before state and federal committees, and he,

     too, has argued against legislation restricting high-dose opioid prescription for non-cancer

     patients. He has served on Purdue's advisory board, provided medical legal consulting for

                                                     157
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 173 of
                                     358




     Janssen, and participated in CME activities for Endo, along with serving in these capacities for

     several other drug companies. He co-chaired the APS-AAPM Opioid Guideline Panel, served as

     .treasurer of the AAPM .from 2007 to 2010, and as president of that group from 2011 to 2013, and

     was also on the board of directors of APF.2I'

             400.    Multiple videos feature Dr. Fine delivering educational talks about prescription

     opioids. He even testified at trial that the 1,500 pills a month prescribed to celebrity Anna Nicole

     Smith before her death for pain did not make her an addict.

             401.    Fine has also acknowledged having failed to disclose numerous conflicts of

     interest. For example, Dr. Fine failed to fully disclose payments received as required by his

     employer, the University of Utah—telling the university that he had received under $5,000 in

     2010 from Johnson & Johnson for providing "educational" services, but Johnson & Johnson's

     website states that the company paid him $32,017 that year for consulting, promotional talks,

     meals and trave1.2"

             402.    Dr. Fine and Dr. Portenoy co-wrote A Clinical Guide to Opioid Analgesia in

     which they downplayed the risks of opioid treatment such as respiratory depression and

     addiction:

            At clinically appropriate doses . . . respiratory rate typically does not decline.
            Tolerance to the respiratory effects usually develops quickly, and doses can be
            steadily increased without risk.


     216Scott M. Fishman, MD, Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and
     Diversion, 306 (13) JAMA 1445 (Sept. 20, 2011), https://jamanetwork.com/journals/jama/article-
     abstract/1104464?redirect=true (hereinafter "Incomplete Financial Disclosures in a Letter on Reducing
     °plaid Abuse and Diversion.")

     212 Tracy Weber & Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industly,
     ProPublica (Dec. 23, 2011), https://www.orooublica.org/artiele/two-leaders-in-oain-treatment-have-long-
     ti es-to-drug-industry.




                                                       158
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 174 of
                                     358




                 Overall, the literature provides evidence that the outcomes of drug abuse and
                 addiction are rare among patients who receive opioids for a short period (i.e., for
                 acute pain) and among those with no history of abuse who receive long-tenn
                 therapy for medical indications.2I8

                 403.   In November 2010, Dr. Fine and others published an article presenting the results

     of another Cephalon-sponsored study titled "Long-Term Safety and Tolerability of Fentanyl

     Buccal Tablet for the Treatment of Breakthrough Pain in Opioid-Tolerant Patients with Chronic

     Pain: An 18-Month Study."219 In that article, Dr. Fine explained that the 18-month "open-label"

     study "assessed the safety and tolerability of FBT [Fentora] for the [long-term] treatment of BTP

     in a large cohort. . . of opioid-tolerant patients receiving around-the-clock. . opioids for non-

     cancer pain."220 The article acknowledged that: (a) "[t]here has been a steady increase in the use

     of opioids for the management of chronic non-cancer pain over the past two decades"; (b) the

     "widespread acceptance" had led to the publishing of practice guidelines "to provide evidence-

     and consensus-based recommendations for the optimal use of opioids in the management of

     chronic pain"; and (c) those guidelines lacked "data assessing the long-term benefits and harms

     of opioid therapy for chronic pain. 77221

                 404.   The article concluded: "[T]he safety and tolerability profile of FBT in this study

     was generally typical of a potent opioid. The [adverse events] observed were, in most cases,


     219
       Perry G. Fine, MD and Russell K. Portenoy, MD, A Clinical Guide to Opioid Analgesia 20 and 34,
     McGraw-Hill Companies (2004). httn://www.thblack.corn/links/RSD/OpioidHandbook.pdf,

       Perry G. Fine, et al., Long-Term Safety and Tolerability of Fentanyl Buccal Tablet for the Treatment of
     219
     Breakthrough Pain in Opioid-Tolerant Patients with Chronic Pain: An 18-Month Study, 40(5) J. Pain &
     Symptom Management 747-60 (Nov. 2010).

     220   Id.
     221 Id.




                                                         159
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 175 of
                                     358




     predictable, manageable, and tolerable." They also conclude that the number of abuse-related

     events was "small.>,222

                 405.   Multiple videos feature Dr. Fine delivering educational talks about the drugs. In

     one video from 2011 titled "Optimizing Opioid Therapy," he sets forth a "Guideline for Chronic

     Opioid Therapy" discussing "opioid rotation" (switching from one opioid to another) not only

     for cancer patients, but also for non-cancer patients, and suggests it may take four or five

     switches over a person's "lifetime" to manage pain.223 He states the "goal is to improve

     effectiveness which is different from efficacy and safety." Rather, for chronic pain patients,

     effectiveness "is a balance of therapeutic good and adverse events over the course of years.
                                                                                                 "224

     The entire program assumes that opioids are appropriate treatment over a "protracted period of

     time" and even over a patient's entire "lifetime." He even suggests that opioids can be used to

     treat sleep apnea. He further states that the associated risks of addiction and abuse can be

     managed by doctors and evaluated with "tools," but leaves that for "a whole other lecture."225

                        d.     Dr. Scott Fishman

                 406.   Dr. Scott Fishman is a physician whose ties to the opioid drug industry are

     multitudinous. He has served as an APF board member and as president of the AAPM and has

     participated yearly in numerous CME activities for which he received "market rate honoraria."

     As discussed below, he has authored publications, including the seminal guides on opioid


     222 Id.


     223
           Perry A. Fine, M.D., Safe and Effective Opioid Rotation, YouTube.com (Nov. 8, 2012),
     Imps ://www.youtube.comiwatc h'Iv= G3 ii9ycigX1.
     224
           Id.

     2" Id.




                                                         160
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 176 of
                                     358




     prescribing, which were funded by the Marketing Defendants. He has also worked to oppose

     legislation requiring doctors and others to consult pain specialists before prescribing high doses

     of opioids to non-cancer patients. He has himself acknowledged his failure to disclose all

     potential conflicts of interest in a letter in the Journal of the American Medical Association titled

     "Incomplete Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion..,226

                 407.    Dr. Fishman authored a physician's guide on the use of opioids to treat chronic

     pain titled "Responsible Opioid Prescribing" in 2007, which promoted the notion that long-term

     opioid treatment was a viable and safe option for treating chronic pain.

                 408.    In 2012, Dr. Fishman updated the guide and continued emphasizing the

     "catastrophic" "under-treatment" of pain and the "crisis" such under-treatment created:

                 Given the magnitude of the problems related to opioid analgesics, it can be
                 tempting to resort to draconian solutions: clinicians may simply stop prescribing
                 opioids, or legislation intended to improve pharznacovigilance may inadvertently
                 curtail patient access to care. As we work to reduce diversion and misuse of
                 prescription opioids, it's critical to remember that the problem of unrelieved pain
                 remains as urgent as ever.227


                 409.    The updated guide still assures that lc:diploid therapy to relieve pain and improve

     function is legitimate medical practice for acute and chronic pain of both cancer and non-cancer

     origins."228

                410.     En another guide by Dr. Fishman, he continues to downplay the risk of addiction:



     .2(' Incomplete    Financial Disclosures in a Letter on Reducing Opioid Abuse and Diversion, supra n.
     200199.
     227 Scott
             M. Fishman, Responsible Opioid Prescribing: A Guide for Michigan Clinicians, 10-11
     (Waterford Life Sciences 2012).

     "K   Id.




                                                           161
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 177 of
                                     358




     "I believe clinicians must be very careful with the label 'addict.' [draw a distinction between a

     - chemical    coper' and an addict."229 The guide also continues to present symptoms of addiction as

     symptoms of "pseudoaddicti on:"

              4.       The Marketing Defendants Also Spread Their Misleading Messages to
                       Reputable Organizations

              411.     The Manufacturing Defendants also manipulated reputable organizations like

     the Joint Commission on Accreditation of Healthcare Organizations (the "Joint Commission")

     in order to further advance their unlawful marketing of opioids. The Joint Commission certifies

     over 21,000 health care organizations and is the nation's oldest and largest standards-setting

     and accrediting body in health care.230

              412.     In 2000, Purdue sponsored a book through the Joint Commission which claimed

     "there is no evidence that addiction is a significant issue when persons are given opioids for

     pain control."231 It also called doctors' concerns about addiction side effects "inaccurate and

     exaggerated."232 Dr. David W. Baker, the Joint Commission's executive vice president for

     health care quality evaluation, has acknowledged that "[t]he Joint Commission was one of the

     dozens of individual authors and organizations that developed educational materials for pain




       Scott M. Fishman, Listening to Pain: A Physician's Guide to Improving Pain Management Through
     229
     Better Communication 45 (Oxford University Press 2012).

     230 Joint Commission, FAQ Page, available at
     htips://www.jointeommission.orgiaboutjointeornmissionfaqs.aspx?Categoryld=10#2274 (last accessed
     August 1,2018).

     231Sonia Moghe, Opioid history: From 'wonder drug' to abuse epidemic, CNN (Oct. 13, 2016),
     https://www.cnn.com/2016/05/12/health/opioid-addietion-history/.

     "2 Id.



                                                      162
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 178 of
                                     358




     management that propagated this erroneous information."233

                413.    In 2001, due to the influence of the Marketing Defendants, the Joint

     Commission, along with the National Pharmaceutical Council (founded in 1953 and supported

     by the nation's major research-based biopharmaceutical companies234) "introduced standards

     for [hospitals] to improve their care for patients with pain." The new standards for hospitals put

     patient pain front and center as the "fifth vital sign." This monograph, entitled Pain: Current

     Understanding of Assessment. Management and Treatments required assessment of pain in all

     patients.

                414.   The Joint Commission's first pain management standards placed responsibility

     for pain control on health care organizations (hospitals), and emphasized the need for hospitals

     to do systematic assessments and use quantitative measures of pain which was consistent with

     the position of the Front Group APS.

               415.    As a result of the Marketing Defendants' efforts to manipulate the standard of

     care, many hospitals, including Plaintiffs, risked loss of their Joint Commission accreditation if

     they did not incorporate the "fifth vital sign" standard and put pain at the forefront of their

     treatment. For example, the emergency department at Oconomowoc Memorial Hospital in

     Wisconsin achieved 10 consecutive years of patient satisfaction in the 99th percentile, a feat no

     other emergency hospital in the United States has been able to accomplish.235 However, during



     2" Id.

     234   Currently funded by Johnson & Johnson, Purdue and Teva, among others.

     235 Testimony of Tim Westlake, MD, FFSM13, FACEP, U.S. Senate Comm. on Homeland Sec. and Gov't
     Affairs (Apr. 15, 2016), available at https://www.hsgac,senate.Rov/imo/media/doe/Testirnonv-Westlake-
     2016-04- 15-REVISED.ndf.




                                                       163
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 179 of
                                     358




     its routine Joint Commission survey, The Joint Commission found that the hospital was not

     adequately documenting follow up questions after prescribing pain medications to patients.236

     As a result, the hospital was given only one quarter to bring their compliance up to 90%.237

     They could not, and as a result their Joint Commission accreditation was at risk for the entire

     hospital.238 Loss of accreditation by The Joint Commission can result in the loss of a huge

     amount of hospital resources to become reaccredited, despite having a patient satisfaction rating

     of 99% for the same period.239

                 416.   Since 2001, The Joint Commission standards relating to pain assessment and

     management have been revised to lessen emphasis on pain. However, the damage caused by the

     Marketing Defendants' marketing campaigns could not be undone. Dr. Baker explains that "the

     concept that iatrogenic addiction was rare and that long acting opioids were less addictive had

     been greatly reinforced and widely repeated, and studies refuting these claims were not

     published until several years later."

                 5.     The Marketing Defendants Disseminated Their Misrepresentations Through
                        CME Programs

                 417.   Now that the Marketing Defendants had both a group of physician promoters and

     had built a false body of "literature," Defendants needed to make sure their false marketing

     message was widely distributed.

                 418.   One way the Marketing Defendants aggressively distributed their false message

     was through countless CME programs.


      ° id
     23


     237   1d.

     "8 Id.

     239   1d.

                                                      164
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 180 of
                                     358




             419.    Doctors are required to attend a certain number and, often, type of CME programs

     each year as a condition of their licensure. These programs are generally delivered in person,

     often in connection with professional organizations' conferences, online, or through written

     publications. Doctors rely on CMEs not only to satisfy licensing requirements, but also to get

     information on new developments in medicine or to deepen their knowledge in specific areas of

     practice. Because CMEs typically are taught by KOLs who are highly respected in their fields,

     and are thought to reflect these physicians' medical expertise, they can be especially influential

     with doctors.

            420.     The countless doctors and other health care professionals who participate in

     accredited CMEs constitute an enormously important audience for opioid reeducation. As one

     target, Defendants aimed to reach general practitioners, whose broad area of practice and lack of

     expertise and specialized training in pain management made them particularly dependent upon

     CMEs and, as a result, especially susceptible to the Marketing Defendants' deceptions.

            421.     The Marketing Defendants sponsored CMEs that were delivered thousands of

     times, promoting chronic opioid therapy and supporting and disseminating the deceptive and

     biased messages described in this Complaint. These CMEs, while often generically titled to

     relate to the treatment of chronic pain, focused on opioids to the exclusion of alternative

     treatments, inflated the benefits of opioids, and frequently omitted or downplayed their risks and

     adverse effects.

            422.     Cephalon sponsored numerous CME programs, which were made widely

     available through organizations like Medscape, LLC (-Medscapel and which disseminated false

     and misleading information to physicians across the country.

            423.     Another Cephalon-sponsored CME presentation titled Breakthrough Pain:



                                                     165
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 181 of
                                     358




     Treatment Rationale with Opioids was available on Medscape starting September 16, 2003, and

     was given by a self-professed pain management doctor who "previously operated back, complex

     pain syndromes, the neuropathies, and interstitial cystitis." He describes the pain process as a

     non-time-dependent continuum that requires a balanced analgesia approach using "targeted

     pharmaco therapeutics to affect multiple points in the pain-signaling pathway."24° The doctor

     lists fentanyl as one of the most effective opioids available for treating breakthrough pain,

     describing its use as an expected and normal part of the pain management process.241 Nowhere in

     the CME is cancer or cancer-related pain even mentioned, despite FDA restrictions that fentanyl

     use be limited to cancer-related pain.

                424.   Teva paid to have a CME it sponsored, Opioid-Based Management of Persistent

     and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009. The CME

     instructed doctors that "clinically, broad classification of pain syndromes as either cancer- or

     non-cancer-related has limited utility" and recommended Actiq and Fentora for patients with

     chronic pain. The CME is still available online.

                425.   Responsible Opioid Prescribing was sponsored by Purdue, Endo and Teva. The

     FSMB website described it as the "leading continuing medical education (CME) activity for

     prescribers of opioid medications." Endo sales representatives distributed copies of Responsible

     Opioid Prescribing with a special introductory letter from Dr. Fishman.

                426.   In all, more than 163,000 copies of Responsible Opioid Prescribing were

     distributed nationally.




     240Daniel S. Bennett, Breakthrough Pain: Treatment Rationale With Opioids, Medscape,
     http://www.medscape.orgiviewarticle/461612 (last accessed August 1, 2018).
     2.11 Id.



                                                      166
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 182 of
                                     358




               427.    The American Medical Association ("AMA") recognized the impropriety that

     pharmaceutical company-funded CMEs create, stating that support from drug companies with a

     financial interest in the content being promoted "creates conditions in which external interests

     could influence the availability ancVor content" of the programs and urged that "[w]hen possible,

     CME[s] should be provided without such support or the participation of individuals who have

     financial interests in the education subject matter.„242

               428.    Physicians attended or reviewed CMEs sponsored by the Marketing Defendants

     during the relevant time period and were misled by them.

               429.    By sponsoring CME programs put on by Front Groups like APF, AAPM, and

     others, the Marketing Defendants expected and understood that instructors would deliver

     messages favorable to them, as these organizations were dependent on the Marketing Defendants

     for other projects. The sponsoring organizations honored this principle by hiring pro-opioid

     KOLs to give talks that supported chronic opioid therapy. Marketing Defendant-driven content

     in these CMEs had a direct and immediate effect on prescribers' views on opioids. Producers of

     CMEs and the Marketing Defendants both measure the effects of CMEs on prescribers' views on

     ()plaids and their absorption of specific messages, confirming the strategic marketing purpose in

     supporting them.

               6.      The Marketing Defendants Used "Branded” Advertising to Promote Their
                       Products to Doctors and Consumers

               430.    The Marketing Defendants engaged in widespread advertising campaigns touting

     the benefits of their branded drugs. The Marketing Defendants published print advertisements in




      242   Opinion 9.0115, Financial Relationships with Industo, in CME, Am. Med. Ass'n (Nov. 2011).



                                                        167
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 183 of
                                     358




     a broad array of medical journals, ranging from those aimed at specialists, such as the Journal of

     Pain and Clinical Journal of Pain, to journals with wider medical audiences, such as the Journal

     of the American Medical Association. The Marketing Defendants collectively spent more than

     $14 million on medical journal advertising of opioids in 2011, nearly triple what they spent in

     2001. The 2011 total includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million

     by Endo.

                 431.   The Marketing Defendants also targeted consumers in their advertising. They

     knew that physicians are more likely to prescribe a drug if a patient specifically requests it.243

     They also knew that this willingness to acquiesce to such patient requests holds true even for

     opioids and for conditions for which they are not approved.2" Endo's research, for example,

     found that such communications resulted in greater patient "brand loyalty," with longer durations

     of Opana ER therapy and fewer discontinuations. The Marketing Defendants thus increasingly

     took their opioid sales campaigns directly to consumers, including through patient-focused

     "education and support" materials in the form of pamphlets, videos, or other publications that

     patients could view in their physician's office.

                 7.     The Marketing Defendants Used "Unbranded" Advertising to Promote
                        Opioid Use for Chronic Pain Without FDA Review


                 432.   The Marketing Defendants also aggressively promoted opioids through

     "unbranded advertising" to generally tout the benefits of opioids without specifically naming a

     particular brand-name opioid drug. Instead, unbranded advertising is usually framed as "disease



     243In one study, for example, nearly 20% of sciatica patients requesting oxycodone received a
     prescription for it, compared with I% of those making no specific request. J.B. McKinlay et al., Effects of
     Patient Medication Requests on Physician Prescribing Behavior, 52(2) Med. Care 294 (2014).

     214   Id.

                                                        168
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 184 of
                                     358




     awareness"—encouraging consumers to -talk to your doctor" about a certain health condition

     without promoting a specific product and, therefore, without providing balanced disclosures

     about the product's limits and risks. In contrast, a pharmaceutical company's "branded"

     advertisement that identifies a specific medication and its indication (i.e., the condition which the

     drug is approved to treat) must also include possible side effects and contraindications—what the

     FDA Guidance on pharmaceutical advertising refers to as "fair balance." Branded advertising is

     also subject to FDA review for consistency with the drug's FDA-approved label. Through

     unbranded materials, the Marketing Defendants expanded the overall acceptance of and demand

     for chronic opioid therapy without the restrictions imposed by regulations on branded

     advertising.

            433.    Many of the Marketing Defendants utilized unbranded wcbsites to promote opioid

     use without promoting a specific branded drug, such as Purdue's pain-management website,

     www.inthefaceofpain.com. The website contained testimonials from several dozen "advocates,"

     including health care providers, urging more pain treatment. The website presented the advocates

     as neutral and unbiased, but an investigation by the New York Attorney General later revealed

     that Purdue paid the advocates hundreds of thousands of dollars.

            8.      The Marketing Defendants Funded, Edited and Distributed Publications
                    That Supported Their Misrepresentations

            434.    The Marketing Defendants created a body of false, misleading, and unsupported

     medical and popular literature about opioids that (a) understated the risks and overstated the

     benefits of long-term use; (b) appeared to be the result Of independent, objective research; and

     (c) was calculated to shape the perceptions of prescribers, patients, and payors. This literature

     served marketing goals, rather than scientific standards, and was intended to persuade doctors

     and consumers that the benefits of long-term opioid use outweighed the risks.


                                                     169
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 185 of
                                     358




             435.      To accomplish their goal, the Marketing Defendants—sometimes through third-

     party consultants and/or Front Groups—commissioned, edited, and arranged for the placement of

     favorable articles in academic journals.

             436.      The Marketing Defendants' plans for these materials did not originate in the

     departments with the organizations that were responsible for research, development, or any other

     area that would have specialized knowledge about the drugs and their effects on patients; rather,

     they originated in the Marketing Defendants' marketing departments.

            437.       The Marketing Defendants made sure that favorable articles were disseminated

     and cited widely in the medical literature, even when the Marketing Defendants knew that the

     articles distorted the significance or meaning of the underlying study, as with the Porter & Jick

     letter. The Marketing Defendants also frequently relied on unpublished data or posters, neither of

     which are subject to peer review, but were presented as valid scientific evidence.

            438.    The Marketing Defendants published or commissioned deceptive review articles,

     letters to the editor, commentaries, case-study reports, and newsletters aimed at discrediting or

     suppressing negative information that contradicted their claims or raised concerns about chronic

     opioid therapy.

            439.    For example, in 2007, Cephalon sponsored the publication of an article titled

     "Impact of Breakthrough Pain on Quality of Life in Patients with Chronic, Non-cancer Pain:

     Patient Perceptions and Effect of Treatment with Oral Transmucosal Fentanyl Citrate,"245

     published in the nationally circulated Journal of Pain Medicine, to support its effort to expand the

     use of its branded fentanyl products. The article's authors (including Dr. Webster, discussed



       Donald R. Taylor. et al., Impact of Breakthrough Pain on Quality oil* in Patients With Chronic,
     245
     Non-cancer Pain: Patient Perceptions and Efiect of Treatment With Oral Transmucosal Fentanyl Citrate
     (OTFC. ACTIQ), 8(3) Pain Med. 281-88 (Mar. 2007).


                                                      170
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 186 of
                                     358




      above) stated that the "OTFC [fentanyl] has been shown to relieve BTP [breakthrough pain]

      more rapidly than conventional oral, normal-release, or 'short acting' opioids" and that "[t]he

     purpose of [the] study was to provide a qualitative evaluation of the effect of BTP on the [quality

     of life] of non-cancer pain patients." The number-one-diagnosed cause of chronic pain in the

     patients studied was back pain (44%), followed by musculoskeletal pain (12%) and head pain

     (7%). The article cites Portenoy and recommends fentanyl for non-cancer BTP patients:

                       In summary, BTP appears to be a clinically important condition in
                       patients with chronic non-cancer pain and is associated with an adverse
                       impact on QoL. This qualitative study on the negative impact of BTP and
                       the potential benefits of BTP-specific therapy suggests several domains
                       that may be helpful in developing BTP-specific, QoL assessment tools.246

                9.     The Marketing Defendants Used Speakers' Bureaus and Programs to Spread
                       Their Deceptive Messages.

                440.   In addition to making sales calls, the Marketing Defendants' &toilers also

     identified doctors to serve, for payment, on their speakers' bureaus and to attend programs with

     speakers with meals paid for by the Marketing Defendants. These speaker programs and

     associated speaker trainings served three purposes: they provided I) an incentive to doctors to

     prescribe, or increase their prescriptions of, a particular drug; 2) an opportunity for doctors to

     be selected to attend forum at which the drug companies could further market to the speaker

     himself or herself; and 3) an opportunity for the doctors to market to their peers. The Marketing

     Defendants graded their speakers, and future opportunities were based on speaking

     performance, post-program sales, and product usage. Purdue, Janssen, Endo, Cephalon, and

     Mal linckrodt each made thousands of payments to physicians nationwide, for activities

     including participating on speakers' bureaus, providing consulting services, and other services.



     2.16 Id.


                                                      171
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 187 of
                                     358




     D.      The Marketing Defendants' Goal Was for More Patients to Take More Opioids at
             Higher Doses for Logger Periods of Time

             1.     Increasing the Patient Population

                    a.      The Marketing Defendants Focused on Vulnerable Populations

             441.   The Marketing Defendants specifically targeted their marketing at two

     particularly vulnerable populations—the elderly and veterans—who tend to suffer from chronic

     pain.

             442.   Internal Purdue documents demonstrate that the Purdue Individual Defendants

     focused on elderly patients because they are frequent pain sufferers, and, of equal importance,

     are likely to be covered by Medicare. Purdue internal documents reflected that if it targeted

     "Patients over the age of 65 ... more Medicare Part D coverage is achieved." Elderly patients

     frequently suffer from osteoarthritis, but opioids are not approved to treat the condition. Purdue

     conducted a single study on osteoarthritis for its Butrans opioid, and it failed. Purdue admitted in

     internal documents that its opioids "are not indicated for a specific disease" and "it is very

     important that you never suggest to your FICP [health care professional] that OxyContin is

     indicated for the treatment of a specific disease state such as Rheumatoid Arthritis or

     Osteoarthritis." Nevertheless, to meet its business goals, Purdue trained its representatives to

     mislead doctors by promoting opioids for osteoarthritis without disclosing Purdue's failed trial.

     Purdue even measured how often it targeted osteoarthritis patients. A Purdue marketing

     presentation concluded that its sales reps were "identifying appropriate patients" because

     osteoarthritis was specifically mentioned during 35% of sales visits. Purdue also directed sales

     reps to use marketing materials that highlight patients with osteoarthritis, even though Purdue

     drugs were never indicated for that disease and Purdue's Butrans trial had failed. At one point,

     the Purdue Individual Defendants wanted to know if sales reps could sell more by remaining


                                                     172
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 188 of
                                     358




     silent about the failed trial: "What can be said in response to a prescriber who asks directly or

     indirectly, 'can this product be prescribed for my patient with OA?' In responding are we

     required to specifically mention the failed trials in OA?"

                443.   The Marketing Defendants targeted these vulnerable patients even though the

     risks of long-term opioid use were significantly greater for them. For example, a 2016 CDC

     Guideline observes that existing evidence confirms that elderly patients taking opioids suffer

     from elevated fall and fracture risks, reduced renal function and medication clearance, and a

     smaller window between safe and unsafe dosages.247 Elderly patients taking opioids have also

     been found to have a greater risk for hospitalizations and increased vulnerability to adverse

     drug effects and interactions, such as respiratory depression. The 2016 CDC Guideline

     concludes that there must be "additional caution and increased monitoring" to minimize the

     risks of opioid use in elderly patients.248

                       b.     The Marketing Defendants Focused on Having Opioids Perceived as a
                              "First Line" of Medication for "Opioid-Naive" Patients, Rather Than
                              as a Last Resort for Cancer Patients and the Terminally Ill

                444.   From the very beginning, Purdue and Abbott intended to position OxyContin as

     useful for more than just cancer pain. Internal documents from the 1995 "OxyContin Launch"

     indicate that they also intended it for a "secondary market. .. for non-malignant pain

     (musculoskeletal, injury and trauma)" and that it must be "reinforced that we do not want to

     niche OxyContin just for cancer pain." In 1996, Purdue envisioned OxyContin being prescribed

     for a long laundry list of conditions, and literally generated a "wish list" of clinical studies to

     support its prescription in a variety of contexts, including: (1) postoperative pain, with specific



     247 2016   CDC Guideline, supra n. 90.
     24
          Id. at 27.


                                                       173
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 189 of
                                     358




     objectives of supporting the "Abbott agreement" to market to hospitals, removing "the

     prohibition of giving the product during the 12-24 hour immediate postop period," and

     removing "the qualification limiting the indication to pain for more than a few days;" (2)

     "nonmalignant pain" (including low back pain, osteoarthritis); and (3) HIV/AIDS treatment.

     Purdue, particularly after its overall OxyContin sales began to slow after 2010, instructed its

     sales representatives to focus on expanding the patient base, by promoting its drugs specifically

     for patients who had not previously taken opioids, who it described as "opioid-naIve" or simply

     "naïve" patients:

                 •   "Your opportunity here is with the naïve community, let's use the naive trial to
                     make your case."

                 •   "You created an epiphany with the doctor today (potentially) by reviewing the
                     opiate naive patient profile. What made him more pat to write for this patient,
                     being an amiable doctor, is the Jact that he would not have to talk patients out of
                     their short acting [opioids]."

                 •   "This was an example of what a good call looks like ... [Dr.] was particularly
                     interested in the RM case study of Marjorie. which generated a robust discussion
                     of opioid naïve patients..."

     Purdue also promoted its drugs for "opioid-naive" patients using the deceptive term "first line

     opioid." "First line" is a medical term for the preferred first step in treating a patient. Opioids are

     not an appropriate first line therapy. Nevertheless, Purdue's internal documents and testimony

     from sales representatives shows that Purdue repeatedly promoted OxyContin as "first line" —

     "the first thing they would take to treat pain." A particularly insidious aspect of Purdue's focus

     on "naïve" patients, and on keeping patients on opioids longer, was its savings card program.

     The cards provided a discount on a patient's first five prescriptions. In 2012, Purdue's internal

     10-year plan highlighted its discovery that opioid savings cards kept patients on opioids longer:

     "more patients remain on OxyContin after 90 days." The savings card program was incredibly

     lucrative -- the return on investment for Purdue was 4.28, so that every SI ,000,000 Purdue gave

                                                       174
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 190 of
                                     358




     away in savings came back to Purdue as $4,280,000 in revenue because patients stayed on

     dangerous opioids longer. Discounts could have cut Purdue's revenue i f patients took opioids for

     a short time. But Purdue's internal 10-year plan highlighted its discovery that opioid savings

     cards kept patients on opioids longer: "more patients remain on OxyContin after 90 days."

     Purdue sales representatives, including the Purdue Sales Representative Defendants, did not

     disclose to doctors that "opioid naïve" patients faced greater risks of overdose and death. Purdue

     focused on less sophisticated prescribers, such as its "core" prolific prescribers, and certain

     nurses and PAs who might be more vulnerable to persuasion by its sales representatives.

             2.     Increasing Dosages and Increasing Them Quickly to Keep Patients on
                    Longer

            445. In order to promote long-term sales, the Marketing Defendants promoted the

     prescription of higher dosages of opioids. There were several dimensions to this. First, the

     Marketing Defendants charged more for the higher dosages. More importantly, patients who

     took higher dosages would stay on opioids longer. At Purdue, staff, from sales representatives

     to senior management including the Purdue Individual Defendants, regularly and candidly

     discussed internally the imperative of increasing prescribed dosages. Accordingly, Purdue's

     second most important sales tactic (after frequent sales representative visits, the most important

     strategy employed by Purdue) was to cause prescribers to prescribe higher doses. This was

     manifested in Purdue's Individualize the Dose campaign, and was communicated to prescribers

     in sales representatives' visits, including by the sales representatives in Florida. Sales

     representatives were relentlessly pressured to increase the average doses prescribed by the

     prescribers in their territories. An aspect of this strategy was to encourage faster upward

     titration, that is moving quickly from smaller to larger doses. The lowest dosage of Purdue's

     Butrans product, for example, was described to prescribers as an "introductory" dose that


                                                      175
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 191 of
                                     358




     would presumptively be increased for most if not all patients. Purdue secretly determined that

     pushing patients to higher doses would keep them on opioids longer. Purdue developed tactics

     specifically to keep patients hooked on opioids longer, which it called by the euphemism:

     "linproving the Length of Therapy" — sometimes abbreviated as "LOT" or "LoT." Purdue

     taught its employees that there is "a direct relationship" between getting patients on higher

     doses and keeping them on Purdue's opioids longer. The Marketing Defendants' focus on

     increasing dosages, and increasing the duration of opioid usage, had devastating consequences

     for patients. Patients exposed to higher dosages, and for longer periods of time, are many times

     more likely to become addicted, and to overdose.

     E.     The Marketing Defendants' Scheme Succeeded, Creating A Public Health Epidemic

            1.      Dramatically Expanded Opioid Prescribing and Use

            446.    The Marketing Defendants necessarily expected a return on the enormous

     investment they made in their deceptive marketing scheme, and they worked to measure and

     expand their success. Their own documents show that they knew they were influencing

     prescribers and increasing prescriptions. Studies also show that in doing so, they fueled an

     epidemic of addiction and abuse.

            447.    Cephalon also recognized the return of its efforts to market Actiq and Fentora

     off-label for chronic pain. In 2000, Actiq generated $15 million in sales. By 2002, Actiq sales

     had increased by 92%, which Cephalon attributed to "a dedicated sales force for ACTIQ" and

     "ongoing changes to [its] marketing approach including hiring additional sales representatives




                                                    176
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 192 of
                                     358




     and targeting our marketing efforts to pain specialists."249 Actiq became Cephalon's second

     best-selling drug. By the end of 2006, Actiq's sales had exceeded $500 million.250 Only 1% of

     the 187,076 prescriptions for Actiq filled at retail pharmacies during the first six months of

     2006 were prescribed by oncologists. One measure suggested that "more than 80 percent of

     patients who use[d] the drug don't have cancer."251 Each of the Marketing Defendants tracked

     the impact of their marketing efforts to measure their impact in changing doctors' perceptions

     and prescribing of their drugs. They purchased prescribing and survey data that allowed them to

     closely monitor these trends, and they did actively monitor them. For instance, they monitored

     doctors' prescribing before and after detailing visits and before and after speaker programs.

     Defendants continued and, in many cases, expanded and refined their aggressive and deceptive

     marketing for one reason: it worked. As described in this Complaint, both in specific instances

     (e.g., the low abuse potential of various Defendants' opioids), and more generally, Defendants'

     marketing changed prescribers' willingness to prescribe opioids, led them to prescribe more of

     their opioids, and persuaded them not to stop prescribing opioids or to switch to "safer"

     opioids, such as ADF.

                448. This success would have come as no surprise. Drug Company marketing




     24° Cephalon, Inc. Annual Report (Form 10-K) at 28 (Mar. 31, 2003),
     https://www.sec.gov/Archives/edgar/data/873364/000104746903011 I 37/a2105971 z10-
     k.htm.https://w ww. sec. Rov/Archives/edgar/data/873364/000104746903011137/a2105971z10-k.htm.

          Carreyrou, Narcotic 'Lollipop' Becomes Big Seller Despite FDA Curbs, THE WALL STREET
     25° John
     JOURNAL (Nov. 3, 2006), httos://www.wsi.com/articles/SB116252463810112292.

     "'




                                                     177
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 193 of
                                     358




     materially impacts doctors' prescribing behavior.252 The effects of sales calls on prescribers'

     behavior is well documented in the literature. One study examined four practices, including

     visits by sales representatives, medical journal advertisements, direct-to-consumer advertising,

     and pricing, and found that sales representatives have the strongest effect on drug utilization.

     An additional study found that doctor meetings with sales representatives are related to changes

     in both prescribing practices and requests by physicians to add the drugs to hospitals'

     formularies.

             449. Marketing Defendants spent millions of dollars to market their drugs to

     prescribers and patients and meticulously tracked their return on that investment. In one recent

     survey published by the AMA, even though nine in ten general practitioners reported

     prescription drug abuse to be a moderate to large problem in their communities, 88% of the

     respondents said they were confident in their prescribing skills, and nearly half were

     comfortable using opioids for chronic non-cancer pain.253 These results are directly due to the

     Marketing Defendants' fraudulent marketing campaign focused on several misrepresentations.



     252 See, e.g., P. Manchanda & P. Chintagunta, Responsiveness of Physician Prescription Behavior to
     Salesfbrce Efibri: An Individual Level Analysis, 15 (2-3) Mktg. Letters 129 (2004) See, e.g., P.
     Manchanda & P. Ch'ntagunta, Responsiveness of Physician Prescription Behavior to Salesforce Effort:
     An Individual Level Analysis, 15 (2-3) Mktg. Letters 129 (2004) (detailing has a positive impact on
     prescriptions written); T. Larkin, Restrictions on Pharmaceutical Detailing Reduced Off-Label
     Prescribing of Antidepressants and Antipsychotics in Children, 33(6) Health Affairs 1014 (2014))
     (finding academic medical centers that restricted direct promotion by pharmaceutical sales representatives
     resulted in a 34% decline in on-label use of promoted drugs); see also A. Van Zec, The Promotion and
     Marketing of aryContin: Commercial Triumph, Public Health Tragedy, 99(2) Am J. Pub. Health 221
     (2009)) (correlating an increase of OxyContin prescriptions from 670,000 annually in 1997 to 6.2 million
     in 2002 to a doubling of Purdue's sales force and trebling of annual sales calls). (hereinafter "Commercial
     Triumph").

       CS Hwang et A, Prescription Drug Abuse: A National Survey of Primary Care Physicians, 175
     253
     JAMA Intern. Med. 302 (2014), doi: 10.1001/jamainternmed.2014.6520,
     httns://www.nebi.nlm.nih.gov/pubmed/25485657.




                                                        178
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 194 of
                                     358




              450.     Thus, both independent studies and Defendants' own tracking confirm that

     Defendants' marketing scheme dramatically increased their sales.

              2.       The Marketing Defendants' Deception in Expanding Their Market Created
                       and Fueled the Opioid Epidemic.

              451.     Independent research demonstrates a close link between opioid prescriptions and

     opioid abuse. For example, a 2007 study found "a very strong correlation between therapeutic

     exposure to opioid analgesics, as measured by prescriptions filled, and their abuse."254 It has

     been estimated that 60% of the opioids that are abused come, directly or indirectly, through

     physicians' prescriptions.

              452.     There is a "parallel relationship between the availability of prescription opioid

     analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs

     and associated adverse outcomes." The opioid epidemic is "directly related to the increasingly

     widespread misuse of powerful opioid pain medications."2-55

              453.     In a 2016 report, the CDC explained that "{o]pioid pain reliever prescribing has

     quadrupled since 1999 and has increased in parallel with [opioid] overdoses." Patients

     receiving opioid prescriptions for chronic pain account for the majority of overdoses. For these

     reasons. the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain




     254 Theodore J. Cicero et al., Relationship Between Therapeutic Use and Abuse of ()plaid Analgesics in
     Rural, Suburban, and Urban Locations in the United States, 16 Pharmacopidemiology and Drug Safety,
     827-40 (2007), doi: 10.1002/pds.1452, https://www.cdhs.udel.edu/content-sub-
     site/Documents/Publications/Relationship9/020Between%20Therapeutic%20Use%20and%20Abuse_%20of
     %200nioid%20Analgesies.pdf. Theodore J. Cicero, et al., Relationship Between Therapeutic Use and
     Abuse of Opioid Analgesics in Rural, Suburban. and Urban Locations in the United States, 16
     Pharrnacoepidemiology and Drug Safety, 827-40 (2007), dol: 10.1002/pds.1452,
     httns://www.cdhs.udel.eduicontent-sub-
     site/Documents/Publications/Relationshin%20Between%20Therabeutic%20Use%20and%20Abuse%20of
     %200pioid%20Analgesics.pdf.

     2" See Cali ff et al., supra n. 28.

                                                        179
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 195 of
                                     358




     are critical "to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related

     morbidity."

     F.      Each of the Marketing Defendants Made Materially Deceptive Statements and
             Concealed Material Facts

             454.    As alleged herein, the Marketing Defendants made and/or disseminated

     deceptive statements regarding material facts and further concealed material facts in the course

     of manufacturing, marketing, and selling prescription opioids. The Marketing Defendants'

     actions were intentional and/or unlawful. Such statements include, but are not limited to, those

     set out below and alleged throughout this Complaint.

            455.    As a part of their deceptive marketing scheme, the Marketing Defendants

     identified and targeted susceptible prescribers and vulnerable patient populations in the United

     States. For example, the Marketing Defendants focused their deceptive marketing on primary

     care doCtors, who were more likely to treat chronic pain patients and prescribe them drugs, but

     were less likely to be educated about treating pain and the risks and benefits of opioids and

     therefore more likely to accept the Marketing Defendants' misrepresentations.

            1.      Purdue

            456.    Defendant Purdue made and/or disseminated deceptive statements, and

     concealed material facts in such a way to make their statements deceptive, including, but not

     limited to, the following:

                 a. Creating, sponsoring, and assisting in the distribution of patient education
                    materials distributed to consumers that contained deceptive statements;

                 b. Creating and disseminating advertisements that contained deceptive statements
                    concerning the ability of opioids to improve function long-term and concerning the
                    evidence supporting the efficacy of opioids long-term for the treatment of chronic
                    non-cancer pain;

                 c. Disseminating misleading statements concealing the true risk of addiction and
                    promoting the deceptive concept of pseudoaddiction through Purdue's own

                                                     180
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 196 of
                                     358




                  unbranded publications and on intemet sites Purdue operated that were marketed
                  to and accessible by consumers;

             d. Distributing brochures to doctors, patients, and law enforcement officials that
                included deceptive statements concerning the indicators of possible opioid abuse;

             e. Sponsoring, directly distributing, and assisting in the distribution of publications
                that promoted the deceptive concept of pseudoaddiction, even for high-risk
                patients;

             f. Endorsing, directly distributing, and assisting in the distribution of publications
                that presented an unbalanced treatment of the long-term and dose-dependent
                risks of opioids versus NSAIDs;

             g. Providing significant financial support to pro-opioid KOL doctors who made
                deceptive statements concerning the use of opioids to treat chronic non-cancer
                pain;

             h. Providing needed financial support to pro-opioid pain organizations that made
                deceptive statements, including in patient education materials, concerning the
                use of opioids to treat chronic non-cancer pain;

                  Assisting in the distribution of guidelines that contained deceptive statements
                  concerning the use of opioids to treat chronic non-cancer pain and
                  misrepresented the risks of opioid addiction;

             j.   Endorsing and assisting in the distribution of CMEs containing deceptive
                  statements concerning the use of opioids to treat chronic non-cancer pain;

             k. Developing and disseminating scientific studies that misleadingly concluded
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life, while concealing contrary data;

             I.   Assisting in the dissemination of literature written by pro-opioid KOLs that
                  contained deceptive statements concerning the use of opioids to treat chronic
                  non-cancer pain;

             in. Creating, endorsing, and supporting the distribution of patient and prescriber
                 education materials that misrepresented the data regarding the safety and efficacy
                 of opioids for the long-term treatment of chronic non-cancer pain, including known
                 rates of abuse and addiction and the lack of validation for long-term efficacy;

             n. Targeting veterans by sponsoring and disseminating patient education marketing
                 materials that contained deceptive statements concerning the use of opioids to

                                                 181
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 197 of
                                     358




                        treat chronic non-cancer pain;

                    o. Targeting the elderly by assisting in the distribution of guidelines that contained
                       deceptive statements concerning the use of opioids to treat chronic non-cancer
                       pain and misrepresented the risks of opioid addiction in this population;

                    p. Exclusively disseminating misleading statements in education materials to
                       hospital doctors and staff while purportedly educating them on new pain
                       standards;

                    q. Making deceptive statements concerning the use of opioids to treat chronic non-
                       cancer pain to prescribers through in-person detailing; and

                    r. Withholding from law enforcement the names of prescribers Purdue believed to be
                       facilitating the diversion of its opioid, while simultaneously marketing opioids to
                       these doctors by disseminating patient and prescriber education materials and
                       advertisements and CMEs they knew would reach these same prescribers.

                457. More specifically, Defendant Purdue made and/or disseminated deceptive

     statements, and promoted a culture that mislead doctors and patients into believing opioids

     were safe for chronic care, including, but not limited to, the following:

                    a. In 1998, Purdue distributed 15,000 copies of an OxyContin video to physicians
                       without submitting it to the FDA for review, an oversight later acknowledged by
                       Purdue. In 2001, Purdue submitted to the FDA a second version of the video, which
                       the FDA did not review until October 2002—after the General Accounting Office
                       inquired about its content. After its review, the FDA concluded that the video
                       minimized the risks from OxyContin and made unsubstantiated claims regarding
                       its benefits to patients.256

                    b. According to training materials, Purdue instructed sales representatives to assure
                       doctors—repeatedly and without evidence—that "fewer than one per cent" of
                       patients who took OxyContin became addicted. (in 1999, a Purdue-funded study of
                       patients who used OxyContin for headaches found that the addiction rate was
                       thirteen per cent.)257

                    c. Andrew Kolodny, the co-director of the Opioid Policy Research Collaborative, at
                       Brandeis University, has worked with hundreds of patients addicted to ()plaids. He
                       has stated that, though many fatal overdoses have resulted from opioids other than


     256   Empire of Pain, supra n. 96.

     "7


                                                         182
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 198 of
                                     358




                        OxyContin, the crisis was initially precipitated by a shift in the culture of
                        prescribing—a shift carefully engineered by Purdue. "If you look at the prescribing
                        trends for all the different opioids, it's in 1996 that prescribing really takes off,"
                        Kolodny said. "It's not a coincidence. That was the year Purdue launched a
                        multifaceted campaign that misinformed the medical community about the
                        risks."258

                    d. "Purdue had a speakers' bureau, and it paid several thousand clinicians to attend
                       medical conferences and deliver presentations about the merits of the drug. Doctors
                       were offered all-expenses-paid trips to pain-management seminars in places like
                       Boca Raton. Such spending was worth the investment: doctors who attended these
                       seminars in 1996 wrote OxyContin prescriptions more than twice as often as those
                       who didn't. The company advertised in medical journals, sponsored Web sites
                       about chronic pain, and distributed a dizzying variety of OxyContin swag: fishing
                       hats, plush toys, luggage tags. Purdue also produced promotional videos featuring
                       satisfied patients—like a construction worker who talked about how OxyContin
                       had eased his chronic back pain, allowing him to return to work. The videos, which
                       also included testimonials from pain specialists, were sent to tens of thousands of
                       doctors. The marketing of OxyContin relied on an empirical circularity: the
                       company convinced doctors of the drug's safety with literature that had been
                       produced by doctors who were paid, or funded, by the company."259

                   e. Purdue encouraged sales representatives to increase sales of OxyContin through a
                      lucrative bonus system, which resulted in a large number of visits to physicians
                      with high rates of opioid prescriptions. In 2001, Purdue paid $40 million in bonuses
                      to its sales representatives.260

                    f. Purdue claimed that the risk of addiction from OxyContin was extremely small and
                       trained its sales representatives to carry the message that the risk of addiction was
                       "less than one percent," while knowing that there was no empirical support for that
                       statement.

                   g. By 2003, the Drug Enforcement Administration had found that Purdue's
                      "aggressive methods" had "very much exacerbated OxyContin's widespread
                      abuse." Rogelio Guevara, a senior official at the D.E.A., concluded that Purdue had
                      "deliberately minimized" the risks associated with the drug.261

               458. "From 1996 to 2001, Purdue conducted more than 40 national pain-management


     258 Id.


     259 Id.

     26° Commercial    Triumph, supra n. 252.
     261
           Empire of Pain, supra n. 76.


                                                        183
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 199 of
                                     358




     and speaker training conferences at resorts in Florida, Arizona, and California. More than 5000

     physicians, pharmacists, and nurses attended these all-expenscs-paid symposia, where they

     were recruited and trained for Purdue's national speaker bureau. It is well documented that this

     type of pharmaceutical company symposium influences physicians' prescribing even though

     the physicians who attend such symposia believe that such enticements do not alter their

     prescribing patterns."262

               459. As noted above. Purdue utilized Front Groups to help disseminate and defend its

     false messages. Between January 2012 and March 2017, Purdue made the following

     contributions:

      Academy of Integrative Pain Management   $1,091,024.86
      American Academy of Pain Management      $725,584.95
      ACS Cancer Action Network                $168,500.00263
      American Chronic Pain Association        $312,470.00
      American Geriatrics Society              $11,785.00264
      American Pain Foundation                 $25,000
      American Pain Society                    $542,259.52
      American Society of Pain Educators       $30,000
      American Society of Pain Management      $242,535.00
      Nursing
      The Center for Practical Bioethics       $145,095.00
      U.S. Pain Foundation                     $359,300.00
      Washington Legal Foundation              $500,000.00
                                         TOTAL $4,153,554.33




     262   Commercial Triumph, supra n. 252.

     263Payments from Purdue to the American Cancer Society Cancer Action Network include payments to
     the American Cancer Society that could potentially have applied to the Cancer Action Network.
     Production from Purdue Pharma to the Senate Homeland Security and Governmental Affairs Committee
     (Nov. t3.2017.

     264The AGS reported that Purdue also provided 540,000 in "corporate roundtable dues" to its AGS Health
     in Aging Foundation, a 501(c)(3) organization affiliated with the group, between 2012 and 2015. Letter
     from Nancy E. Lundebjerg, Chief Executive Office, AmericanArn. Geriatrics SocietySoc'y, to Sen. Claire
     McCaskill (Oct. I I, 2017). , supra n. 201.


                                                      184
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 200 of
                                     358




             460.     The Purdue Individual Defendants reinforced Purdue's sales visits with dozens

     of other deceptive tactics aimed at Florida. The Purdue Individual Defendants wrote deceptive

     pamphlets and mailed them to doctors in Florida. The Purdue Individual Defendants used all

     these deceptive tactics to collect money in Florida, by getting more Florida patients on opioids,

     at higher doses, for longer periods of time.

            461.      Purdue streamed videos to Florida doctors on its OxyContin Physicians

     Television Network. Purdue hired the most prolific opioid prescribers as spokesmen to

     promote its drugs to other doctors.

            462.      Purdue promoted its opioids to Florida patients with marketing that was

     designed to obscure the risk of addiction and even the fact that Purdue was behind the

     campaign.

            2.        Endo

            463.      Defendant Endo made and/or disseminated deceptive statements, and concealed

     material facts in such a way to make their statements deceptive, including, but not limited to,

     the following:

                 a. Creating, sponsoring, and assisting in the distribution of patient education
                    materials that contained deceptive statements;

                 b. Creating and disseminating advertisements that contained deceptive statements
                    concerning the ability of opioids to improve function long-term and concerning
                    the evidence supporting the efficacy of opioids long-term for the treatment of
                    chronic non-cancer pain;

                 c. Creating and disseminating paid advertisement supplements in academic
                    journals promoting chronic opioid therapy as safe and effective for long term use
                    for high risk patients;

                 d. Creating and disseminating advertisements that falsely and inaccurately
                    conveyed the impression that Endo's opioids would provide a reduction in oral,
                    intranasal, or intravenous abuse;


                                                     185
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 201 of
                                     358




             c. Disseminating misleading statements concealing the true risk of addiction and
                promoting the misleading concept of pseudoaddiction through Endo's own
                unbranded publications and on intemet sites Endo sponsored or operated;

             f. Endorsing, directly distributing, and assisting in the distribution of publications
                that presented an unbalanced treatment of the long-term and dose-dependent
                risks of opioids versus NSAIDs;

             g. Providing significant financial support to pro-opioid KOLs, who made deceptive
                statements concerning the use of opioids to treat chronic non-cancer pain;

             h. Providing needed financial support to pro-opioid pain organizations — including
                over $5 million to the organization responsible for many of the most egregious
                misrepresentations — that made deceptive statements, including in patient
                education materials, concerning the use of opioids to treat chronic non-cancer
                pain;

             i. Targeting the elderly by assisting in the distribution of guidelines that contained
                deceptive statements concerning the use of opioids to treat chronic non-cancer
                pain and misrepresented the risks of opioid addiction in this population;

             j.   Endorsing and assisting in the distribution of CMEs containing deceptive
                  statements concerning the use of opioids to treat chronic non-cancer pain;

             k. Developing and disseminating scientific studies that deceptively concluded
                opioids are safe and effective for the long-term treatment of chronic non-cancer
                pain and that opioids improve quality of life, while concealing contrary data;

             1. Directly distributing and assisting in the dissemination of literature written by
                 pro- opioid KOLs that contained deceptive statements concerning the use of
                 opioids to treat chronic non-cancer pain, including the concept of
                 pseudoaddiction;

             m. Creating, endorsing, and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including
                known rates of abuse and addiction and the lack of validation for long-term
                efficacy; and

             n. Making deceptive statements concerning the use of opioids to treat chronic
                non-cancer pain to prescribers through in-person detailing.



                                                 186
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 202 of
                                     358




            3.        Janssen

            464. Defendant Janssen made and/or disseminated deceptive statements, and

     concealed material facts in such a way to make their statements deceptive, including, but not

     limited to, the following:

                 a. Creating, sponsoring, and assisting in the distribution of patient education
                    materials that contained deceptive statements;

                 b. Directly disseminating deceptive statements through intemet sites over which
                    Janssen exercised final editorial control and approval stating that opioids are safe
                    and effective for the long-term treatment of chronic non-cancer pain and that
                    opioids improve quality of life, while concealing contrary data;

                 c. Disseminating deceptive statements concealing the true risk of addiction and
                    promoting the deceptive concept of pseudoaddiction through internet sites over
                    which Janssen exercised final editorial control and approval;

                 d. Promoting opioids for the treatment of conditions for which Janssen knew, due
                    to the scientific studies it conducted, that opioids were not efficacious and
                    concealing this information;

                 e. Sponsoring, directly distributing, and assisting in the dissemination of patient
                    education publications over which Janssen exercised final editorial control and
                    approval, which presented an unbalanced treatment of the long-term and dose
                    dependent risks of opioids versus NSAIDs;

                 1.   Providing significant financial support to pro-opioid KOLs, who made deceptive
                      statements concerning the use of opioids to treat chronic non-cancer pain;

                 g. Providing necessary financial support to pro-opioid pain organizations that made
                    deceptive statements, including in patient education materials, concerning the
                    use of opioids to treat chronic non-cancer pain;

                 h. Targeting the elderly by assisting in the distribution of guidelines that contained
                    deceptive statements concerning the use of opioids to treat chronic non-cancer
                    pain and misrepresented the risks of opioid addiction in this population;

                      Targeting the elderly by sponsoring, directly distributing, and assisting in the
                      dissemination of patient education publications targeting this population that
                      contained deceptive statements about the risks of addiction and the adverse
                      effects of opioids, and made false statements that opioids are safe and effective

                                                      187
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 203 of
                                     358




                      for the long-term treatment of chronic non-cancer pain and improve quality of
                      life, while concealing contrary data;

                 j.   Endorsing and assisting in the distribution of CMEs containing deceptive
                      statements concerning the use of opioids to treat chronic non-cancer pain;

                 k. Directly distributing and assisting in the dissemination of literature written by pro-
                    opioid KOLs that contained deceptive statements concerning the use of opioids to
                    treat chronic non-cancer pain, including the concept of pseudoaddiction;

                 I. Creating, endorsing, and supporting the distribution of patient and prescriber
                     education materials that misrepresented the data regarding the safety and efficacy
                     of opioids for the long-term treatment of chronic non-cancer pain, including
                     known rates of abuse and addiction and the lack of validation for long-term
                     efficacy;

                 In. Targeting veterans by sponsoring and disseminating patient education marketing
                     materials that contained deceptive statements concerning the use of opioids to
                     treat chronic non-cancer pain; and

                 n. Making deceptive statements concerning the use of opioids to treat chronic
                    non-cancer pain to prescribers through in-person detailing.

            4.        Assertio

            465.      Defendant Assertio has, since at least October 2011, made and/or disseminated

     untrue, false and deceptive statements, and concealed material facts in such a way to make their

     statements deceptive with respect to Lazanda and (with the acquisition from Janssen in January

     2015) of Nucynta and Nucynta ER, including, but not limited to:

                 a. Promoting the usage of Lazanda with patients not suffering from cancer;

                 b. Endorsing, supporting, and pressuring its sales representative to target pain
                    management physicians, particularly those who historically wrote large numbers
                    of Lazanda-like drugs;

                 c. Discouragement of sales representatives from targeting physicians treating cancer
                    patients in contradiction to the FDA approved warning indicating that Lazanda is
                    only indicated "for the management of breakthrough pain in cancer patients 18
                    years of age and older who are already receiving and who are tolerant to opioid
                    therapy for their underlying persistent cancer pain;"

                 d. Training of sales representatives on how to deal with pushback from physicians;

                                                     188
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 204 of
                                     358




                 e. Promotion of Nucynta and Nucynta ER for all manner of pain management while
                    downplaying the drug's addictive nature;

                 f. Promoting its drugs as a safer alternative than other opioids;

                 g. Telling investors that Depomed is safe. August Moretti, Assertio's Senior Vice
                    President and Chief Financial Officer, stated that "[a]lthough not in the label,
                    there's a very low abuse profile and side effect rate."

            5.       Cephalon

            466. Defendant Cephalon made and/or disseminated untrue, false and deceptive

     statements, and concealed material facts in such a way to make their statements deceptive,

     including, but not limited to, the following;

                 a. Creating, sponsoring, and assisting in the distribution of patient education materials
                    that contained deceptive statements;

                 b. Sponsoring and assisting in the distribution of publications that promoted the
                    deceptive concept of pseudoaddiction, even for high-risk patients;

                 c. Providing significant financial support to pro-opioid KOL doctors who made
                    deceptive statements concerning the use of opioids to treat chronic non-cancer pain
                    and breakthrough chronic non-cancer pain;

                 d. Developing and disseminating scientific studies that deceptively concluded opioids
                    are safe and effective for the long-term treatment of chronic non-cancer pain in
                    conjunction with Cephalon's potent rapid-onset opioids;

                 e. Providing needed financial support to pro-opioid pain organizations that made
                    deceptive statements, including in patient education materials, concerning the use
                    of opioids to treat chronic non-cancer pain;

                 f. Endorsing and assisting in the distribution of CMEs containing deceptive
                    statements concerning the use of opioids to treat chronic non-cancer pain;

                 g. Endorsing and assisting in the distribution of CMEs containing deceptive
                    statements concerning the use of Cephalon's rapid-onset opioids;

                 h. Directing its marketing of Cephalon's rapid-onset opioids to a wide range of
                    doctors, including general practitioners, neurologists, sports medicine specialists,
                    and workers' compensation programs, serving chronic pain patients;


                                                     189
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 205 of
                                     358




                  i. Making deceptive statements concerning the use of Cephalon's opioids to treat
                     chronic non-cancer pain to prescribers through in-person detailing and speakers'
                     bureau events, when such uses are unapproved and unsafe; and

                  j.   Making deceptive statements concerning the use of opioids to treat chronic non-
                       cancer pain to prescribers through in-person detailing and speakers' bureau events.

             6.        Actavis

            467. Defendant Actavis made and/or disseminated deceptive statements, and

     concealed material facts in such a way to make their statements deceptive, including, but not

     limited to, the following:

                  a. Making deceptive statements concerning the use of opioids to treat chronic
                     non-cancer pain to prescribers through in-person detailing;

                  b. Creating and disseminating advertisements that contained deceptive statements that
                     opioids are safe and effective for the long-term treatment of chronic non-cancer
                     pain and that opioids improve quality of life;

                  c. Creating and disseminating advertisements that concealed the risk of addiction in
                     the long-term treatment of chronic, non-cancer pain; and

                  d. Developing and disseminating scientific studies that deceptively concluded opioids
                     are safe and effective for the long-term treatment of chronic non-cancer pain and
                     that opioids improve quality of life while concealing contrary data.

     A Kadian prescriber guide deceptively represents that Kadian is more difficult to abuse and less

     addictive than other opioids. Kadian's prescriber guide is full of disclaimers that Actavis has not

     done any studies on the topic and that the guide is "only intended to assist you in forming your

     own conclusion." However, the guide includes the following statements: 1) "unique

     pharmaceutical formulation of KADIAN may offer some protection from extraction of morphine

     sulfate for intravenous use by illicit users," and 2) "KAD1AN may be less likely to be abused by

     health care providers and illicit users" because of "Slow onset of action," "Lower peak plasma

     morphine levels than equivalent doses of other formulations of morphine," "Long duration of


                                                      190
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 206 of
                                     358




     action," and "Minimal fluctuations in peak to trough plasma levels of morphine at steady state."

     The guide is copyrighted by Actavis in 2007, before Actavis officially purchased Kadian from

     Alpharma.

             7.      Mallinekrodt

            468. Defendant Mallinckrodt made ancUor disseminated deceptive statements, and

     concealed material facts in such a way to make their statements deceptive, including, but not

     limited to, the following:

                  a. Creating and promoting publications that misrepresented and trivialized the risks

                     of addiction;

                  b. Creating and promoting publications that overstated the benefits of opioids for

                     chronic pain; and

                  c. Making deceptive statements about pseudoaddiction.

        VI.  DEFENDANTS THROUGHOUT THE SUPPLY CHAIN DELIBERATELY
      DISREGARDED THEIR DUTIES TO MAINTAIN EFFECTIVE CONTROLS AND TO
         IDENTIFY, REPORT, AND TAKE STEPS TO HALT SUSPICIOUS ORDERS

            469. The Marketing Defendants created a vastly and dangerously larger market for

     opioids. All of the Defendants compounded this harm by facilitating the supply of far more

     opioids that could have been justified to serve that market. The failure of the Defendants to

     maintain effective controls, and to investigate, report, and take steps to halt orders that they knew

     or should have known were suspicious breached both their statutory and common law duties.

     Marketing Defendants' scheme was resoundingly successful. Chronic opioid therapy—the

     prescribing of opioids long-term to treat chronic pain—has become a commonplace, and often

     first-line, treatment. Marketing Defendants' deceptive marketing caused prescribing not only of

     their opioids, but also of °plaids as a class, to skyrocket. According to the CDC opioid

     prescriptions, as measured by number of prescriptions and morphine milligram equivalent

                                                     191
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 207 of
                                     358




     ("MME") per person, tripled from 1999 to 2015. In 2015, on an average day, more than 650,000

     opioid prescriptions were dispensed in the U.S. While previously a small minority of opioid

     sales, today between 80% and 90% of opioids (measured by weight) used are for chronic pain.

     Approximately 20% of the population between the ages of 30 and 44, and nearly 30% of the

     population over 45, have used opioids.

                 470.   In a 2016 report, the CDC explained that "ro]pioid pain reliever prescribing has

     quadrupled since 1999 and has increased in parallel with {opioid] overdoses."265 Patients

     receiving opioid prescriptions for chronic pain account for the majority of overdoses. For these

     reasons, the CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are

     critical "to reverse the epidemic of opioid drug overdose deaths and prevent opioid-related

     morbidity.”266

     A.          All Defendants Have, and Breached, Duties to Guard Against, and Report, Unlawful
                 Diversion and to Report and Prevent Suspicious Orders

                 471.   Multiple sources impose duties on Defendants with respect to the supply of

     opioids, including the common law duty to exercise reasonable care. Each Defendant was also

     required to obtain permits from Florida's Department of Business and Professional Regulation,

     and certify compliance with Florida law. The Defendants also had legal duties under Florida

     common law, statutes and regulations to maintain adequate records, and prevent diversion, and to

     monitor, report, and prevent suspicious orders of prescription opioids. This includes the common

     law of fraud, statutes designed to generally prohibit unfair and deceptive acts in commerce, as

     well as statutes specifically prohibiting deceptive practice relating to drugs.

     Fla. Stat. Ann. § 499.0121(14) states as follows:


     265   2000-2014 Increases in Drug and Opioid Overdose Deaths, supra n. 43.

     26    1d.

                                                        192
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 208 of
                                     358




                    Each prescription drug wholesale distributor, out-of-state
                    prescription drug wholesale distributor, retail pharmacy drug
                    wholesale distributor, manufacturer, or repackager that engages in
                    the wholesale distribution of controlled substances as defined in s.
                    893.02 shall submit a report to the department of its receipts and
                    distributions of controlled substances listed in Schedule II, Schedule
                    III, Schedule IV, or Schedule V as provided in s. 893.03. Wholesale
                    distributor facilities located within this state shall report all
                    transactions involving controlled substances, and wholesale
                    distributor facilities located outside this state shall report all
                    distributions to entities located in this state. If the prescription drug
                    wholesale distributor, out-of-state prescription drug wholesale
                    distributor, retail pharmacy drug wholesale distributor,
                    manufacturer, or repackager does not have any controlled substance
                    distributions for the month, a report shall be sent indicating that no
                    distributions occurred in the period.

     Fla, Stat. Ann. § 499.0121(15)(b) further requires as follows:
                    (b) A wholesale distributor must take reasonable measures to
                    identify its customers, understand the normal and expected
                    transactions conducted by those customers, and identify those
                    transactions that are suspicious in nature. A wholesale distributor
                    must establish internal policies and procedures for identifying
                    suspicious orders and preventing suspicious transactions. A
                    wholesale distributor must assess orders for more than 7,500 unit
                    doses of any one controlled substance in any one month to determine
                    whether the purchase is reasonable. In making such assessments, a
                    wholesale distributor may consider the purchasing entity's clinical
                    business needs, location, and population served, in addition to other
                    factors established in the distributor's policies and procedures. A
                    wholesale distributor must report to the department any regulated
                    transaction involving an extraordinary quantity of a listed chemical,
                    an uncommon method of payment or delivery, or any other
                    circumstance that the regulated person believes may indicate that the
                    listed chemical will be used in violation of the law. The wholesale
                    distributor shall maintain records that document the report submitted
                    to the department in compliance with this paragraph.

            472. Defendants also violated Fla. Stat. Ann. § 499.0121(15) (c), which provides that

     "a wholesale distributor may not distribute controlled substances to an entity if any criminal

     history record check for any person associated with that entity shows that the person has been

     convicted of, or entered a plea of guilty or nob o contendere to, regardless of adjudication, a crime


                                                      193
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 209 of
                                     358




     in any jurisdiction related to controlled substances, the practice of pharmacy, or the dispensing of

     medicinal drugs." In addition to reporting all suspicious orders, the Distributor Defendants must

     also stop shipment on any order which is flagged as suspicious and only ship orders which were

     flagged as potentially suspicious if, after conducting due diligence, the recipient can determine

     that the order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72

     Fed. Reg. 36,487, 36,501 (Drug Enft Admin. July 3, 2007); Masters Pharmaceutical, Inc. v.

     Drug Enforcement Administration, 861 F. 3d 206 (D.C. 2017). Regardless, all flagged orders

     must be reported. These prescription drugs are regulated for the purpose of providing a "closed"

     system intended to reduce the widespread diversion of these drugs out of legitimate channels into

     the illicit market, while at the same time providing the legitimate drug industry with a unified

     approach to narcotic and dangerous drug contro1.267 "Different entities supervise the discrete

     links in the chain that separate a consumer from a controlled substance. Statutes and regulations

     define each participant's role and responsibilities."268 The foreseeable harm resulting from a

     breach of these duties is the diversion of prescription opioids for nonmedical purposes and

     subsequent plague of opioid addiction, with costs and damages necessarily inflicted on and

     incurred by Plaintiffs and others. The foreseeable harm resulting from the diversion of



     267   See 1970 U.S.C.C.A.N. 4566, 4571-72.

     26S Brief for Healthcare Distribution Mgmt. Association and National Ass'n of Chain Drug Stores as Amici
     Curiae in Support of Neither Party, Masters Phartn.. Inc. v. U.S. Drug Enf't Admin. (No. 15- 1335) (D.C.
     Cir. Apr. 4,2016), 2016 WL 1321983, at *22 (hereinafter "Brief for EMMA and NACDS"). The Healthcare
     Distribution Mgmt. Ass'n (HDMA or FIMA)—now known as the Healthcare Distribution Alliance (HDA)
     —is a national, not-for-profit trade association that represents the nation's primary, full-service healthcare
     distributors whose membership includes, among others: AmcrisourceBergen Drug Corporation and
     Cardinal Health, Inc. See generally I4DA, About, hups://www.hcalthcaredistribution.orOabout (last
     accessed Aug. 1, 2018). The National Association of Chain Drug Stores (NACDS) is a national, not-for-
     profit trade association that represents traditional drug stores and supermarkets and mass merchants with
     pharmacies whose membership includes, among others: Walgreen Company, CVS Health, Rite Aid
     Corporation and Waltman. See generally NACDS, Mission, https://www.nacds.org/%20about/mission/ (last
     accessed Aug. 1, 2018).

                                                          194
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 210 of
                                     358




     prescription opioids for nonmedical purposes is abuse, addiction, morbidity and mortality, along

     with the costs imposed upon Plaintiffs and others associated with the treatment of these

     conditions and related health consequences caused by opioid abuse. Finding it impossible to

     legally achieve their ever-increasing sales ambitions, Defendants engaged in the common

     purpose of increasing the supply of opioids and fraudulently increasing the quotas that governed

     the manufacture and distribution of their prescription opioids.

            473.    Wholesale distributors such as the Distributor Defendants had close financial

     relationships with both Marketing Defendants and customers, for whom they provide a broad

     range of value-added services that render them uniquely positioned to obtain information and

     control against diversion. These services often otherwise would not be provided by

     manufacturers to their dispensing customers and would be difficult and costly for the dispenser

     to reproduce. For example, "[w]holesalers have sophisticated ordering systems that allow

     customers to electronically order and confirm their purchases, as well as to confirm the

     availability and prices of wholesalers' stock." Fed. Trade Comm 'n v. Cardinal Health. Inc.; 12

     Supp. 2d 34,41 (D.D.C. 1998). Through their generic source programs, wholesalers are also able

     "to combine the purchase volumes of customers and negotiate the cost of goods with

     manufacturers." Wholesalers typically also offer marketing programs, patient services, and other

     software to assist their dispensing customers.

            474.    Distributor Defendants had financial incentives from the Marketing Defendants to

     distribute higher volumes and thus to refrain from reporting or declining to fill suspicious orders.

     Wholesale drug distributors acquire pharmaceuticals, including opioids, from manufacturers at

     an established wholesale acquisition cost. Discounts and rebates from this cost may be offered by

     manufacturers based on market share and volume. As a result, higher volumes may decrease the



                                                      195
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 211 of
                                     358




     cost per pill to distributors. Decreased cost per pill in turn, allows wholesale distributors to offer

     more competitive prices, or alternatively, pocket the difference as additional profit. Either way,

     the increased sales volumes result in increased profits.

            475.    The Marketing Defendants engaged in the practice of paying rebates and/or

     chargebacks to the Distributor Defendants for sales of prescription opioids as a way to help them

     boost sales and better target their marketing efforts. The Washington Post has described the

     practice as industry-wide, and the Healthcare Distribution Alliance ("HDA") includes a

     "Contracts and Chargebacks Working Group," suggesting a standard practice. Further, in a

     recent settlement with the DEA. Mallinckrodt acknowledged that lais part of their business

     model Maklinckrodt collects transaction information, referred to as chargeback data, from their

     direct customers (distributors)." The transaction information contains data relating to the direct

     customer sales of controlled substances to "downstream registrants", meaning pharmacies or

     other dispensaries, such as hospitals. Marketing Defendants buy data from pharmacies as well.

     This exchange of information, upon information and belief, would have opened channels

     providing for the exchange of information revealing suspicious orders as well.

            476.    A dramatic example of the use of prescription information provided by IMS

     Health was described in Congressional testimony:

               Mr. Greenwood: Well, why do you want that [1MS Health] information then?

               Mr. Friedman: Well, we use that information to understand what is happening in
               terms of the development of use of our product in any area.

               Mr. Greenwood. And so the use of it--and I assume that part of it--a large part
               of it you want is to see how successful your marketing techniques are so that you
               can expend money in a particular region or among a particular group of
               physicians-- you look to see if your marketing practices are increased in sales.
               And, if not, you go back to the drawing board with your marketers and say, how
               come we spent "X" number of dollars, according to these physicians, and sales
               haven't responded. You do that kind of thing. Right?


                                                      196
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 212 of
                                     358




                  Mr. Friedman: Sure.269

             477.     The contractual relationships among the Defendants also include vault security

     programs. Defendants are required to maintain certain security protocols and storage facilities for

     the manufacture and distribution of their opiates. The Defendants negotiated agreements

     whereby the Marketing Defendants installed security vaults for the Distributor Defendants in

     exchange for agreements to maintain minimum sales performance thresholds. These agreements

     were used by the Defendants as a tool to violate their reporting and diversion duties in order to

     reach the required sales requirements.

             1.       Defendants' Use of Trade and Other Organizations

             478.     In addition, Defendants worked together to achieve their common purpose

     through trade or other organizations, such as the Pain Care Forum ("PCF") and the HDA.

                      a.     Pain Care Forum

            479.      PCF has been described as a coalition of drug makers, trade groups, and dozens

     of non-profit organizations supported by industry funding, including the Front Groups

     described in this Complaint. The PCF recently became a national news story when it was

     discovered that lobbyists for members of the PCF quietly shaped federal and state policies

     regarding the use of prescription opioids for more than a decade.

            480.      The Center for Public Integrity and The Associated Press obtained "internal

     documents shed[ding] new light on how drug makers and their allies shaped the national


     269 Oxycontin: Its Use and Abuse: Hearing Before the Subcommittee on Oversight and Investigations of

     the Committee on Energy and Commerce House of Representatives. 107th Cong. 54 (2001) (statements    of
     James C. Greenwood, Member, Committee on Energy and Commerce and Michael Friedman, Executive
     Vice President and COO of Purdue Pharma, L.P.), available at https://),vww.aDo.gpv/fdsvs/okg/CFIRG-
     107hhrg75754/html/CHRG-107hhrg75754.htm. Oxycontin: Its Use and Abuse, supra n. 100.




                                                      197
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 213 of
                                     358




     response to the ongoing wave of prescription opioid abuse. 270 Specifically, PCF members

     spent over $740 million lobbying in the nation's capital and in all 50 statehouses on an array of

     issues, including opioid-related measures.271 The Defendants who stood to profit from

     expanded prescription opioid use are members of and/or participants in the PCF.272 In 2012,

     membership and participating organizations included Endo, Purdue, Actavis and Cephalon.

     Each of the Marketing Defendants worked together through the PCF. But the Marketing

     Defendants were not alone. The Distributor Defendants actively participated, and continue to

     participate, in the PCF through, at a minimum, their trade organization, the HDA.273 The

     Distributor Defendants participated directly in the PCF as well.

                    b.       Healthcare Distribution Alliance (HDA)

             481. Additionally, the HDA led to the formation of interpersonal relationships and an

     organization among the Defendants. Although the entire HDA membership directory is private,

     the HDA website confirms that each of the Distributor Defendants and the Marketing


      270Matthew Perrone, Pro-Painkiller echo chamber shaped poliev amid drug epidemic, The Center for
      Public Integrity (September 19. 2017, 12:01 a.m.),
      https://www. publici ntegrity.org/2016/09/19/20201/pro-pa inki I ler-echo-chamber-shaped-policy- amid-
      drug-epidemic (emphasis added).Sept. 19, 2017),
      htms://www.publicintegrity.org/2016/09/19/2020 Unro-painki ler-echo-chamber-shaped-policv-amid-
      drug-epidemic. (emphasis added). .

    "1 Id.

    272 PAIN CARE FORUM 2012 Meetings Schedule, (last updated DecemberDec. 2011),
     https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-
    amp.pdfhttps://assets.documentcloud.ore/documents/3108982/PAIN-CARE-FORUM-Meetings-
    Schedule-amp.odf

      Id. The Executive Committee of the HDA (formerly the H DMA) currently includes the Chief Executive
    273
    Officer, Pharmaceutical Segment for Cardinal Health, Inc. and the Group President, Pharmaceutical
    Distribution and Strategic Global Source for AmerisourceBergen Corporation. Executive Committee,
    Healthcare      Distribution    Alliance      (last    accessed    on       Aug.      1,      2018),
     huns://www.healthcaredistribution.orghbout/executive-committee%20.




                                                       198
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 214 of
                                     358




     Defendants, including Actavis, Endo, Purdue, Mallincicrodt and Cephalon, were members of the

     HDA.274 Additionally, the HDA and each of the Distributor Defendants, eagerly sought the

     active membership and participation of the Marketing Defendants by advocating for the many

     benefits of members, including "strengthening ... alliances."275 Beyond strengthening alliances,

     the benefits of HDA membership included the ability to, among other things, "network one on

     one with manufacturer executives at HDA's members-only Business and Leadership

     Conference," "networking with HDA wholesale distributor members," "opportunities to host and

     sponsor HDA Board of Directors events," "participate on FIDA committees, task forces and

     working groups with peers and trading partners," and "make connections."276 The HDA and the

     Supply Chain Defendants used membership in the HDA as an opportunity to create interpersonal

     and ongoing organizational relationships and "alliances" between the Marketing and Supply

     Chain Defendants.

                 482. The application for manufacturer membership in the HDA further indicates the

     level of connection among the Defendants and the level of insight that they had into each other's

     businesses.277 For example, the manufacturer membership application must be signed by a

     "senior company executive," and it requests that the manufacturer applicant identify a key

     contact and any additional contacts from within its company. The FIDA application also requests




     274   Manufacturer Membership, Healthcare Distribution Alliance,
     hups://www.healthcaredistribution.org/aboutimembership/manufacturer (last accessed on September 14,
     2017).Aug. 1,2018).

     =75 Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14,
     2017), littps://www.healthcaredistribution.org/—/media/pdfs/membership/manufacturer-membership-
     benefits.ashx?la=en Id.
     276
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     2"    Id.


                                                        199
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 215 of
                                     358




     that the manufacturer identify its current distribution information, including the facility name and

     contact information. Manufacturer members were also asked to identify their "most recent year

     end net sales" through wholesale distributors, including the Distributor Defendants

     AmerisourceBergen, Anda, Cardinal, and Henry Schein and their subsidiaries.

                 483.   The closed meetings of the HDA's councils, committees, task forces and working

     groups provided the Marketing and Distributor Defendants with the opportunity to work closely

     together, confidentially, to develop and further the common purpose and interests of the

     enterprise.

                 484.   The RDA also offers a multitude of conferences, including annual business and

     leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

     the Marketing Defendants as an opportunity to "bring together high-level executives, thought

     leaders and influential managers .. to hold strategic business discussions on the most pressing

     industry issues."278 The conferences also gave the Marketing and Distributor Defendants

     "unmatched opportunities to network with [their] peers and trading partners at all levels of the

     healthcare distribution industry."279 The HDA and its conferences were significant opportunities

     for the Marketing and Distributor Defendants to interact at a high-level of leadership. The

     Marketing Defendants embraced this opportunity by attending and sponsoring these events.280

                 485.   After becoming members of the HDA, Defendants were eligible to participate


     276 Business and Leadership Conference — Information for Manufacturers, Healthcare .
     Distribution Alliance, hups://www.heaithcaredistribution.org/events/2015-business-and-
     leadership-conference/b1c-for-manufacturers (last accessed on September 14, 2017, and no
     longer available).Aug. 1, 2018, and no longer available).

     279   Id.

     28°2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
     https://www.hea lthcaredi st ributi on.org/even ts/2015-distribution-management-conference. (last
     accessed Aug. 1,2018).

                                                         200
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 216 of
                                     358




     on councils, committees, task forces and working groups, including:

                 a. Industry Relations Council: "This council, composed of distributor and
                    manufacturer members, provides leadership on pharmaceutical distribution
                    and supply chain issues."

                 b. Business Technology Committee: "This committee provides guidance to HDA
                    and its members through the development of collaborative e-commerce business
                    solutions. The committee's major areas of focus within pharmaceutical
                    distribution include information systems, operational integration and the impact
                    of e-commerce." Participation in this committee includes distributor and
                    manufacturer members.

                 c. Logistics Operation Committee: "This committee initiates projects designed to
                    help members enhance the productivity, efficiency and customer satisfaction
                    within the healthcare supply chain. Its major areas of focus include process
                    automation, information systems, operational integration, resource management
                    and quality improvement." Participation in this committee includes distributor and
                    manufacturer members.

                 d. Manufacturer Government Affairs Advisory Committee: "This committee
                    provides a forum for briefing HDA's manufacturer members on federal and state
                    legislative and regulatory activity affecting the pharmaceutical distribution
                    channel. Topics discussed include such issues as prescription drug traceability,
                    distributor licensing, FDA and DEA regulation of distribution, importation and
                    Medicaid/Medicare reimbursement." Participation in this committee includes
                    manufacturer members.

                 e. Contracts and Chargebacks Working Group: "This working group explores how
                    the contract administration process can be streamlined through process
                    improvements or technical efficiencies. It also creates and exchanges industry
                    knowledge of interest to contract and chargeback professionals." Participation in
                    this group includes manufacturer and distributor members.

             486. The Distributor Defendants and Marketing Defendants also participated, through

     the HDA, in Webinars and other meetings designed to exchange detailed information regarding

     their prescription opioid sales, including purchase orders, acknowledgements, ship notices, and

     invoices.281 For example, on April 27, 2011, the IIDA offered a Webinar to "accurately and


        Webinars, Healthcare Distribution Alliance, (last accessed on SeptemberSept. 14, 2017),
     https://vvww.healthcaredistribution.orglresourees/webinar-leveraging-edi.


                                                       201
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 217 of
                                     358




     effectively exchange business transactions between distributors and manufacturers..." The

     Marketing Defendants used this information to gather high-level data regarding overall

     distribution and to direct the Distributor Defendants on how to most effectively sell prescription

     opioids.

            487.    Taken together, the interaction and length of the relationships between and among

     the Marketing and Distributor Defendants reflect a deep level of interaction and cooperation

     between two groups in a tightly knit industry. The Marketing and Distributor Defendants were

     not two separate groups operating in isolation or two groups forced to work together in a closed

     system. Defendants operated together as a united entity, working together on multiple fronts, to

     engage in the unlawful sale of prescription opioids. The 1-1DA and the Pain Care Forum are but

     two examples of the overlapping relationships and concerted joint efforts to accomplish common

     goals and demonstrates that the leaders of each of the Defendants were in communication and

     cooperation.

            488.    Publications and guidelines issued by the HDA confirm that the Defendants

     utilized their membership in the HDA to form agreements. Specifically, in the fall of 2008, the

     HDA published the Industry Compliance Guidelines: Reporting Suspicious Orders and

     Preventing Diversion of Controlled Substances (the "Industry Compliance Guidelines")

     regarding diversion. As the HDA explained in an amicus brief, the Industry Compliance

     Guidelines were the result of la] committee of HDMA members contribut[ing] to the

     development of this publication" beginning in late 2007.

            489.    This statement by the HDA and the Industry Compliance Guidelines support the

     allegation that Defendants utilized the HDA to form agreements about their approach to their

     legal duties with respect to the distribution of controlled substances. As John M. Gray,



                                                    202
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 218 of
                                     358




     President/CEO of the HDA stated to the Energy and Commerce Subcommittee on Health in

     April 2014, it is "difficult to find the right balance between proactive anti-diversion efforts while

     not inadvertently limiting access to appropriately prescribed and dispensed medications." Here, it

     is apparent that all of the Defendants found the same balance — an overwhelming pattern and

     practice of failing to identify, report or halt suspicious orders, and failure to prevent diversion.

            490.    The Defendants worked together to control the flow of information and to

     influence governments to pass legislation that supported the use of opioids and limited the

     authority of law enforcement to rein in illicit or inappropriate prescribing and distribution. The

     Marketing and Distributor Defendants did this through their participation in the PCF and HDA.

            491.    The Defendants also had obligations to report suspicious orders of other parties if

     they became aware of them. Defendants were thus collectively responsible for each other's

     compliance with their reporting obligations.

            492.    Defendants thus knew that their own conduct could be reported by other

     distributors or manufacturers and that their failure to report suspicious orders they filled could

     be revealed. As a result, Defendants had an incentive to communicate with each other about the

     reporting of suspicious orders to ensure consistency.

            493.    The desired consistency was achieved. As described below, none of the

     Defendants reported suspicious orders and the flow of opioids continued unimpeded.

            2.      Defendants Were Aware of and Have Acknowledged Their Obligations to
                    Prevent Diversion and to Report and Take Steps to Halt Suspicious Orders

            494.    The reason for the reporting rules is to create a "closed" system intended to

     control the supply and reduce the diversion of these drugs out of legitimate channels into the

     illicit market, while at the same time providing the legitimate drug industry with a unified

     approach to narcotic and dangerous drug control. Both because distributors handle such large


                                                      203
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 219 of
                                     358




     volumes of controlled substances, and because they are uniquely positioned, based on their

     knowledge of their customers and orders, as the first line of defense in the movement of legal

     pharmaceutical controlled substances from legitimate channels into the illicit market,

     distributors' obligation to maintain effective controls to prevent diversion of controlled

     substances is critical. Should a distributor deviate from these checks and balances, the closed

     system of distribution, designed to prevent diversion, collapses.282

                 495.   Defendants were well aware they had an important role to play in this system, and

     also knew or should have known that their failure to comply with their obligations would have

     serious consequences.

                 3.     Defendants Kept Careful Track of Prescribing Data and Knew About
                        Suspicious Orders and Prescribers

                 496.   The data that reveals and/or confirms the identity of each wrongful opioid

     distributor is hidden from public view in the DEA's Confidential Automation of Reports and

     Consolidated Orders System (ARCOS) database. The data necessary to identify with specificity

     the transactions that were suspicious is in possession of the Distributor and Marketing

     Defendants but has not been disclosed to the public.

                 497.   Publicly available information confirms that Distributor and Marketing

     Defendants funneled far more opioids into communities across the United States than could have

     been expected to serve legitimate medical use and ignored other red flags of suspicious orders.

     This information, along with the information known only to Distributor and Marketing

     Defendants, would have alerted them to potentially suspicious orders of opioids.

                 498.   This information includes the following facts:



     282   Rannazzisi Decl. 11 10, Cardinal Health, Inc. V. Holder. No. 1:12-cv-00185-RBW ECF No. 14-2
           See
     (D.D.C. Feb. 10, 2012).

                                                        204
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 220 of
                                     358




                 a. distributors and manufacturers have access to detailed transaction-level data on the
                    sale and distribution of opioids, which can be broken down by zip code, prescriber,
                    and pharmacy and includes the volume of opioids, dose, and the distribution of
                    other controlled and non-controlled substances;

                b. manufacturers make use of that data to target their marketing and, for that purpose,
                   regularly monitor the activity of doctors and pharmacies;

                c. manufacturers and distributors regularly visit pharmacies and doctors to promote
                   and provide their products and services, which allows them to observe red flags of
                   diversion;

                d. Distributor Defendants together account for approximately 90% of all revenues
                   from prescription drug distribution in the United States, and each plays such a large
                   part in the distribution of opioids that its own volume provides a ready vehicle for
                   measuring the overall flow of opioids into a pharmacy or geographic area; and

                e. Marketing Defendants purchased chargeback data (in return for discounts to
                   Distributor Defendants) that allowed them to monitor the combined flow of opioids
                   into a pharmacy or geographic area.

            499.    The conclusion that Defendants were on notice of the problems of abuse and

     diversion follows inescapably from the fact that they flooded communities with opioids in

     quantities that they knew or should have known exceeded any legitimate market for opioids-even

     the wider market for chronic pain.

            500.    At all relevant times, the Defendants were in possession of national, regional,

     state, and local prescriber-and patient-level data that allowed them to track prescribing patterns

     over time. They obtained this information from data companies, including but not limited to:

     IMS Health, QuintilcsIMS, 1QVIA, Pharmaceutical Data Services, Source Healthcare Analytics,

     NOS Health Information Services, Verispan, Quintiles, SDI Health, ArcLight, Seriptline,

     Wolters Kluwer, and/or PRA Health Science, and all of their predecessors or successors in

     interest (the "Data Vendors"). The Distributor Defendants developed "know your customer"

     questionnaires and files. This information, compiled pursuant to comments from the DEA in

     2006 and 2007, was intended to help the Defendants identify suspicious orders or customers who

                                                     205
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 221 of
                                     358




     were likely to divert prescription opioids.283 The "know your customer" questionnaires informed

     the Defendants of the number of pills that the pharmacies sold, how many non-controlled

     substances were said compared to controlled substances, whether the pharmacy purchased

     opioids from other distributors, and the types of medical providers in the area, including pain

     clinics, general practitioners, hospice facilities, cancer treatment facilities, and others. These

     questionnaires put the recipients on notice of suspicious orders.

               501. Defendants purchased nationwide, regional, state, and local prescriber- and

     patient-level data from the Data Vendors that allowed them to track prescribing trends, identify

     suspicious orders, identify patients who were doctor shopping, identify pill mills, etc. The Data

     Vendors' information purchased by the Defendants allowed them to view, analyze, compute, and

     track their competitors' sales, and to compare and analyze market share information.284 IMS

     Health, for example, provided Defendants with reports detailing prescriber behavior and the

     number of prescriptions written between competing products.285 Similarly, Wolters Kluwer, an

     entity that eventually owned data mining companies that were created by Cardinal (ArcLight),

     provided the Defendants with charts analyzing the weekly prescribing patterns of multiple




     283   Suggested Questions a Distributor should as prior to shipping controlled substances, DEA,
     https://www.deadiversion.usdoj.govhntgs/phann industry/14th oharm/levinl ques.pdf; Richard Widup,
     Jr. & Kathleen H. Dooley, Esq. Pharmaceutical Product Diversion: Beyond the PDMA, Purdue Pharma
     and             McGuireWoods               LLC,               https://www.meguirewoods.com/news-
     resourees/publications/lifesciences/produet diversion hevond_pdma.pdf.

      284A Verispan representative testified that the Supply Chain Defendants use the prescribing information
      to "drive market share." Sorrel/ v. IMS Health Inc., 2011 WL 661712, *9-10 (Feb. 22, 2011).

     285   Paul Kallukaran & Jerry Kagan, Data Mining at IMS HEALTH: How we Turned a Mountain of Data
     into                 a                 Few                  Information-rich
     http://eiteseerx.ist.psu.edu/viewdoc/download?doi=10.1,1.198.349&rep=reo I Sztype=pdf. Figure 2 at p. 3
     (last accessed Aug. 1,2018).




                                                       206
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 222 of
                                     358




     physicians, organized by territory, regarding competing drugs and analyzed the market share of

     those drugs.286

                502.    This information allowed the Defendants to track and identify instances of

     overprescribing. In fact, one of the Data Vendors' experts testified that the Data Vendors'

     information could be used to track, identify, report and halt suspicious orders of controlled

     substances.287 Defendants were, therefore, collectively aware of the suspicious orders that flowed

     from their facilities.

                503.    Defendants refused to identify, investigate, and report suspicious orders to the

     DEA when they became aware of the same despite their actual knowledge of drug diversion

     rings. As described in detail below, Defendants refused to identify suspicious orders and diverted

     drugs despite the DEA issuing final decisions against the Distributor Defendants in 178

     registrant actions between 2008 and 2012288 and 117 recommended decisions in registrant

     actions from The Office of Administrative Law Judges. These numbers include 76 actions

     involving orders to show cause and 41 actions involving immediate suspension orders, all for

     failure to report suspicious orders.285'

                504.    Sales representatives were also aware that the prescription opioids they were




     286   Sorrell v. IMS Health Inc., 2011 WL 705207, at *467-471 (Feb. 22, 2011).

     282 ln Sorrell, expert Eugene "Mick" Kolassa testified, on behalf of the Data Vender, that "a firm that
     sells narcotic analgesics was able to use prescriber-identifiable information to identify physicians that
     seemed to be prescribing an inordinately high number of prescriptions for their product." Id; see also
     Joint Appendix in Sorrell v. v. IMS Health, 2011 WI, 687134, at *204 (Feb. 22, 2011).

     288Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep't of Justice, The Drug
     Enforcement Administration's Adjudication of Registrant Actions 6 (2014),
     https://oigjustice.gov/reports/2014/e1403.pdf. httos://oizjustice.eov/reports/2014/e1403.pdf
     (hereinafter "The Drug Enforcement Administration 's Adjudication of Registrant Actions").

     "9 Id.

                                                         207
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 223 of
                                     358




     promoting were being diverted, often with lethal consequences. As a sales representative wrote

     on a public forum:

                       Actions have consequences - so some patient gets Rx'd the 80rng
                       OxyContin when they probably could have done okay on the
                       20mg (but their doctor got "sold" on the 80ing) and their teen
                       son/daughter/child's teen friend finds the pill bottle and takes out
                       a few 80's... next they're at a pill party with other teens and some
                       kid picks out a green pill from the bowl... they go to sleep and
                       don't wake up (because they don't understand respiratory
                       depression). Stupid decision for a teen to make.. .yes... but do they
                       really deserve to die?

               505.   Moreover, Defendants' sales incentives rewarded sales representatives who

     happened to have pill mills within their territories, enticing those representatives to look the

     other way even when their in-person visits to such clinics should have raised numerous red flags.

     In one example, a pain clinic in South Carolina was diverting massive quantities of OxyContin.

     People traveled to the clinic from towns as far as 100 miles away to get prescriptions, the DEA's

     diversion unit raided the clinic, and prosecutors eventually filed criminal charges against the

     doctors. But Purdue's sales representative for that territory, Eric Wilson, continued to promote

     OxyContin sales at the clinic. He reportedly told another local physician that this clinic

     accounted for 40% of the OxyContin sales in his territory. At that time, Wilson was Purdue's

     top-ranked sales representative.290 in response to news stories about this clinic, Purdue issued a

     statement, declaring that "if a doctor is intent on prescribing our medication inappropriately,

     such activity would continue regardless of whether we contacted the doctor or not."2"

               506.   In another example, a Purdue sales manager informed her supervisors in 2009



     " Pain Killer, supra n. 15, at 298-300.
     2


     '11 Id.
     2




                                                       208
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 224 of
                                     358




     about a suspected pill mill in Los Angeles, reporting over email that when she visited the clinic

     with her sales representative, "it was packed with a line out the door, with people who looked

     like gang members," and that she felt "very certain that this an organized drug ring.]"292 She

     wrote, "This is clearly diversion. Shouldn't the DEA be contacted about this?" But her

     supervisor at Purdue responded that while they were "considering all angles," it was "really up to

     [the wholesaler] to make the report."' This pill mill was not only distributing opioids locally -

     over a million pills were transported to the City of Everett, Washington. a city of around 100,000

     people. Couriers drove up 1-5 through California and Oregon, or flew from Los Angeles to

     Seattle. The Everett-based dealer who received the pills from southern California wore a

     diamond necklace in the shape of the West Coast states with a trail of green gemstones—the

     color of 80-milligram OxyContin—connecting Los Angeles and Washington state. Purdue

     waited until after the clinic was shut down in 2010 to inform the authorities. At Purdue, the

     Purdue Individual Defendants were well aware of the importance of prolific prescribers, which

     they and their staff referred to internally, at times; as "core," "super core," "high value" and

     "high potential" prescribers. In fact, it was an explicit, and significant, sales strategy to pay

     particular attention to actual and potential prolific prescribers, which the Purdue Individual

     Defendants understood to account for approximately 10% of overall revenues. At Purdue, the

     Sackler Defendants and Purdue Officer Defendants were aware that Purdue regularly received

     "Reports of Concern" about abuse and diversion of opioids, as well as reports of other adverse

     events, and also calls to Purdue's compliance "hotline." In July 2007, staff told the Sackler



     292 Harriet Ryan et al., More than I million OxyContin pills ended up in the hands of criminals and
     addicts. What the drug maker knew, LOS ANGELES TIMES (July 10, 2016),
     httn://www.latirnes.com/projects/la-rne-oxveontin-part2/.

     2931d.



                                                        209
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 225 of
                                     358




     Defendants and Purdue Officer Defendants that more than 5,000 cases of adverse events had

     been reported to Purdue in just the first three months of 2007. Staff also told the Sackler

     Defendants and Purdue Officer Defendants that Purdue received 572 Reports of Concern about

     abuse and diversion of Purdue opioids during Q2 2007. Staff reported to the Sackler Defendants

     that they completed only 21 field inquiries in response. Staff also told the Sackler Defendants that

     they received more than 100 calls to Purdue's compliance hotline during the quarter, which was

     a "significant increase," but Purdue did not report any of the hotline calls or Reports of Concern

     to the FDA, DEA, Department of Justice, or state authorities. Purdue's self-interested failure to

     report abuse and diversion would continue, quarter after quarter, even though the 2007

     Judgment required Purdue to report "potential abuse or diversion to appropriate medical,

     regulatory or law enforcement authorities." Instead of reporting dangerous prescribers, or even

     directing sales reps to stop visiting them, the Sackler Defendants chose to keep pushing opioids

     to whoever prescribed the most. Purdue also tracked prescribers from whom there was a

     substantial possibility of opioids having been diverted, or, at a minimum, grossly over-

     prescribed. It described these prescribers as, collectively, "Region Zero," and even generated a

     map, given to members of the Board, correlating these prescribers with poison control calls and

     pharmacy thefts.




                                                     210
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 226 of
                                     358




                We are examining the spatial relationship between different aspects of the
                                                     abuse environment                                      fILLISSTRAM
                Poison Control oxycoclone exposure call density. Region Zero presuibers. and pharmacy theft




                                                                                                        Buigkry

                                                                                                        Robbery

                                                                                                     A Region Zero


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              scrACE! *AMC,. PrIP: ItAstral

                                              Map presented to the Purdue Board in 2011

     Once prescribers were categorized as part of "Region Zero," Purdue would eventually stop

     promoting to them, but it would not stop selling to them, and it would not report them to

     authorities. This would have been costly. Staff told Defendant Stewart, the Sacklcr Defendants

     and the Board that the company was receiving a steadily rising volume of hotline calls and other

     compliance matters in this timeframe, reaching an all-time high during October, November, and

     December 2010. Purdue made a calculated economic decision not to report suspicious

     prescribers and orders. Indeed, an internal Purdue study showed that the financial penalties

     imposed on drug companies for illegal marketing were "relatively small" when "compared to the

     perpetrating companies' profits." When the CDC issued a national warning against the highest

     and most dangerous doses of opioids, Purdue studied prescription data to calculate how much

                                                             211
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 227 of
                                     358



     profit it would lose if doctors followed the CDC's advice, and it elected not to. Defendants'

     obligation to report suspicious prescribing ran head on into their marketing strategy. Defendants

     did identify doctors who were their most prolific prescribers. However, this was done not to

     report them, but to market to them. It would make little sense to focus on marketing to doctors

     who may be engaged in improper prescribing only to report them to law enforcement.

            507.    Defendants purchased data from IMS Health (now IQV1A) or other proprietary

     sources to identify doctors to target for marketing and to monitor their own and competitors'

     sales. Marketing visits were focused on increasing, sustaining, or converting the prescriptions of

     the biggest prescribers, particularly through aggressive, high frequency detailing visits.

            508.    This focus on marketing to the highest prescribers demonstrates that

     manufacturers were keenly aware of the doctors who were writing large quantities of opioids.

     But instead of investigating or reporting those doctors, Defendants were singularly focused on

     maintaining, capturing, or increasing their sales.

            509.    Whenever examples of opioid diversion and abuse have drawn media attention,

     Purdue and other Marketing Defendants have consistently blamed "bad actors." For example, in

     2001, during a Congressional hearing, Purdue's attorney Howard Udell answered pointed

     questions about how it was that Purdue could utilize IMS Health data to assess their marketing

     efforts but not notice a particularly egregious pill mill in Pennsylvania run by a doctor named

     Richard Paolino. Udell asserted that Purdue was "fooled" by the doctor: "The picture that is

     painted in the newspaper [of Dr. Paolitio] is of a horrible, bad actor, someone who preyed upon

     this community, who caused untold suffering. And he fooled us all. He fooled law enforcement.




                                                     212
     Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 228 of
                                          358




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Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 229 of
                                     358




     He fooled the DEA. He fooled local law enforcement. He fooled us."294

                510.    But given the closeness with which they monitored prescribing patterns through

     IMS Health data, the Defendants either knew or chose not to know of the obvious drug

     diversions. In fact, a local pharmacist had noticed the volume of prescriptions coming from

     Paolino's clinic and alerted authorities. Purdue had the prescribing data from the clinic and

     alerted no one. Indeed, a Purdue executive referred to Purdue's tracking system and database as a

     "gold mine" and acknowledged that Purdue could identify highly suspicious volumes of

     prescriptions.

                511.    As discussed below, Endo knew that Opana ER was being widely abused. Yet, the

     New York Attorney General revealed, based on information obtained in an investigation into

     Endo, that Endo sales representatives were not aware that they had a duty to report suspicious

     activity and were not trained on the company's policies or duties to report suspicious activity,

     and Endo paid bonuses to sales representatives for detailing prescribers who were subsequently

     arrested for illegal prescribing.

                512.    Sales representatives making in-person visits to such clinics were likewise not

     fooled. But as pill mills were lucrative for the manufacturers and individual sales representatives

     alike, Marketing Defendants and their employees turned a collective blind eye, allowing certain

     clinics to dispense staggering quantities of potent opioids and feigning surprise when the most

     egregious examples eventually made the nightly news.




      294   Pain Killer, supra n. 15, at 179.




                                                        213
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 230 of
                                     358




             4.      Defendants Failed to Report Suspicious Orders or Otherwise Act to Prevent
                     Diversion

             513.    As discussed above, Defendants failed to report suspicious orders, prevent

     diversion, or otherwise control the supply of opioids flowing into communities across America.

     Despite the notice described above, Defendants continued to pump massive quantities of opioids

     into communities in disregard of their legal duties to control the supply, prevent diversion, and

     report and take steps to halt suspicious orders.

             514.    Governmental agencies and regulators have confirmed (and in some cases

     Defendants have admitted) that Defendants did not meet their obligations and have uncovered

     especially blatant wrongdoing.

             515.    For example, in 2017, the Department of Justice fined Mallinekrodt $35 million

     for failure to report suspicious orders of controlled substances, including opioids, and for

     violating recordkeeping requirements. The government alleged that "Mallinekrodt failed to

     design and implement an effective system to detect and report 'suspicious orders' for controlled

     substances - orders that are unusual in their frequency, size, or other patterns. .. [and]

     Mallinckrodt supplied distributors, and the distributors then supplied various U.S. pharmacies

     and pain clinics, an increasingly excessive quantity of oxycodone pills without notifying DEA of

     these suspicious orders." On December 23, 2016, Cardinal agreed to pay the United States $44

     million to resolve allegations that it violated reporting requirements in Maryland, Florida, and

     New York by failing to report suspicious orders of controlled substances, including oxycodone,

     to the DEA. In the settlement agreement, Cardinal admitted, accepted, and acknowledged that it

     had violated the CSA between January 1, 2009 and May 14, 2012 by failing to:

                  a. "timely identify suspicious orders of controlled substances and inform the
                     DEA of those orders, as required by 21 C.F.R. §1301.74(b)";



                                                        214
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 231 of
                                     358




                 b. "maintain effective controls against diversion of particular controlled
                    substances into other than legitimate medical, scientific, and industrial
                    channels, as required by 21 C.F.R. §1301.74., including the failure to make
                    records and reports required by the CSA or DEA's regulations for which a
                    penalty may be imposed under 21 U.S.C. §842(a)(5)"; and

                 c. "execute, fill, cancel, correct, file with the DEA, and otherwise handle DEA
                    'Form 222' order forms and their electronic equivalent for Schedule II
                    controlled substances, as required by 21 U.S.C. §828 and 21 C.F.R. Part
                    1305."

             516. In 2012, the State of West Virginia sued AmerisourceBergen and Cardinal, as

     well as several smaller wholesalers, for numerous causes of action, including violations of

     consumer credit and protection laws, antitrust laws, and, the creation of a public nuisance.

     Unsealed court records from that case demonstrate that AmerisourceBergen, along with

     Cardinal, shipped 423 million pain pills to West Virginia between 2007 and 2012.

     AmerisourceBergen itself shipped 80.3 million hydrocodone pills and 38.4 million oxycodone

     pills during that time period. These quantities demonstrate that the Defendants failed to control

     the supply chain or to report and take steps to halt suspicious orders. In 2016,

     AmerisourceBergen agreed to settle the West Virginia lawsuit for $16 million to the state;

     Cardinal settled for $20 million. Henry Schein, too, is a repeat offender. Since the company's

     inception, it has been subjected to repeated disciplinary actions across the United States for its

     sale and/or distribution of dangerous drugs to persons or facilities not licensed or otherwise

     authorized to possess such drugs. In 2014, Henry Schein Animal Health was investigated by the

     State of Ohio Board of Pharmacy due to its sale/distribution of wholesale dangerous drugs to an

     entity not holding a valid Ohio license. It reached a settlement with the Ohio Board of Pharmacy

     related to this investigation in 2015. Records from a disciplinary proceeding against a

     Wisconsin-licensed medical practitioner reveal that from May 2005 through September 2006,

     Henry Schein continued to deliver opioids to the provider, despite the fact that his license had


                                                     215
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 232 of
                                     358




     been suspended for inappropriate prescribing of opioids.

             517.   Thus, Defendants have admitted to disregarding their duties. They have admitted

     that they pumped massive quantities of opioids into communities around the country despite

     their obligations to control the supply, prevent diversions, and report and take steps to halt

     suspicious orders.

             5.     Defendants Delayed a Response to the Opioid Crisis by Pretending to
                    Cooperate with Law Enforcement

            518.    When a manufacturer or distributor does not report or stop suspicious orders,

     prescriptions for controlled substances may be written and dispensed to individuals who abuse

     them or who sell them to others to abuse. This, in turn, fuels and expands the illegal market and

     results in opioid-related overdoses. Without reporting by those involved in the supply chain, law

     enforcement may be delayed in taking action - or may not know to take action at all. After being

     caught failing to comply with particular obligations at particular facilities, Distributor

     Defendants made broad promises to change their ways and insisted that they sought to be good

     corporate citizens.

            519.    More generally, the Distributor Defendants publicly portrayed themselves as

     committed to working with law enforcement, opioid manufacturers, and others to prevent

     diversion of these dangerous drugs. For example, Defendant Cardinal claims that: "We challenge

     ourselves to best utilize our assets, expertise and influence to make our communities stronger

     and our world more sustainable, while governing our activities as a good corporate citizen in

     compliance with all regulatory requirements and with a belief that doing 'the right thing' serves

     everyone." Defendant Cardinal likewise claims to -lead [its] industry in anti-diversion strategies

     to help prevent opioids from being diverted for misuse or abuse." Along the same lines, it claims

     to "maintain a sophisticated, state-of-the-art program to identify, block and report to regulators


                                                      216
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 233 of
                                     358




     those orders of prescription-controlled medications that do not meet [its] strict criteria."

     Defendant Cardinal also promotes funding it provides for "Generation Rx," which funds grants

     related to prescription drug misuse. A Cardinal executive recently claimed that Cardinal uses

     "advanced analyties" to monitor its supply chain; Cardinal assured the public it was being "as

     effective and efficient as possible in constantly monitoring, identifying, and eliminating any

     outside criminal activity."

               520. Along the same lines, Defendant AmerisourceBergen has taken the public

     position that it is "work[ing] diligently to combat diversion and [is] working closely with

     regulatory agencies and other partners in pharmaceutical and healthcare delivery to help find

     solutions that will support appropriate access while limiting misuse of controlled substances." A

     company spokeswoman also provided assurance that: "At AmerisourceBergen, we are

     committed to the safe and efficient delivery of controlled substances to meet the medical needs

     of patients." Moreover, in furtherance of their effort to affirmatively conceal their conduct and

     avoid detection, the Supply Chain Defendants, through their trade associations, HDMA and

     NACDS, filed an amicus brief in Masters Pharmaceuticals, which made the following

     statements:295

                   a. "HDMA and NACDS members not only have statutory and regulatory
                      responsibilities to guard against diversion of controlled prescription drugs, but
                      undertake such efforts as responsible members of society."

                   b. "Distributors take seriously their duty to report suspicious orders, utilizing both
                      computer algorithms and human review to detect suspicious orders based on the
                      generalized information that is available to them in the ordering process."

               521. Through the above statements made on their behalf by their trade associations,

     and other similar statements assuring their continued compliance with their legal obligations, the


     295   Brief for HDMA and NACDS, supra n. 268, 2016 WL 1321983, at *3-4, *25.

                                                       217
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 234 of
                                     358




     Supply Chain Defendants not only acknowledged that they understood their obligations under

     the law, but they further asserted that their conduct was in compliance with those obligations.

             522.    Defendant Mallinckrodt similarly claims to be "committed. .. to fighting opioid

     misuse and abuse," and further asserts that: "In key areas, our initiatives go beyond what is

     required by law. We address diversion and abuse through a multidimensional approach that

     includes educational efforts, monitoring for suspicious orders of controlled substances ..."

             523.    Other Marketing Defendants also misrepresented their compliance with their legal

     duties and their cooperation with law enforcement. Purdue serves as a hallmark example of such

     wrongful conduct. Purdue deceptively and unfairly failed to report to authorities illicit or

     suspicious prescribing of its opioids, even as it has publicly and repeatedly touted its

     "constructive role in the fight against opioid abuse," including its commitment to ADF opioids

     and its "strong record of coordination with law enforcernent.296 At the heart of Purdue's public

     outreach is the claim that it works hand-in-glove with law enforcement and government agencies

     to combat opioid abuse and diversion. Purdue has consistently trumpeted this partnership since at

     least 2008, and the message of close cooperation is in virtually all of Purdue's recent

     pronouncements in response to the opioid epidemic.

             524.   Touting the benefits of ADF opioids, Purdue's website asserts: "[W]e are acutely

     aware of the public health risks these powerful medications create. . That's why we work with

     health experts, law enforcement, and government agencies on efforts to reduce the risks of opioid




     296Purdue, Setting The Record Straight On Our Anti-Diversion Programs (July 11, 2016),
     httn://www.purduepharma.conVnews-media/get-ihe-facts/settines-the-record-straight-on-our-anti-
     diversion-prograinst. (hereinafter "Setting The Record Straight On Our Anti-Diversion Programs").




                                                      218
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 235 of
                                     358




     abuse and misuse.. . ."297 Purdue's statement on "Opioids Corporate Responsibility" likewise

     states that c[f]or many years, Purdue has committed substantial resources to combat opioid abuse

     by partnering with ... communities, law enforcement, and government."' And, responding to

     criticism of Purdue's failure to report suspicious prescribing to government regulatory and

     enforcement authorities, the website similarly proclaims that Purdue "ha[s] a long record of close

     coordination with the DEA and other law enforcement stakeholders to detect and reduce drug

     diversion."299

                 525.   These public pronouncements create the false impression that Purdue is

     proactively working with law enforcement and government authorities nationwide to root out

     drug diversion, including the illicit prescribing that can lead to diversion. It aims to distance

     Purdue from its past conduct in deceptively marketing opioids and make its current marketing

     seem more trustworthy and truthful.

                 526.   Public statements by the Defendants and their associates created the false and

     misleading impression to regulators, prescribers, and the public that the Defendants rigorously

     carried out their legal duties, including their duty to report suspicious orders and exercise due

     diligence to prevent diversion of these dangerous drugs, and further created the false impression

     that these Defendants also worked voluntarily to prevent diversion as a matter of corporate

     responsibility to the communities their business practices would necessarily impact.




     297
        Purdue website, Opioids With Abuse-Deterrent Properties, available at http://vvww.
     purduepharma.com/healthcare-professionals/responsible-use-of-opioids/opio ids-with-abuse- deterrent-
     properties/ (last accessed Aug. 1, 2018).

     298   Id.

     299   Setting The Record Straight, supra n. 296. Contrary to its public statements, Purdue seems to have
     worked behind the scenes to push back against law enforcement.

                                                           219
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 236 of
                                     358




     B.      The Marketing Defendants' Unlawful Failure to Prevent Diversion and Monitor,
             Report. And Prevent Suspicious Orders

             527.   The same legal duties to prevent diversion, and to monitor, report, arid prevent

     suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

     were also legally required of the Marketing Defendants under Florida law. Like the Distributor

     Defendants, the Marketing Defendants were required to register with Florida Department of

     Business and Professional Regulation and the DEA to manufacture and distribute Schedule II

     controlled substances, like prescription opioids. Defendants violated Florida law in failing to

     report suspicious orders of opioid pain medications in Florida. Defendants violated Florida law

     in failing to maintain effective controls against the diversion of opioids into other than legitimate

     medical channels. Defendants also violated Florida law in failing to operate a system to stop

     orders which is flagged or should have been flagged as suspicious. Like the Distributor

     Defendants, the Marketing Defendants breached these duties.

            528.    The Marketing Defendants had access to and possession of the information

     necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

     Marketing Defendants engaged in the practice of paying "chargebacks- to opioid distributors.

     A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

     manufacturer's product at a price below a specified rate. After a distributor sells a

     manufacturer's product to a pharmacy, for example, the distributor requests a chargeback from

     the manufacturer and, in exchange for the payment, the distributor identifies to the

     manufacturer the product, volume and the pharmacy to which it sold the product. Thus, the

     Marketing Defendants knew — just as the Distributor Defendants knew — the volume,

     frequency, and pattern of opioid orders being placed and filled. The Marketing Defendants built

     receipt of this information into the payment structure for the opioids provided to the opioid


                                                     220
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 237 of
                                     358




     distributors. The Department of Justice has recently confirmed the suspicious order obligations

     clearly imposed by law upon opioid manufacturers, fining Mallinckrodt $35 million for failure

     to report suspicious orders of controlled substances, including opioids, and for violating

     recordkeeping requirements.300

                 529.   in the press release accompanying the settlement, the Department of Justice

     stated: "[Mallinckrodt] did not meet its obligations to detect and notify DEA of suspicious orders

     of controlled substances such as oxycodone, the abuse of which is part of the current opioid

     epidemic. These suspicious order monitoring requirements exist to prevent excessive sales of

     controlled substances, like oxycodone.". . . "Mallinckrodt's actions and omissions formed a link

     in the chain of supply that resulted in millions of oxycodone pills being sold on the street. . . .

     Manufacturers and distributors have a crucial responsibility to ensure that controlled substances

     do not get into the wrong hands. . .""1

                 530.   Among the allegations resolved by the settlement, the government alleged

     "Mallinckrodt failed to design and implement an effective system to detect and report

     'suspicious orders' for controlled substances — orders that are unusual in their frequency, size, or

     other patterns . . [and] Mallinckrodt supplied distributors, and the distributors then supplied

     various U.S. pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills

     without notifying DEA of these suspicious orders."302


     .3°° See Press Release, U.S. Dep't of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for
     Failure to Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11,
     2017),      https://www.justice. gov/opaintimallinckrodt-agrees-nav-record-35-million-settlement-fai lure-
     report-suspicious-orders.
     101
           Id,


     302   Id.




                                                        221
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 238 of
                                     358




             531. The Memorandum of Agreement entered into by Mallinckrodt ("2017

     Mallinckrodt MOA") avers "[a]s a registrant under the CSA, Mallinckrodt had a responsibility

     to maintain effective controls against diversion, including a requirement that it review and

     monitor these sales and report suspicious orders to DEA."303 Mallinckrodt further stated that it

     "recognizes the importance of the prevention of diversion of the controlled substances they

     manufacture" and agreed that it would "design and operate a system that meets the

     requirements of 21 C.F.R. § 1301.74(b) ... [such that it would] utilize all available transaction

     information to identify suspicious orders of any Mallinckrodt product." Mallinckrodt

     specifically agreed "to notify DEA of any diversion and/or suspicious circumstances involving

     any Mallinckrodt controlled substances that Mallinckrodt discovers." The 2017 Mallinckrodt

     MOA further details the DEA's allegations regarding Mallinckrodt's failures to fulfill its legal

     duties as an opioid manufacturer:

                 a. With respect to its distribution of oxycodone and hydrocodone products,
                    Mallinckrodes alleged failure to distribute these controlled substances in a
                    manner authorized by its registration and Mallinckrodes alleged failure to
                    operate an effective suspicious order monitoring system and to report
                    suspicious orders to the DEA when discovered as required by and in
                    violation of 21 C.F.R. § 1301.74(6). The above includes, but is not limited
                    to Mallinckrodt's alleged failure to: conduct adequate due diligence of its
                    customers;

                 b. Detect and report to the DEA orders of unusual size and frequency;

                 c. Detect and report to the DEA orders deviating substantially from normal patterns
                    including, but not limited to, those identified in letters from the DEA Deputy
                    Assistant Administrator, Office of Diversion Control, to registrants dated
                    September 27, 2006 and December 27, 2007:

                     i. orders that resulted in a disproportionate amount of a substance
                         which is most often abused going to a particular geographic region

       Administrative Memorandum of Agreement between the U.S. Dep't of Justice, the Drug Enr t Admin.,
     303
     and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10,2017), https://www.ju_stice.gov/usao-
     edmi/press-release/file/986026/download.


                                                        222
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 239 of
                                     358




                             where there was known diversion,

                         ii. orders that purchased a disproportionate amount of substance which
                             is most often abused compared to other products, and

                         iii. orders from downstream customers to distributors who were
                              purchasing from multiple different distributors, of which
                              Mallinckrodt was aware;

                     d. Use "chargeback" information from its distributors to evaluate suspicious orders.
                         Chargebacks include downstream purchasing information tied to certain
                         discounts, providing Mallincicrodt with data on buying patterns for Mallinckrodt
                         products; and

                     c. Take sufficient action to prevent recurrence of diversion by downstream customers
                        after receiving concrete information of diversion of Mallinckrodt product by those
                        downstream customers.304

                 532.    Mallincicrodt agreed that its "system to monitor and detect suspicious orders did

     not meet the standards outlined in letters from the DEA Deputy Administrator, Office of

     Diversion Control, to registrants dated September 27, 2006 and December 27, 2007."

     Mallinclu-odt further agreed that it "recognizes the importance of the prevention of diversion of

     the controlled substances they manufacture" and would "design and operate a system that meets

     the requirements of 21 C.F.R. 1301.74(b) . . . [such that it wouldi utilize all available transaction

     information to identify suspicious orders of any Mallincicrodt product. Further, Mallinekrodt

     agrees to notify DEA of any diversion and/or suspicions circumstances involving any

     Mall inckrodt controlled substances that Mall inckrodt discovers."3415

                 533.    Mallincicrodt acknowledged that lals part of their business model Mallincicrodt

     collects transaction information, referred to as chargeback data, from their direct customers

     (distributors). The transaction information contains data relating to the direct customer sales of



     3°4 Id.   at 2-3.

     "5 Id. at 3-4.

                                                         223
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 240 of
                                     358




     controlled substances to 'downstream' registrants." Mallinckrodt agreed that, from this data, it

     would "report to the DEA when Mallinckrodt concludes that the chargeback data or other

     information indicates that a downstream registrant poses a risk of diversion.'

                 534.    The same duties imposed by law on Mallinckrodt were imposed upon all

     Marketing Defendants.

                 535.    The same business practices utilized by Mallinckrodt regarding "charge backs"

     and receipt and review of data from opioid distributors regarding orders of opioids were utilized

     industry-wide among opioid manufacturers and distributors, including the other Marketing and

     Distributor Defendants.

                 536.    Through, inter alia, the charge back data, the Marketing Defendants could

     monitor suspicious orders of opioids.

                 537.    The Marketing Defendants failed to monitor, report, and halt suspicious orders of

     opioids as required by law.

                 538.    The Marketing Defendants' failures to monitor, report, and halt suspicious orders

     of opioids were intentional and unlawful.

                 539.    The Marketing Defendants have misrepresented their compliance with the laws

     regulating controlled substances.

                 540.    The wrongful actions and omissions of the Marketing Defendants that caused the

     diversion of opioids and which were a substantial contributing factor to and/or proximate cause

     of the opioid crisis are alleged in greater detail in Plaintiffs' allegations of Defendants' unlawful

     acts below.



     3°6 Id.   at p.5.



                                                        224
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 241 of
                                     358




             541. The Marketing Defendants' actions and omissions in failing to effectively prevent

     diversion and failing to monitor, report, and prevent suspicious orders have enabled the unlawful

     diversion of opioids throughout the United States.

     C.      The Distributor Defendants' Unlawful Distribution of Opioids

             542, The Distributor Defendants owe a duty under, inter alia, Florida common law

     and statutory law, to monitor, detect, investigate, refuse to fill, and report suspicious orders of

     prescription opioids as well as those orders which the Distributor Defendants knew or should

     have known were likely to be diverted.

            543.    The foreseeable harm from a breach of these duties was the medical, social, and

     financial consequences rippling through society, arising from the abuse of diverted opioids for

     nonmedical purposes.

            544.    Each Distributor Defendant repeatedly and purposefully breached its duties

     under Florida law. Such breaches are a direct and proximate causes of the widespread diversion

     of prescription opioids for nonmedical purposes, with the resultant medical and financial

     damages.

            545.    For over a decade, all the Defendants aggressively sought to bolster their

     revenue, increase profit, and grow their share of the prescription painkiller market by

     unlawfully and surreptitiously increasing the volume of opioids they sold. However,

     Defendants are not permitted to engage in a limitless expansion of their sales through the

     unlawful sales of regulated painkillers. Rather, as described below. Defendants are subject to

     various duties to report the quantity of Schedule 11 controlled substances in order to monitor

     such substances and prevent oversupply and diversion into the illicit market.

            546.    The unlawful diversion of prescription opioids is a direct and proximate cause of

     the opioid epidemic, prescription opioid abuse, addiction, morbidity and,mortality, with social

                                                      225
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 242 of
                                     358




     and financial costs borne by, among others, individuals, families and hospitals.

             547.   The Distributor Defendants intentionally continued their conduct, as alleged

     herein, with knowledge that such conduct was creating the opioid epidemic and causing the

     damages alleged herein.

     D.      The Distributor Defendants Breathed Their Duties

             548.   Opioids are a controlled substance. These "Schedule II" drugs are controlled

     substances with a high potential for abuse. Fla. Stat. Ann. § 893.02(4).

             549.   Each Distributor Defendant was required to obtain a permit from Florida

     Department of Business and Professional Regulation. Each Distributor Defendant is a

     "wholesale distributor" in the chain of distribution of Schedule 11 controlled substances with a

     duty to comply with all security requirements imposed under that statutory scheme.

            550.    Each Distributor Defendant has an affirmative duty to act as a gatekeeper

     guarding against the diversion of the highly addictive, dangerous opioid drugs.

            551.    Regulations impose a non-delegable duty upon wholesale drug distributors to

     "design and operate a system to disclose to the registrant suspicious orders of controlled

     substances. The registrant [distributor] shall inform the Florida Department of Business and

     Professional Regulation of suspicious orders when discovered by the registrant. Suspicious

     orders include orders of "extraordinary quantity of a listed chemical, an uncommon method of

     payment or delivery, or any other circumstance that the regulated person believes may indicate

     that the listed chemical will be used in violation of the law." Fla. Stat. Ann. § 499.0121(15)(b)

            552.    "Suspicious orders" include orders of an unusual size, orders of unusual

     frequency or orders deviating substantially from a normal pattern. These criteria are disjunctive

     and are not all inclusive. For example, if an order deviates substantially from a normal pattern,

     the size of the order does not matter and the order should be reported as suspicious. Likewise, a

                                                     226
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 243 of
                                     358




     wholesale distributor need not wait for a normal pattern to develop over time before

     determining whether a particular order is suspicious. The size of an order alone, regardless of

     whether it deviates from a normal pattern, is enough to trigger the wholesale distributor's

     responsibility to report the order as suspicious. The determination of whether an order is

     suspicious depends not only on the ordering patterns of the particular customer but also on the

     patterns of the entirety of the wholesale distributor's customer base and the patterns throughout

     the relevant segment of the wholesale distributor industry.

            553.    In addition to reporting all suspicious orders, distributors must also stop

     shipment on any order which is flagged as suspicious and only ship orders which were flagged

     as potentially suspicious if, after conducting due diligence, the distributor can determine that

     the order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed.

     Reg. 36,487, 36,501 (Drug Enft Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug

     Enforcement Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged

     orders must be reported. Id.

            554.    These prescription drugs are regulated for the purpose of providing a "closed"

     system intended to reduce the widespread diversion of these drugs out of legitimate channels

     into the illicit market, while at the same time providing the legitimate drug industry with a

     unified approach to narcotic and dangerous drug control.307

            555.    Because distributors are the first major line of defense in the movement of legal

     pharmaceutical controlled substances from legitimate channels into the illicit market, it is

     incumbent on them to maintain effective controls to prevent diversion of controlled substances.

            556.    As the DEA advised the Distributor Defendants in a letter dated September 27,




                                                     227
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 244 of
                                     358




     2006, wholesale distributors are "one of the key components of the distribution chain. If the

     closed system is to function properly        distributors must be vigilant in deciding whether a

     prospective customer can be trusted to deliver controlled substances only for lawful purposes.

     This responsibility is critical, as ... the illegal distribution of controlled substances has a

     substantial and detrimental effect on the health and general welfare of the American people."308

                 557.   The Distributor Defendants have admitted that they are responsible for reporting

     suspicious orders.309

                 558.   The DEA's September 27, 2006 letter also warned the Distributor Defendants

     that it would use its authority to revoke and suspend registrations when appropriate. The letter

     expressly states that a distributor, in addition to reporting suspicious orders, has a "statutory

     responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted

     into other than legitimate medical, scientific, and industrial ehannels."310 The letter also

     instructs that "distributors must be vigilant in deciding whether a prospective customer can be

     trusted to deliver controlled substances only for lawful purposes."311 The DEA warns that



     308See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm'r, Office of Diversion Control, Drug
     Enf t Admin., U.S. Dep't of Justice, to Cardinal Health (Sept. 27, 2006) (hereinafter "Rannazzisi Letter)")
     (-This letter is being sent to every commercial entity in the United States registered with the Drug Ent' t
     Admin. (DEA) to distribute controlled substances. The purpose of this letter is to reiterate the
     responsibilities of controlled substance distributors in view of the prescription drug abuse problem our
     nation currently faces."), Cardinal Health, Inc. v. Holder, No. I :12 -cv-00185- RBW, ECF No. 14-51
     (D.D.C. Feb. 10, 2012) (hereinafter "Letter from Joseph T. Rannazzisi to Cardinal Health").

     3°9See Brief for HDMA and NACDS, supra a. 268, 2016 WL 1321983, at *4 ("[R]egulations.. . in place
     for more than 40 years require distributors to report suspicious orders of controlled substances to DEA
     based on information readily available to them (e.g., a pharmacy's placement of unusually frequent or
     large orders).").

     310 Rannazzisi Letter, supra n. 308, at 2.

     311 Id.   at 1.




                                                        228
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 245 of
                                     358




     "even just one distributor that uses its DEA registration to facilitate diversion can cause

     enormous harm."

                 559.       The DEA sent a second letter to each of the Distributor Defendants on

     December 27, 2007.'2 This letter reminds the Distributor Defendants of their statutory and

     regulatory duties to -maintain effective controls against diversion" and "design and operate a

     system to disclose to the registrant suspicious orders of controlled substances."3I3 The letter

     further explains:

                       The regulation also requires that the registrant inform the local DEA Division
                       Office of suspicious orders when discovered by the registrant. Filing a
                       monthly report of completed transactions (e.g., "excessive purchase report" or
                       "high unity purchases") does not meet the regulatory requirement to report
                       suspicious orders.

                       The regulation specifically states that suspicious orders include orders of
                       unusual size, orders deviating substantially from a normal pattern, and orders
                       of an unusual frequency. These criteria are disjunctive and are not all inclusive.

                       Lastly, registrants that routinely report suspicious orders, yet fill these orders
                       without first determining that order is not being diverted into other than
                       legitimate medical, scientific, and industrial channels, may be failing to
                       maintain effective controls against diversion. Failure to maintain effective
                       controls against diversion is inconsistent with the public interest as that term
                       is used in 21 USC 823 and 824, and may result in the revocation of the
                       registrant's DEA Certificate of Registration 314

                 560.       Finally, the DEA letter references the Revocation of Registration issued in

     Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the

     obligation to report suspicious orders and "some criteria to use when determining whether an



     312   Id. at 2.

     313   See Letter from Joseph T. Rannazzisi to Cardinal Health, supra n. 308.

     314   1d.




                                                              229
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 246 of
                                     358




     order is suspicious."315

                 561.   The Distributor Defendants admit that they "have not only statutory and

     regulatory responsibilities to detect and prevent diversion of controlled prescription drugs, but

     undertake such efforts as responsible members of society..616

                 562.   The Distributor Defendants knew they were required to monitor, detect, and halt

     suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

     Management Association (now known as the HDA, a front group of the Defendants, discussed

     below), the trade association of pharmaceutical distributors, explain that distributors are "[alt

     the center of a sophisticated supply chain" and therefore "are uniquely situated to perform due

     diligence in order to help support the security of the controlled substances they deliver to their

     customers." The guidelines set forth recommended steps in the "due diligence" process, and

     note in particular: If an order meets or exceeds a distributor's threshold, as defined in the

     distributor's monitoring system, or is otherwise characterized by the distributor as an order of

     interest, the distributor should not ship to the customer, in fulfillment of that order, any units of

     the specific drug code product as to which the order met or exceeded a threshold or as to which

     the order was otherwise characterized as an order of intercst.317

                 563.   The FTC has recognized the unique role of distributors. Since their inception,

     Distributor Defendants have continued to integrate vertically by acquiring businesses that are



     3"    Id.

     316See Amiens Curiae Brief of Healthcare Distribution Mgmt. Ass'n in Support of App. Cardinal Health,
     Inc., Cardinal Health, Inc. v. U.S. Deptt of Justice, No. 12- 5061 (D.C. Cir. May 9,2012), 2012 WL
     16370I6„ at *10 (hereinafter "Brief of HDMA in Support of Cardinal).).").

       Healthcare Distribution Mgmt. Ass'n (HDMA) Industry Compliance Guidelines: Reporting Suspicious
     317
     Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder„
     Doc. No. 1362415 (App'x B), No. 12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App'x B).

                                                        230
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 247 of
                                     358




     related to the distribution of pharmaceutical products and health care supplies. In addition to the

     actual distribution of pharmaceuticals, as wholesalers, Distributor Defendants also offer their

     pharmacy, or dispensing, customers a broad range of added services. For example, Distributor

     Defendants offer their pharmacies sophisticated ordering systems and access to an inventory

     management system and distribution facility that allows customers to reduce inventory carrying

     costs. Distributor Defendants are also able to use the combined purchase volume of their

     customers to negotiate the cost of goods with manufacturers and offer services that include

     software assistance and other database management support. See Fed. Trade Comm '17 v.

     Cardinal Health, Inc., 12 F. Supp. 2d 34, 41 (D.D.C. 1998) (granting the FTC's motion for

     preliminary injunction and holding that the potential benefits to customers did not outweigh the

     potential anti-competitive effect of a proposed merger between Cardinal, Inc. and Bergen

     Brunswig Corp.). As a result of their acquisition of a diverse assortment of related businesses

     within the pharmaceutical industry, as well as the assortment of additional services they offer,

     Distributor Defendants have a unique insight into the ordering patterns and activities of their

     dispensing customers.

            564. The DEA also repeatedly reminded the Defendants of their obligations to report

     and decline to fill suspicious orders. Responding to the proliferation of pharmacies operating on

     the internet that arranged illicit sales of enormous volumes of ()plaids to drug dealers and

     customers, the DEA began a major push to remind distributors of their obligations to prevent

     these kinds of abuses and educate them on how to meet these obligations. Since 2007, the DEA

     has hosted at least five conferences that provided registrants with updated information about

     diversion trends and regulatory changes. Each of the Distributor Defendants attended at least

     one of these conferences. The DEA has also briefed wholesalers regarding legal, regulatory,



                                                     231
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 248 of
                                     358




     and due diligence responsibilities since 2006. During these briefings, the DEA pointed out the

     red flags wholesale distributors should look for to identify potential diversion.

             565.    Each of the Distributor Defendants sold prescription opioids, including

     hydrocodone and/or oxycodone, to retailers from which the Distributor Defendants knew

     prescription opioids were likely to be diverted.

             566.   Each Distributor Defendant owes a duty to monitor, detect and refuse suspicious

     orders of prescription opioids, to report suspicious orders of prescription opioids and to prevent

     the diversion of prescription opioids into illicit markets.

             567.   The laws at issue here concerning the sale and distribution of controlled

     substances are also the public safety statutes and regulations of states in which Plaintiffs'

     hospitals operate.

             568.   The Distributor Defendants' violations of public safety statutes constitute prima

     facie evidence of negligence under state law.

            569.    The unlawful conduct by the Distributor Defendants is purposeful and intentional.

     The Distributor Defendants refuse to abide by the duties imposed by state law which are required

     to legally acquire and maintain a license to distribute prescription opiates.

            570.    The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

     they have acted with a conscious disregard for the rights and safety of other persons, and said

     actions have a great probability of causing substantial harm.

            1.      Inadequate Compliance Staffing and Training

            571.    First, the Distributor Defendants routinely failed to staff their compliance

     functions with qualified personnel, and failed to provide those compliance employees and their

     sales representatives with appropriate training. Even front-line compliance functions, such as

     approving threshold increases, detecting, blocking, and reporting suspicious orders, and

                                                        232
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 249 of
                                     358




     terminating and/or suspending customers, were often assigned to operations, sales and

     administrative employees who had no experience with regulatory compliance of any kind.

            2.      Inadequate Scrutiny of Customers

            572.    None of the Distributor Defendants had a consistent practice of conducting

     appropriate due diligence of either prospective new customers or their existing customers. New

     customers were routinely on-boarded despite the acknowledged presence of unresolved red flags,

     and none of the Distributor Defendants ensured that additional investigations were conducted

     when existing customers made suspicious orders, even when compliance staff flagged those

     orders as suspicious, blocked them, and reported them to the State.

            573.    Indeed, the Distributor Defendants routinely allowed their customers to make

     multiple suspicious orders within the same month, week, or even year, without conducting any

     additional due diligence of those customers. In fact, salespeople would warn customers when

     (hey were approaching their monthly threshold limits for ordering certain categories of controlled

     substances, putting them in a position to assist their customers in evading compliance reviews

     that would have otherwise occurred by manipulating the timing and volume of their orders.

            574.    Even where customers had to be blocked from ordering opioids in excess of their

     monthly threshold allowance multiple times within that month, the Distributor Defendants would

     allow those customers to resume ordering opioids the next month, at the same volume levels as

     before, without requiring any follow up investigation.

            575.    And none of the Distributor Defendants conducted periodic, unexpected due

     diligence audits of their customers, even among the easily identifiable and relatively small

     groups of pharmacies that consistently ordered the highest volumes of opioids. Instead, these

     pharmacies could go for years without the Distributor Defendants updating their knowledge of

     those customers' prescriber base, customer traffic patterns, and other relevant store conditions.

                                                     233
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 250 of
                                     358




     Even when those pharmacies were scrutinized, the customer was often warned in advance.

                3.      Failure to Detect, Block and Report Suspicious Orders

                576.    The Distributor Defendants failed to report "suspicious orders," which the

     Distributor Defendants knew were likely to be diverted, to the relevant governmental authorities.

                577.    The Distributor Defendants unlawfully filled suspicious orders of unusual size,

     orders deviating substantially from a normal pattern, and/or orders of unusual frequency, and/or

     in areas from which the Distributor Defendants knew opioids were likely to be diverted.

                578.    The Distributor Defendants breached their duty to monitor, detect, investigate,

     refuse and report suspicious orders of prescription opiates, and/or in areas from which the

     Distributor Defendants knew opioids were likely to be diverted.

                579.    The Distributor Defendants breached their duty to maintain effective controls

     against diversion of prescription opiates into other than legitimate medical, scientific, and

     industrial channels.

                580.    The Distributor Defendants breached their duty to "design and operate a system to

     disclose to the registrant suspicious orders of controlled substances" and failed to inform the

     authorities, including the DEA, of suspicious orders when discovered in violation of their duties

     under state law.

                581.   The Distributor Defendants breached their duty to exercise due diligence to avoid

     filling suspicious orders that might be diverted into channels other than legitimate medical,

     scientific, and industrial channels.318 While the Distributor Defendants' policies nominally

     allowed for compliance staff to identify any order as suspicious, as a matter of practice, only

     orders that exceeded a customer's monthly threshold limit for a particular category of controlled



     318   See Cardinal Health. Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).


                                                         234
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 251 of
                                     358




     substances would actually trigger a compliance review. As a result, untold numbers of opioid

     orders that should have been reviewed due to their unusual size or frequency, or their departure

     from the customers' normal ordering patterns, were never even checked to determine whether

     they were suspicious. Because the Distributor Defendants routinely allowed their customers to

     obtain information about the monthly threshold limits governing their orders of opioid products,

     orders customers made within the limits after being enabled to "game" them were improperly

     excluded from compliance review, when they all should have been checked to see whether the

     customers were deliberately structuring their orders to evade scrutiny.

            582.    Even as to orders that exceeded customers' monthly thresholds, the Distributor

     Defendants, over varying time periods, routinely failed to accurately identify those orders as

     suspicious. Instead, they released those orders for delivery based on perfunctory and unverified

     information provided by the customer, or for no documented reason at all. Moreover, even when

     the Distributor Defendants did identify orders as suspicious and did block them from delivery to

     customers, they routinely failed to report those suspicious orders to the State, sometimes going

     months or years without reporting any at all. When they did make suspicious-order reports, the

     reports were routinely incomplete, for example, by failing to identify all of the relevant

     suspicious orders for a customer, even when they were made within the same month, week, or

     even day.

            583.    The sheer volume of prescription opioids distributed to pharmacies in various

     areas, and/or to pharmacies from which the Distributor Defendants knew the opioids were likely

     to be diverted, was excessive for the medical need of the community and facially suspicious.

     Some red flags are so obvious that no one who engages in the legitimate distribution of




                                                     235
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 252 of
                                     358




     controlled substances can reasonably claim ignorance of them.319

             4.      Distributor Defendants Failed to Suspend Suspicious Customers

             584. The Distributor Defendants failed to act to suspend customers from ordering

     controlled substances, let alone terminate their accounts, even after compliance staff had blocked

     and reported dozens, or even hundreds, of suspicious orders from those customers. In the

     relatively rare instances where a customer had been terminated or suspended, the Distributor

     Defendants allowed them to reinstate their accounts, or open accounts under new business

     names, without investigating and resolving the issues that had led to the initial termination or

     suspension.

             5.      Distributor Defendants Failed to Adequately Maintain Accessible Data
                     Concerning Customers and Prescribers

             585.    None of the Distributor Defendants systematically stored, organized, and made

     accessible for reference information about their customers or their owners, pharmacists, and top

     prescribers, in order to allow for meaningful future compliance efforts.

             586.    The Distributor Defendants did not require compliance staff to obtain customers'

     prescriber information, and some actually changed their policies to forbid such inquiries,

     willfully blinding themselves to one of the most important indicators of diversion. While

     compliance staff and/or third-party investigators retained by the Distributor Defendants would

     sometimes flag prescribers as suspicious in the course of conducting due diligence of a

     pharmacy, that information was not stored or shared in any useable format. As a result, when the

     same suspicious prescriber appeared among another pharmacy's top prescribers, the compliance

     staff handling that subsequent due diligence investigation would have no way of knowing about



     319 Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015)) (citing Holiday CVS,

     L.L.C., d/b/a CVS/Pharmacy, Nos. 219 and 5195, 77 Fed. Reg. 62,316; 62,322 (2012)).)).


                                                       236
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 253 of
                                     358




     this risk that had already been identified, unless they had personally handled the earlier

     investigation, and happened to remember the prescriber's name. Similarly, they made no effort to

     collect and compare information about pharrnacies that made high-volume orders of opioids, had

     been flagged for making suspicious orders, or had been suspended or terminated for suspicious

     or illegal practices. As a result, compliance staff had no way of knowing that a pharmacy they

     were investigating shared ordering patterns or top prescribers with another risky, suspicious,

     and/or previously disciplined customer.

            6.      The Distributor Defendants Failed to Report Violations to Government
                    Authorities

            587.    The Distributor Defendants failed to promptly report compliance violations to the

     State of Florida, and other governments. Indeed, even when they actually detected failures in

     their compliance systems, they made no effort to report those known incidents. More broadly,

     due to the combination of systematic failures riddling their compliance systems described above,

     none of the Distributor Defendants had the competence to effectively detect their own violations.

            588.    For example, if any of the relevant Distributor Defendants had conducted periodic

     audits of their own records of customers' orders, those customers' patterns of ordering in excess

     of their monthly threshold allowance for °plaid products, the number of times those orders were

     released without justification, and the number of times those orders were blocked as suspicious

     without being reported to government agencies and/or triggering additional investigations,

     suspensions, or terminations, they would have each been obliged to report hundreds, if not

     thousands, of violations at a time.

            589.    In short, the Distributor Defendants deliberately lied to Florida and other states,

     both expressly and by omission, year in and year out, about the effectiveness of their compliance

     systems and the incidence of violations, so that they could fraudulently maintain their licenses to


                                                     237
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 254 of
                                     358




     continue doing business in Florida and elsewhere.

             590.   The Distributor Defendants' repeated shipments of suspicious orders., over an

     extended period of time, in violation of public safety statutes, and without reporting the

     suspicious orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or

     criminal indifference to civil obligations affecting the rights of others and justifies an award of

     punitive damages.

             7.     Each of the Distributor Defendants Engaged in Wrongful Conduct

                    a.      Cardinal

                           i.      Cardinal's Flawed Written Policies Enabled Opioid Diversion
             591.   Cardinal's written policies for compliance were and are contained in Standard

     Operating Procedures ("SOPs") that apply to its various operating and sales departments. These

     SOPs were first implemented in 2008 and have since undergone several revisions.

             592.   These policies were fundamentally flawed in that they were not coordinated

     within the context of a consistent, unified umbrella policy to prevent the diversion of controlled

     substances, resulting in employees governed by one of the SOPs being unaware of the

     obligations imposed by other SOPs on other employees, even when effective anti-diversion

     measures required that understanding and coordination. Furthermore, these documents are not

     readily available even to the employees charged with implementing them.

             593.   In addition, Cardinal's SOPs and policies contained numerous gaps that would

     have prevented them from effectively preventing diversion, even if enforced. For example, these

     policies:

                    new accounts with no formal mechanism to ensure review and approval by a
                    supervisor;
                    Allowed onboarding of new accounts even where customers failed to provide
                    requested information about other suppliers, dispensing data, and top prescriber
                    information; and


                                                     238
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 255 of
                                     358




             •       Allowed compliance staff to release a customer's first order in excess of its
                     monthly threshold, regardless of whether the customer made other orders in
                     excess of the same drug threshold at the same time.
             •       Allowed compliance staff to approve on boarding Cardinal's Failure to
                     Effectively Prevent Diversion in Practice

             594.    At all relevant times, Cardinal failed to employ qualified compliance staff to

     implement these policies, failed to adequately train those compliance staff or its sales

     representatives concerning Cardinal's anti-diversion duties, and failed to enforce even the

     defective policies it had in place.

             595.   Cardinal failed to install qualified personnel in key compliance positions. For

     example, Cardinal's front-line "New Account Specialists" and "Analysts," responsible for

     onboarding new customers and monitoring existing customers, respectively, were routinely

     recruited from the ranks of the company's existing pool of administrative assistants. These

     employees, who had no experience in regulatory compliance, were generally supervised by

     pharmacists or other professionals with no prior experience in supervising investigative

     functions.

            596.    Moreover, Cardinal failed to provide meaningful training to either these

     unqualified compliance personnel or sales representatives. Instead, Cardinal expected the

     compliance staff to "learn on the job" through informal in-person "team meetings." Due to the

     lack of proper training and clear guidelines, compliance staff did not fully understand critical

     components of their jobs and often developed their own procedures and benchmarks for

     reviewing customers.

            597.    Unsurprisingly, these unqualified and untrained staff routinely failed to follow

     even the most basic procedures required under the company's various SOPs. In addition,

     Cardinal allowed customers to reinstate their accounts through the new account onboai•ding



                                                     239
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 256 of
                                     358




     process despite having compliance red flags

             598. Even to staff charged with investigations and anti-diversion, the message was

     clear: without sales, there is no Cardinal. Indeed, many of Cardinal's policies and practices have

     prioritized sales over regulatory obligations.

            599. In 2012 and 2013, Cardinal took significant steps to renew focus on increased

     sales at the cost of a robust and responsible compliance structure, thereby keeping as customers

     pharmacies that it knew or should have known were high risk for diversion of opioids. For

     example, Cardinal:

          a. Continuously reduced the due diligence information collected from prospective and
             existing customers, diluting the customer questionnaire, removing the requirements to
             collect photos of the pharmacies, and ceasing to ask about top prescribers;

          b. Expanded the geographic scope of investigators with essential regional knowledge of,
             for example, top prescribers and their locations relative to the pharmacies where their
             prescriptions were being filled, thus reducing the investigators' efficacy;

          c. Restricted the information reviewed from site visits by first removing the investigator
             comment section and for a time eliminating written reports entirely; and

          d. Demoted, moved to non-compliance functions, or let go several staff members who
             articulated an interest in expanding the company's compliance functions, aggressively
             scrutinizing pharmacy customers, and/or terminating problematic customers.

            600. As to existing customers, Cardinal routinely failed to follow the SOP's procedures

     for detecting, monitoring, and reporting suspicious orders. Cardinal's compliance staff routinely

     released orders in excess of a customer's threshold without conducting the follow-up

     investigation and providing the detailed written justification called for by the SOPs.

            601. Even where Cardinal did block customers' orders and report them as, it routinely

     took no steps to suspend or terminate those customers pending further investigation, and instead

     allowed them to continue receiving their threshold amount of opioids month after month

     thereafter, regardless of whether the customer continued to make additional suspicious orders.


                                                      240
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 257 of
                                     358




             602.   Between 2012 and 2017, for example, Cardinal reported twelve or more opioid

     related suspicious orders for at least one year-the equivalent of one per month-for hundreds of

     pharmacies nationwide. Those pharmacies had several known red flags m their shipment orders

     and prescription data. More than half of these pharmacies: (a) exceeded the 90th percentile in the

     State in terms of opioid volume shipped; (b) exceeded the 901.11 percentile in the State in terms of

     oxycodone volume shipped; and (c) exceeded the 90th percentile in the State in terms of median

     strength of opioids prescribed per day. Nonetheless, even after reporting twelve or more opioid-

     related suspicious orders for one of these pharmacies. Cardinal continued to ship opioids, on

     average, for more than three years. Within this group of suspect pharmacies that Cardinal did

     nothing to control, these included particularly egregious cases in which Cardinal reported more

     than 50 opioid-related suspicious orders per year-the equivalent of one suspicious order per

     -week to the authorities for three or more consecutive years.

            603.    In still other instances, neither Cardinal nor other distributors reported numerous

     suspicious orders, but almost certainly should have, given that a handful of prescribers were

     responsible for writing an unusually high percentage of the pharmacy's opioid prescriptions. By

     itself, having a high concentration of opioid prescriptions written by a small number of providers

     is a known red flag for opioid diversion. Subsequently, these pharmacies had among the highest

     percentage of prescriptions written by providers who were indicted or convicted on opioid-

     related prescribing and distribution charges.

            604.    Examples of egregious cases identified in an investigation by a state attorney

     general included:

            a. A pharmacy in the 99th percentile in the state, to which Cardinal reported an average
                of 85 suspicious orders per year for five years, the equivalent of more than once a
                week, yet as of 2018, as of 2018, this pharmacy continued to receive opioids from
                Cardinal.


                                                     241
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 258 of
                                     358




              b. A pharmacy in the 95th percentile in the state, to which Cardinal, from 2012 to 2018,
                 shipped more than 20,000 grams of opioids, the equivalent of about thirteen 30mg
                 oxycodone pills for every person in the county.

              c. A pharmacy in the 90th percentile where more than 20% of its customers have
                 received opioid prescriptions by three or more doctors in a six-year period, and to
                 which Cardinal continued to ship opioids after other distributors had issued 223
                 SORs.

             d. A pharmacy in the 99" percentile where approximately 60% of prescriptions were
                written by prescribers who were later indicted or convicted, and to which Cardinal
                has failed to issue a single SOR as of December 2017.

             605.    Finally, even if Cardinal had conducted due diligence to investigate its high-

     volume opioids customers, Cardinal's failure to implement any system to store and share

     information about their suspicious customers and/or suspicious prescribers would have

     compromised the effectiveness of any such investigation.

             606.    Due to these flaws, Cardinal routinely continued to supply pharmacies that filled

     prescriptions for prescribers that had been flagged in its own (infrequent) investigations of other

     pharmacies as likely sources of diversion.


                                    Cardinal Was Put on Notice of its Wrongful Conduct

             607.    In addition to numerous instances, including examples cited above, in which

     Cardinal's own employees acknowledged failures in its compliance systems, the company was

     explicitly put on notice on multiple occasions by government agencies that it was not fulfilling

     its duties.

             608.    To date, Cardinal has paid a total of $98 million in fines and other amounts

     involving multiple DEA and various state actions relating to its improper management and

     distribution of opioids to pharmacies across the United States.

             609.    In 2008, Cardinal paid a $34 million penalty to settle allegations about opioid



                                                     242
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 259 of
                                     358




     diversion taking place at seven warehouses32° around the United States (the "2008 Cardinal

     Settlement Agreement").32I These allegations included failing to report to the DEA thousands of

     suspicious orders of hydrocodone that Cardinal then distributed to pharmacies that filled

     illegitimate prescriptions originating from rogue Internet pharmacy websites.322

                 610.   In connection with the 2008 Cardinal Settlement Agreement, the DEA stated that

     "fdlespite [its] repeated attempts to educate Cardinal on diversion awareness and prevention,

     Cardinal engaged in a pattern of failing to report blatantly suspicious orders for controlled

     substances filled by its distribution facilities located throughout the United Statcs."323 The DEA

     concluded that "Cardinal's conduct allowed the 'diversion' of millions of dosage units of

     hydrocodone from legitimate to non-legitimate channel s." 4

                 611.   As part of the 2008 Cardinal Settlement Agreement, Cardinal agreed to "maintain



     32°Including its Lakeland, Florida facility. https://www.dea.gov/pubs/nressrel/nr100608.html. In 2012,
     Cardinal described the Lakeland facility as shipping "an average of about 4 million dosage units of
     prescription drugs, including about 500,000 dosage units of controlled substances, on a monthly basis to
     more than 5.200 customers in Florida, Georgia and South Carolina. The volume of prescription drugs
     distributed makes the Lakeland facility the largest prescription drug wholesaler in Florida." Cardinal
     Health, Inc. v. Eric Holder, Jr., At, 'y Gen., D.D.C. Case No. 12-185, ECF No. 3-1, at 6; 3-13 at 2; 3-15
     (Feb. 3,2012).

     321 Settlement and Release Agreement and Administrative Memorandum of Agreement (Sept. 30, 2008), a
     cached version is available at
     httos://i,vebeache.moogleusereontent.com/search?q=cache:07Te0HbVIOU:https://www.dea.gov/divisions/
     hq/2012/cardinal a_greement.pdf+&cd=2&h1-=en&ct—clnk&gl=us; Press Release, U.S. Att'y Office, Dist.
     of Colo., Cardinal Health Inc., Agrees to Pay $34 Million to Settle Claims that it Failed to Report
     Suspicious Sales of Widely-Abused Controlled Substances (Oct. 2, 2008),
     hups.//wwwjustice gov/archive/usaokoThews/2008/October08/10 2 08,htnil.

     3"    Id.

     323U.S. Att'y Office, Dist. of Colo., Cardinal Health Inc. Agrees to Pay $34 Million to Settle Claims that
     It Failed to Report Suspicious Sales of Widely-Abused Controlled Substances (Oct. 2, 2008),
     https://www.justice.gov/arehive/usao/co/news/2008/October08/10 2 08. html.

     324   Id.




                                                        243
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 260 of
                                     358




     a compliance program designed to detect and prevent diversion of controlled substances as

     required by the CSA and applicable DEA regulations."325 However, in 2012, the DEA issued an

     "immediate suspension order," suspending Cardinal's registration with respect to Cardinal's drug

     distribution facility in Lakeland, Florida. That order stated that "Despite the [2008 Cardinal

     Settlement Agreement], the specific guidance provided to Cardinal by DEA, and despite the

     public information readily available regarding the oxycodone epidemic in Florida, Cardinal has

     failed to maintain effective controls against diversion of controlled substances into other than

     legitimate medical, scientific, and industrial channels, in violation of [the CSA]."326 For

     example, from "2008-2009, Cardinal's sales to its top four retail pharmacies [in the State of

     Florida] increased approximately 803%. From 2009 to 2010, Cardinal's sales to its top four retail

     pharmacies [in the State of Florida] increased 162%. 327

                612. In 2012, Cardinal reached another settlement with the DEA relating to its failure

     to "conduct meaningful due diligence to ensure that the controlled substances were not diverted

     into other than legitimate channels" resulting in systemic opioid diversion in its Florida

     distribution center (the "2012 Cardinal Settlement Agreement").328 Cardinal's Florida center




     325   Cardinal Health, Inc. v. Eric Holder. Jr.. Ait'y Gen.,   D.D.C. Case No. 12-185, ECF No. 3-4, at ¶ 2
     (Feb. 3, 2012).

     326   Id. at113.

     37 1d. at li 4.
     328   Administrative Memorandum of Agreement (May 14, 2012),
     httos://www.dea.govidivisions/hq/2012/cardinal agrcement.pdf (last accessed August 1, 2018); Press
     Release, Drug Enft Admin., DEA Suspends for Two Years Pharmaceutical Wholesale Distributor's
     Ability to Sell Controlled Substances from Lakeland, Florida Facility (May 15, 2012),
     httos://www.dea,gov/pubs/pressrel/pr051512.hunl (hereinafter "Administrative Memorandum of
     Agreement (May 14, 2012)")




                                                            244
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 261 of
                                     358




     received a two-year license suspension for supplying more than 12 million dosage units to only

     four area pharmacies, nearly fifty times as much oxycodone as it shipped to the rest of Florida

     and an increase of 241% in only two years.329 The DEA found that Cardinal's own investigator

     warned Cardinal against selling opioids to these pharmacies, but that Cardinal did nothing to

     notify the DEA or cut off the supply of drugs to the suspect pharmacies.33° Instead, Cardinal's

     opioid shipments to the pharmacies increased.33I

                613.   In the 2012 Cardinal Settlement Agreement, Cardinal agreed that it had (i) failed

     to maintain effective controls against the diversion of controlled substances, including failing to

     conduct meaningful due diligence to ensure that controlled substances were not diverted; (ii)

     failed to detect and report suspicious orders of controlled substances as required by the CSA, on

     or before May 14, 2012; and (iii) failed to adhere to the provisions of the 2008 Cardinal

     Settlement Agrcement.332

                614.   In December 2016, Cardinal again settled charges that it had violated the CSA by

     failing to prevent diversion of oxycodone for illegal purposes, this time for 544 million (the

     "2016 Cardinal Settlement Agreement").333 The settlement covered DEA allegations that

     Cardinal had failed to report suspicious orders across Washington, Maryland, New York, and




     "9 Id.

     330 Id.


     "I Id.

     332 Administrative   Memorandum of Agreement (May 14, 2012), supra n. 328.

     333 U.S.Att'y Office, Dist. of Md., Cardinal Health Agrees to $44 Million Settlement for Alleged
     Violations of Controlled Substances Act (Dec. 23, 2016) httos://www.iustice.gov/usao-md/ptleardinal-
     health-mees-44-million-settlement-alleged-violations-controlled-substances-act.




                                                       245
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 262 of
                                     358




     Florida.334 The same Florida distribution center at the heart of the 2012 settlement was again

     implicated in this case.335 The settlement also covered a Cardinal subsidiary, Kinray, LLC, which

     failed to report a single suspicious order despite shipping oxycodone and hydrocodone to more

     than 20 New York-area pharmacy locations that placed unusually high orders of controlled

     substances at an unusually frequent rate.336


                                    Cardinal Actively Marketed Prescription Opioids

             615.   Cardinal worked to increase sales of opioids through a range of in-house

     marketing platforms directed at prescribers, pharmacists, and consumers, implemented

     nationally.

             616.   Cardinal not only offers marketing services to its drug manufacturer clients, it

     incentivizes and encourages manufacturers to use these marketing channels as a way of building

     their business and increasing sales of prescription opioids.

             617.   Cardinal utilized a variety of marketing programs to promote sales of prescription

     opioids, including direct consumer marketing, direct mail marketing, email marketing, marketing

     in customer newsletters, telemarketing, advertisement on ordering platform, pharmacy rebates,

     and auto-shipments.

             618.   Purdue and other manufacturers worked hand-in-glove with Cardinal to promote

     their products through the distributors to pharmacies and pharmacists.

             619.   Cardinal profited in two ways from its marketing activities: (1) it was paid by the

     drug manufacturers to promote their prescription opioids, and/or (2) it was paid from increases in


     334


     " Id.
     3

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                                                     246
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 263 of
                                     358




     pharmacy drug sales that resulted from these marketing efforts.

             620.    The targeting of pharmacists by Cardinal in its marketing activities was

     particularly problematic because of Cardinal's existing and often long-term business

     relationships with pharmacies—with whom Cardinal shared a legal responsibility to prevent

     diversion. Opioid distributors, like Cardinal, were in a unique and trusted position in the

     controlled substances supply chain from which they could have spoken truthfully to their

     pharmacy customers about the serious risks posed by opioids (including the risk of diversion).

     They could have remained silent about the benefits and risks of opioids, and simply filled orders

     and shipped drugs. Instead, Cardinal abused its unique position for profit, by contributing to the

     chorus of deception surrounding opioids.

            621.    To engage in the promotion of controlled substances at all, under the

     circumstances detailed in this Complaint, was a dereliction of Cardinal's duties to prevent opioid

     diversion. Through these marketing activities, Cardinal contributed to and reinforced the

     deceptive and misleading marketing messages that healthcare providers received about opioids

     through other channels. Moreover, much of the Cardinal's marketing content was deceptive,

     because it either affirmatively misrepresented the benefits and risks of prescription ()plaids, or it

     omitted important information about the risks of prescription opioids. Cardinal knew or should

     have known that these marketing messages—particularly those that misrepresented or omitted

     material information about the potential for diversion or risks of addiction associated with

     prescription opioids—were deceptive. ,

            622.    Through marketing activities, Cardinal built upon, reinforced, and profited from

     the drug manufacturers' campaign to deceive healthcare providers about the risks and benefits of

     prescription opioid use—a campaign that encouraged and normalized over-prescribing and over-



                                                      247
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 264 of
                                     358




     dispensing of prescription opioids.

             623.    Cardinal made false statements that it had no role in influencing the prescribing or

     dispensing of prescription opioids and did not promote and market any pharmaceuticals-

     including opioids-directly to consumers.

                     b.         AmerisourceBergen

                           1.        AmerisourceBergen's Flawed Written Policies Enabled Opioid
                                     Diversion

             624.    AmerisourceBergen is the nation's third largest drug distributor in the country.

     AmerisourceBergen's written policies for compliance were and are contained within its

     Diversion Control Program and its Order Monitoring Program (-COMP"). The programs are

     administered by AmerisourceBergen's Corporate Security and Regulatory Affairs ("'CSRA").

     From 2007 to 2015, the program's specifics were scattered through a series of policy and

     procedure documents, and which were not uniform for AmerisourceBergen and its subsidiary,

     Belle° Health, which it acquired in 2007.

             625.    AmerisourceBergen compliance policies are flawed from the point of initial new

     customer on boarding. Since 2007, AmerisourceBergen has generally required a customer

     questionnaire, a site visit, license verification, and online investigation as part of its new

     customer due diligence process. A central component of AmerisourceBergen's new customer

     procedure is its Retail Pharmacy Questionnaire ("590 Form"). The form asks for information

     about other distributors, disciplinary history, customer payment methods, percentages of

     controlled substances, usage numbers for specific high-risk drugs, and top prescribers of opioids,

     among other questions. Though the form requests information about prescribing physicians, it is

     not AmerisourceBergen's policy to perform news searches on those prescribers as part of the

     new customer procedure, and controlled substances could account for up to-of prescriptions


                                                       248
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 265 of
                                     358




     dispensed before triggering additional investigation.

             626.   AmerisoureeBergen does not require new customers to provide usage reports or

     dispensing data as part of the on boarding process. By relying on these customers to self-report

     without any documented verification, AmerisourceBergen does not fulfill its obligation of truly

     knowing its customers' business practices.

            627.    Both prior to and after program revision, AmerisourceBergen's policies have

     allowed for frequent threshold manipulation to avoid orders being held for review, rejected from

     shipment, or reported as suspicious. Staff reviewing the form have high benchmarks for these

     numbers before considering them red flags.

            628.    AmerisoureeBergen's policies are not sufficient to comply with the requirements

     of Fla. Stat. Ann. § 499.0121(15) and similar requirements of other states, which requires

     AmerisourceBergen to "establish internal policies and procedures for identifying suspicious

     orders and preventing suspicious transactions." Fla. Stat. Ann. § 499.0121(15). Florida law

     further requires that "[a] wholesale distributor must assess orders for more than 7,500 unit doses

     of any one controlled substance in any one month to determine whether the purchase is

     reasonable." Id. In doing so, "a wholesale distributor may consider the purchasing entity's

     clinical business needs, location, and population served, in addition to other factors established in

     the distributor's policies and procedures." Id Under AmerisourceBergen's deficient policies, it

     does not hold for review orders that only meet one of these qualifications. By limiting the orders

     even held for review, AmerisourceBergen's policy does not fulfill its obligation to identify even

     orders of interest, much less suspicious orders.

            629.    Examples of egregious cases identified recently in a complaint filed by a state

     attorney general included:



                                                        249
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 266 of
                                     358




         a. A pharmacy at or above both the 99th percentile in terms of both number of opioid orders
            and total opioid weight, at which, between 2014 and 2016, more than 10% of its
            prescriptions were written by prescribers who were later indicted or convicted of opioid-
            related prescribing and distribution charges, concerning which AmerisourceBergen
            reported nearly 200 SORs in 2013-14, and to which as of 2018, AmerisourceBergen was
            still serving as this pharmacy's primary opioid distributor;

         b. A pharmacy where, between 2013 and 2017, 77% of its prescriptions, on average, were
            written by prescribers who were later indicted or convicted, including 90% in 2014, and
            to which Amerisource appears to have only stopped shipping in 2017; and

         c. A pharmacy that exceeded the 95 percentilefor the percentage of oxycodone volume
            shipped for five years straight (2012 to 2016), where on average 58% of its opioid
            prescriptions were paid in cash (99th percentile), where for three consecutive years (2013
            to 2015) approximately half of all opioid scripts were filled by prescribers who were later
            convicted, and which, as of 2018, was still a customer of AmerisourceBergen.

                                   AmerisourceBergen's Failure to Effectively Prevent Diversion
                                   in Practice

            630.    At all relevant times, AmerisourceBergen failed to employ sufficient numbers of

     qualified compliance staff to implement these policies, failed to ensure those compliance staff

     were meeting AmerisourceBergen's anti-diversion duties, and failed to enforce even the

     defective policies it had in place. Among other deficiencies, AmerisourceBergen failed to

     sufficiently staff its compliance departments.

            631.    Since the integration of Bellco into ArnerisourceBergen and the revamp of its

     Diversion Control Program in 2015, the company has increased anti-diversion staffing, but has

     not significantly increased the number of fully trained ground level employees. Since that time,

     AmerisourceBergen has maintained only five to seven front-line employees on its Diversion

     Control Team, responsible for reviewing new customers and monitoring its existing customers.

            632.    Many of AmerisourceBergen's compliance violations begin with its new

     customer policy. The process relies heavily on the customer 590 Form, given that

     AmerisourceBergen only requests dispensing information from new customers when it already

     knows of potential issues. For example, dispensing data was requested recently in considering

                                                      250
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 267 of
                                     358




     customers moving from distributor Morris & Dickson Company-including customers that

     prompted a DEA investigation because of their high-volume opioid purchasing.

             633.    Despite the 590 Form being so critical to understanding its customers and

     ensuring it can fulfill its regulatory obligations, and despite numerous other AmerisourceBergen

     procedures relying on reviewing or updating this form, AmerisourceBergen has had significant

     issues related to failing to perform even this baseline screening. Belle° Generics customers, for

     example, regularly completed the 590 Form independently, submitted it to Bellco, and were on

     boarded thereafter without receiving a site visit.

             634.    Disjunction between AmerisourceBergen and Belleo has led to many compliance

     failures. Until system integration in or around November 2015, staff had no systematic way of

     identifying dual customers. The lack of an integrated system also meant that thresholds were not

     coordinated between AmerisourceBergen and Be11co at any point. As a result, a dual customer

     could have high thresholds set with both, could be exceeding both thresholds, or even having its

     threshold periodically increased with both, without detection. In or around April 2013,

     AmerisourceBergen implemented a policy for dual customers that prevented both

     AmerisourceBergen and Be'leo from supplying controlled substances to the same customer, but

     implementation was spotty, and, in practice, only a small percentage of orders flagged for review

     are cancelled, and even fewer are deemed suspicious.

            635.     AmerisourceBergen has a high tolerance for compliance issues before it will

     terminate a customer. It still lacks an internal rule or policy that requires investigation of a

     customer based on a specific number of suspicious order reports. Even when customers were

     restricted, blocked, or terminated, AmerisourceBergen's system failed to ensure their accounts

     were de-activated.



                                                       251
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 268 of
                                     358




              636. The one area in which AmerisourceBergen has consistently stood out as

     compared to its major competitors is its unwillingness to identify suspicious orders, even among

     customers that regularly exceeded their thresholds and presented multiple red flags of diversion.

     During this time, numerous AmerisourceBergen opioid customers exhibited several common

     indicators of suspicious activity for multiple years. These flags included:

            a. Scoring above the 90th percentile in the county for opioid order volume;

            b. Scoring above the 90th percentile in the county for total opioid orders;

            c. Scoring above the 90th percentile in the county for oxycodone order volume;

            d. Scoring above the 90th percentile in the county for total oxycodone orders;

            e. Scoring above the 90th percentile in the state for the percentage of oxycodone volume
               shipped out of all controlled substances shipped;

            f. Filling prescriptions by prescribers who were later indicted or convicted on opioid-
               related prescribing and distribution charges:

            g. Scoring above the 90th percentile in terms of percentage of patient doctor-shoppers;

            h. Scoring above the 90th percentile in terms of percentage of cash payments; and

            i. Scoring above the 90th percentile in terms of the median MME prescribed per day.

                                    AmerisourceBergen Was Put on Notice of its Wrongful
                                    Conduct

             637. AmerisourceBergen's deficiencies and failures did not go undetected. The

     company was explicitly put on notice on multiple occasions by government agencies that it was

     not fulfilling its duties.

             638. AmerisourceBergen has paid $16 million in settlements and had certain licenses

     revoked as a result of allegations related to the diversion of prescription opioids.

             639. In 2007, AmerisourceBergen lost its license to send controlled substances from a

     distribution center amid allegations that it was not controlling shipments of prescription opioids



                                                      252
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 269 of
                                     358




     to Internet pharmacies.337 Over the course of one year, AmerisourceBergen had distributed 3.8

     million dosage units of hydrocodone to "rogue pharmacies."338 The DEA suspended

     AmerisourceBergenes registration after determining that "the continued registration of this

     company constitutes an imminent danger to public health and safety."339

                 640.   Again in 2012, AmerisourceBergen was implicated for failing to protect against

     diversion of particular controlled substances into non-medically necessary channels.340

                 8.     The Distributor Defendants Have Sought to Avoid and Have Misrepresented
                        Their Compliance with Their Legal Duties

                 641.   The Distributor Defendants have repeatedly misrepresented their compliance with

     their legal duties under state law and have wrongfully and repeatedly disavowed those duties in

     an effort to mislead regulators and the public regarding the Distributor Defendants' compliance

     with their legal duties.

                 642.   Distributor Defendants have refused to recognize any duty beyond reporting

     suspicious orders. In Masters Pharm., Inc. v. Drug Enf'l Admin., 861 F.3d 206 (D.C. Cir. 2017),

     the Healthcare Distribution Management Association, n/k/a HDA, a trade association run by the

     Distributor Defendants, and the National Association of Chain Drug Stores ("NACDS"), an

     association of the National Retail Pharmacies (and similar persons), submitted amicus briefs



     337Press Release, Drug Enf t Admin., DEA Suspends Orlando Branch of Drug Company from
     Distributing Controlled Substances (Apr. 24, 2007),
     https://www,dea.govidivisions/mia/2007/mia042407p.html.

     "8 Id.

     339   1d.

            Overley, AmerisourceBergen Subpoenaed by DEA Over Drug Diversion, Law360.com (Aug. 9,
     34° Jeff
     2012). available at htips://www.law3GO.corniartieles/368498/amerisoureebergen-subpoenaed-bv-dea-
     over-drug-diversion.




                                                       253
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 270 of
                                     358




     regarding the legal duty of wholesale distributors. Denying— inaccurately— the legal duties that

     the wholesale drug industry has been tragically recalcitrant in performing, they argued as

     follows:

                     a. The Associations complained that the "DEA has required distributors not only to
                        report suspicious orders, but to investigate orders (e.g., by interrogating pharmacies
                        and physicians) and take action to halt suspicious orders before they are filled."341

                     b. The Associations argued that, "DEA now appears to have changed its position to
                        require that distributors not only report suspicious orders, but investigate and halt
                        suspicious orders. Such a change in agency position must be accompanied by an
                        acknowledgment of the change and a reasoned explanation for it. In other words,
                        an agency must display awareness that it is changing position and show that there
                        are good reasons for the new policy. This is especially important here, because
                        imposing intrusive obligation on distributors threatens to disrupt patient access to
                        needed prescription medications."342

                     c. The Associations alleged (inaccurately) that nothing "requires distributors to
                        investigate the legitimacy of orders, or to halt shipment of any orders deemed to be
                        suspicious."343

                     d. The Associations complained that the purported "practical infeasibility of requiring
                        distributors to investigate and halt suspicious orders (as well as report them)
                        underscores the importance of ensuring that DEA has complied with the APA
                        before attempting to impose such duties."3"

                     e. The Associations alleged (inaccurately) that "DEA's regulations [I sensibly impose
                           a duty on distributors simply to report suspicious orders, but left it to DEA and
                        its agents to investigate and halt suspicious orders."345

                     f. Also inaccurately, the Associations argued that, "[Omposing a duty on
                        distributors — which lack the patient information and the necessary
                        medical expertise — to investigate and halt orders may force distributors

     341   Brief for HDMA and NACDS, supra n. 268,2016 WL 1321983, at *4-5.

     342   Id. at *8 (citations and quotation marks omitted).

     343   Id. at *14.

     344   Id. at *22.

     345   Id. at *24-25




                                                            254
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 271 of
                                     358




                        to take a shot-in-the-dark approach to complying with DEA's
                        demands."346

                 643.   The positions taken by the trade groups is emblematic of the position taken by the

     Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

     the dangerous drugs.'

                 644.   The Court of Appeals for the District of Columbia Circuit recently issued its

     opinion affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. In

     Masters Pharmaceuticals, the Court upheld the revocation of Masters Pharmaceutical's license

     and determined that DEA regulations require that in addition to reporting suspicious orders,

     distributors must "decline to ship the order, or conduct some 'due diligence' and—if it is able to

     determine that the order is not likely to be diverted into illegal channels—ship the order."

     Masters Pharmaceutical was in violation of legal requirements because it failed to conduct

     necessary investigations and filled suspicious orders. A distributor's investigation must dispel all

     the red flags giving rise to suspicious circumstance prior to shipping a suspicious order. The

     Circuit Court also rejected the argument made by the HDMA and NACOS (quoted above), that,

     allegedly, the DEA had created or imposed new duties.

                645.    Because of the Distributor Defendants' refusals to abide by their legal obligations,

     the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

     in May 2014, the United States Department of Justice, Office of the inspector General,




     346   Id. at 26.
     347See Brief of BOMA in Support of Cardinal, supra n. 316, 2012 WL 1637016, at *3 (arguing the
     wholesale distributor industry "does not know the rules of the road because" they claim (inaccurately)
     that the "DEA has not adequately explained them").




                                                        255
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 272 of
                                     358




     Evaluation and Inspections Divisions, reported that the DEA issued final decisions in 178

     registrant actions between 2008 and 2012.348 As noted above, the Office of Administrative Law

     Judges issued a recommended decision in a total of 117 registrant actions before the DEA issued

     its final decision, including 76 actions involving orders to show cause and 41 actions involving

     immediate suspension orders.349 These actions include the following:

                 a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Amerisourceeergen Orlando, Florida distribution
                    center ("Orlando Facility") alleging failure to maintain effective controls against
                    diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
                    into a settlement that resulted in the suspension of its DEA registration.,

                 b. On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Cardinal Auburn, Washington Distribution Center
                    ("Auburn Facility") for failure to maintain effective controls against diversion of
                    hydrocodone;

                 c. On December 5, 2007, the DEA issued an Order to Show Cause and immediate
                    Suspension Order against the Cardinal Lakeland, Florida Distribution Center
                    ("Lakeland Facility") for failure to maintain effective controls against diversion of
                    hydrocodone;

                 d. On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Cardinal Swedesboro, New Jersey Distribution
                    Center ("Swedesboro Facility") for failure to maintain effective controls against
                    diversion of hydrocodone;

                 e. On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Cardinal Stafford, Texas Distribution Center
                    ("Stafford Facility") for failure to maintain effective controls against diversion of
                    hydrocodone;

                 f. On September 30, 2008, Cardinal entered into a Settlement and Release
                    Agreement and Administrative Memorandum of Agreement with the DEA related


     348 The Drug Eryarcement Administration's Adjudication of Registrant Actions, supra n. 288.
     349 Id




                                                       256
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 273 of
                                     358




                     to its Auburn Facility, Lakeland Facility, Swedesboro Facility and Stafford
                     Facility. The document also referenced allegations by the DEA that Cardinal
                     failed to maintain effective controls against the diversion of controlled substances
                     at its distribution facilities located in McDonough, Georgia ("McDonough
                     Facility"), Valencia, California ("Valencia Facility") and Denver, Colorado
                     ("Denver Facility");

                 g. On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Cardinal Lakeland, Florida Distribution Center
                    ("Lakeland Facility") for failure to maintain effective controls against diversion of
                    oxycodone; and

                 h. On December 23, 2016, Cardinal agreed to pay a $44 million fine to the DEA to
                    resolve the civil penalty portion of the administrative action taken against its
                    Lakeland, Florida Distribution Center.

             646. Rather than abide by their non-delegable duties under public safety laws, the

     Distributor Defendants, individually and collectively through trade groups in the industry,

     pressured the U.S. Department of Justice to "halt" prosecutions and lobbied Congress to strip the

     DEA of its ability to immediately suspend distributor registrations. The result was a "sharp drop

     in enforcement actions" and the passage of the "Ensuring Patient Access and Effective Drug

     Enforcement Act" which, ironically, raised the burden for the DEA to revoke a distributor's

     license from "imminent harm" to "immediate harm" and provided the industry the right to "cure"

     any violations of law before a suspension order can be issued.35°



     35° See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
     Epidemic Grew Out of Control, WASHINGTON POST (Oct. 22, 2016),
     https://www.washingtonpost. com/in vestigations/the-dea-slowed-enforcement-whi lc-the-opi old-epidemic-
     grcw-out-of-contro1/2016/1 0/22/aea2b f8e-7 f71-11 c6-8d13-
     d7c704ef9fd9_storv.html?utm term=.2f757833e3c4; Lenny Bernstein & Scott Higham, Investigations:
     U.S. Senator Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, WASHINGTON
     POST (Mar. 6, 2017), https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-
     of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
     a05d3c2 f7cf story.html?utm tenn=.7007bf2b9455; Eric Eyre, DEA Agent: "We Had No Leadership"
     in WV Amid Flood of Pain Pills, CHARLESTON GAZETTE-MAIL (Feb. 18, 2017),
     https://www.wvgazettcmail.com/news/hcal th/dea-agent-wc- had-no-leadersh ip-in-wv-amid-
     flood/article 928e9bcd-e28e-58b1-8e3f-108288f539fd.html.

                                                       257
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 274 of
                                     358




             647.    In addition to taking actions to limit regulatory prosecutions and suspensions, the

     Distributor Defendants undertook to fraudulently convince the public that they were complying

     with their legal obligations, including those imposed by licensing regulations. Through such

     statements, the Distributor Defendants attempted to assure the public they were working to curb

     the opioid epidemic.

             648.    For example, a Cardinal executive claimed that it uses "advanced analytics" to

     monitor its supply chain and represented that it was being "as effective and efficient as possible

     in constantly monitoring, identifying, and eliminating any outside criminal activity."' Given the

     sales volumes and the company's history of violations, this executive was either not telling the

     truth, or, if Cardinal had such a system, it ignored the results.

            649.    By misleading the public about the effectiveness of their controlled substance

     monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

     arouse suspicion of the claims that the Plaintiffs now assert.

            650.    The Supply Chain Defendants, including the Distributor Defendants, pay fines as

     a cost of doing business in an industry that generates billions of dollars in annual revenue. They

     hold multiple DEA registration numbers and when one facility is suspended, they simply ship

     from another facility.

            651.    The wrongful actions and omissions of the Distributor Defendants which have

     caused the diversion of opioids and which have been a substantial contributing factor to and/or

     proximate cause of the opioid crisis are alleged in greater detail in Plaintiffs' allegations of



       Lenny Bernstein et at., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: "No
     351
     One Was Doing Their Job, - WASHINGTON POST (Oct. 22, 2016),
     httos://www.washingtonpost.com/investigations/how-dnigs-intended-for-patients-ended-up-in-the-hands-
     o f- illega I-use rs- no-one-was-doi ng- heir-job/2016/10/22/ 0e79396-30a7- I I e6-8117-
     7b6c1998b7a0_ story.html?utm term=.a51051722a7a.

                                                      258
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 275 of
                                     358




     Defendants' unlawful acts below.

             652.    The Distributor Defendants have abandoned their duties imposed under state law,

     taken advantage of a lack of adequate law enforcement, and abused the privilege of distributing

     controlled substances.

     E.      The National Retail Pharmacies Were on Notice of and Contributed to Illegal
             Diversion of Prescription Opioids

             653.    National retail pharmacy chains earned enormous profits by flooding the country

     with prescription opioids.352 They were keenly aware of the oversupply of prescription opioids

     through the extensive data and information they developed and maintained as both distributors

     and dispensaries. Yet, instead of taking any meaningful action to stem the flow of opioids into

     communities, they continued to participate in the oversupply and profit from it.

             654.    Each of the National Retail Pharmacies does substantial business throughout the

     United States. This business includes the distribution and dispensing of prescription opioids.

             655.    Data shows that the National Retail Pharmacies distributed and dispensed

     substantial quantities of prescription opioids, including fentanyl, hydrocodone, and oxycodone in

     Florida. In addition, they distributed and dispensed substantial quantities of prescription opioids

     in other states, and these drugs were diverted from these other states to Florida. The National

     Retail Pharmacies failed to take meaningful action to stop this diversion despite their knowledge

     of it, and contributed substantially to the diversion problem.

            656.    The National Retail Pharmacies developed and maintained extensive data on

     opioids they distributed and dispensed. Through this data, National Retail Pharmacies had direct

     knowledge of patterns and instances of improper distribution, prescribing, and use of prescription



     352Plaintiffs' allegations of wrongdoing are pointing to the National Retail Pharmacies not the pharmacy
     industry who in general serve a vital healthcare function in the United States.

                                                       259
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 276 of
                                     358




     opioids in communities throughout the country, and in Florida in particular. They used the data

     to evaluate their own sales activities and workforce. On information and belief, the National

     Retail Pharmacies also provided Defendants with data regarding, inter alia, individual doctors in

     exchange for rebates or other forms of consideration. The National Retail Pharmacies' data is a

     valuable resource that they could have used to help stop diversion, but failed to do so.

            I.      The National Retail Pharmacies Have a Duty to Prevent Diversion

            657.    Each participant in the supply chain of opioid distribution, including the National

     Retail Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

     market by, among other things, monitoring and reporting suspicious activity.

            658.    The National Retail Pharmacies, like manufacturers and other distributors, are

     permittees under the Florida Drug and Cosmetic Act ("FLDCA"). National Retail Pharmacies

     further violated statutory duties embodied in the Florida Pharmacy Act, Chapter 465. Chapter

     465 governs pharmacies and requires them to verify the validity of prescriptions, the identity of

     patients receiving controlled substances, adopt procedures to prevent the dispensing of controlled

     substances based on misrepresentations and invalid physician relationships, and ensure the

     security of the prescriptions, among other obligations. See Fla. Stat. Ann. §§ 465.015, 465.0155,

     465.022, 465.023, 465.024. The Florida Legislature determined that every pharmacy in the State

     "meet minimum requirements for safe practice." Id. § 465.002. The duty to prevent diversion

     lies with the pharmacy entity, not the individual pharmacist alone.

            659.    The DEA, among others, has provided extensive guidance to pharmacies

     concerning their duties to the public. The guidance advises pharmacies how to identify

     suspicious orders and other evidence of diversion.

            660.    Suspicious pharmacy orders include orders unusually large size, orders that are

     disproportionately large in comparison to the population of a community served by the

                                                     260
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 277 of
                                     358




     pharmacy, orders that deviate from a normal pattern and/or orders of unusual frequency and

     duration, among others.

             661.    Additional types of suspicious orders include: (1) prescriptions written by a doctor

     who writes significantly more prescriptions (or in larger quantities or higher doses) for controlled

     substances compared to other practitioners in the area; (2) prescriptions which should last for a

     month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for

     antagonistic drugs, such as depressants arid stimulants, at the same time; (4) prescriptions that

     look "too good" or where the prescriber's handwriting is too legible; (5) prescriptions with

     quantities or doses that differ from usual medical usage; (6) prescriptions that do not comply

     with standard abbreviations and/or contain no abbreviations; (7) photocopied prescriptions; or

     (8) prescriptions containing different handwriting. Most of the time, these attributes are not

     difficult to detect and should be easily recognizable by pharmacies.

            662.    Suspicious pharmacy orders are red flags for if not direct evidence of diversion.

            663.    Other signs of diversion can be observed through data gathered, consolidated, and

     analyzed by the National Retail Pharmacies themselves. That data allows them to observe

     patterns or instances of dispensing that are potentially suspicious, of oversupply in particular

     stores or geographic areas, or of prescribers or facilities that seem to engage in improper

     prescribing.

            664.    According to industry standards, if a pharmacy finds evidence of prescription

     diversion, the local Board of Pharmacy and DEA must be contacted.

            665.    Despite their legal obligations as registrants and permittees under the Florida and

     federal law, the National Retail Pharmacies allowed widespread diversion to occur—and they

     did so knowingly. They knew they made money by filling prescriptions, not by not tilling



                                                     261
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 278 of
                                     358




     descriptions. They knew they made money by making it easy for doctors to refer patients with

     drug prescriptions to them to fill, not by making it difficult for doctors to refer patients to them to

     fill descriptions.

             666.    Performance metrics and prescription quotas adopted by the National Retail

     Pharmacies for their retail stores contributed to their failure. For instance, under CVS's Metrics

     System, for example, pharmacists are directed to meet high goals that make it difficult, if not

     impossible, to comply with applicable laws and regulations. There is no measurement for

     pharmacy accuracy or customer safety. Moreover, the bonuses for pharmacists are calculated, in

     part, on how many prescriptions that pharmacist fills within a year. The result is both deeply

     troubling and entirely predictable: opioids flowed out of National Retail Pharmacies and into

     communities throughout the country. The policies remained in place even as the epidemic raged.

             667.    In consideration of a reasonable opportunity for further investigation and

     discovery, Plaintiffs allege that this problem was compounded by the National Retail

     Pharmacies' failure to adequately train their pharmacists and pharmacy technicians on how to

     properly and adequately handle prescriptions for opioid painkillers, including what constitutes a

     proper inquiry into whether a prescription is legitimate, whether a prescription is likely for a

     condition for which the FDA has approved treatments with opioids, and what measures and/or

     actions to take when a prescription is identified as phony, false, forged, or otherwise illegal, or

     when suspicious circumstances are present, including when prescriptions are procured and pills

     supplied for the purpose of illegal diversion and drug trafficking.

            668.     In consideration of a reasonable opportunity for further investigation and

     discovery, Plaintiffs allege that the National Retail Pharmacies also failed to adequately use data

     available to them to identify doctors who were writing suspicious numbers of prescriptions



                                                      262
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 279 of
                                     358




     and/or prescriptions of suspicious amounts of opioids, or to adequately use data available to them

     to do statistical analysis to prevent the filling of prescriptions that were illegally diverted or

     otherwise contributed to the opioid crisis.

             669.    In consideration of a reasonable opportunity for further investigation and

     discovery, Plaintiffs allege that the National Retail Pharmacies failed to analyze: (a) the number

     of opioid prescriptions filled by individual pharmacies relative to the population of the

     pharmacy's community; (b) the increase in opioid sales relative to past years; (c) the number of

     opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

     relative to the increase in annual sales of other drugs.

             670.   In consideration of a reasonable opportunity for further investigation and

     discovery. Plaintiffs allege that the National Retail Pharmacies also failed to conduct adequate

     internal or external audits of their opioid sales to identify patterns regarding prescriptions that

     should not have been filled and to create policies accordingly, or if they conducted such audits,

     they failed to take any meaningful action as a result.

            671.    In consideration of a reasonable opportunity for further investigation and

     discovery, Plaintiffs allege that the National Retail Pharmacies also failed to effectively respond

     to concerns raised by their own employees regarding inadequate policies and procedures

     regarding the filling of opioid prescriptions.

            672.    The National Retail Pharmacies were, or should have been, fully aware that the

     quantity of opioids being distributed and dispensed by them was untenable, and in many areas

     patently absurd; yet, they did not take meaningful action to investigate or to ensure that they

     were complying with their duties and obligations under the law with regard to controlled

     substances.



                                                       263
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 280 of
                                     358




             2.     Multiple Enforcement Actions Against the National Retail Pharmacies
                    Confirms their Compliance Failures

             673.   The National Retail Pharmacies have long been on notice of their failure to abide

     by the law and regulations governing the distribution and dispensing of prescription opioids.

     Indeed, several of the National Retail Pharmacies have been repeatedly penalized for their illegal

     prescription opioid practices. In consideration of a reasonable opportunity for further

     investigation and discovery, Plaintiffs allege that based upon the widespread nature of these

     violations, these enforcement actions are the product of, and confirm, national policies and

     practices of the National Retail Pharmacies.

                    a.      CVS

            674.    CVS is one of the largest companies in the world, with annual revenue of more

     than $150 billion. According to news reports, it manages medications for nearly 90 million

     customers at 9,700 retail locations. CVS could be a force for good in connection with the opioid

     crisis, but like other Defendants, CVS sought profits over people.

            675.    CVS is a repeat offender; the company has paid fines totaling over 540 million as

     the result of a series of investigations by the DEA and the DOJ. It nonetheless treated these fines

     as the cost of doing business and has allowed its pharmacies to continue dispensing opioids in

     quantities significantly higher than any plausible medical need would require, and to continue

     violating its recordkeeping and dispensing obligations under the law.

            676.    As recently as March 2019, CVS entered into a $535,000 settlement with the U.S.

     Attorney's Office for the District of Rhode Island regarding allegations that its pharmacies in

     Rhode Island violated federal law "including by... in 39 instances between September 9, 2015

     and June IS, 2017, filling a prescription bra Schedule Il drug under circumstances ... that the

     CVS pharmacist filling the prescription knew or had reason to know that the prescription in


                                                     264
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 281 of
                                     358




     question was invalid or unauthorized..."

             677.    This fine was preceded by numerous others throughout the county.

             678.    In July 2017, CVS entered into a $5 million settlement with the U.S. Attorney's

     Office for the Eastern District of California regarding allegations that its pharmacies failed to

     keep and maintain accurate records of Schedule II, Ill, TV, and V controlled substances.353

             679.    In February 2016, CVS paid $8 million to settle allegations made by the DEA and

     the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties

     under the CSA and filling prescriptions with no legitimate medical purpose.354

             680.    In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores

     in Connecticut failed to maintain proper records in accordance with the CSA.355

             681.    In September 2016, CVS entered into a $795,000 settlement with the

     Massachusetts Attorney General wherein CVS agreed to require pharmacy staff to access the

     state's prescription monitoring program website and review a patient's prescription history

     before dispensing certain opioid drugs.356


     353Press Release, U.S. Attorney's Office E. Dist. of Cal., CVS Pharmacy inc. Pays $5A1 to Settle Alleged
     Violations of the Controlled Substance Ac:, U.S. Dep't of Just. (July II, 2017).
     httns://www. iustice.gov/usao-edca/pricvs-oharmacv-inc- pavs-5m- settl e-a II e_ ed-v olationscontrol led-
     substance-act.

     354 Press Release, U.S. Attorney's Office Dist. of Md., United States Reaches $8 Million Settlement
     Agreement with CVS for Unlawful Distribution of Controlled Substances, U.S. Dep't of Just. (Feb. 12,
     2016), https://www.justice.gov/usao-md/pr/united-states-reaches-8-millionsettlement-agreement-evs-
     unlawful-distribution-controlled.

       Press Release, U.S. Attorney's Office Dist. of Conn., CVS Pharmacy Pays $600,000 to Settle
     355
     Controlled Substances Act Allegations, U.S. Dep't of Just. (Oct. 20, 2016), https://www.justice.gov/usao-
     ct/prievs-pharmacy-pays-600000-settle-controiled-substanees-actallegations.

     356Dialynn Dwyer, CVS will pay $795,000, strengthen policies around dispensing opioids in agreement
     with state, Boston.corn (Sept. 1, 2016), https://www.boston.cominews/localnews/2016/09/01/evs-will-
     pay-795000-strengthen-policies-around-dispensing-opioids-inagreernent-with-state.




                                                        265
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 282 of
                                     358




              682.    In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

     50 of its stores violated the GSA by filling forged prescriptions for controlled substances—

     mostly addictive painkillers—more than 500 times between 2011 and 2014.357

             683.    In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney's

     Office for the District of Rhode Island to resolve allegations that several of its Rhode Island

     stores violated the CSA by filling invalid prescriptions and maintaining deficient records. The

     United States alleged that CVS retail pharmacies in Rhode Island filled a number of forged

     prescriptions with invalid DEA numbers, and filled multiple prescriptions written by psychiatric

     nurse practitioners for hydrocodone, despite the fact that these practitioners were not legally

     permitted to prescribe that drug. Additionally, the government alleged that CVS had

     recordkeeping deficiencies.358

             684.    In May 2015, CVS agreed to pay a $22 million penalty following a DEA

     investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

     prescription opioids, "based on prescriptions that had not been issued for legitimate medical

     purposes by a health care provider acting in the usual course of professional practice. CVS also

     acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions




     357 Press Release, U.S. Attorney's Office Dist. of Mass., CVS to Pay $3.5 Million to Resolve Allegations
     that Pharmacists Filled Fake Prescriptions, U.S. Dep't of Just. (June 30, 2016),
     https://www.justice.gov/usao-ma/r/cvs-pay-35-million-resolve-allegations-pharmacists-filledfake-
     prescriptions.

     35RPress Release, U.S. Attorney's Office Dist. of R.I., Drug Diversion Claims Against CVS Health Corp.
     Resolved With S450,000 Civil Settlement, U.S. Dep't of Just. (Aug. 10, 2015),
     https://www.justice.gov/usao-ri/pr/drug-diversion-claims-against-cvs-health-corp-resolved- 450000-civil-
     settlement.




                                                        266
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 283 of
                                     358




     that were issued based on legitimate medical need."359

                 685.   In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

     allegations it filled prescriptions written by a doctor whose controlled-substance registration had

     expired.36°

                 686.   In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

     improperly selling prescription narcotics in at least five locations in the Oklahoma City

     metropolitan area.361

                 687.   Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

     intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DA

     registration numbers.362

                        b.     Walgreens

                 688.   Walgreens is the second-largest pharmacy store chain in the United States behind

     CVS, with annual revenue of more than S118 billion. According to its website, Walgreens

     operates more than 8,100 retail locations and filled 990 million prescriptions on a 30-day




     359Press Release, U.S. Attorney's Office M. Dist. of Fla., United States Reaches $22 Million Settlement
     Agreement with CVS For Unlawful Distribution of Controlled Substances, U.S. Dep't of Just. (May 13,
     2015), https://www.justice.gov/usan-rndfl/prtunited-states-reaches-22- million-settlement-agreement-cvs-
     unlawful-distribution.

     3"Patrick Danner, H-E-B, CVS Fined Over Prescriptions, San Antonio Express-News (Sept. 5, 2014),
     http://www.expressnews.com/business/local/artiele/H-E-BCVSfined-over-prescriptions-5736554.php.

     361 AndrewKnittle, Oklahoma pharmacy board stays busy, hands out massive fines at times, NewsOK
     (May 3, 2015), http://newsok.corn/article/54 1 5840.

     363 PressRelease, U.S. Attorney's Office W. Dist. of Okla., CVS to Pay SI1 Million To Settle Civil
     Penalty Claims Involving Violations of Controlled Substances Act, U.S. Dep't of Just. (Apr. 3, 2013),
     https://www.justice.gov/usao-wdoldpricvs-pay-11-million-settle-civil-penaltyclaims-involving-violations-
     controlled.




                                                       267
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 284 of
                                     358




     adjusted basis in fiscal 2017.

              689.    Walgreens also has been penalized for serious and flagrant violations of the CSA.

     Indeed, Walgreens agreed to the largest settlement in DEA history—S80 million—to resolve

     allegations that it committed an unprecedented number of recordkeeping and dispensing

     violations of the CSA, including negligently allowing controlled substances such as oxycodone

     and other prescription painkillers to be diverted for abuse and illegal black-market sales.363

              690.   As part of the settlement. Walgreens admitted that it failed to uphold its

     obligations as a DEA registrant regarding the above-described conduct.364

              691.   The settlement resolved investigations into and allegations of CSA violations in

     Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

     into illicit channels.

              692.   Walgreens' Florida operations at issue in this settlement highlight its egregious

     conduct regarding diversion of prescription opioids. Walgreens' Florida pharmacies each

     allegedly ordered more than one million dosage units of oxycodone in 2011—more than ten

     times the average amount.365

              693.   They increased their orders over time, in some cases as much as 600% in the

     space of just two years, including, for example, supplying a town of 3,000 with 285,800 orders

     of oxycodone in a one-month period. Yet Walgreens' corporate officers not only turned a blind



     '363 Press Release, U.S. Attorney's Office S. Dist. of Fla., Walgreens Agrees to Pay a Record Settlement pf
     $80 Million for Civil Penalties Under the Controlled Substances Act, U.S. Dep't of Just. (June 11, 2013),
     IMps://www.justice.gov/usao-sdfl/pr/walgreens-agrees-pay-recordsettlement-80-million-civil-penalties-
     under-controlled.

     "4 Id.

     3"Order to Show Cause and immediate Suspension of Registration, In the Matter of Walgreens Co.
     (Drug Enrt Admin. Sept. 13, 2012).

                                                        268
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 285 of
                                     358




     eye, but provided pharmacists with incentives through a bonus program that compensated them

     based on the number of prescriptions filled at the pharmacy. In fact, corporate attorneys at

     Walgreens suggested, in reviewing the legitimacy of prescriptions coming from pain clinics, that

     "if these are legitimate indicators of inappropriate prescriptions perhaps we should consider not

     documenting our own potential noncompliance," underscoring Walgreens' attitude that profit

     outweighed compliance with the law or the health of communities.366

            694.    Defendant Walgreens' settlement with the DEA stemmed from the DEA's

     investigation into Walgreens' distribution center in Jupiter, Florida, which was responsible for

     significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

     Walgreens' corporate headquarters pushed to increase the number of oxycodone sales to

     Walgreens' Florida pharmacies, and provided bonuses for pharmacy employees based on number

     of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

     Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

     dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

     almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

     Center.367

            695.    The six retail pharmacies in Florida that received the suspicious drug shipments

     from the Jupiter Distribution Center, in turn, filled customer prescriptions that they knew or

     'should have known were not for legitimate medical use.368




                                                     269
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 286 of
                                     358




               696.   Walgreens has also settled with a number of state attorneys general, including

     West Virginia (S575,000) and Massachusetts (S200,000).169

               697.   The Massachusetts Attorney General's Medicaid Fraud Division found that, from

     2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the

     opioid use of some Medicaid patients who were considered high-risk,

               698.   In January 2017, an investigation by the Massachusetts Attorney General found

     that some Walgreens pharmacies failed to monitor patients' drug use patterns and didn't use

     sound professional judgment when dispensing opioids and other controlled substances—despite

     the context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay S200,000 and

     follow certain procedures for dispensing opioids.37°

               699.   Numerous state and federal drug diversion prosecutions have occurred in which

     prescription opioid pills were procured from National Retail Pharmacies. The allegations in this

     Complaint do not attempt to identify all these prosecutions, and the information above is merely

     by way of example.

               700.   The litany of state and federal actions against the National Retail Pharmacies

     demonstrate that they routinely, and as a matter of standard operation procedure, violated their

     legal obligations under the CSA and other laws and regulations that govern the distribution and

     dispensing of prescription opioids.

               701.   Throughout the country and in Florida in particular, the National Retail

     Pharmacies were or should have been aware of numerous red flags of potential suspicious




     3' 9 Walgreens to pay $200,000 settlement _API lapses with opioids, APhA (Jan. 25, 2017),
     hups://www.pharmacist.com/article/walgreens-pay-200000-settlement-lapses-opioids.

     370 1d.

                                                        270
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 287 of
                                     358




     activity and diversion.

             702.    On information and belief, from the catbird seat of their retail pharmacy

     operations, the National Retail Pharmacies knew or reasonably should have known about the

     disproportionate flow of opioids into Florida and the operation of "pill mills" that generated

     opioid prescriptions that, by their quantity or nature, were red flags for if not direct evidence of

     illicit supply and diversion. Additional information was provided by news reports, and state and

     federal regulatory actions, including prosecutions of pill mills in the area.

             703.    On information and belief, the National Retail Pharmacies knew or reasonably

     should have known about the devastating consequences of the oversupply and diversion of

     prescription opioids, including spiking opioid overdose rates in the community.

             704.    On information and belief, because of (among others sources of information)

     regulatory and other actions taken against the National Retail Pharmacies directly, actions taken

     against others pertaining to prescription opioids obtained from their retail stores, complaints and

     information from employees and other agents, and the massive volume of opioid prescription drug

     sale data that they developed and monitored, the National Retail Pharmacies were well aware that

     their distribution and dispensing activities fell far short of legal requirements.

             705.   The National Retail Pharmacies' actions and omissions in failing to effectively

     prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

     significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.

        VII. DEFENDANTS' UNLAWFUL CONDUCT AND BREACHES OF LEGAL
      DUTIES CAUSED THE HARM AND SUBSTANTIAL DAMAGE ALLEGED HEREIN

            706.    As the Marketing Defendants' efforts to expand the market for opioids increased

     so have the rates of prescription and sale of their products — and the rates of opioid-related

     substance abuse, hospitalization, and death among the people of the United States. The


                                                       271
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 288 of
                                     358




     Distributor Defendants have continued to unlawfully ship these massive quantities of opioids.

                 707.     There is a "parallel relationship between the availability of prescription opioid

     analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

     associated adverse outcomes."37I

                 708.    Opioid analgesics are widely diverted and improperly used, and the widespread

     use of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.372

                 709.    The epidemic is "directly related to the increasingly widespread misuse of

     powerful opioid pain medications."373

                710.     The increased abuse of prescription painkillers along with growing sales has

     contributed to a large number of overdoses and deaths.374

                711.     For example, one doctor in Ohio was convicted of illegally distributing some

     30,000 tablets of oxycodone, OxyContin, and Opana. In connection with sentencing, the U.S.

     Attorney explained that its enforcement efforts reflected that lojur region is awash in opioids

     that have brought heartbreak and suffering to countless families." Henry Schein delivered

     opioids directly to the office of this doctor, whom the Northern District of Ohio court has

     described as "selling 30,000 doses of poison into the community."375 In a separate civil suit, the




       See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N.
     371
     Eng. J. Med. 241-248 (2015), doi: 10.1056/NE1Msa1406143,
     http://www.nejm.orgidoidul1/1 0.1056/NEJMsa1406143.

     372   See Volkow & McLellan, supra n. 83.

     373   See Califf et al., supra n. 28.

     374   See Prescription Painkiller Overdoses at Epidemic Levels, supra n. 22.

     373 Eric Heisig, Former Akron-Area Doctor Sentenced to 63 Months in Prison for Doling Out Painkillers,
     Cleveland.com            (Mar.         16,          2015),          https://ww-w.eleveland.com/cour_t-
     iustice/index.ssf/2015/03/former akron-area doctor sente.html.


                                                          272
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 289 of
                                     358




     same prescriber reached a consent judgment alleging that he was purchasing hydrocodone/APAP

     tablets (hydrocodone and acetaminophen), from Henry Schein on as many as fourteen separate

     dates within a one-year period, and, subsequently dispensed 11,500 hydrocodone tablets without

     maintaining purchase and dispensing records as required by the CSA.

                712.    As shown above, the opioid epidemic has escalated with devastating effects:

     substantial opiate-related substance abuse, hospitalization, and death that goes hand in hand with

     Defendants' increased distribution of opioids.

                713.    Because of the well-established relationship between the use of prescription

     opioids and the use of non-prescription opioids, like heroin, the massive distribution of opioids

     by Defendants has caused the opioid epidemic to include heroin addiction, abuse, and death.

                714.    Defendants repeatedly and purposefully breached their duties under Florida law,

     and such breaches are direct and proximate causes of, and/or substantial factors leading to, the

     widespread diversion of prescription opioids for nonmedical purposes and the foreseeable,

     inevitable financial burdens imposed on and incurred by hospitals and other health care

     providers.

                715.    Hospitals are integral to the solution to the opioid epidemic, because they can "aid

     in the proper treatment of postoperative pain while also helping to combat a nationwide

     epidemic."376 Indeed, "[Nospital pharmacists...are in an ideal position to help address the

     opioid epidemic and make sure these agents are used appropriately."377 But Defendants'

     wrongful conduct has jeopardized the ability of Plaintiffs and other hospital purchasers to



     376   Opioid Exit Plan, supra n. 153.

     377Joey Sweeney, Hospital Pharmacists can Help Reduce Opioid Prescriptions, PHARMACY TODAY (July
     2016) (emphasis added), available at haps://www.phannacytoday.org/article/S1042-09910 6)30505-
     9/fulltext.


                                                        273
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 290 of
                                     358




     properly limit their purchasing and dispensing of ()plaids, particularly at the key junctures of

     patient admission and discharge. indeed, by creating and fueling the opioid epidemic,

     Defendants have impaired the hospitals' ability to perform their integral responsibilities to

     patients.

                716.     During admission, hospital professionals routinely consult with the patient to

     assess which medications the patient is taking at home. But, due to Defendants' conduct,

     hospitals can no longer trust patients to self-report their prescriptions. Hospital pharmacists may

     also check available databases to ensure that patients are not stockpiling prescription opioids, but

     such databases often do not record the actual flow of opioids.378 Hospital pharmacies' inability

     to rely on their patients' self-reporting, and having to take additional steps to independently

     verify their patients' purchases from other sources, imposes additional burdens on hospitals.

                717.     Then, before discharge, hospital professionals "obtain a list of planned outpatient

     prescriptions and perform a counseling session on how to safely and effectively control

     postoperative pain."379 The hospitals' efforts to provide meaningful counseling is subverted by

     Defendants' sales practices described in the Complaint, pursuant to which Defendants have

     disseminated misinformation throughout all levels of the marketplace and fostered increased

     demand for their products,

                718.     Hospitals must admit opioid users who present in need of intensive care or who

     display symptoms of mental illness. Defendants knew that federal and state law require hospitals

     to admit and treat opioid-addicted patients. Similarly, if a pregnant opioid addict presents for

     treatment, the Hospital must provide care for both the opioid-addicted mother and the opioid-



     378   id, at1131.

     '79   Opioid Exit Plan, supra n. 153.

                                                         274
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 291 of
                                     358




     addicted baby. Defendants relied on Plaintiffs to provide a safety net to prevent overdose deaths

     and treat health consequences arising from opioid addictions and depended on hospitals

     themselves to mitigate the health consequences of their illegal activities.3s0 In 2011, it is

     "estimated that [there were] greater than 420[,000 emergency room] visits related to the misuse

     of abuse of narcotic pain relievers" in the United States.331 Hospitals bear an enormous burden in

     providing care, as insurance covers only a portion of the cost.

                    719. The increased financial burdens on hospitals include, but are not limited to the

     following:

                       a. Unreimbursed costs for providing healthcare and medical care, additional
                          diagnostic, therapeutic and other treatments for patients suffering from opioid-
                          related addiction or disease, including physical and mental disabilities, overdoses
                          and deaths.;
                       b. Costs associated with patient counseling with respect to pain management,
                          necessitated by overprescription to the general population and dissemination of
                          false and misleading information to prospective patients and others; as hospitals
                          and other providers question their patients' self-reporting, it necessitates further
                          steps to be taken in all phases of treatment and counseling;

                       c. Unreimbursed costs of opioids purchased by hospitals themselves, which were
                          direct targets of the Defendants' marketing campaigns;

                       d. Unreimbursed costs of prescription drugs used to treat addiction;

                       e. Costs of training additional personnel in the proper treatment of drug overdoses:

                       f. Costs associated with obtaining and training staff in the application of naloxone—
                          an opioid antagonist used to block the deadly effects of opioids in the context of
                          overdose;

                       g. Additional unreimbursed costs for providing mental-health services, treatment,
                          counseling, rehabilitation services, and social services to victims of the opioid
                          epidemic and their families; and


     38°   Id. at     19.

     381   Cindy Williams, Vice President and Chief Pharmacy Officer, Riverside Health System, Establishment
     of an Opioid Stewardship Program, available at http://www.vshp.org/uploads/6/3/6/0/6360223/williams-
     onioid 1 ner_page.pdf (hereinafter described as the "Va. Hospital Pharmacists Paper").


                                                           275
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 292 of
                                     358




                   h. Unreimbursed Costs for providing treatment of infants born with opioid-related
                       medical conditions, or born dependent on opioids due to drug use by mother
                       during pregnancy.

             720.     The unlawful diversion of prescription opioids is a direct and proximate cause of,

     and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

     morbidity, and mortality in the United States. This diversion and the epidemic are direct causes

     of foreseeable harm to Plaintiffs.

            721.      Defendants' unlawful conduct resulted in direct and foreseeable, past and

     continuing, economic damages for which Plaintiffs seek relief.

                                  VIII.   CONSPIRACY ALLEGATIONS

            721       The Defendants conspired to engage in the wrongful conduct complained of

     herein and intended to benefit both independently and jointly from their wrongful conduct.

     A.     Conspiracy Among the Purdue Defendants

            723.      The Purdue Defendants agreed among themselves to cause Purdue and related

     business entities to (I) promote the use of opioids for the management of pain in order to mislead

     physicians, patients, health care providers such as hospitals, and health care payors through

     misrepresentations and omissions regarding the appropriate uses, risks, and safety of opioids in

     order to increase sales, revenue, and profit from their opioid products, and (2) increase the supply

     of opioids and fraudulently increase the quotas that governed the manufacture and supply of

     prescription opioids

            724.      In committing these wrongful acts, the Purdue Defendants have pursued, or joined

     in the pursuit of, a common course of conduct, and have acted in concert with and conspired with

     one another in furtherance of their common plan or design. In addition to the wrongful conduct

     herein alleged as giving rise to primary liability, the Purdue Defendants further aided and abetted


                                                     276
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 293 of
                                     358




     and/or assisted each other in breaching their respective duties.

             725.    The Purdue Defendants entered into a conspiracy, common enterprise, and/or

     common course of conduct. During all times relevant hereto, the Purdue Defendants, collectively

     and individually, initiated a course of conduct that was designed to and did misrepresent the

     properties of opioids, and facilitate the distribution of opioids. The Purdue Defendants did so in

     order to maximize the profits Purdue would receive from opioid sales. In furtherance of this plan,

     conspiracy, and course of conduct, the Purdue Defendants collectively and individually, took the

     actions set forth herein.

            726.     Each of the Purdue Defendants aided and abetted and rendered substantial

     assistance in the wrongs committed by their respective co-conspirators complained of herein. In

     taking such actions to substantially assist the commission of the wrongdoing complained of

     herein, each Purdue Defendant acted with knowledge of the primary wrongdoing, substantially

     assisted in the accomplishment of that wrongdoing, and was aware of his or her overall

     contribution to and furtherance of the wrongdoing.

     B.     Conspiracy Among the Marketing Defendants

            727.    The Marketing Defendants agreed among themselves to set up, develop, and fund

     an unbranded promotion and marketing network to promote the use of opioids for the

     management of pain in order to mislead physicians, patients, health care providers such as

     hospitals, and health care payors through misrepresentations and omissions regarding the

     appropriate uses, risks, and safety of opioids in order to increase sales, revenue, and profit from

     their opioid products.

            728.    This interconnected and interrelated network relied on the Marketing Defendants'

     collective use of unbranded marketing materials, such as KOLs, scientific literature, CMEs,

     patient education materials, and Front Groups developed and funded collectively by the

                                                     277
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 294 of
                                     358




     Marketing Defendants and intended to mislead consumers and medical providers, such as

     hospitals, of the appropriate uses, risks, and safety of opioids.

                729.   The Marketing Defendants' collective marketing scheme to increase opioid

     prescriptions, sales, revenues and profits centered around the development, dissemination, and

     reinforcement of nine false propositions: (I) that addiction is rare among patients taking opioids

     for pain; (2) that addiction risk can be effectively managed; (3) that symptoms of addiction

     exhibited by opioid patients are actually symptoms of an invented condition dubbed

     "pseudoaddiction"; (4) that withdrawal is easily managed; (5) that increased dosing presents no

     significant risks; (6) that long-term use of opioids improves function; (7) that the risks of

     alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that use of

     time-released dosing prevents addiction; and (9) that abuse-deterrent formulations provide a

     solution to opioid abuse.

            730.       The Marketing Defendants knew that none of these propositions are true.

            731.       Each Marketing Defendant worked individually and collectively to develop and

     actively promulgate these nine false propositions in order to mislead physicians, patients, and

     health care providers such as hospitals and healthcare payors regarding the appropriate uses,

     risks, and safety of opioids.

            732.       What is particularly remarkable about the Marketing Defendants' effort is the

     seamless method in which the Marketing Defendants joined forces to achieve their collective

     goal: to persuade consumers and medical providers, such as hospitals, of the safety of opioids,

     and to hide their actual risks and dangers. In doing so. the Marketing Defendants effectively

     built a new — and extremely lucrative 7 opioid marketplace for their select group of industry

     players.



                                                      278
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 295 of
                                     358




             733.   The Marketing Defendants' unbranded promotion and marketing network was a

     wildly successful marketing tool that achieved marketing goals that would have been impossible

     to have been met by a single or even a handful of the network's distinct corporate members.

             734.   For example, the network members pooled their vast marketing funds and

     dedicated them to expansive and normally cost-prohibitive marketing ventures, such as the

     creation of Front Groups. These collaborative networking tactics allowed each Marketing

     Defendant to diversify its marketing efforts, all the while sharing any risk and exposure,

     financial and/or legal, with other Marketing Defendants

            735.    The most unnerving tactic utilized by the Marketing Defendants' network was

     their unabashed mimicry of the scientific method of citing "references- in their materials. In the

     scientific community, cited materials and references are rigorously vetted by objective unbiased

     and disinterested experts in the field, and an unfounded theory or proposition would, or should,

     never gain traction.

            736.    Marketing Defendants put their own twist on the scientific method: they worked

     together to manufacture wide support for their unfounded theories and propositions involving

     opioids. Due to their sheer numbers and resources, the Marketing Defendants were able to create

     a false consensus through their materials and references.

            737.    An illustrative example of the Marketing Defendants' utilization of this tactic is

     the wide promulgation of the Porter & Jick Letter, which declared the incidence of addiction

     "rare" for patients treated with opioids. The authors had analyzed a database of hospitalized

     patients who were given opioids in a controlled setting to ease suffering from acute pain. These

     patients were not given long-term opioid prescriptions or provided opioids to administer to

     themselves at home, nor was it known how frequently or infrequently and in what doses the



                                                    279
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 296 of
                                     358




     patients were given their narcotics. Rather, it appears the patients were treated with opioids for

     short periods of time under in-hospital doctor supervision.

             738.   Nonetheless, Marketing Defendants widely and repeatedly cited this letter as

     proof of the low addiction risk in connection with taking opioids despite the letter's obvious

     shortcomings. Marketing Defendants' egregious misrepresentations based on this letter included

     claims that less than one percent of opioid Users became addicted.

             739.   Marketing Defendants' collective misuse of the Porter & Jick Letter helped the

     opioid manufacturers convince patients and healthcare providers such as hospitals that opioids

     were not a concern. The enormous impact of Marketing Defendants' misleading amplification of

     this letter was well documented in another letter published in the NEJM on June, 1, 2017,

     describing the way the one-paragraph 1980 letter had been irresponsibly cited and, in some

     cases, "grossly misrepresented." In particular, the authors of this letter explained:

            [W]e found that a five-sentence letter published in the Journal in 1980 was heavily
            and uncritically cited as evidence that addiction was rare with long-term opioid
            therapy. We believe that this citation pattern contributed to the North American
            opioid crises by helping to shape a narrative that allayed prescribers' concerns
            about the risk of addiction associated with long-term opioid therapy...

            740.    By knowingly misrepresenting the appropriate uses, risks, and safety of opioids,

     the Marketing Defendants committed overt acts in furtherance of their conspiracy.

     C.     Conspiracy Among the Marketing Defendants and the Supply Chain Defendants

            741.    In addition, and on an even broader level, all the Marketing Defendants and

     Supply Chain Defendants took advantage of the industry structure, including end-running its

     internal checks and balance, to their collective advantage. The Marketing Defendants and

     Supply Chain Defendants agreed among themselves to increase the supply of opioids arnd

     fraudulently increase the quotas that governed the manufacture and supply of prescription

     opioids. The Marketing Defendants and Supply Chain Defendants did so to increase sates,

                                                      280
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 297 of
                                     358




        revenue, and profit from their opioid products.

               742. The interaction and length of the relationships between and among the Marketing
    •
        Defendants and Supply Chain Defendants reflects a deep level of interaction and cooperation

        between the Marketing Defendants and Supply Chain Defendants in a tightly knit industry. The

        Marketing and Supply Chain Defendants were not two separate groups operating in isolation or

        two groups forced to work together in a closed system. The Marketing Defendants and Supply

        Chain Defendants operated together as a united entity, working together on multiple fronts, to

        engage in the unlawful sale of prescription opioids.

               743.    The Marketing Defendants and Supply Chain Defendants collaborated to expand

        the opioid market in an interconnected and interrelated network in the following ways, as set

        forth more fully below including, for example, membership in the Healthcare Distribution

        Alliance.

               744.    The Marketing Defendants and Supply Chain Defendants utilized their

        membership in the HDA and other forms of collaboration to form agreements about their

        approach to their duties under the CSA to report suspicious orders. The Marketing Defendants

        and Supply Chain Defendants overwhelmingly agreed on the same approach — to fail to identify.

        report, or halt suspicious opioid orders, and fail to prevent diversion. The Marketing Defendants

        and Supply Chain Defendants' agreement to restrict reporting provided an added layer of

        insulation from scrutiny for the entire industry as the Marketing Defendants and Supply Chain

        Defendants were thus collectively responsible for each other's compliance with their reporting

        obligations. The Marketing Defendants and Supply Chain Defendants were aware, both

        individually and collectively, of the suspicious orders that flowed directly from the Marketing

        Defendants and Supply Chain Defendants' facilities.



                                                          281
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 298 of
                                     358




             745.   The Marketing Defendants and Supply Chain Defendants knew that their own

     conduct could be reported by other Defendants and that their failure to report suspicious orders

     they filled could be brought to the government's attention. As a result, the Marketing Defendants

     and Supply Chain Defendants had an incentive to communicate with each other about the

     reporting or suspicious orders to ensure consistency in their dealings with the authorities.

            746.    The desired consistency and collective end goal were achieved. The Marketing

     Defendants and Supply Chain Defendants achieved blockbuster profits through higher opioid

     sales by orchestrating the unimpeded flow of opioids.

              IX.     ADDITIONAL FACTS PERTAINING TO PUNITIVE DAMAGES

            747.    As set forth above, Defendants acted deliberately to increase sales of, and profits

     from, opioid drugs. The Marketing Defendants knew there was no support for their claims that

     addiction was rare, that addiction risk could be effectively managed, that signs of addiction were

     merely "pseudoaddiction," that withdrawal is easily managed, that higher doses pose no

     significant additional risks, that long-term use of opioids improves function, or that time-release

     or abuse-deterrent formulations would prevent addiction or abuse. Nonetheless, they knowingly

     promoted these falsehoods in order to increase the market for their addictive dnigs.

            748.    All of the Defendants, moreover, knew that large and suspicious quantities of

     opioids were being poured into communities throughout the United States. Despite this

     knowledge, Defendants took no steps to report suspicious orders, control the supply of opioids,

     or otherwise prevent diversion. Indeed, as described above, Defendants acted in concert together

     to maintain high levels of quotas for their products and to ensure that suspicious orders would

     not be reported to regulators.

            749.    Defendants' conduct was so willful and deliberate that it continued in the face of



                                                     282
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 299 of
                                     358



     numerous enforcement actions, fines, and other warnings from state and local governments and

     regulatory agencies. Defendants paid their fines, made promises to do better, and continued on

     with their marketing and supply schemes. This ongoing course of conduct knowingly,

     deliberately, and repeatedly threatened and accomplished harm and risk of harm to public health

     and safety, and large-scale economic loss to communities, governments, families, communities,

     hospitals and health care providers across the country.

                750.   As all of the governmental actions against all the Defendants show, Defendants

     knew that their actions were unlawful, and yet deliberately refused to change their practices

     because compliance with their legal obligations would have decreased their sales and their

     profits.

     A.         The Marketing Defendants Persisted in Their Fraudulent Scheme Despite Repeated
                Admonitions, Warnings, and Even Prosecutions

                751.   So determined were the Marketing Defendants to sell more opioids that they

     simply ignored multiple admonitions, warnings, and prosecutions, as described more fully

     below.

                1.     FDA Warnings to Janssen Failed to Deter Janssen's Misleading Promotion of
                       Duragesic

                752.   On February 15, 2000, the FDA sent Janssen a letter concerning the

     dissemination of "homemade" promotional pieces that promoted the Janssen drug Duragesic in

     violation of the Federal Food, Drug, and Cosmetic Act. In a subsequent letter, dated March 30,

     2000, the FDA explained that the "homemade" promotional pieces were "false or misleading

     because they contain misrepresentations of safety information, broaden Duragesic's indication,

     contain unsubstantiated claims, and lack fair balance." The March 30, 2000 letter detailed

     numerous ways in which Janssen's marketing was misleading.

                753.   The letter did not stop Janssen. On September 2, 2004, the U.S. Department of

                                                      283
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 300 of
                                     358



     Health and Human Services ("FIHS") sent Janssen a warning letter concerning Duragesic due to

     "false or misleading claims about the abuse potential and other risks of the drug, and..

     unsubstantiated effectiveness claims for Duragesic," including, specifically, "suggesting that

     Duragesic has a lower potential for abuse compared to other opioid products." The September 2,

     2004 letter detailed a series of unsubstantiated, false or misleading claims.

             754.   One year later, Janssen was still at it. On July 15, 2005, the FDA issued a public

     health advisory warning doctors of deaths resulting from the use of Duragesic and its generic

     competitor, manufactured by Mylan N.V. The advisory noted that the FDA had been

     "examining the circumstances of product use to determine if the reported adverse events may be

     related to inappropriate use of the patch" and noted the possibility "that patients and physicians

     might be unaware of the risks" of using the fentanyl transdermal patch, which is a potent opioid

     analgesic approved only for chronic pain in opioid-tolerant patients that could not be treated by

     other drugs.

            2.      Governmental Action, Including Large Monetary Fines, Failed to Stop
                    Cephalon From Falsely Marketing Actiq For Off-label Uses

            755.    On September 29, 2008, Cephalon finalized and entered into a corporate integrity

     agreement with the Office of the Inspector General of HMS and agreed to pay $425 million in

     civil and criminal penalties for its off-label marketing of Actiq and two other drugs (Gabitril and

     Provigil). According to a DOJ press release, Cephalon had trained sales representatives to

     disregard restrictions of the FDA-approved label, employed sales representatives and healthcare

     professionals to speak to physicians about off-label uses of the three drugs and funded CMEs to

     promote off-label uses.

            756.    Notwithstanding letters, an FDA safety alert, DOJ and state investigations, and

     the massive settlement, Cephalon has continued its deceptive marketing strategy.


                                                     284
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 301 of
                                     358




             3.      FDA Warnings Did Not Prevent Cephalon from Continuing False and Off-
                     Label Marketing of Fentora

             757.    On September 27, 2007, the FDA issued a public health advisory to address

     numerous reports that patients who did not have cancer or were not opioid tolerant had been

     prescribed Fentora, and death or life-threatening side effects had resulted. The FDA warned:

     "Fentora should not be used to treat any type of short-term pain." Indeed, the FDA specifically

     denied Cephalon's application, in 2008, to broaden the indication of Fentora to include treatment

     of non-cancer breakthrough pain and use in patients who were not already opioid-tolerant.

             758.    Flagrantly disregarding the FDA's refusal to broaden the indication for Fentora,

     Cephalon nonetheless marketed Fentora beyond its approved indications. On March 26, 2009,

     the FDA warned Cephalon against its misleading advertising of Fentora ("Warning Letter"). The

     Warning Letter described a Fentora Internet advertisement as misleading because it purported to

     broaden "the indication for Fentora by implying that any patient with cancer who requires

     treatment for breakthrough pain is a candidate for Fentora . . when this is not the case." It

     further criticized Cephalon's other direct Fentora advertisements because they did not disclose

     the risks associated with the drug.

            759.     Despite this warning, Cephalon continued to use the same sales tactics to push

     Fentora as it did with Actiq. For example, on January 13, 2012, Cephalon published an insert in

     Pharmacy Times titled "An Integrated Risk Evaluation and Mitigation Strategy (REMS) for

     FENTORA (Fentanyl Buccal Tablet) and ACTIQ (Oral Transmucosal Fentanyl Citrate)."

     Despite the repeated warnings of the dangers associated with the use of the drugs beyond their

     limited indication, as detailed above, the first sentence of the insert states: "It is well recognized

     that the judicious use of opioids can facilitate effective and safe management of chronic pain."




                                                      285
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 302 of
                                     358




               4.     A Guilty Plea and a Large Fine did not Deter Purdue from Continuing its
                      Fraudulent Marketing of OxyContin

               760.   In May 2007, Purdue and three of its executives pled guilty to federal charges of

     misbranding OxyContin in what the company acknowledged was an attempt to mislead doctors

     about the risk of addiction. Purdue was ordered to pay nearly $635 million in fines and fees. In

     its plea, Purdue admitted that its promotion of OxyContin was misleading and inaccurate,

     misrepresented the risk of addiction, and was unsupported by science. At the time, this was one

     of the largest settlements with a drug company for marketing misconduct.382 Additionally,

     Michael Friedman, the company's president, pled guilty to a misbranding charge and agreed to

     pay $19 million in tines; Howard R. Udell, Purdue's top lawyer, also pled guilty and agreed to

     pay $8 million in fines; and Paul D. Goldenheim, its former medical director, pled guilty as well

     and agreed to pay $7.5 million in fines.

               761.   Nevertheless, even after the settlement, Purdue continued to pay doctors on

     speakers' bureaus to promote the liberal prescribing of OxyContin for chronic pain and to fund

     seemingly neutral organizations to disseminate the message that opioids were non-addictive as

     well as other misrepresentations. At least until early 2018, Purdue continued deceptively

     marketing the benefits of opioids for chronic pain while diminishing the associated dangers of

     addiction. After Purdue made its guilty plea in 2007, it assembled an army of lobbyists to fight

     any legislative actions that might encroach on its business. Between 2006 and 2015, Purdue and

     other painkiller producers, along with their associated nonprofits, spent nearly $900 million

     dollars on lobbying and political contributions - eight times what the gun lobby spent during that

     period.


     382
        Barry Meier, In Guilty Plea, OxyContin Maker to Pay $1500 Million, N.Y. TrmEs (May 10, 2007),
     http://www.nytimes.com/2007/05/10/business/1) drilg-web.html.


                                                      286
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 303 of
                                     358




                762.   Since at least 2002, Purdue has maintained a database of health care providers

     suspected of inappropriately prescribing OxyContin or other opioids. Physicians could be added

     to this database based on observed indicators of illicit prescribing such as excessive numbers of

     patients, cash transactions, patient overdoses, and unusual prescribing of the highest-strength

     pills (80 mg OxyContin pills or "80s," as they were known on the street, were a prime target for

     diversion). Purdue claims that health care providers added to the database no longer were

     detailed, and that sales representatives received no compensation tied to these providers'

     prescriptions.

                763.   Yet, Purdue failed to cut off these providers' opioid supply at the pharmacy

     level—meaning Purdue continued to generate sales revenue from their prescriptions—and failed

     to report these providers to state medical boards or law enforcement. Purdue's former senior

     compliance officer acknowledged in an interview with the Los Angeles Times that in five years

     of investigating suspicious pharmacies, the company never stopped the supply of its opioids to a

     pharmacy, even where Purdue employees personally witnessed the diversion of its drugs.

                764.   The same was true of prescribers. For example, as discussed above, despite

     Purdue's knowledge of illicit prescribing from one Los Angeles clinic which its district manager

     called an “organized drug ring" in 2009, Purdue did not report its suspicions until long after law

     enforcement shut it down and not until the ring prescribed more than 1.1 million OxyContin

     tablets.

                765.   Indeed, the New York Attorney General found that Purdue placed 103 New York

     health care providers on its "No-Call" List between January 1, 2008 and March 7, 2015, and that

     Purdue's sales representatives had detailed approximately two-thirds of these providers, some

     quite extensively, making more than a total of 1,800 sales calls to their offices over a six-year



                                                       287
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 304 of
                                     358




     period.

               5.     Endo Continued to Aggressively Promote Opana After Becoming Aware of
                      Its Widespread Abuse

               766.   The New York Attorney General found that Endo knew, as early as 2011, that

     Opana ER was being abused in New York, but certain sales representatives who detailed New

     York health care providers testified that they did not know about any policy or duty to report

     problematic conduct. The New York Attorney General further determined that Endo detailed

     health care providers who were subsequently arrested or convicted for illegal prescribing of

     opioids a total of 326 times, and these prescribers collectively wrote 1,370 prescriptions for

     Opana ER (although the subsequent criminal charges at issue did not involve Opana ER).

               767.   Even after the Indiana Department of Public Health determined that an HIV

     outbreak in Southeastern Indiana was linked to injection of the prescription painkiller Opana and

     requested removal from the market, in 2015, "based on its concern that the benefits of the drug

     may no longer outweigh its risks," Endo continued to market the drug until 2017.

     B.        Repeated Admonishments and Fines Did Not Stop the Distributor Defendants from
               Ignoring Their Obligations to Control the Supply Chain and Prevent Diversion

               768.   Defendants were repeatedly admonished and even fined by regulatory authorities,

     but continued to disregard their obligations to control the supply chain of dangerous opioids and to

     institute controls to prevent diversion.

               769.   In a 60 Minutes interview last fall, former DEA agent Joe Rannazzisi described

     Defendants' industry as "out of control," stating that "[w]hat they wanna do, is do what they

     wanna do, and not worry about what the law is. And if they don't follow the law in drug supply,

     people die. That's just it. People die." The interview continued:

               JOE RANNAZZIS1: The three largest distributors are Cardinal Health,
               McKesson, and AmerisourceBergen. They control probably 85 or 90 percent of
               the drugs going downstream.

                                                     288
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 305 of
                                     358




             (INTERVIEWER]: You know the implication of what you're saying, that these
             big companies knew that they were pumping drugs into American communities
             that were killing people.

             JOE RANNAZZISI: That's not an implication, that's a fact. That's exactly what
             they did.

             770.   Another DEA veteran similarly stated that these companies failed to make even a

     "good faith effort" to "do the right thing." He explained that "I can tell you with 100 percent

     accuracy that we were in there on multiple occasions trying to get them to change their behavior.

     And they just flat out ignored us."383

             771.   Government actions against the Distributor Defendants with respect to their

     obligations to control the supply chain and prevent diversion include:

                a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
                   Suspension Order against the AmerisourceBergen Orlando, Florida distribution
                   center ("Orlando Facility") alleging failure to maintain effective controls against
                   diversion of controlled substances. On June 22, 2007, AmerisourceBergen entered
                   into a settlement that resulted in the suspension of its DEA registration;

                b. On November 28, 2007, the DEA issued an Order to Show Cause and
                   Immediate Suspension Order against the Cardinal Auburn, Washington
                   Distribution Center ("Auburn Facility") for failure to maintain effective
                   controls against diversion of hydrocodone;

                e. On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
                    Suspension Order against the Cardinal Lakeland, Florida Distribution Center
                    ("Lakeland Facility") for failure to maintain effective controls against diversion
                    of hydrocodone;

                d. On December 7, 2007, the DEA issued an Order to Show Cause and
                   Immediate Suspension Order against the Cardinal Swedesboro, New Jersey
                   Distribution Center ("Swedesboro Facility-) for failure to maintain effective
                   controls against diversion of hydrocodone;

                e. On January 30, 2008, the DEA issued an Order to Show Cause against the Cardinal
                   Stafford, Texas Distribution Center ("Stafford Facility") for failure to maintain
                   effective controls against diversion of hydrocodone;

       Id.


                                                     289
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 306 of
                                     358




                   f. On September 30, 2008, Cardinal entered into a Settlement and Release
                      Agreement and Administrative Memorandum of Agreement with the DEA
                      related to its Auburn, Lakeland, Swedesboro and Stafford Facilities. The
                      document also referenced allegations by the DEA that Cardinal failed to maintain
                      effective controls against the diversion of controlled substances at its distribution
                      facilities located in McDonough, Georgia ("McDonough Facility"), Valencia,
                      California ("Valencia Facility") and Denver, Colorado ("Denver Facility");

                  g. On February 2, 2012, the DEA issued an Order to Show Cause and
                     Immediate Suspension Order against the Cardinal's Lakeland Facility for
                     failure to maintain effective controls against diversion of oxycodone; and

                  h. On December 23, 2016, Cardinal agreed to pay a S44 million fine to the DEA to
                     resolve the civil penalty portion of the administrative action taken against its
                     Lakeland Facility.

                               X.      JOINT ENTERPRISE ALLEGATIONS

            772.       Defendants entered into an agreement with respect to opioids and/or distribution

     of opioids in Florida and Plaintiffs' communities.

            773.       The agreement had a common purpose: to promote the sale and distribution of

     opioids through the marketing of opioids and/or distribution of opioids into Florida and

     Plaintiffs' communities, in violation of the statutory, common law (of fraud and nuisance) and

     regulations of Florida.

            774.       The Defendants had a community of pecuniary interest in that common purpose,

     as all of the Defendants profited from sales of opioids in Florida.

            775.       The Defendants had an equal right to a voice in the direction of the enterprise.

                 XI.     FACTS PERTAINING TO CLAIMS UNDER RICO STATUTES

     A.     The False Narrative Enterprise

            1.         The Common Purpose and Scheme of the False Narrative Enterprise

            776.       In order to unlawfully increase the demand for opioids, the Marketing Defendants

     and the Supply Chain Defendants (the Marketing Defendants (excluding the Purdue Individual


                                                       290
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 307 of
                                     358




     Defendants) and the Supply Chain Defendants are at times collectively referred to as the "RICO-

     ! Defendants") formed an association-in-fact enterprise (the "False Narrative Enterprise") with

     the Front Groups and KOLs described above. Knowing that their products were highly

     addictive, ineffective and unsafe for the treatment of long-term chronic pain, non-acute and non-

     cancer pain, the RICO- I Defendants formed an association-in-fact enterprise and engaged in a

     scheme to unlawfully increase their profits and sales, and grow their share of the prescription

     painkiller market, through (1) repeated and systematic misrepresentations about the safety and

     efficacy of opioids for treating long-term chronic pain, and (2) ongoing disregard of their duties

     to identify, investigate, halt and report suspicious orders of opioids and diversion of their drugs

     into the illicit market.

             2.      The Conduct of the False Narrative Enterprise

                     a.         Conduct in the Marketing of Opioids

             777.    The Marketing Defendants' substantial financial contribution to the False

     Narrative Enterprise, and the advancement of opioids- friendly messaging, fueled the U.S.

     opioids epidemiC384                                         •

             778.    The Marketing Defendants, through their participation in the False Narrative

     Enterprise, concealed the true risks and dangers of opioids from the medical community and the

     public, including Plaintiffs, and made misleading statements and misrepresentations about

     opioids that downplayed the risk of addiction and exaggerated the benefits of opioid use. The

     misleading statements included: (1) that addiction is rare among patients taking opioids for pain;

     (2) that addiction risk can be effectively managed; (3) that symptoms of addiction exhibited by

     opioid patients are actually symptoms of an invented condition the Marketing Defendants named



       Fueling an Epidemic, supra n. 154.


                                                     291
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 308 of
                                     358




     "pseudoaddiction;" (4) that withdrawal is easily managed; (5) that increased dosing present no

     significant risks; (6) that long-term use of opioids improves function; (7) that the risks of

     alternative forms of pain treatment are greater than the adverse effects of opioids; (8) that use of

     time-released dosing prevents addiction; and (9) that abuse-deterrent formulations provide a

     solution to opioid abuse.

             779.   The Marketing Defendants, the Front Groups, and the KOLs acted together for a

     common purpose and perpetuated the False Narrative Enterprise's scheme, including through the

     unbranded promotion and marketing network as described above.

             780.   There was regular communication between the Marketing Defendants, Front

     Groups and KOLA, in which information was shared, misrepresentations are coordinated, and

     payments were exchanged. Typically, the coordination, communication and payment occurred,

     and continues to occur, through the repeated and continuing use of the wires and mail in which

     the Marketing Defendants, Front Groups, and KOLs share information regarding overcoming

     objections and resistance to the use of opioids for chronic pain. The Marketing Defendants, Front

     Groups and KOLs functioned as a continuing unit for the purpose of implementing the False

     Narrative Enterprise's scheme and common purpose, and each agreed and took actions to hide the

     scheme and continue its existence.

            781.    At all relevant times, the Front Groups were aware of the Marketing Defendants'

     conduct, were knowing and willing participants in and beneficiaries of that conduct. Each Front

     Group also knew, but did not disclose, that the other Front Groups were engaged in the same

     scheme, to the detriment of consumers, prescribers, and the Plaintiffs. But for the False Narrative

     Enterprise's unlawful fraud, the Front Groups would have had incentive to disclose the deceit by

     the Marketing Defendants and the False Narrative Enterprise to their members and constituents.



                                                      292
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 309 of
                                     358




     By failing to disclose this information, Front Groups perpetuated the False Narrative Enterprise's

     scheme and common purpose, and reaped substantial benefits.

             782.    At all relevant times, the KOLs were aware of the Marketing Defendants' conduct,

     were knowing and willing participants in that conduct, and reaped benefits from that conduct.

     The Marketing Defendants selected KOLs solely because they favored the aggressive treatment

     of chronic pain with opioids. The Marketing Defendants' support helped the KOLs become

     respected industry experts. And, as they rose to prominence, the KOLs falsely touted the benefits

     of using opioids to treat chronic pain, repaying the Marketing Defendants by advancing their

     marketing goals. The KOLs also knew, but did not disclose, that the other KOLS and Front

     Groups were engaged in the same scheme, to the detriment of consumers, prescribers, and the

     Plaintiffs. But for the False Narrative Enterprise's unlawful conduct, the KOLs would have had

     incentive to disclose the deceit by the Marketing Defendants and the False Narrative Enterprise,

     and to protect their patients and the patients of other physicians. By failing to disclose this

     information, KOLs furthered the False Narrative Enterprise's scheme and common purpose, and

     reaped substantial benefits.

            783.    As public scrutiny and media coverage focused on how opioids ravaged

     communities in the relevant RICO states and throughout the United States, the Front Groups and

     KOLS did not challenge the Marketing Defendants' misrepresentations, seek to correct their

     previous misrepresentations, terminate their role in the False Narrative Enterprise, nor disclose

     publicly that the risks of using opioids for chronic pain outweighed their benefits and were not

     supported by medically acceptable evidence.

            784.    The Marketing Defendants, Front Groups and KOLs engaged in certain discrete

     categories of activities in furtherance of the common purpose of the False Narrative Enterprise.



                                                      293
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 310 of
                                     358




     As described herein, the False Narrative Enterprise's conduct in furtherance of the common

     purpose of the False Narrative Enterprise involved: (1) misrepresentations regarding the risk of

     addiction and safe use of prescription opioids for long-term chronic pain (described in detail

     above); (2) lobbying to defeat measures to restrict over-prescription; (3) efforts to criticize or

     undermine CDC guidelines; and (4) efforts to limit prescriber accountability.

             785.    In addition to disseminating misrepresentations about the risks and benefits of

     opioids, the False Narrative Enterprise also furthered its common purpose by criticizing or

     undermining CDC guidelines. Members of the False Narrative Enterprise criticized or

     undermined the CDC Guidelines which represented "an important step - and perhaps the first

     major step from the federal government - toward limiting opioid prescriptions for chronic pain."

            786.    Several Front Groups, including the U.S. Pain Foundation and the AAPM,

     criticized the draft guidelines in 2015, arguing that the "CDC slides presented on Wednesday

     were not transparent relative to process and failed to disclose the names, affiliation, and conflicts

     of interest of the individuals who participated in the construction of these guidelines."

            787.    The AAPM criticized the prescribing guidelines in 2016, through its immediate

     past president, stating "that the CDC guideline makes disproportionately strong recommendations

     based upon a narrowly selected portion of the available clinical evidence."

            788.    The Marketing Defendants alone could not have accomplished the purpose of the

     False Narrative Enterprise without the assistance of the Front Groups and KOLs, who were

     perceived as "neutral" and more "scientific" than the Marketing Defendants themselves. Without

     the work of the Front Groups and KOLs in spreading misrepresentations about opioids, the False

     Narrative Enterprise could not have achieved its common purpose.

            789.    The impact of the False Narrative Enterprise's scheme is still in place - i.e., the



                                                      294
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 311 of
                                     358




     opioids continue to be prescribed and used for chronic pain, and the epidemic continues to injure

     Plaintiffs and consume Plaintiffs' resources.

             790.    As a result, it is clear that the Marketing Defendants, the Front Groups, and the

     KOLs were all willing participants in the False Narrative Enterprise, had a common purpose and

     interest in the object of the scheme, and functioned within a structure designed to effectuate the

     Enterprise's purpose.

             791.    Each of the Marketing Defendants exerted control over the False Narrative

     Enterprise and participated in the operation or management of the affairs of the False Narrative

     Enterprise, directly or indirectly, in the following ways:


                a. Creating and providing a body of deceptive, misleading and unsupported medical
                   and popular literature about opioids that (i) understated the risks and overstated
                   the benefits of long-term use; (ii) appeared to be the result of independent,
                   objective research; and (iii) was thus more likely to be relied upon by physicians,
                   patients, and payors;

                b. Creating and providing a body of deceptive, misleading and unsupported
                   electronic and print advertisements about opioids that (i) understated the risks and
                   overstated the benefits of long-term use; (ii) appeared to be the result of
                   independent, objective research; and (iii) was thus more likely to be relied upon
                   by physicians, patients, and payors;

                c. Creating and providing a body of deceptive, misleading and unsupported sales
                   and promotional training materials about opioids that (i) understated the risks and
                   overstated the benefits of long-term use; (ii) appeared to be the result of
                   independent, objective research; and (iii) was thus more likely to be relied upon
                   by physicians, patients, and payors;

                d. Creating and providing a body of deceptive, misleading and unsupported CMEs
                   and speaker presentations about opioids that (i) understated the risks and
                   overstated the benefits of long-term use; (ii) appeared to be the result of
                   independent, objective research; and (iii) was thus more likely to be relied upon
                   by physicians, patients, and payors;

                e. Selecting, cultivating, promoting and paying KOLs based solely on their
                   willingness to communicate and distribute the Marketing Defendants' messages
                   about the use of opioids for chronic pain;

                11   Providing substantial opportunities for KOLs to participate in research studies on
                     topics the RICO Marketing Defendants suggested or chose, with the predictable
                     effect of ensuring that many favorable studies appeared in the academic literature;


                                                      295
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 312 of
                                     358



                g. Paying KOLs to serve as consultants or on the Marketing Defendants' advisory
                   boards, on the advisory boards and in leadership positions on Front Groups, and
                   to give talks or present CMEs, typically over meals or at conferences;

                h. Selecting, cultivating, promoting, creating and paying Front Groups based solely
                   on their willingness to communicate and distribute the RICO Marketing
                   Defendants' messages about the use of opioids for chronic pain;

                i. Providing substantial opportunities for Front Groups to participate in and/or
                   publish research studies on topics the RICO Marketing Defendants suggested or
                   chose (and paid for), with the predictable effect of ensuring that many favorable
                   studies appeared in the academic literature;

                j.   Paying significant amounts of money to the leaders and individuals associated
                     with Front Groups;

                k. Donating to Front Groups to support talks or CMEs, that were typically presented
                   over meals or at conferences;

                I.   Disseminating many of their false, misleading, imbalanced, and unsupported
                     statements through unbranded materials that appeared to be independent
                     publications from Front Groups;

                in. Sponsoring CME programs put on by Front Groups that focused exclusively on
                    the usc of opioids for chronic pain;

               n. Developing and disseminating pro-opioid treatment guidelines with the help of
                  the KOLs as authors and promoters, and the help of the Front Groups as
                  publishers, and supporters;

               o. Encouraging Front Groups to disseminate their pro-opioid messages to groups
                  targeted by the RICO Marketing Defendants, such as the elderly, and then funding
                  that distribution;

               p. Concealing their relationship to and control of Front Groups and KOLs from the
                  Plaintiffs and the public at large; and

               q. Intending that Front Groups and KOLs would distribute through the U.S. mail and
                  interstate wire facilities, promotional and other materials that claimed opioids
                  could be safely used for chronic pain.

            792. The False Narrative Enterprise had a hierarchical decision-making structure that

     was headed by the Marketing Defendants and Distributor Defendants, and con-oborated by the

     KOLs and Front Groups. The Marketing Defendants controlled representations made about their

     opioids and their drugs, doled out funds to PBMs and payments to KOLs, and ensured that

     representations made by KOLs, Front Groups, and the Marketing Defendants' sales detailers

     were consistent with the Marketing Defendants' messaging throughout the United States

                                                    296
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 313 of
                                     358




     including the relevant RICO states. The Front Groups and KOLs in the False Narrative Enterprise

     were dependent on the Marketing Defendants for their financial structure and for career

     development and promotion opportunities.

             793. The Front Groups also conducted and participated in the conduct of the False

     Narrative Enterprise, directly or indirectly, in the following ways:


                a. The Front Groups promised to, and did, make representations regarding opioids
                   and the Marketing Defendants' drugs that were consistent with the Marketing
                   Defendants' messages;

                b. The Front Groups distributed, through the U.S. Mail and interstate wire facilities,
                   promotional and other materials which claimed that opioids could be safely used
                   for chronic pain without addiction, and misrepresented the benefits of using
                   opioids for chronic pain outweighed the risks; •

                c. The Front Groups echoed and amplified messages favorable to increased opioid
                   use—and ultimately, the financial interests of the Marketing Defendants;

                d. The Front Groups issued guidelines and policies minimizing the risk of opioid
                   addiction and promoting opioids for chronic- pain;

                e. The Front Groups strongly criticized the 2016 guidelines from the Center for
                   Disease Control and Prevention (CDC) that recommended limits on opioid
                   prescriptions for chronic pain; and

                f The Front Groups concealed their connections to the KOLs and the Marketing
                    Defendants.

            794. The Marketing Defendants' Front Groups, "with their large numbers and

     credibility with policymakers and the public—have 'extensive influence in specific disease

     areas.' The larger Front Groups "likely have a substantial effect on policies relevant to their

     industry sponsors." "By aligning medical culture with industry goals in this way, many of the

     groups described in this report may have played a significant role in creating the necessary

     conditions for the U.S. opioid epidemic."

            795. The KOLs also participated in the conduct of the affairs of the False Narrative

     Enterprise, directly or indirectly, in the following ways:



                                                      297
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 314 of
                                     358




                a. The KOLs promised to, and did, make representations regarding opioids and the
                   RICO Marketing Defendants' drugs that were consistent with the Marketing
                   Defendants' messages themselves;

                b. The KOLs distributed, through the U.S. Mail and interstate wire facilities,
                   promotional and other materials which claimed that opioids could be safely used
                   for chronic pain without addiction, and misrepresented the benefits of using
                   opioids for chronic pain outweighed the risks;

                c. The KOLs echoed and amplified messages favorable to increased opioid use—
                   and ultimately, the financial interests of the RICO Marketing Defendants;

                d. The KOLs issued guidelines and policies minimizing the risk of opioid addiction
                   and promoting opioids for chronic pain;

                e. The KOLs strongly criticized the 2016 guidelines from the Center for Disease
                   Control and Prevention (CDC) that recommended limits on opioid prescriptions
                   for chronic pain; and

                f. The KOLs concealed their connections to the Front Groups and the RICO
                   Marketing Defendants, and their sponsorship by the Marketing Defendants.

            796.    The scheme devised and implemented by the Marketing Defendants and members

     of the False Narrative Enterprise, amounted to a common course of conduct intended to increase

     the Marketing Defendants' sales from prescription opioids by encouraging the prescribing and

     use of opioids for long-term chronic pain. The scheme was a continuing course of conduct, and

     many aspects of it continue through to the present. As discussed in detail above, the Marketing

     Defendants funded and controlled the various Front Groups, including APF, AAPM/APS,

     Alliance for Patient Access, USPF, AGS and ACPA. The Front Groups, which appeared to be

     independent, but were not, transmitted the Marketing Defendants' misrepresentations. The

     Marketing Defendants and the Front Groups thus worked together to promote the goals of the

     False Narrative Enterprise.

            797.    The Marketing Defendants worked together with each other through the Front

     Groups that they jointly funded and through which they collaborated on the joint promotional

     materials described above.

            798.    Similarly, as discussed in detail above, the Marketing Defendants paid KOLs,

                                                    298
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 315 of
                                     358




     including Drs. Pot-tenoy, Fine, Fishman, and Webster, to spread their misrepresentations and

     promote their products. The Marketing Defendants and the KOLs thus worked together to

     promote the goals of the False Narrative Enterprise.

            799.    To achieve the common goal and purpose of the False Narrative Enterprise, the

     Marketing Defendants and members of the False Narrative Enterprise hid from the consumers,

     prescribers, regulators and the Plaintiffs: (a) the fraudulent nature of the Marketing Defendants'

     marketing scheme; (b) the fraudulent nature of statements made by the Marketing Defendants and

     by their KOLs, Front Groups and other third parties regarding the safety and efficacy of

     prescription opioids; and (c) the true nature of the relationship between the members of the False

     Narrative Enterprise.

            800.    The Marketing Defendants, and each member of the False Narrative Enterprise

     agreed, with knowledge and intent, to the overall objective of the Marketing Defendants'

     fraudulent scheme and participated in the common course of conduct to commit acts of fraud and

     indecency in marketing prescription opioids.

            801.    Indeed, for the Marketing Defendants' fraudulent scheme to work, each of them

     had to agree to implement similar tactics regarding fraudulent marketing of prescription opioids.

     This conclusion is supported by the fact that the Marketing Defendants each financed, supported,

     and worked through the same KOLs and Front Groups, and often collaborated on and mutually

     supported the same publications, CMEs, presentations, and prescription guidelines

            802.    The Marketing Defendants' predicate acts all had the purpose of creating the

     opioid epidemic that substantially injured Plaintiffs' business and property, while simultaneously

     generating billion-dollar revenue and profits for the RICO Marketing Defendants. The predicate

     acts were committed or caused to be committed by the RICO Marketing Defendants through their



                                                     299
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 316 of
                                     358




     participation in the False Narrative Enterprise and in furtherance of its fraudulent scheme.

                     b.       Conduct in the Distribution of Opioids

             803.    Faced with the reality that they will now be held accountable for the

     consequences of the opioid epidemic they created, members of the industry resort have

     categorically denied any criminal behavior or intent. But the RICO-1 Defendants' actions went

     far beyond what could be considered ordinary business conduct. For more than a decade, the

     R1C0-1 Defendants worked together in an illicit enterprise, engaging in conduct that was not

     only illegal, but in certain respects anti-competitive, with the common purpose and achievement

     of vastly increasing their respective profits and revenues by exponentially expanding a market

     that the law intended to restrict.

             804.    As permittees under the law of Florida, the RICO-1 Defendants are duty bound to

     identify and report suspicious orders. Critically, the RICO-1 Defendants' responsibilities do not

     end with the products they manufacture or distribute -- there is no such limitation in the law

     because their duties cut across company lines. Thus, when the RICO- l Defendants obtain

     information about the sales and distribution of other companies' opioid products, as they did

     through data mining companies like IMS Health, they were legally obligated to report that

     activity.

             805.    If morality and the law did not suffice, competition dictates that the Defendants

     would turn in their rivals when they had reason to suspect suspicious activity. Indeed, if a

     manufacturer or distributor could gain market share by reporting a competitor's illegal behavior

     (causing it to lose a license to operate, or otherwise inhibit its activity), ordinary business

     conduct dictates that it would do so. Under federal and state RICO statutes this whistleblower or

     watchdog function is not only a protected choice, but a statutory mandate. Unfortunately,



                                                       300
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 317 of
                                     358




     however, that is not what happened. Instead, knowing that investigations into potential diversion

     would only lead to shrinking markets, the RICO- I Defendants elected to operate in a conspiracy

     of silence, in violation of both federal and state law concerning controlled substances, federal

     RICO, and state RICO laws.

             806.    The RICO-1 Defendants' scheme required the participation of all. If any one-

     member broke rank, its compliance activities would highlight deficiencies of the others, and

     their scheme would crumble. But, if all the members of the enterprise conducted themselves in

     the same manner, it would be difficult for the government authorities to go after any one of

     them. Accordingly, through the connections they made as a result of their participation in the

     Healthcare Distribution Alliance ("HDA"), the Defendants chose to flout the closed system

     _designed to protect the citizens. Publicly, in 2008, they announced their formulation of "Industry

     Compliance Guidelines: Reporting Suspicious Orders and Prevention Diversion of Controlled

     Substances." But, privately, Defendants refused to act and through their lobbying efforts, they

     collectively sought to undermine the impact of government regulation and enforcement. Indeed,

     despite the issuance of these industry Compliance Guidelines, which recognize these

     Defendants' duties under the law, as illustrated by the subsequent industry-wide enforcement

     actions and consent orders issued after that time, none of them complied. John Gray, President

     and CEO of the HDA said to Congress in 2014, it is "difficult to find the right balance between

     proactive anti-diversion efforts while not inadvertently limiting access to appropriately

     prescribed and dispensed medications." Yet, the RICO-1 Defendants apparently all found the
                             -
     same profit-maximizing balance - intentionally remaining silent to ensure the largest possible

     financial return.

             807.    As described above, at all relevant times, the RICO-1 Defendants operated as an



                                                     301
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 318 of
                                     358




     association-in-fact enterprise formed for the purpose of unlawfully increasing sales, revenues

     and profits. In support of this common purpose and fraudulent scheme, the RICO-1 Defendants

     jointly agreed to disregard their duties to identify, investigate, halt and report suspicious orders

     of opioids and diversion of their drugs into the illicit market.

             808. At all relevant times, as described above, the RICO-I Defendants exerted control

     over, conducted and/or participated in the False Narrative Enterprise by fraudulently claiming

     that they were complying with their duties to maintain effective controls against diversion,

     including duties to identify, investigate and report suspicious orders of opioids in order to

     prevent diversion of those highly addictive substances into the illicit market, and to halt such

     unlawful sales, so as to generate unlawful profits.

            809. The RICO-1 Defendants disseminated false and misleading statements to state

     and federal regulators claiming that:

                a. they were complying with their obligations to maintain effective controls against
                   diversion of their prescription opioids;

                b. they were complying with their obligations to design and operate a system to
                   disclose to the registrant suspicious orders of their prescription opioids;

                c. they were complying with their obligation to report suspicious orders or diversion
                   of their prescription opioids; and

                d. they did not have the capability to identify suspicious orders of controlled
                   substances.

            810. The RICO-1 Defendants applied political and other pressure to halt prosecutions

     for failure to report suspicious orders of prescription opioids and lobbied for less stringent

     regulation of their marketing and distribution of pharmaceutical products.

            811. The RICO-1 Defendants are required to make reports of any suspicious orders

     identified through the design and operation of their system to disclose suspicious orders.

            812. The RICO-1 Defendants knowingly and intentionally furnished false or


                                                      302
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 319 of
                                     358




     fraudulent information in their reports about suspicious orders, and/or omitted material

     information from reports, records and other documents required to be filed. Specifically, the

     R1C0-1 Defendants were aware of suspicious orders of prescription opioids and the diversion of

     their prescription opioids into the illicit market, and failed to take responsive action. This failure

     included the failure to report this information to the government.

             813.    The RICO-1 Defendants used, directed the use of, and/or caused to be used,

     thousands of interstate mail and wire communications in service of their scheme through

     virtually uniform misrepresentations, concealments and material omissions regarding their

     compliance with their mandatory reporting requirements and the actions necessary to carry out

     their unlawful goal of selling prescription opioids without reporting suspicious orders or the

     diversion of opioids into the illicit market.

            814.     In devising and executing the illegal scheme, the RICO-1 Defendants devised and

     knowingly carried out a scheme and/or artifice to defraud by means of materially false or

     fraudulent pretenses, representations, promises, or omissions of material facts.

            81 5. For the purpose of executing the illegal scheme, the RICO-1 Defendants

     committed unlawful acts, which number in the thousands, intentionally and knowingly, with the

     specific intent to advance the illegal scheme. These unlawful acts, which included repeated acts

     of mail fraud and wire fraud, constituted a pattern of unlawful activity.

            816.    The RICO-1 Defendants (and/or their agents), for the purpose of executing the

     illegal scheme, sent and/or received (or caused to be sent and/or received) by mail or by private

     or interstate carrier, shipments of prescription opioids and related documents by mail or by

     private carrier affecting interstate commerce.

            817.     Each of the Defendants identified manufactured, shipped, paid for and received



                                                      303
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 320 of
                                     358




     payment for the drugs identified above, throughout the United States.

               818.   The RICO-1 Defendants used the interact and other electronic facilities to carry

     out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO-1

     Defendants made misrepresentations about their compliance with the statutes, regulations and

     other laws requiring them to identify, investigate and report suspicious orders of prescription

     opioids and/or diversion of the same into the illicit market.

               819.   At the same time, the RICO-I Defendants misrepresented the superior safety

     features of their order monitoring programs, ability to detect suspicious orders, commitment to

     preventing diversion of prescription opioids, and their compliance with federal and state laws

     regarding the identification and reporting of suspicious orders of prescription opioids. The

     RICO-1 Defendants utilized the internet and other electronic resources to exchange

     communications, to exchange information regarding prescription opioid sales, and to transmit

     payments and rebates/chargebacks.

               820.   The RICO-1 Defendants also communicated by U.S. Mail, by interstate facsimile,

     and by interstate electronic mail with each other and with various other affiliates, regional

     offices, regulators, distributors, and other third-party entities in furtherance of the scheme.

            821.      The mail and wire transmissions described herein were made in furtherance of the

     RICO-1 Defendants' scheme and common course of conduct to deceive regulators, the public

     and the Plaintiffs that these RICO-1 Defendants were complying with their legal obligations to

     identify and report suspicious orders of prescription opioids all while RICO- !Defendants were

     knowingly allowing millions of doses of prescription opioids to divert into the illicit drug

     market.

            822.      Many of the precise dates of the fraudulent uses of the U.S. mail and interstate



                                                      304
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 321 of
                                     358




     wire facilities have been deliberately hidden by the RICO-1 Defendants and cannot be alleged

     without access to the RICO-I Defendants' books and records. However, Plaintiffs have

     described the types of, and in some instances, occasions on which the predicate acts of mail

     and/or wire fraud occurred. They include thousands of communications to perpetuate and

     maintain the scheme, including the things and documents described in the preceding paragraphs.

            823.    The RICO-I Defendants did not undertake the practices described herein in

     isolation, but as part of a common scheme. Various other persons, firms, and corporations,

     including third-party entities and individuals not named as defendants in this Complaint, may

     have contributed to ancUor participated in the scheme with these RICO-I Defendants in these

     offenses and have performed acts in furtherance of the scheme to increase revenues, increase

     market share, and /or minimize the losses for the Defendants.

            824.    The predicate acts constituted a variety of unlawful activities, each conducted

     with the common purpose of obtaining significant monies and revenues from the sale of their

     highly addictive and dangerous drugs. The predicate acts also had the same or similar results,

     participants, victims, and methods of commission. The predicate acts were related and not

     isolated events.

            825.    The predicate acts all had the purpose of creating the opioid epidemic that

     substantially injured Plaintiffs' business and property, while simultaneously generating billion-

     dollar revenue and profits for the RICO-1 Defendants. The predicate acts were committed or

     caused to be committed by the RICO-1 Defendants through their participation in the False

     Narrative Enterprise and in furtherance of its fraudulent scheme.

            826.    As described above, the RICO-1 Defendants were repeatedly warned, fined, and

     found to be in violation of applicable law and regulations, and yet they persisted. The sheer



                                                    305
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 322 of
                                     358




     volume of enforcement actions against the RICO-1 Defendants supports this conclusion that the

     RICO-1 Defendants operated through a pattern and practice of willfully and intentionally

     omitting information from their mandatory reports.

               827.   Each instance of unlawful activity alleged herein was related, had similar

     purposes, involved the same or similar participants and methods of commission, and had similar

     results affecting similar victims. The RICO-1 Defendants calculated and intentionally crafted the

     diversion scheme to increase and maintain profits from unlawful sales of opioids, without regard

     to the effect such behavior would have on this State, its citizens or the Plaintiffs. The RICO-1

     Defendants were aware that Plaintiffs and others rely on these RICO-1 Defendants to maintain a

     closed system of manufacturing and distribution to protect against the non-medical diversion and

     use of their dangerously addictive opioid drugs.

               828.   By intentionally refusing to report and halt suspicious orders of their prescription

     opioids, the Defendants engaged in a fraudulent scheme and unlawful course of conduct

     constituting a pattern of unlawful activity.

               3.     Pattern of Unlawful Activity

               829.   The RICO-1 Defendants' scheme described herein was perpetrated, in part,

     through multiple acts of mail fraud and wire fraud, and violations of statutes regulating the

     distribution of controlled substances, constituting a pattern of unlawful activity as described

     herein.

               830.   The pattern of unlawful activity used by the False Narrative Enterprise likely

     involved thousands of separate instances of the use of the U.S. Mail or interstate wire facilities

     in furtherance of the unlawful False Narrative Enterprise.

               831.   These communications included essentially uniform misrepresentations,

     concealments and material omissions regarding the beneficial uses and non-addictive qualities

                                                       306
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 323 of
                                     358




     for the long-term treatment of chronic, non-acute and non-cancer pain, with the goal of profiting

     from increased sales of the Marketing Defendants' drugs induced by consumers, prescribers,

     regulators and Plaintiffs' reliance on the Marketing Defendants' misrepresentations. Each of

     these fraudulent mailings and interstate wire transmissions constitutes unlawful acts and

     collectively, these violations constitute a pattern of unlawful activity, through which the

     Marketing Defendants, the Front Groups and the KOLs defrauded and intended to defraud

     Plaintiffs. The Marketing Defendants devised and knowingly carried out an illegal scheme and

     artifice to defraud by means of materially false or fraudulent pretenses, representations,

     promises, or omissions of material facts regarding the safe, non-addictive and effective use of

     opioids for long-term chronic, non-acute and non-cancer pain. The Marketing Defendants and

     members of the False Narrative Enterprise knew that these representations violated the FDA

     approved use these drugs, and were not supported by actual evidence. The Marketing

     Defendants intended that that their common purpose and scheme to defraud would, and did, use

     the U.S. Mail and interstate wire facilities, intentionally and knowingly with the specific intent

     to advance, and for the purpose of executing, their illegal scheme. By intentionally concealing

     the material risks and affirmatively misrepresenting the benefits of using opioids for chronic

     pain, to, prescribers, regulators and the public, including Plaintiffs, the Marketing Defendants,

     the Front Groups and the KOLs engaged in a fraudulent and unlawful course of conduct

     constituting a pattern of unlawful activity. The Marketing Defendants' use of the U.S. Mail and

     interstate wire facilities to perpetrate the opioids marketing scheme involved thousands of

     communications, publications, representations, statements, electronic transmissions, payments,

     including, inter alia:

                 a. Marketing materials about ()plaids, and their risks and benefits, which the RICO
                     Marketing Defendants sent to health care providers, such as hospitals transmitted


                                                     307
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 324 of
                                     358




                     through the internet and television, published, and transmitted to Front Groups
                     and KOLs located across the country and the State;

                 b. Written representations and telephone calls between the RICO Marketing
                    Defendants and Front Groups regarding the misrepresentations, marketing
                    statements and claims about opioids, including the non-addictive, safe use of
                    chronic long-term pain generally;

                c. Written representations and telephone calls between the RICO Marketing
                   Defendants and KOLs regarding the misrepresentations, marketing statements and
                   claims about opioids, including the non-addictive, safe use of chronic long-term
                   pain generally;

                d. E-mails, telephone and written communications between the RICO Marketing
                   Defendants and the Front Groups agreeing to or implementing the opioids
                   marketing scheme;

                e. E-mails, telephone and written communications between the RICO Marketing
                   Defendants and the KOLs agreeing to or implementing the opioids marketing
                   scheme;

                f. Communications between the RICO Marketing Defendants, Front Groups and the
                   media regarding publication, drafting of treatment guidelines, and the
                   dissemination of the same as part of the False Narrative Enterprise;

                g. Communications between the RICO Marketing Defendants, KOLs and the media
                   regarding publication, drafting of treatment guidelines, and the dissemination of
                   the same as part of the False Narrative Enterprise;

                h. Written and oral communications directed to State agencies, federal and state
                   courts, and private insurers throughout the State that fraudulently misrepresented
                   the risks and benefits of using opioids for chronic pain; and

                i.   Receipts of increased profits sent through the U.S. Mail and interstate wire
                     facilities - the wrongful proceeds of the scheme.

            832.     In addition to the above-referenced predicate acts, it was intended by and

     foreseeable to the Marketing Defendants that the Front Groups and the KOLs would distribute

     publications through the U.S. Mail and by interstate wire facilities, and, in those publications,

     claim that the benefits of using opioids for chronic pain outweighed the risks of doing so.

            833.     The RICO- I Defendants' use of U.S. Mail and interstate wires in conduct related



                                                     308
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 325 of
                                     358




     to the distribution of opioids includes, but is not limited to, the transmission, delivery, or

     shipment of the following by the RICO-1 Defendants, and/or third parties that were foreseeably

     caused to be sent as a result of the RICO- l Defendants' illegal scheme, of the following:

                a. The prescription opioids themselves;

                b. Documents and communications that facilitated the manufacture, purchase and
                   sale of prescription opioids;

                c. RICO-1 Defendants' government registrations;

                d. Documents and communications that supported and/or facilitated RICO-1
                   Defendants' government registrations;

                e. RICO-1 Defendants' records and reports that were required to be submitted to
                   regulatory authorities;

                f. Documents intended to facilitate the manufacture and distribution of the RICO-I
                   Defendants' prescription opioids, including bills of lading, invoices, shipping
                   records, reports and correspondence;

                g. Documents for processing and receiving payment for prescription opioids;

                h. Payments from the Distributors to the Marketing Defendants;

                     Rebates and chargebacks from the Marketing Defendants to the Distributors
                     Defendants;

                J.   Payments to the RICO-1 Defendants' lobbyists through the PCF;

                k. Payments to the RICO-I Defendants' trade organizations, like the I-IDA, for
                    memberships and/or sponsorships;

                1.   Deposits of proceeds from the RICO-1 Defendants' manufacture and distribution
                     of prescription opioids; and

                m. Other documents and things, including electronic communications.

            834. The RICO-1 Defendants also participated in a pattern of violations of the federal

     Controlled Substances Act and analogous state common and statutory law by refusing to comply

     with their obligations under the law to report suspicious orders and prescribers.



                                                      309
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 326 of
                                     358




     B.      The Sackler Pharmaceutical Enterprise

             1.      The Common Purpose and Scheme of the Sackler Pharmaceutical Enterprise

             835. In order to unlawfully increase the demand for opioids, the Purdue Defendants

     formed an association-in-fact enterprise (the "Sackler Pharma Enterprise," commonly referred to

     colloquially, but not referred to here, as "Purdue") that also included other affiliated business

     entities beneficially owned by the Sadder Defendants, and employees of Purdue, not named as

     Defendants. The Sackler Pharma Enterprise was a single family-owned criminal enterprise that

     operated through and across many business entities. Knowing that their products were highly

     addictive, ineffective and unsafe for the treatment of long-term chronic pain, non-acute and non-

     cancer pain, the Sackler Pharma Enterprise, owned, directed and controlled at all times by the

     Sackler Defendants, engaged in a scheme to unlawfully increase their profits and sales, and grow

     their share of the prescription painkiller market, through (1) repeated and systematic

     misrepresentations about the safety and efficacy of opioids for treating long-term chronic pain,

     and (2) ongoing disregard of their duties to identify, investigate, halt and report suspicious

     orders of opioids and diversion of their drugs into the illicit market.

            2.      The Conduct of the Sackler Pharmaceutical Enterprise

            836. The Purdue Defendants regularly directed their agents, including a veritable army

     of sales representatives, to make, and at times themselves made, statements and

     misrepresentations about opioids that downplayed the risk of addiction and exaggerated the

     benefits of opioid use. The misleading statements included: (1) that addiction is rare among

     patients taking opioids for pain; (2) that addiction risk can be effectively managed; (3) that

     symptoms of addiction exhibited by opioid patients are actually symptoms of an invented

     condition the Marketing Defendants named "pseudoaddiction;" (4) that withdrawal is easily

     managed; (5) that increased dosing present no significant risks; (6) that long-term use of opioids

                                                      310
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 327 of
                                     358




     improves function; (7) that the risks of alternative forms of pain treatment are greater than the

     adverse effects of opioids; (8) that use of time-released dosing prevents addiction; and (9) that

     abuse-deterrent formulations provide a solution to opioid abuse. Misleading statements were

     also disseminated by the Sackler Pharma Enterprise (1) through the use of front groups, KOLs

     and/or other ostensible medical experts, who were paid by the Sackler Pharma Enterprise

     (directly through fees, and also through grants and donations to favored institutions) to amplify

     these false and misleading statements, and (2) through the use of lobbyists who directly lobbied

     state and federal legislators to take positions favorable to the Sackler Phanrna Enterprise and the

     RICO-1 Defendants. Each of the Purdue Defendants participated in the operation or

     management of the affairs of the Sackler Pharma Enterprise, directly or indirectly, in the

     following ways:

                a. Creating and providing a body of deceptive, misleading and unsupported medical
                   and popular literature about opioids that (i) understated the risks and overstated
                   the benefits of long-term use; (ii) appeared to be the result of independent,
                   objective research; and (iii) was thus more likely to be relied upon by physicians,
                   patients, and payors;

                b. Creating and providing a body of deceptive, misleading and unsupported
                   electronic and print advertisements about ()plaids that (i) understated the risks and
                   overstated the benefits of long-term use; (ii) appeared to be the result of
                   independent, objective research; and (iii) was thus more likely to be relied upon
                   by physicians, patients, and payors;

                c. Creating and providing a body of deceptive, misleading and unsupported sales
                   and promotional training materials about opioids that (i) understated the risks and
                   overstated the benefits of long-term use; (ii) appeared to be the result of
                   independent, objective research; and (iii) was thus more likely to be relied upon
                   by physicians, patients, and payors;

                d. Creating and providing a body of deceptive, misleading and unsupported CMEs
                   and speaker presentations about opioids that (i) understated the risks and
                   overstated the benefits of long-term use; (ii) appeared to be the result of
                   independent, objective research; and (iii) was thus more likely to be relied upon
                   by physicians, patients, and payors;



                                                     311
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 328 of
                                     358




             e. Selecting, cultivating, promoting and paying KOLs based solely on their
                willingness to communicate and distribute the Purdue Defendants' messages
                about the use of opioids for chronic pain;

             f. Providing substantial opportunities for KOLs to participate in research studies on
                topics the Purdue Defendants suggested or chose, with the predictable effect of
                ensuring that many favorable studies appeared in the academic literature;

             g. Paying KOLs to serve as consultants or on the advisory boards and in leadership
                positions on Front Groups, and to give talks or present CMEs, typically over
                meals or at conferences;

             h. Selecting, cultivating, promoting, creating and paying Front Groups based solely
                on their willingness to communicate and distribute the Purdue Defendants'
                messages about the use of opioids for chronic pain;

                  Providing substantial opportunities for Front Groups to participate in and/or '
                  publish research studies on topics the Purdue Defendants suggested or chose (and
                  paid for), with the predictable effect of ensuring that many favorable studies
                  appeared in the academic literature;

             J.   Paying significant amounts of money to the leaders and individuals associated
                  with Front Groups;

             k. Donating to Front Groups to support talks or CM Es, that were typically presented
                over meals or at conferences;

             1.   Disseminating many of their false, misleading, imbalanced, and unsupported
                  statements through unbranded materials that appeared to be independent
                  publications from Front Groups;

             m. Sponsoring CME programs put on by Front Groups that focused exclusively on
                the use of opioids for chronic pain;

             n. Developing and disseminating pro-opioid treatment guidelines with the help of
                the KOLs as authors and promoters, and the help of the Front Groups as
                publishers, and supporters;

             o. Encouraging Front Groups to disseminate their pro-opioid messages to groups
                targeted by the Purdue Defendants, such as the elderly, and then funding that
                distribution;

             p. Concealing their relationship to and control of Front Groups and KOLs from the
                Plaintiffs and the public at large; and

             q. Intending that Front Groups and KOLs would distribute through the U.S. mail and


                                                 312
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 329 of
                                     358




                    interstate wire facilities, promotional and other materials that claimed opioids
                    could be safely used for chronic pain.

            837. As a "registrant" under federal and a permittee under Florida state law, Purdue is

     bound to identify and report "orders of unusual size, orders deviating substantially from a

     normal pattern, and orders of unusual frequency." Critically, these responsibilities do not end

     with the products it manufactures or distributes -- there is no such limitation in the law because

     their duties cut across company lines. The Purdue Defendants, including the Sackler Defendants,

     and their employees, were well aware of the identity of suspicious prescribers and supply

     channels through whom there was a significant probability of unethical/illegal prescribing and/or

     product diversion. The Purdue Defendants regularly received (I) hotline calls, (2) "Reports of

     Concern" and (3) other reports of adverse events, of which all of the Purdue Defendants were

     aware. The stunning volume of these incidents was regularly discussed, from the sales

     representatives to the Board level, and was known throughout the Sackler Pharma Enterprise.

     The Purdue Defendants agreed to remain silent about compromised practitioners and supply

     channels that were well known to them, instead of reporting them to federal and state authorities

     as they were required to do. The Sackler Pharma Enterprise also disseminated false and

     misleading statements to state and federal regulators claiming that:

                a. they were complying with their obligations to maintain effective controls against
                   diversion of their prescription opioids;

                b. they were complying with their obligations to design and operate a system to
                   disclose to the registrant suspicious orders of their prescription opioids;

                c. they were complying with their obligation to report suspicious orders or diversion
                   of their prescription °plaids; and

                d. they did not have the capability to identify suspicious orders of controlled
                   substances.

            838. The Purdue Defendants used, directed the use of, and/or caused to be used,


                                                     313
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 330 of
                                     358




     thousands of interstate mail and wire communications in service of their scheme.

               839.   There was regular communication among the Purdue Defendants, in which

     information was shared, misrepresentations are coordinated, and payments were exchanged.

     Typically, the coordination, communication and payment occurred, and continues to occur,

     through the repeated and continuing use of the wires, including the use of electronic mail, and

     telephone calls both to facilitate board and committee meetings and one-to-one conversations in

     furtherance of the illegal scheme.

               840.   There was regular communication between the Purdue Defendants arid others, in

     furtherance of the scheme, through the repeated and continuing use of the wires and U.S. Mail,

     including the dissemination of false and misleading advertising and marketing materials

     generated by or at the direction of the Purdue Defendants, and the transmission of false and

     misleading information concerning Purdue's purported compliance with its reporting obligations

     and other obligations under federal and state law.

               3.     Pattern of Unlawful Activity

               841.   The Purdue Defendants' scheme described herein was perpetrated, in part,

     through multiple acts of mail fraud and wire fraud, and violations of statutes regulating the

     distribution of controlled substances, constituting a pattern of unlawful activity as described

     herein.

               842.   The pattern of unlawful activity used by the Sackler Pharma Enterprise likely

     involved thousands of separate instances of the use of the U.S. Mail or interstate wire facilities

     in furtherance of the unlawful Sackler Pharrna Enterprise.

               843.   These communications included essentially uniform misrepresentations,

     concealments and material omissions regarding the beneficial uses and non-addictive qualities

     for the long-term treatment of chronic, non-acute and non-cancer pain, with the goal of profiting

                                                     314
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 331 of
                                     358




     from increased sales of the Purdue's drugs induced by consumers, prescribers, regulators and

     Plaintiffs' reliance on the Purdue's misrepresentations. Each of these fraudulent mailings and

     interstate wire transmissions constitutes unlawful acts and collectively, these violations

     constitute a pattern of unlawful activity, through which the Purdue Defendants defrauded and

     intended to defraud Plaintiffs and others. The Marketing Defendants devised and knowingly

     carried out an illegal scheme and artifice to defraud by means of materially false or fraudulent

     pretenses, representations, promises, or omissions of material facts regarding the safe, non-

     addictive and effective use of opioids for long-term chronic, non-acute and non-cancer pain. The

     Marketing Defendants and members of the False Narrative Enterprise knew that these

     representations violated the FDA approved use these drugs, and were not supported by actual

     evidence. The Marketing Defendants intended that that their common purpose and scheme to

     defraud would, and did, use the U.S. Mail and interstate wire facilities, intentionally and

     knowingly with the specific intent to advance, and for the purpose of executing, their illegal

     scheme. By intentionally concealing the material risks and affirmatively misrepresenting the

     benefits of using opioids for chronic pain, to, prescribers, regulators and the public, including

     Plaintiffs, the Marketing Defendants, the Front Groups and the KOLs engaged in a fraudulent

     and unlawful course of conduct constituting a pattern of unlawful activity. The Purdue

     Defendants' use of the U.S. Mail and interstate wire facilities to perpetrate their opioids

     marketing scheme involved thousands of communications, publications, representations,

     statements, electronic transmissions, payments, including, inter alia:

                a. Marketing materials about opioids, and their risks and benefits, which the Purdue
                   Defendants sent to health care providers, such as hospitals transmitted through the
                   internet and television, published, and transmitted to Front Groups and KOLs
                   located across the country and the State;

                b. Written representations and telephone calls between the Purdue Defendants and


                                                     315
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 332 of
                                     358




                      Front Groups regarding the misrepresentations, marketing statements and claims
                      about opioids, including the non-addictive, safe use of chronic long-term pain
                      generally;

                 c. Written representations and telephone calls between the Purdue Defendants and
                    KOLs regarding the misrepresentations, marketing statements and claims about
                    opioids, including the non-addictive, safe use of chronic long-term pain generally;

                 d. E-mails, telephone and written communications between the Purdue Defendants
                    and the Front Groups agreeing to or implementing the opioids marketing scheme;

                 e. E-mails, telephone and written communications between the Purdue Defendants
                    and the KOLs agreeing to or implementing the opioids marketing scheme;

                 f. Communications between the Purdue Defendants, Front Groups and the media
                    regarding publication, drafting of treatment guidelines, and the dissemination of
                    the same as part of the False Narrative Enterprise;

                 g. Communications between the Purdue Defendants, KOLs and the media regarding
                    publication, drafting of treatment guidelines, and the dissemination of the same as
                    part of the False Narrative Enterprise;

                 h. Written and oral communications directed to State agencies, federal and state
                    courts, and private insurers throughout the State that fraudulently misrepresented
                    the risks and benefits of using opioids for chronic pain; and

                 i.   Receipts of increased profits sent through the U.S. Mail and interstate wire
                      facilities - the wrongful proceeds of the scheme.

             844.     In addition to the above-referenced predicate acts, it was intended by and

     foreseeable that other persons, including the Front Groups and the KOLs. would distribute

     publications through the U.S. Mail and by interstate wire facilities, and, in those publications,

     claim that the benefits of using opioids for chronic pain outweighed the risks of doing so.

            845.      The Purdue Defendants' use of U.S. Mail and interstate wires in conduct related

     to the distribution of opioids includes, but is not limited to, the transmission, delivery, or

     shipment of the following by the Purdue Defendants, and/or third parties that were foreseeably

     caused to be sent as a result of Purdue's illegal scheme, of the following:

                 a. The prescription opioids themselves;


                                                      316
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 333 of
                                     358




                 b. Documents and communications that facilitated the manufacture, purchase and
                    sale of prescription opioids;

                c. Purdue's government registrations;

                d. Documents and communications that supported and/or facilitated Purdue's
                   government registrations;

                e. Purdue's records and reports that were required to be submitted to regulatory
                   authorities;

                f. Documents intended to facilitate the manufacture and distribution of the Purdue's
                   prescription opioids, including bills of lading, invoices, shipping records, reports
                   and correspondence;

                g. Documents for processing and receiving payment for prescription opioids;

                h. Payments from the Distributors to the Marketing Defendants;

                i.   Rebates and chargebacks from the Marketing Defendants to the Distributors
                     Defendants;

                j.   Payments to Purdue's lobbyists through the PCF;

                k. Payments to Purdue's trade organizations, like the HDA, for memberships and/or
                   sponsorships;

                I.   Deposits of proceeds from Purdue's manufacture and distribution of prescription
                     opioids; and

                m. Other documents and things, including electronic communications.

            846.     The Purdue Defendants also participated in a pattern of violations of the federal

     Controlled Substances Act and analogous state common and statutory law by refusing to comply

     with their obligations under the law to report suspicious orders and prescribers.

                      XII. TOLLING AND FRAUDULENT CONCEALMENT

            847.     Defendants, individually and acting through their employees and agents,

     knowingly and intentionally concealed material facts and knowledge from Plaintiffs and others

     to induce them to purchase and administer opioids as set forth in detail above.


                                                     317
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 334 of
                                     358




             848.   The Defendants invented the term "pseudoaddiction" and promoted it to the

     medical community, including Plaintiffs. Defendants provided the medical community,

     including Plaintiffs, with false and misleading information about ineffectual medical strategies

     to avoid or control opioid addiction. Manufacturer Defendants recommended to the medical

     community that dosages be increased, without disclosing the risks. Defendants spent millions of

     dollars over a period of years on a misinformation campaign aimed at highlighting opioids'

     alleged benefits, disguising the risks, and promoting sales.

            849.    In overstating the benefits of and evidence for the use of opioids for chronic pain

     and understating their very serious risks, including the risk of addition and death; in falsely

     promoting abuse-deterrent formulations as reducing abuse; in falsely claiming that OxyContin

     provides 12 hours of relief; in falsely portraying their efforts or commitment to rein in the supply

     and diversion of opioids; and doing all of this while knowing full well that their statements were

     misrepresentations of facts material. Defendants have engaged in intentional, fraudulent

     misrepresentations and concealment of the material fact, as detailed herein.

            850.    Defendants intended that Plaintiffs would rely on their misrepresentations,

     omissions, and concealment, knew that Plaintiffs would rely on their misrepresentations, and

     that such reliance would cause harm to Plaintiffs. The medical community, including Plaintiffs,

     were duped by the Defendants' campaign to misrepresent and conceal the truth about the opioid

     drugs that they were aggressively pushing.

            851.    Plaintiffs reasonably relied on Defendants' misrepresentations and omissions in

     writing and filling prescriptions for Defendants' opioids. The use of Defendants' opioid

     medicines became widespread and continuous as a result.

            852.    The continued tortious and unlawful conduct by the Defendants causes a repeated



                                                     318
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 335 of
                                     358




     or continuous injury. The damages have not occurred all at once but have continued to occur and

     have increased as time progresses. The harm is not completed nor have all the damages been

     incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants

     have not ceased. The nuisance created by Defendants remains unabated.

             853.    Plaintiffs' claims are equitably tolled because Defendants knowingly and

     fraudulently concealed the facts and their wrongful acts, and the material information pertinent

     to their discovery, which Defendants concealed them from the Plaintiffs. Plaintiffs did not know,

     or could not have known through the exercise of reasonable diligence, of its claims, as a result of

     Defendants' conduct.

            854.    Defendants continually and secretly engaged in their scheme to avoid compliance

     with their legal obligations. Only Defendants and their agents knew or could have known about

     Defendants' unlawful actions because Defendants made deliberate efforts to conceal their

     conduct. As a result of the above, Plaintiffs were unable to obtain vital information bearing on

     its claims absent any fault or lack of diligence on their part.

            855.    Plaintiffs seek economic losses (direct, incidental, or consequential pecuniary

     losses) resulting from the negligence of Defendants. They do not seek damages which may have

     been suffered by individual citizens for wrongful death, physical personal injury, serious

     emotional distress, or any physical damage to property caused by the actions of Defendants.

            856.    Plaintiffs suffered actual pecuniary damages proximately caused by Defendants

     concealment of material fact, which include but are not limited to, expending funds on

     emergency services, emergency response, additional training, additional security, and other

     services Plaintiffs would not have incurred.

            857.    Plaintiffs have incurred expenditures for special programs over and above their



                                                      319
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 336 of
                                     358




     ordinary hospital services.

             858.    Defendants' misconduct alleged in this case does not concern a discrete event or

     discrete emergency of the sort a hospital would reasonably expect to occur and is not part of the

     normal and expected costs of a hospital's existence. Plaintiffs allege wrongful acts which were

     neither discrete nor of the sort a hospital can reasonably expect.

                        XIII. WAIVER OF CERTAIN CLAIMS FOR RELIEF

             859.   Plaintiffs expressly disclaim arid waive any and all right to recovery, whether

     financial, injunctive, or equitable, relating to or arising out of the distribution by any person of

     any product, or the provision of any service, pursuant to McKesson Corporation's

     Pharmaceutical Prime Vendor Contract with the United States Department of Veteran Affairs

     ("PPV Contract"). Plaintiffs further commit that they will not, in any forum, rely on or raise the

     PPV Contract in connection with their allegations and/or prosecution in this matter.

             860.   Plaintiffs agree that should Defendants present evidence sufficient for the trier of

     fact to determine that Plaintiffs' injuries were caused, in whole or in part, by the distribution of

     products or provision of services through the PPV, Defendants are entitled to a reduction of their

     liability proportionately by the extent to which the trier of fact determines that any injury to

     Plaintiffs was caused by goods or products distributed and/or services provided through the

     pp v.

                                      XIV. CLAIMS FOR RELIEF

                                       FIRST CLAIM FOR RELIEF

       Violation of Florida RICO (Racketeer Influenced and Corrupt Organization) Act, Fla.
                   Stat. Ann. §§ 895.01 et seq.— Opioid False Narrative Enterprise
                                  (against the RICO-1 Defendants)

             861.   Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of this

     Complaint, as if fully set forth herein.

                                                      320
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 337 of
                                     358




            862.    This Claim for relief alleges violations of Fla. Stat. Ann. §§ 895.03.

            863.    At all relevant times, Plaintiffs were entities capable of holding legal or beneficial

     interest in property

            864.    Structure of the False Narrative Enterprise: At all relevant times, Defendants,

     in violation of the law of the Florida RICO Statutes, conducted (managed) or participated, directly

     or indirectly, in the conduct (management) of the False Narrative Enterprise, through a pattern of

     unlawful or otherwise prohibited activity.

                    (I)     Name: At all relevant times, there existed an "enterprise," within the
                    meaning of Fla. Stat. Ann. §§ 895.02(5)— to wit, an association-in-fact comprised
                    of each of the Defendants— referred to herein as "The False Narrative Enterprise."

                    (2)     Purposes: The lawful purpose of the False Narrative Enterprise was the
                    manufacture, marketing and sale of pharmaceutical products in interstate and
                    foreign commerce. The unlawful purpose of the False Narrative Enterprise was to
                    engage in and carry out an intentional scheme to defraud purchasers and others,
                    including doctors and hospitals, by propagating falsehoods about the safety and
                    benefits of opioids.

                    (3)    Continuity: The continuity of the False Narrative Enterprise was
                    coterminous with the period of time necessary to defraud Plaintiffs, other hospitals,
                    physicians, other healthcare providers, patients and their families, and the
                    American public in general.

                    (4)      Effect on Commerce: The False Narrative Enterprise was engaged in, and
                    its activities affected, interstate and foreign commerce.

                    (5)     Membership: The False Narrative Enterprise reflected several types of
                    participants, not all of which were complicit, and not all of which are named herein
                    as Defendants:

                            (a)      The Marketing Defendants. The Marketing Defendants are
                            Purdue, Actavis, Anneal, Cephalon, Janssen, Depomed, Endo, Insys,
                            Abbot, and Mallinekrodt. The Marketing Defendants conceptualized and set
                            in motion the falsehoods about opioids that created billions of dollars of
                            artificial demand for these highly addictive and dangerous products.

                            (b)   The Front Groups. The Marketing Defendants used the Front
                            Groups, such as the American Pain Foundation, American Academy of Pain
                            Medicine, the American Pain Society, the Federation of State Medical


                                                    321
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 338 of
                                     358




                            Boards, the Alliance for Patient Access, the U.S. Pain Foundation, the
                            American Geriatrics Society, and the American Chronic Pain Association,
                            not named as defendants herein and not all of which were fully complicit,
                            to stoke demand for opioids by falsely creating the impression of
                            independent third party authoritative validation of the false claims of the
                            Marketing Defendants.

                            (c)     The KOLs. The Marketing Defendants used KOLs, such as Dr.
                            Portenoy, Dr. Webster, Dr. Fine and Dr. Fishman, not named as defendants
                            herein and who may not have been fully complicit, to provide ostensibly
                            valid, third party, authoritative validation of the false claims of the
                            Marketing Defendants.

                            (d)     The Distributor Defendants. The Distributor Defendants are
                            Cardinal, Anda, H. D. Smith, Henry Schein, and AmerisourceBergen; they
                            joined the False Narrative Enterprise with full awareness and complicity,
                            and acted in concert with the Marketing Defendants to pool information
                            about vulnerable targets and share the king size profits reaped from the sale
                            of opioids to addicts, deliberately ignoring their obligations under the
                            Controlled Substances Act.

                            (e)    Corrupt Physicians and Pharmacies, a/k/a the Pill Mills.
                            prescribed opioids illegally and with no basis in legitimate medicine; and
                            dispensed opioids illegally and in direct violation of their legal obligations.

                            (0     The National Retail Pharmacies. The National Retail Pharmacies
                            are CVS, Kroger, Walgreens, and Wal-Mart. Like the Distributor
                            Defendants, they joined the False Narrative Enterprise with full awareness
                            and complicity, and acted in concert with the Marketing Defendants to pool
                            information about vulnerable targets and share the king size profits reaped
                            from the sale of opioids to addicts, deliberately ignoring their obligations
                            under the Controlled Substances Act and Florida RICO.

            865.    Predicate Acts. At all relevant times, Defendants conducted (managed) or

     participated, directly or indirectly, in the conduct (management) of the False Narrative Enterprise,

     through a pattern of unlawful activity. In addition to participating in a RICO-violative enterprise,

     the Defendants, with full knowledge and purpose, conspired to violate those provisions in the

     Florida RICO statutes prohibiting participation in unlawful or otherwise prohibited enterprises.

     Defendants did so by engaging in multiple, repeated, and continuous violations of:

                    (1)     Wire fraud and other fraudulent practices: The Defendants transmitted


                                                     322
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 339 of
                                     358




                     communications, including advertisements, through U.S. mail fraud and interstate
                     wire fraud, in interstate or foreign commerce, to designated persons for ostensibly
                     legitimate purposes, but with the actual, unlawful purpose of engaging in an
                     intentional scheme to defraud or mislead Plaintiffs, other hospitals, health care
                     providers, patients and their families and, in general, the American public.
                     Defendants engaged in a scheme or artifice to defraud and/or thereby knowingly
                     obtained a benefit by means of false or fraudulent pretenses, representations,
                     promises or material omissions.

                     (2)     Violation of the Florida Comprehensive Drug Abuse Prevention and
                     Control Act, Fla. Stat. Ann. §§ 893.01 et seq., the regulations promulgated
                     thereunder, and other statutes and regulations governing the manufacture,
                     distribution or sales of controlled substances. The Defendants engaged in
                    manufacture, distribution or sales of controlled substances or narcotic drugs. The
                    Defendants violated the applicable state law and statues through their
                    participation in the False Narrative Enterprise, and through their failure to
                    monitor, report, or guard against suspicious orders and diversion of the controlled
                    substances or narcotic drugs.

                     (3)     Violation of Fla. Stat. Ann. §§ 895.02(8)(b) through conducts defined as
                    "racketeering activity" under 18 U.S.C. s. 1961(1).

             866.   Pattern of Unlawful Activity. At least two unlawful acts as defined in §859.02,

     subsection (8) meet the following requirements: (i) The last act of unlawful activity that is alleged

     as the basis of the claim occurred with five years of a prior act of unlawful activity; and (ii) The

     unlawful acts that are alleged as the basis of the claim were related to each other or to a common

     organizing principle, including the affairs of an enterprise. Unlawful acts are related if they have

     the same or similar intents, results, accomplices, victims, or methods of commission or that

     otherwise are interrelated by distinguishing characteristics and are not isolated incidents; Fla. Stat.

     Ann. §§ 895.02(7). The False Narrative Enterprise committed the following predicate offenses: §

     895.02(8)(a)(34) Asserting false claims, including false claims asserted through fraud in violation

     of Florida Communications Fraud Act; § 895.02(8)(a)(47) engaging in conducts that violates

     Florida's drug abuse prevention and control laws.

            867.    At all relevant times, Defendants, in violation of the above statutes, conducted

     (managed) or participated, directly or indirectly, in the conduct (management) of the False

                                                      323
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 340 of
                                     358




     Narrative Enterprise, through a pattern of unlawful activity, by engaging in multiple, repeated, and

     continuous violations of Florida law proscribing fraudulent marketing practices, Fla. Stat. Ann. §

     817.0345, Florida law proscribing unauthorized sales or distribution of any controlled substance,

     Fla. Stat. Ann. § 893.13. The Defendants transmitted electronic communications to designated

     persons for ostensibly legitimate purposes, but with the actual, unlawful purpose of engaging in

     an intentional scheme to defraud Plaintiffs, other hospitals, health care providers, patients and their

     families and, in general, the American public. The Defendants have not undertaken the practices

     described herein in isolation, but as part of a common scheme and conspiracy. In violation of Fla.

     Stat. § 895.03(4), the Defendants conspired to violate of Fla. Stat. Ann. § 772.103(3).

             868. Consequences. By reason of the above-referenced violations of the Florida RICO

     Statutes, Plaintiffs were injured in their business or property, is entitled to assert this claim, and

     to recover threefold the damages they sustained, as demonstrated at trial, and the cost of the suit,

     including reasonable attorneys' fees pursuant to Fla. Stat. Ann. § 772.104, as well as such other

     appropriate relief, as the Court may provide.

                                      SECOND CLAIM FOR RELIEF

         Violation of Florida RICO (Racketeer Influenced and Corrupt Organization) Act, Fla.
     •               Stat. Ann. §§ 895.01 et seq.— Sackler Pharmaceutical Enterprise
                    (Against the Companies and Individuals Associated with Purdue)

             869.    Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of this

     Complaint, as if fully set forth herein.

             870.   This Claim for relief alleges violations of Fla. Stat. Ann. §§ 895.03.

             871.    At all relevant times, Plaintiffs were entities capable of holding a legal or beneficial

     interest in property.

             872.    Structure of The Sackler Pharmaceutical Enterprise:                      The Sackler

     Pharmaceutical Enterprise reflected several types of participants, not all of whom were complicit,

                                                       324
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 341 of
                                     358



     and not all of which are named herein as Defendants.

                   (1)     Name, Purposes and Membership: At all relevant times, there existed an
                   "enterprise," within the meaning of Fla. Stat. Ann. §§ 895.02(5) — to wit, an
                   association-in-fact comprised of each of the Purdue Defendants - the Sackler
                   Pharmaceutical Enterprise. The lawful purpose of the Sackler Pharmaceutical
                   Enterprise was the manufacture, marketing and sale of pharmaceutical products in
                   interstate and foreign commerce. The unlawful purpose of the Sackler
                   Pharmaceutical Enterprise was to engage in and carry out an intentional scheme to
                   defraud purchasers, including doctors and hospitals, by propagating falsehoods
                   about the safety and benefits of opioids.

                   (2)    Continuity: The continuity of the Sackler Pharmaceutical Enterprise was
                   coterminous with the period of time necessary to defraud Plaintiffs, other hospitals,
                   physicians, other healthcare providers, patients and their families, and the
                   American public in general.

                   (3)     Effect on Commerce: The Sackler Pharmaceutical Enterprise was engaged
                   in, and its activities affected, interstate and foreign commerce.

                   (4)    Membership:

                          (a)     The Sackler Defendants. The Sackler Defendants are Richard
                          Sackler, Beverly Sackler, David Sackler, Ilene Sackler Lefcourt, Jonathan
                          Sackler, Kathe Sackler, Mortimer Sackler, and Theresa Sackler controlled
                          Purdue's misconduct. The Sackler Defendants conceptualized and set in
                          motion the falsehoods about opioids that created billions of dollars of
                          artificial demand for these highly addictive and dangerous products.
                          Together, the Sackler Defendants directed and otherwise participated in
                          Purdue's deceptive sales and marketing practices, sending hundreds of
                          orders to executives and other employees. From the money that Purdue
                          collected as a result of its wrongful conduct, they paid themselves and their
                          family billions of dollars.

                          (b)     Other Purdue Directors: The members of the Purdue Board who
                          are not members of the Sackler family, although not named as defendants
                          herein, each joined and participated in the Sackler Pharma Enterprise with
                          full awareness and complicity, acted in concert with the Sackler
                          Defendants to direct Purdue's deception and/or carry out the misconduct
                          and share the king size profits reaped from the sale of opioids to Plaintiffs,
                          health care providers, patients and their families and, in general, the
                          American public.

                          (c)    Purdue Officer Defendants: The Purdue Officer Defendants are
                          John Stewart, Mark Timney, Craig Landau and Russell Gasdia. The
                          Purdue Officer Defendants each joined and participated in the Sackler


                                                   325
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 342 of
                                     358




                           Pharma Enterprise with full awareness and complicity, acted in concert
                           with the Sackler defendants to direct Purdue's deception and/or carry out
                           the misconduct and share the king size profits reaped from the sale of
                           opioids to Plaintiffs, health care providers, patients and their families and,
                           in general, the American public.

                           (d)     Purdue Entity Defendants and Other Affiliated Entities: The
                           Purdue Entity Defendants are Purdue Pharma L.P., Purdue Pharma Inc.
                           and The Purdue Frederick Company, Inc. The Purdue Entity Defendants,
                           and other business entities beneficially owned and controlled by the
                           Sackler Defendants not named as defendants herein, joined the Sackler
                           Pharma Enterprise with full awareness and complicity, and acted in
                           concert with the Sackler Defendants to pool information about vulnerable
                           targets and share the king size profits reaped from the sale of opioids to
                           Plaintiffs, health care providers, patients and their families and, in general,
                           the American public, deliberately ignoring duties to comply with laws and
                           regulations on marketing and sales of controlled substances.

                           (e)     Purdue Sales Representatives and Other Employees: These
                           participants are not named as defendants herein and who may not have
                           been fully complicit. The Purdue Sales Representatives implemented
                           marketing and sales plans under the direction and control of the Sackler
                           Defendants, the Purdue Director and Purdue Officer Defendants, including
                           pooling information about vulnerable targets, increasing sales of highly
                           addictive opioids directly to Plaintiffs and physicians, concealing risks of
                           opioids, as well as sharing the king size profits reaped from the sale of
                           opioids to Plaintiffs, health care providers, patients and their families and,
                           in general, the American public.

            873.   Predicate Acts: At all relevant times, Defendants engaged in multiple, repeated,

     and continuous violations of:

                   (1)     Wire fraud and other fraudulent practices: The Defendants transmitted
                   communications, including advertisements, through U.S. mail fraud and interstate
                   wire fraud, in interstate or foreign commerce, to designated persons for ostensibly
                   legitimate purposes, but with the actual, unlawful purpose of engaging in an
                   intentional scheme to defraud or mislead Plaintiffs, other hospitals, health care
                   providers, patients and their families and, in general, the American public.
                   Defendants engaged in a scheme or artifice to defraud and/or thereby knowingly
                   obtained a benefit by means of false or fraudulent pretenses, representations,
                   promises or material omissions.

                   (2)   Violation of the Florida Comprehensive Drug Abuse Prevention and
                   Control Act, Fla. Stat. Ann. §§ 893.01 et seq., the regulations promulgated
                   thereunder, and other statutes and regulations governing the manufacture,


                                                    326
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 343 of
                                     358




                     distribution or sales of controlled substances. The Defendants engaged in
                     manufacture, distribution or sales of controlled substances or narcotic drugs. The
                     Defendants violated the applicable state law and statues through their participation
                     in the False Narrative Enterprise, and through their failure to monitor, report, or
                     guard against suspicious orders and diversion of the controlled substances or
                     narcotic drugs.

                     (3)   Violation of Fla. Stat. Ann. §§ 895.02(8)(b) through conducts defined as
                     "racketeering activity" under 18 U.S.C. § 1961(1).

             874.    Pattern of Unlawful Activity. At least two unlawful acts as defined in §859.02,

     subsection (8) meet the following requirements: (i) The last act of unlawful activity that is alleged

     as the basis of the claim occurred with five years of a prior act of unlawful activity; and (ii) The

     unlawful acts that are alleged as the basis of the claim were related to each other or to a common

     organizing principle, including the affairs of an enterprise. Unlawful acts are related if they have

     the same or similar intents, results, accomplices. victims, or methods of commission or that

     otherwise are interrelated by distinguishing characteristics and are not isolated incidents; Fla. Stat.

     Ann. §§ 895.02(7). The Sackler Pharmaceutical Enterprise committed the following predicate

     offenses: § 895.02(8)(a)(34) Asserting false claims, including false claims asserted through fraud

     in violation of Florida Communications Fraud Act; § 895.02(8)(a)(47) engaging in conducts that

     violates Florida's drug abuse prevention and control laws.

            875.    At all relevant times, Defendants, in violation of the above statutes, conducted

     (managed) or participated, directly or indirectly, in the conduct (management) of the False

     Narrative Enterprise, through a pattern of unlawful activity, by engaging in multiple, repeated, and

     continuous violations of Florida law proscribing fraudulent marketing practices, Fla. Stat. Ann. §

     817.0345, Florida law proscribing unauthorized sales or distribution of any controlled substance,

     Fla. Stat. Ann. § 893.13. The Defendants transmitted electronic communications to designated

     persons for ostensibly legitimate purposes, but with the actual, unlawful purpose of engaging in



                                                      327
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 344 of
                                     358




     an intentional scheme to defraud Plaintiffs, other hospitals, health care providers, patients and their

     families and, in general, the American public. The Defendants have not undertaken the practices

     described herein in isolation, but as part of a common scheme and conspiracy. In violation of Fla.

     Stat. § 895.03(4), the Defendants conspired to violate of Fla. Stat. Ann. § 772.103(3).

             876.    Consequences. By reason of the above-referenced violations of the Florida RICO

     Statutes, Plaintiffs were injured in their business or property, is entitled to assert this claim, and to

     recover threefold the damages they sustained, as demonstrated at trial, and the cost of the suit,

     including reasonable attorneys' fees pursuant to Ha. Stat. Ann. § 772.104, as well as such other

     appropriate relief, as the Court may provide.

                                       THIRD CLAIM FOR RELIEF

                    Violation of Florida's Deceptive and Unfair Trade Practices Act
                                    (Fla. Stat. Ann. § 501.201, et seq.)
                                         (Against All Defendants)

            877.     Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of

     this Complaint, as if fully set forth herein.

            878.    This cause of action is brought pursuant to sections 501.201 to 501.213, Florida

     Statutes, which is known as the Florida Deceptive and Unfair Trade Practices Act (FDUTPA).

            879.     FDUTPA "shall be construed liberally to promote the following policies: (1) To

     simplify, clarify, and modernize the law governing consumer protection, unfair methods of

     competition, and unconscionable, deceptive, and unfair trade practices; (2) To protect the

     consuming public and legitimate business enterprises from those who engage in unfair methods

     of competition, or unconscionable, deceptive, or unfair acts or practices in the conduct of any

     trade or commerce; [and] (3) To make state consumer protection and enforcement consistent

     with established policies of federal law relating to consumer protection." Fla. Stat. §

     501.202(2).
                                                       328
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 345 of
                                     358




             880.    Section 501.204(1), Florida Statutes declares as unlawful -unfair methods of

     competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

     conduct of any trade or commerce." Fla. Stat. § 501.204(1).

             881.    Each Plaintiff is a "person" within the meaning of Fla. Stat. § 501.203(6) and as

     envisioned in Fla. Stat. § 501.211.

             882.    All Defendants engaged in "Nrade or commerce" within the meaning of Fla.

     Stat. § 501.203(8).

             883.    During the relevant period and as detailed further herein, the Marketing

     Defendants have each engaged in unfair and deceptive acts or practices in commerce in

     violation of the FDUTPA by actively promoting and marketing the use of opioids for

     indications not federally approved, circulating false and misleading information concerning

     opioids' safety and efficacy, and downplaying or omitting the risk of addiction arising from

     their use.

             884.   Each of the Defendants have engaged in unfair and/or deceptive trade practices

     by omitting the material fact of its failure to design and operate a system to disclose suspicious

     orders of controlled substances, as well as by failing to actually disclose such suspicious orders,

     as required of "registrants" by the federal CSA, 21 C.F.R. § I 301.74(b), which is incorporated

     into Florida law by the FL DCA, including Fla. Stat. Ann. § 499.0121. The CSA defines

     "registrant" as any person who is registered pursuant to 21 U.S.0 § 823. 21 C.F.R. §

     1300.02(b). Section 823(a)-(b) requires manufacturers and distributors of controlled substances

     Schedule II to register.

             885.   Defendants' unfair or deceptive acts or practices in violation of the FDUTPA

     offend Florida's public policy, are immoral, unethical, oppressive and unscrupulous, as well as



                                                     329
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 346 of
                                     358




     malicious, wanton and manifesting of ill will, and they caused substantial injury to Plaintiffs.

     Plaintiffs risk irreparable injury as a result of the Marketing Defendants', Distributor

     Defendants', and the National Retail Pharmacy Defendants and their agents' acts,

     misrepresentations and omissions in violation of the FDUTPA, and these violations present a

     continuing risk to Plaintiffs, as well as to the general public.

             886.    As a direct and proximate result of Defendants' violations of the FDUTPA,

     Plaintiff's have suffered and continue to suffer injury-in-fact and actual damages.

             887.    Defendants violated the FDUTPA because they engaged in false or misleading

     statements about the efficacy and safety of opioid pharmaceuticals.

             888.    Defendants, individually and acting through acting through their employees and

     agents, and in concert with each other, knowingly made material misrepresentations and

     omissions of facts to Plaintiffs to induce them to purchase, administer, and consume opioids as

     set forth in detail above.

             889.    Defendants knew at the time that they made their misrepresentations and

     omissions that they were false.

             890.    Defendants intended that Plaintiffs, physicians, patients, and/or others would rely

     on their misrepresentations and omissions.

             891.    Plaintiffs, physicians, patients, and/or others reasonably relied upon Defendants'

     misrepresentations and omissions.

            892.     In the alternate, the Defendants recklessly disregarded the falsity of their

     representations regarding opioids.

            893.    By reason of their reliance on Defendants' misrepresentations and omissions of

     material fact, Plaintiffs, physicians, patients, and/or others suffered actual pecuniary damage.



                                                      330
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 347 of
                                     358




             894.    Defendants' conduct was willful, wanton, and malicious and was directed at the

     public generally.

             895.    Plaintiffs are entitled to recover damages caused by Defendants' fraud in an

     amount to be determined at trial.

                                      FOURTH CLAIM FOR RELIEF

             Fraudulent Practices Misleading Advertising, Florida Statutes Title XLVI,
                                         Crimes § 817.41
                                 (Against Marketing Defendants)

             896.    Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of

     this Complaint, as if fully set forth herein.

            897.     Pursuant to Florida Statute, Title XLVI, Crimes, § 817.41(1):

            it shall be unlawful for any person to make or disseminate or cause to be made or
            disseminated before the general public of the state, or any portion thereof, any
            misleading advertisement. Such making or dissemination of misleading advertising
            shall constitute and is hereby declared to be fraudulent and unlawful, designed and
            intended for obtaining money or property under false pretenses.

            898.    "Misleading advertising is defined by § 817.40(5) as:

            ...any statements made, or in oral, written, or printed form or otherwise, to or before
            the public, or any portion thereof, which are known, or thorough the exercise of
            reasonable care or investigation could or might have been ascertained, to be untrue
            or misleading, and which are or were so made or disseminated with the intent or
            purpose, either directly or indirectly, or selling or disposing of real or personal
            property, services of any nature whatever, professional or otherwise, or to induce
            the public to enter into any obligation relating to such property or services.

            899.    Defendants engaged in misleading advertising in the conduct of a business, trade

     or commerce in this state.

            900.    Defendants engaged in false or misleading advertising in deceiving the public

     about the efficacy and safety of opioid pharmaceuticals.

            901.    The ways in which Defendants' advertising was misleading include but are not



                                                     331
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 348 of
                                     358



     limited to:

                   a. Misrepresenting the truth about how opioids lead to addiction;

                   b. Misrepresenting that opioids improve function;

                   c. Misrepresenting that addiction risk can be managed;

                   d. Misleading doctors, patients, and payors through the use of misleading terms like
                      "pseudoaddiction;"

                   e. Falsely claiming that withdrawal is simply managed;

                   f. Misrepresenting that increased doses pose no significant additional risks;

                   g. Falsely omitting or minimizing the adverse effects of opioids and overstating the
                      risks of alternative forms of pain treatment.

             902.     Plaintiffs have been injured by reason of Defendants' violation.

             903.     Pursuant to Florida Statute, Title XLVI, Crimes, § 817.41(6), plaintiff is entitled

     to costs, attorney's fees, and punitive damages, in addition to actual damages proven.

                                      • FIFTH CLAIM FOR RELIEF

                                                 Negligence
                                           (Against All Defendants)

            904.      Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of

     this Complaint, as if fully set forth herein.

            905.      This claim is brought under the common law of negligence.

     A.     The Defendants Owed a_Duty of Care

            906.      The Defendants had a duty to exercise reasonable care in the manufacturing,

     marketing, selling, and distributing of highly dangerous opioid drugs. These Defendants knew or

     should have known that opioids were unreasonably dangerous and were likely to cause

     addiction. These Defendants owed its aforesaid duties to Plaintiffs because the injuries alleged

     herein were foreseeable by the Marketing and Distributor Defendants.


                                                      332
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 349 of
                                     358




             907.    A reasonable person could foresee the probability of occurrence of injury to

     Plaintiffs. Reasonably prudent wholesale drug manufactures, marketers and distributors of

     opioids would have anticipated the scourge of opioid addiction, especially when being warned

     and prosecuted by law enforcement repeatedly. These Marketing and Supply Chain Defendants

     are required to exercise a high degree of care and diligence to prevent injury to the public from

     the diversion of highly dangerous opioid drugs during manufacture and distribution.

     B.      Defendants Breached Their Duty of Care

             1,      Defendants' Conduct, in Violation of Applicable Statutes, Constitutes
                     NeEli2ence Per Se

             908.    The Marketing and Supply Chain Defendants' conduct, in violation of Arizona

     statutes and regulations (including but not necessarily limited to laws regulating pharmacies,

     food and drugs, and the distribution of controlled substances) constitutes negligence per se and

     is actionable with or without an affirmative finding by the trier of fact of a breach of the duty of

     care. The governing laws require that these Defendants know their customers, which includes an

     awareness of the customer base, knowledge of the average prescriptions filled each day, the

     percentage of controlled substances compared to overall purchases, a description of how the

     dispenser fulfills its responsibility to ensure that prescriptions filled are for legitimate medical

     purposes, and identification of physicians and bogus centers for the alleged treatment of pain

     that are the dispenser's most frequent prescribers.

             909.    The Marketing and Supply Chain Defendants violated Florida laws in failing to

     report suspicious orders of opioid pain medications, in failing to maintain effective controls

     against the diversion of opioids into other than legitimate medical channels, and in failing to

     operate a system to stop or at least diligently respond to orders which is flagged or should have

     been flagged as suspicious. The Marketing and Supply Chain Defendants negligently acted


                                                       333
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 350 of
                                     358




     with others by dispensing controlled substances for illegitimate medical purposes, operating

     bogus pain clinics which do little more than provide prescriptions for controlled substances,

     thereby creating and continuing addictions to prescription medications.

            910.      In addition to failing to abide by their general common-law duties, Defendants

     also violated statutory duties embodied in the FDCA, Fla. Stat. Ann. §§ 499.001 et seq.

     Plaintiffs are within the class of persons the FDCA was intended to protect.

            911.      The harm that has occurred is the type of harm that the FDCA was intended to

     guard against.

            912.      Defendants' violations constitute negligence per se.

     C.     Defendants Breached Their Duty of Reasonable Care

            913.      Alternatively, to the extent that Marketing and Supply Chain Defendants'

     statutory violations do not obviate the need to show breaches of the duty of care, each

     Defendant breached its aforesaid duties of care.

            I.        Negligent Marketing

            914.      The Marketing Defendants marketed opioids in a negligent and improper

     manner by:

                 a. Overstating the benefits of chronic opioid therapy, promising improvement in
                    patients' function and quality of life, and failing to disclose the lack of evidence
                    supporting long-term use;

                  b. Trivializing or obscuring opioids' serious risks and adverse outcomes, including
                     the risk of addiction, overdose and death;

                  c. Overstating opioids' superiority compared with other treatments, such as other
                     non-opioid analgesics, physical therapy. and other alternatives;

                 d. Mischaracterizing the difficulty of withdrawal from opioids and the prevalence of
                    withdrawal symptoms;

                  e. Marketing opioids for indications and benefits that were outside of the opioids'
                     labels and not supported by substantial evidence.

                                                      334
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 351 of
                                     358




             91 5.    It was Defendants' marketing — and not any medical breakthrough — that

     rationalized prescribing opioids for chronic pain and opened the floodgates of opioid use and

     abuse. The result has been catastrophic.

            916.      The Marketing Defendants disseminated many of their false, misleading,

     imbalanced, and unsupported statements indirectly, through KOLs and Front Groups, and in

     unbranded marketing materials. These KOLs and Front Groups were important elements of

     Defendants' marketing plans, which specifically contemplated their use, because they seemed

     independent and therefore outside FDA oversight. Through unbranded materials, Marketing

     Defendants, with their own knowledge of the risks, benefits and advantages of opioids,

     presented information and instructions concerning opioids generally that were contrary to, or at

     best, inconsistent with information and instructions listed on Marketing Defendants' branded

     marketing materials and drug labels. Marketing Defendants did so knowing that unbranded

     materials typically are not submitted to or reviewed by the FDA.

            917.     The Marketing Defendants also marketed opioids through the following

     vehicles: (a) KOLs, who could be counted upon to write favorable journal articles and deliver

     supportive CMEs; (b) a body of biased and unsupported scientific literature; (c) treatment

     guidelines; (d) CMEs; (e) unbranded patient education materials; and (f) Front Group patient-

     advocacy and professional organizations, which exercised their influence both directly and

     through Defendant-controlled KOLs who served in leadership roles in those organizations.

            2.       Negligent Distribution

            9l8.      The Marketing and Supply Chain Defendants distributed opioids in an improper

     manner by:

                  a. Distributing and selling opioids in ways that facilitated and encouraged their flow
                      into the illegal, secondary market;

                                                     335
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 352 of
                                     358




                 b. Distributing and selling opioids without maintaining effective controls against
                    diversion;

                c. Choosing not to or failing to effectively monitor for suspicious orders;

                d. Choosing not to or failing to report suspicious orders;

                e. Choosing not to or failing to stop or suspend shipments of suspicious orders; and

                f. Distributing and selling opioids prescribed by "pill mills" when Marketing and
                   Supply Chain Defendants knew or should have known the opioids were being
                   prescribed by "pill mills."

     D.     The Marketing and Supply Chain Defendants' Breaches of Care Were Intentional,
            Willful, Wanton and/or Reckless

            919.    Marketing and Supply Chain Defendants' breaches of care were intentional,

     willful, wanton and/or reckless. Marketing and Supply Chain Defendants purposely overstated

     the benefits of chronic opioid therapy and opioids' superiority compared with other treatments,

     such as other non-opioid analgesics, physical therapy, and other alternatives; actively and

     continuously promoted the use of opioids for improvement in patients' function and quality of

     life but failed to disclose the lack of evidence supporting the long-term use, as well as

     mischaracterized the difficulty of withdrawal from opioids and the prevalence of withdrawal

     symptoms; intentionally trivialized or obscured opioids' serious risks and adverse outcomes,

     including the risk of addiction, overdose, and death; continuously marketed opioids for

     indications and benefits that were outside of the opioids' labels and not supported by

     substantial evidence.

            920.    Marketing and Supply Chain Defendants have willfully turned a blind eye

     towards the actual facts by regularly distributing large quantities of controlled substances to

     retailers and dispensers who are serving a customer base substantially comprised of individuals

     who are abusing and/or diverting prescription medications, many of whom are addicted and all


                                                     336
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 353 of
                                     358




     of whom can reasonably be expected to become addicted. Marketing and Supply Chain

     Defendants conducted themselves with reckless indifference to the consequences of their acts

     and omissions, in that they were conscious of their conduct and were aware, from their

     knowledge of existing circumstances and conditions, that their conduct would inevitably or

     probably result in injury to others, specifically hospitals such as Plaintiffs, which would be

     subjected to providing unreimbursed healthcare treatment to patients with opioid conditions, as

     well as other costs associated with diagnosis, treatment of opioid-related conditions and

     operation of its business in the opioid epidemic.

     E.     Causation and Dama2es

            921.    As a proximate result of Marketing and Supply Chain Defendants' conduct,

     Marketing and Supply Chain Defendants have caused Plaintiffs' injury related to the diagnosis

     and treatment of opioid-related conditions. Plaintiffs have incurred massive costs by providing

     uncompensated care as a result of opioid-related conditions.

            922.    The injuries to Plaintiffs would not have happened in the ordinary course of

     events had Marketing and Supply Chain Defendants exercise the degree of care, prudence,

     watchfulness, and vigilance commensurate to the dangers involved in the transaction of its

     business in the manufacture, marketing, sale and distribution of opioids.

            923.    Plaintiffs are entitled to recover compensatory damages as a result of Marketing

     and Supply Chain Defendants' negligence, in an amount to be determined at trial.

            924.    The Purdue Individual Defendants directed and participated in the tortious

     conduct of Purdue and are individually liable.

            925.    As a result of Marketing and Supply Chain Defendants' intentional, willful,

     wanton and/or reckless conduct described herein, Plaintiffs are entitled to treble, punitive,

     exemplary and/or otherwise enhanced damages to the full extent available under state law, in an

                                                      337
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 354 of
                                     358




     amount to be determined at trial.

                                         SIXTH CLAIM FOR RELIEF

                                                   Nuisance
                                            (Against All Defendants)

              926.     Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of

     this Complaint, as if fully set forth herein.

             927.     The nuisance is the over-saturation of opioids in the patient population of

     Plaintiffs and in the geographic area served by Plaintiffs for illegitimate purposes, as well as the

     adverse social, economic, and human health outcomes associated with widespread illegal

     opioid use.

             928.     All Defendants substantially participated in nuisance-causing activities.

             929.     Defendants' nuisance-causing activities include selling or facilitating the sale of

     prescription opioids to the patients of Plaintiffs, as well as to unintended users, including

     children, people at risk of overdose or suicide, and criminals.

             930.     Defendants' nuisance-causing activities also include failing to implement

     effective controls and procedures in their supply chains to guard against theft, diversion and

     misuse of controlled substances, and their failure to adequately design and operate a system to

     detect, halt and report suspicious orders of controlled substances.

             931.     Defendants' activities unreasonably interfere with the economic rights of

     Plaintiffs.

             932.     The Defendants' interference with these rights of Plaintiffs is unreasonable

     because it:

                   a. Has harmed and will continue to harm the public health services of and public
                      peace of Plaintiffs;

                   b. Has harmed and will continue to harm the communities and neighborhoods

                                                       338
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 355 of
                                     358



                      which Plaintiffs serve;

                   c. Is proscribed by statutes and regulation, including the CSA, pharmacy
                      regulations, and the consumer protection statute;

                   d. Is of a continuing nature and it has produced long-lasting effects;

                 e. Defendants have reason to know their conduct has a significant effect upon
                    Plaintiffs; and

                 f. Has inflicted substantial costs on Plaintiffs.

             933.     The nuisance undermines public health, quality of life, and safety. It has resulted

     in high rates of addiction, overdoses, dysfunction, and despair within families and entire

     communities. It has created a public health crisis.

             934.     The resources of Plaintiffs are being unreasonably consumed in efforts to

     address the prescription drug abuse epidemic, thereby eliminating available resources needed in

     other health care areas.

            935.      Defendants' nuisance-causing activities are not outweighed by the utility of

     Defendants' behavior. In fact, their behavior is illegal and has no social utility whatsoever.

     There is no legitimately recognized societal interest in facilitating widespread opioid addiction

     and failing to identify, halt, and report suspicious opioid transactions.

            936.      At all times, all Defendants possessed the right and ability to control the

     nuisance causing outflow of opioids from pharmacy locations or other points of sale.

     Distributor Defendants had the power to shut off the supply of illicit opioids to Plaintiffs and in

     the geographic area served by Plaintiffs.

            937.      As a direct and proximate result of the nuisance. Plaintiffs have sustained

     economic harm by spending a substantial amount of money trying to remedy the harms caused

     by Defendants' nuisance-causing activity, including, but not limited to, costs of hospital



                                                       339
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 356 of
                                     358




     services and healthcare. In short, the Defendants created a mess, leaving it to the Plaintiffs and

     other hospitals the costs of cleaning it up. This is a classic nuisance.

             938.    As a result of Defendants' actions, Plaintiffs have suffered a special injury,

     different from that suffered by the public at large by individual users and by governmental

     entities, namely that Plaintiffs have provided uncompensated care for patients suffering from

     opioid related conditions.

             939.    The effects of the nuisance can be abated, and the further occurrence of such

     harm and inconvenience can he prevented. All Defendants share in the responsibility for doing

     SO.


             940.    Defendants should be required to pay the expenses Plaintiffs have incurred or

     will incur in the future to fully abate the nuisance.

                                     SEVENTH CLAIM FOR RELIEF

                                              Unjust Enrichment
                                           (Against All Defendants)

            941.    Plaintiffs repeat, reallege, and incorporate by reference all other paragraphs of

     this Complaint, as if fully set forth herein.

             942.   Plaintiffs provided unreimbursed healthcare treatment to patients with opioid

     conditions that Defendants are responsible for creating. Plaintiffs thereby conferred a benefit on

     Defendants because Defendants should bear the expense of treating these patients' opioid

     conditions. This is because Defendants created the opioid epidemic and the patients' opioid

     conditions, as described above.

            943.     Defendants appreciated and knew of this benefit because they knew their opioid

     promotional and marketing policies would cause, and in fact caused, hospitals throughout the

     United States to provide unreimbursed healthcare treatment to patients with opioid conditions


                                                      340
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 357 of
                                     358




     that Defendants were responsible for creating.

             944.     The circumstances under which Defendants accepted or retained the benefit,

     described above, were such as to make it inequitable for Defendants to retain the benefit

     without payment of its value.

             945.     As described above, the benefit was received and retained under such

     circumstances that it would be inequitable and unconscionable to permit Defendants to avoid

     payment therefor.

             946.     Defendants have therefore been unjustly enriched.

             947.    By reason of the foregoing, Defendants must disgorge their unjustly acquired

     profits and other monetary benefits resulting from its unlawful conduct and provide restitution

     to the Plaintiffs.

                                       XV.     PRAYER FOR RELIEF

             WHEREFORE, Plaintiffs ask that the Court:

                     A.      Enter judgment against Defendants, jointly and severely, and in favor of
                             Plaintiffs;

                     B.      Award compensatory damages in an amount sufficient to fairly and
                             completely compensate Plaintiffs for all damages; treble damages; punitive
                             damages; pre-judgment and post-judgment interest as provided by law, and
                             that such interest be awarded at the highest legal rate; and such equitable
                             relief against Defendants as the Court should find appropriate, including
                             disgorgement of illicit proceeds and other orders as provide in 18 U.S.C. §
                             1964;

                     C.     Award Plaintiffs their cost of suit, including reasonable attorneys' fees as
                            provided by law; and

                     D.      Award such further and additional relief as the Court may deem just and
                             proper under the circumstances.

                                           XVI. JURY DEMAND

             Plaintiffs demand a trial by jury on all issues so triable.


                                                       341
Case 0:19-cv-62992-JEM Document 1-1 Entered on FLSD Docket 12/05/2019 Page 358 of
                                     358




     Dated: September 16, 2019               Respectfully Submitted,

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                                       342
